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                              No. 22-2606
             UNITED STATES COURT OF APPEALS
                FOR THE SEVENTH CIRCUIT

               IN RE: AEARO TECHNOLOGIES, LLC, et al.
                         ________________
                    AEARO TECHNOLOGIES, LLC, ET AL.,
                                                Debtors-Appellants,
                                    v.
    THOSE PARTIES LISTED ON APPENDIX A TO THE COMPLAINT AND
                   JOHN & JANE DOES, 1-1000,
                                            Appellees.
                            ________________
     On Direct Appeal from the United States Bankruptcy Court
     for the Southern District of Indiana, Indianapolis Division
                  No. 22-2890, Adv. No. 22-50059
                         ________________
              DEBTORS-APPELLANTS’ APPENDIX
                      ________________

 GEORGE W. HICKS, JR.                PAUL D. CLEMENT
 AARON L. NIELSON                    CLEMENT & MURPHY, PLLC
 KIRKLAND & ELLIS LLP                706 Duke Street
 1301 Pennsylvania Avenue, NW        Alexandria, VA 22134
 Washington, DC 20004                (202) 742-8900
 (202) 389-5000                      paul.clement@clementmurphy.com

 CHAD J. HUSNICK
 KIRKLAND & ELLIS LLP
 300 North LaSalle Street
 Chicago, IL 60654
 (312) 862-2000
                   Counsel for Debtors-Appellants

December 12, 2022
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                                                            U.S. Bankruptcy Court
                                                   Southern District of Indiana (Indianapolis)
                                                      Adversary Proceeding #: 22-50059
       *Associated Cases*                                                                                               APPEAL


      Assigned to: Jeffrey J. Graham                                                      Date Filed: 07/26/22
      Lead BK Case: 22-02890-JJG-11
      Lead BK Title: Aearo Technologies LLC and 3M Occupational Safety LLC
      Lead BK Chapter: 11
      Show Associated Cases

      Demand:




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      Plaintiff
      -----------------------
      Aearo Technologies LLC                                                      represented by David Agay
      7911 Zionsville Road                                                                       McDonal Hopkins LLC
      Indianapolis, IN 46268                                                                     300 N. LaSalle Street
      Tax ID / EIN: XX-XXXXXXX                                                                   Suite 1400
                                                                                                 Chicago, IL 60654
                                                                                                 312-642-2217
                                                                                                 Fax : 312-280-8232
                                                                                                 Email: dagay@mcdonaldhopkins.com

                                                                                                   Adam Arceneaux
                                                                                                   Ice Miller LLP
                                                                                                   One American Square
                                                                                                   Suite 2900
                                                                                                   Indianapolis, IN 46282-0200
                                                                                                   317-236-2137
                                                                                                   Fax : 317-592-4604
                                                                                                   Email: adam.arceneaux@icemiller.com

                                                                                                   Joshua A. Gadharf
                                                                                                   McDonald Hopkins LLC
                                                                                                   300 N. LaSalle
                                                                                                   Suite 1400
                                                                                                   Chicago, IL 60654
                                                                                                   312-280-0111
                                                                                                   Fax : 248-646-5075
                                                                                                   Email: jgadharf@mcdonaldhopkins.com

                                                                                                   Jeffrey A Hokanson
                                                                                                   Ice Miller LLP
                                                                                                   One American Square
                                                                                                   Suite 2900
                                                                                                   Indianapolis, IN 46282-0200
                                                                                                   317-236-2236
                                                                                                   Fax : 317-592-4809
                                                                                                   Email: jeff.hokanson@icemiller.com

                                                                                                   Ashley J. Jericho
                                                                                                   McDonal Hopkins LLC
                                                                                                   39533 Woodward Ave.
                                                                                                   Suite 318
                                                                                                   Bloomfield Hills, MI 48304
                                                                                                   248-593-2945
                                                                                                   Fax : 248-646-5075
                                                                                                   Email: ajericho@mcdonaldhopkins.com

                                                                                                   Micah E. Marcus
                                                                                                   McDonal Hopkins LLC
                                                                                                   300 N. LaSalle Street
                                                                                                   Ste 1400
                                                                                                   Chicago, IL 60654
                                                                                                   312-280-0111
                                                                                                   Email: mmarcus@mcdonaldhopkins.com

                                                                                                   Eric John McKeown
                                                                                                   Ice Miller LLP
                                                                                                   1 American Square
                                                                                                   #2900
                                                                                                   Indianapolis, IN 46282
                                                                                                   317-236-2124

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12/9/22, 12:44 PM                                          https://app.pacerpro.com/cases/16767943/print?q=
                      Case: 22-2606                Document: 32            Filed: 12/12/2022Email:Pages:   457
                                                                                                   eric.mckeown@icemiller.com



      Plaintiff
      -----------------------
      3M Occupational Safety LLC                                                  represented by David Agay
      3M Center, Bldg. 224-5N-40                                                                 (See above for address)
      St. Paul, MN 55144
      Tax ID / EIN: XX-XXXXXXX                                                                     Adam Arceneaux
                                                                                                   (See above for address)

                                                                                                   Joshua A. Gadharf
                                                                                                   (See above for address)

                                                                                                   Jeffrey A Hokanson
                                                                                                   (See above for address)

                                                                                                   Ashley J. Jericho
                                                                                                   (See above for address)

                                                                                                   Micah E. Marcus
                                                                                                   (See above for address)

                                                                                                   Eric John McKeown
                                                                                                   (See above for address)



      Plaintiff
      -----------------------
      Aearo Holding LLC                                                           represented by David Agay
      7911 Zionsville Road                                                                       (See above for address)
      Indianapolis, IN 46268
      Tax ID / EIN: XX-XXXXXXX                                                                     Adam Arceneaux
                                                                                                   (See above for address)

                                                                                                   Joshua A. Gadharf
                                                                                                   (See above for address)

                                                                                                   Jeffrey A Hokanson
                                                                                                   (See above for address)

                                                                                                   Ashley J. Jericho
                                                                                                   (See above for address)

                                                                                                   Micah E. Marcus
                                                                                                   (See above for address)

                                                                                                   Eric John McKeown
                                                                                                   (See above for address)




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                      Case: 22-2606                Document: 32            Filed: 12/12/2022             Pages: 457
      Plaintiff
      -----------------------
      Aearo Intermediate LLC                                                      represented by David Agay
      7911 Zionsville Road                                                                       (See above for address)
      Indianapolis, IN 46268
      Tax ID / EIN: XX-XXXXXXX                                                                     Adam Arceneaux
                                                                                                   (See above for address)

                                                                                                   Joshua A. Gadharf
                                                                                                   (See above for address)

                                                                                                   Jeffrey A Hokanson
                                                                                                   (See above for address)

                                                                                                   Ashley J. Jericho
                                                                                                   (See above for address)

                                                                                                   Micah E. Marcus
                                                                                                   (See above for address)

                                                                                                   Eric John McKeown
                                                                                                   (See above for address)



      Plaintiff
      -----------------------
      Aearo LLC                                                                   represented by David Agay
      7911 Zionsville Road                                                                       (See above for address)
      Indianapolis, IN 46268
      Tax ID / EIN: XX-XXXXXXX                                                                     Adam Arceneaux
                                                                                                   (See above for address)

                                                                                                   Joshua A. Gadharf
                                                                                                   (See above for address)

                                                                                                   Jeffrey A Hokanson
                                                                                                   (See above for address)

                                                                                                   Ashley J. Jericho
                                                                                                   (See above for address)

                                                                                                   Micah E. Marcus
                                                                                                   (See above for address)

                                                                                                   Eric John McKeown
                                                                                                   (See above for address)



      V.




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                      Case: 22-2606                Document: 32            Filed: 12/12/2022             Pages: 457
      Defendant
      -----------------------
      Parties Listed on Appendix A to the Complaint, Those                        represented by Ashley Keller
      Parties Listed on Appendix A to the Complaint and John                                     Keller Postman LLC
      and Jane Does 1-1000                                                                       150 N. Riverside Plaza
      See Appendix A                                                                             Suite 4100
      See Appendix A, IN 46268                                                                   Chicago, IL 60606
                                                                                                 312-741-5220
                                                                                                 Email: ack@kellerpostman.com




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      Defendant
      -----------------------
      Tort Claimants - CAE Committee                                              represented by John Bougiamas
                                                                                                 Otterbourg P.C.
                                                                                                 230 Park Avenue
                                                                                                 New York, NY 10169
                                                                                                 212-905-3608
                                                                                                 Email: jbougiamas@otterbourg.com

                                                                                                   Deborah Caruso
                                                                                                   Rubin & Levin, P.C.
                                                                                                   135 N. Pennsylvania St, Suite 1400
                                                                                                   Indianapolis, IN 46204
                                                                                                   317-860-2867
                                                                                                   Email: dcaruso@rubin-levin.net

                                                                                                   Melanie Louise Cyganowski
                                                                                                   Otterbourg P.C.
                                                                                                   230 Park Avenue
                                                                                                   New York, NY 10169
                                                                                                   212-905-3677
                                                                                                   Fax : 212-682-6104
                                                                                                   Email: mcyganowski@otterbourg.com

                                                                                                   Kevin M Davis
                                                                                                   Caplin and Drysdale
                                                                                                   1 Thomas Circle, NW
                                                                                                   Ste 1100
                                                                                                   Washington, DC 20005-5812
                                                                                                   202-862-7846
                                                                                                   Email: kdavis@capdale.com

                                                                                                   Jennifer S. Feeney
                                                                                                   Otterbourg P.C.
                                                                                                   230 Park Avenue
                                                                                                   NY, NY 10169
                                                                                                   212-661-9100
                                                                                                   Email: jfenney@otterbourg.com

                                                                                                   Sasha M. Gurvitz
                                                                                                   KTBS Law LLP
                                                                                                   1801 Century Park East
                                                                                                   Ste 26th Floor
                                                                                                   Los Angeles, CA 90067
                                                                                                   310-407-4032
                                                                                                   Fax : 310-407-9090
                                                                                                   Email: sgurvitz@ktbslaw.com

                                                                                                   Jeffrey L. Jonas
                                                                                                   Brown Rudnick LLP
                                                                                                   One Financial Center
                                                                                                   Boston, MA 02111
                                                                                                   617-856-8200
                                                                                                   Fax : 617-856-8201
                                                                                                   Email: jjonas@brownrudnick.com

                                                                                                   Kevin C Maclay
                                                                                                   Caplin and Drysdale
                                                                                                   1 Thomas Circle, NW
                                                                                                   Ste 1100
                                                                                                   Washington, DC 20005

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                                                                                                 Pages: 457
                                                                                                   Email: kmaclay@capdale.com

                                                                                                   Nir Maoz
                                                                                                   KTBS Law LLP
                                                                                                   1801 Century Park East
                                                                                                   26th Floor
                                                                                                   Los Angeles, CA 90067
                                                                                                   310-407-4000
                                                                                                   Fax : 310-407-9090
                                                                                                   Email: nmaoz@ktbslaw.com

                                                                                                   Pauline McTernan
                                                                                                   230 Park Avenue
                                                                                                   New York, NY 10169
                                                                                                   212-905-3637
                                                                                                   Email: pmcternan@otterbourg.com

                                                                                                   David Molton
                                                                                                   Brown Rudnick LLP
                                                                                                   7 Times Square
                                                                                                   New York, NY 10036
                                                                                                   212-209-4800
                                                                                                   Email: dmolton@brownrudnick.com

                                                                                                   Robert J Pfister
                                                                                                   KTBS Law LLP
                                                                                                   1801 Century Park East
                                                                                                   26th Floor
                                                                                                   Los Angeles, CA 90067
                                                                                                   310-407-4065
                                                                                                   Fax : 310-407-9090
                                                                                                   Email: rpfister@ktbslaw.com

                                                                                                   Todd E. Phillips
                                                                                                   Caplin and Drysdale
                                                                                                   One Thomas Circle, NW
                                                                                                   Suite 1100
                                                                                                   Washington, DC 20005
                                                                                                   202-862-7850
                                                                                                   Email: tphillips@capdale.com

                                                                                                   Adam C. Silverstein
                                                                                                   Otterbourg P.C.
                                                                                                   230 Park Avenue
                                                                                                   New York, NY 11050
                                                                                                   212-905-3628
                                                                                                   Email: asilverstein@otterbourg.com

                                                                                                   Ariella Thal Simonds
                                                                                                   KTBS Law LLP
                                                                                                   1801 Century Park East
                                                                                                   26th Floor
                                                                                                   Los Angeles, CA 90067
                                                                                                   310-407-4039
                                                                                                   Fax : 310-407-9090
                                                                                                   Email: asimonds@ktbslaw.com

                                                                                                   Meredith R. Theisen
                                                                                                   Rubin & Levin, P.C.
                                                                                                   135 N. Pennsylvania St., Suite 1400
                                                                                                   Indianapolis, IN 46204
                                                                                                   (317) 860-2877
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                        Case: 22-2606                Document: 32                      Filed: 12/12/2022Fax : Pages:   457
                                                                                                              (317) 453-8602
                                                                                                                  Email: mtheisen@rubin-levin.net

                                                                                                                  Michael L. Tuchin
                                                                                                                  KTBS Law LLP
                                                                                                                  1801 Century Park East
                                                                                                                  Ste 26th Floor
                                                                                                                  Los Angeles, CA 90067
                                                                                                                  310-407-4040
                                                                                                                  Fax : 310-407-9090
                                                                                                                  Email: mtuchin@ktbslaw.com

                                                                                                                  Michael S. Winograd
                                                                                                                  Brown Rudnick LLP
                                                                                                                  7 Times Square
                                                                                                                  New York, NY 10036
                                                                                                                  212-209-4917
                                                                                                                  Email: mwinograd@brownrudnick.com



      U.S. Trustee
      -----------------------
      U.S. Trustee                                                                            represented by Laura A DuVall
      Office of U.S. Trustee                                                                                 DOJ-Ust
      46 E Ohio Street, Room 520                                                                             Office of The United States Trustee
      Indianapolis, IN 46204                                                                                 Birch Bayh Federal Building and U.S.
      317-226-6101                                                                                           Courthouse
      Email: ustpregion10.in.ecf@usdoj.gov                                                                   46 E. Ohio Street, Ste 520
                                                                                                             Indianapolis, IN 46204
                                                                                                             317-226-6101
                                                                                                             Fax : 317-226-6356
                                                                                                             Email: Laura.Duvall@usdoj.gov

                                                                                                                  Harrison Edward Strauss
                                                                                                                  DOJ-Ust
                                                                                                                  Birch Bayh Federal Building
                                                                                                                  United States Courthouse
                                                                                                                  46 E. Ohio St, Room 520
                                                                                                                  Indianapolis, IN 46204
                                                                                                                  317-226-5707
                                                                                                                  Email: harrison.strauss@usdoj.gov


         #                                                               Docket Text                                                                 Date Filed

         1   Adversary case 22-50059. Complaint filed by Plaintiff(s) Aearo Technologies LLC, 3M Occupational Safety LLC, Aearo Holding              07/26/2022
             LLC, Aearo Intermediate LLC, Aearo LLC against Defendant(s) Those Parties Listed on Appendix A to the Complain [91
             (Declaratory judgment)], [72 (Injunctive relief - other)]. (Attachments: (1) Appendix A (2) Appendix B) (Hokanson, Jeffrey) (Entered:
             07/26/2022)

             Receipt of Complaint( 22-50059) [cmp,cmp] (350.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount 350.00 (re: Doc # 1).               07/26/2022
             (U.S. Treasury) (Entered: 07/26/2022)

         2   CORRECTED ENTRY: Debtors' Motion for Declaratory and Injunctive Relief (I) Confirming that the Automatic Stay Applies to                07/26/2022
             Certain Actions Against a Non-Debtor; (II) Preliminarily Enjoining Certain Actions Against a Non-Debtor; and (III) Granting a
             Temporary Restraining Order Pending an Order on the Preliminary Injunction filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M
             Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (Hokanson, Jeffrey).
             ORIGINAL ENTRY: Motion for Preliminary Injunction with Memorandum in Support, filed by Jeffrey A Hokanson on behalf of
             Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC.
             (Hokanson, Jeffrey) Modified on 7/26/2022. (cmm) Modified on 8/4/2022. (cmm) (Entered: 07/26/2022) [Denied by # 143
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         3   Declaration re: Motion for Preliminary Injunction filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC,       07/26/2022
             Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 2). (Hokanson, Jeffrey) (Entered:
             07/26/2022)


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         4   Declaration re: Motion for Preliminary Injunction filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC,             07/26/2022
             Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 2). (Attachments: (1) Exhibit 1 (2)
             Exhibit 2 (3) Exhibit 3 (4) Exhibit 4 (5) Exhibit 5 (6) Exhibit 6 (7) Exhibit 7 (8) Exhibit 8 (9) Exhibit 9 (10) Exhibit 10 (11) Exhibit 11
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             Exhibit 54 (55) Exhibit 55 (56) Exhibit 56 (57) Exhibit 57 (58) Exhibit 58 (59) Exhibit 59 (60) Exhibit 60 (61) Exhibit 61 (62) Exhibit
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             Exhibit 71 (72) Exhibit 72 (73) Exhibit 73 (74) Exhibit 74 (75) Exhibit 75 (76) Exhibit 76 (77) Exhibit 77 (78) Exhibit 78 (79) Exhibit
             79 (80) Exhibit 80 (81) Exhibit 81 (82) Exhibit 82 (83) Exhibit 83 (84) Exhibit 84 (85) Exhibit 85 (86) Exhibit 86 (87) Exhibit 87 (88)
             Exhibit 88) (Hokanson, Jeffrey) (Entered: 07/26/2022)

         5   Exhibit / Exhibits A and B (Proposed Orders) filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo            07/26/2022
             Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 2). (Hokanson, Jeffrey) (Entered:
             07/26/2022)

         6   CORRECTED ENTRY: Debtors' Ex Parte Motion for Approval of Service Procedures for Summons, Complaint, and Other                                07/26/2022
             Pleadings filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate
             LLC, Aearo LLC, Aearo Technologies LLC (Attachments: (1) Exhibit A - Proposed Order) (Hokanson, Jeffrey). ORIGINAL ENTRY:
             Motion for Ex Parte Relief filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC,
             Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC. (Attachments: (1) Exhibit A - Proposed Order) (Hokanson, Jeffrey)
             Modified on 7/26/2022. (cmm) Modified on 8/4/2022. (cmm) (Entered: 07/26/2022) [Granted by # 10
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         7   CORRECTED ENTRY: Debtors' Ex Parte Motion for Entry of an Order Shortening Notice and Setting an Expedited Hearing on the                     07/26/2022
             Debtors' Request for a Temporary Restraining Order filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety
             LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (Attachments: (1) Exhibit A - Proposed
             Order) (Hokanson, Jeffrey). ORIGINAL ENTRY: Motion for Ex Parte Relief filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M
             Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC. (Attachments: (1)
             Exhibit A - Proposed Order) (Hokanson, Jeffrey) Modified on 7/26/2022. (cmm) Modified on 8/4/2022. (cmm) (Entered: 07/26/2022)

         8   Corporate Ownership Statement Pursuant to FRBP 7007.1 filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational                     07/26/2022
             Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC. (Hokanson, Jeffrey) (Entered:
             07/26/2022)

         9   Order Granting Ex Parte Motion To Shorten Notice And Setting Expedited Hearing on Debtors'/Plaintiffs' Request For A Temporary                07/26/2022
             Restraining Order (re: Doc # 7). Hearing to be held on 7/27/2022 at 09:30 AM Eastern in Rm 344 U.S. Courthouse, Indianapolis.
             Video participation information is included in this order. Objections are due immediately before the Hearing Attorney for the
             Debtors'/Plaintiffs must distribute this order. (lat) (Entered: 07/26/2022)

        10   Order Granting Debtors'/Plaintiff's Ex Parte Motion for Approval of Service Procedures for Summons, Complaint, and Other                      07/26/2022
             Pleadings (re: Doc # 6). Attorney for the plaintiffs must distribute this order. (lat) (Entered: 07/26/2022)

        11   Summons Issued. Attorney for Plaintiff must serve the summons and a copy of the complaint on parties pursuant to Fed.R.Bankr.P.               07/26/2022
             7004. Service to be completed by 08/02/2022. A certificate of service must be filed with the Court by 08/09/2022. Adversary Answer
             due by 8/25/2022. (cmm) (Entered: 07/26/2022)

        12   Witness List AND EXHIBIT LIST filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding                   07/26/2022
             LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 9). (Hokanson, Jeffrey) CORRECTION: Missing
             docket text added in all capitals. Modified on 7/27/2022. (cmm) (Entered: 07/26/2022)

        13   Appearance filed by Robert J Pfister on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Pfister, Robert)               07/26/2022
             (Entered: 07/26/2022)

        14   Certificate of Service re: Complaint, Motion for Preliminary Injunction, Declaration, Declaration, Exhibit, Debtors' Ex Parte Motion          07/26/2022
             for Approval of Service Procedures for Summons, Complaint, and Other Pleadings, Debtors' Ex Parte Motion for Entry of an Order
             Shortening Notice and Setting an Expedited Hearing on the Debtors' Request for a Temporary Restraining Order, Corporate
             Ownership Statement, Scheduling Order, Order on Motion for Authority, filed by Noticing Agent on behalf of Plaintiff Aearo
             Technologies LLC (re: Doc # 1, 2, 3, 4, 5, 6, 7, 8, 9, 10). (Baer, Herbert) (Entered: 07/26/2022)

        15   Witness List AND EXHIBIT LIST filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding                   07/27/2022
             LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 9). (Hokanson, Jeffrey) CORRECTION: Missing
             docket text added in all capitals. Modified on 7/27/2022. (cmm) (Entered: 07/27/2022)

        16   Objection to Motion for Preliminary Injunction filed by Robert J Pfister on behalf of Interested Party Aylstock, Witkin, Kreis &              07/27/2022
             Overholtz, PLLC (re: Doc # 2). (Pfister, Robert) (Entered: 07/27/2022)

        17   Appearance filed by Deborah Caruso on behalf of Interested Party Seeger Weiss LLP. (Caruso, Deborah) (Entered: 07/27/2022)                    07/27/2022



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        18   Appearance filed by Meredith R. Theisen on behalf of Interested Party Seeger Weiss LLP. (Theisen, Meredith) (Entered:                     07/27/2022
             07/27/2022)

        19   Response in Support of Objection filed by Deborah Caruso on behalf of Interested Party Seeger Weiss LLP (re: Doc # 16).                   07/27/2022
             (Caruso, Deborah) (Entered: 07/27/2022)

        20   Appearance filed by Michael Andolina on behalf of Interested Party 3M Company. (Andolina, Michael) (Entered: 07/27/2022)                  07/27/2022

        21   Appearance filed by Laura Elizabeth Baccash on behalf of Interested Party 3M Company. (Baccash, Laura) (Entered: 07/27/2022)              07/27/2022

        22   Appearance filed by Jessica Lauria on behalf of Interested Party 3M Company. (Lauria, Jessica) (Entered: 07/27/2022)                      07/27/2022

        23   Appearance filed by Matthew Evan Linder on behalf of Interested Party 3M Company. (Linder, Matthew) (Entered: 07/27/2022)                 07/27/2022

        24   Appearance filed by Kayla D. Britton on behalf of Interested Party 3M Company. (Britton, Kayla) (Entered: 07/27/2022)                     07/27/2022

        25   Appearance filed by Jay Jaffe on behalf of Interested Party 3M Company. (Jaffe, Jay) (Entered: 07/27/2022)                                07/27/2022

        26   Appearance filed by Elizabeth Marie Little on behalf of Interested Party 3M Company. (Little, Elizabeth) (Entered: 07/27/2022)            07/27/2022

        27   Appearance filed by Harmony A Mappes on behalf of Interested Party 3M Company. (Mappes, Harmony) (Entered: 07/27/2022)                    07/27/2022

        28   Appearance filed by Thomas E Patterson on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Patterson,               07/27/2022
             Thomas) (Entered: 07/27/2022)

        29   Appearance filed by Sasha M. Gurvitz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Gurvitz, Sasha)            07/27/2022
             (Entered: 07/27/2022)

        30   Appearance filed by Nir Maoz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Maoz, Nir) (Entered:               07/27/2022
             07/27/2022)

        31   Certificate of Service re: Complaint, Motion for Preliminary Injunction, Declaration, Declaration, Exhibit, Debtors' Ex Parte Motion      07/27/2022
             for Approval of Service Procedures for Summons, Complaint, and Other Pleadings, Debtors' Ex Parte Motion for Entry of an Order
             Shortening Notice and Setting an Expedited Hearing on the Debtors' Request for a Temporary Restraining Order, Corporate
             Ownership Statement, Scheduling Order, Order on Motion for Authority, filed by Noticing Agent on behalf of Plaintiff Aearo
             Technologies LLC (re: Doc # 1, 2, 3, 4, 5, 6, 7, 8, 9, 10). (Baer, Herbert) (Entered: 07/27/2022)

        32   Hearing on Debtors'/Plaintiffs' Motion for Declaratory and Injunctive Relief (I) Confirming that the Automatic Stay Applies to Certain    07/27/2022
             Actions Against a Non-Debtor; (II) Preliminarily Enjoining Certain Actions Against a Non-Debtor; and (III) Granting a Temporary
             Restraining Order Pending an Order on the Preliminary Injunction Motion and Objection thereto by Interested Party Aylstock,
             Witkin, Kreis & Overholtz, PLLC and Response in Support of Objection by Interested Party Seeger Weiss LLP (re: Doc # 2,16,19).
             Disposition: Hearing held. Parties to file Agreed Entry as to Debtors'/Plaintiffs' request for Temporary Restraining Order within three
             days. Court sets Preliminary Injunction Hearing on 08/15/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and
             via Zoom. Debtors/Plaintiffs to submit Order Setting Hearing within three days. (hhd) (Entered: 07/28/2022)

        33   Request for Transcript filed by Nir Maoz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC (re: Doc # 32).          07/28/2022
             (Maoz, Nir) (Entered: 07/28/2022)

        34   Request for Transcript filed by Meredith R. Theisen on behalf of Interested Party Seeger Weiss LLP (re: Doc # 32). (Theisen,              07/28/2022
             Meredith) (Entered: 07/28/2022)

        35   Appearance filed by Patricia B. Tomasco on behalf of Interested Party Bellwether Plaintiffs Adkins, Wilkerson, & Vaughn. (Tomasco,        07/28/2022
             Patricia) (Entered: 07/28/2022)

        36   Appearance filed by Michael L. Tuchin on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Tuchin, Michael)          07/28/2022
             (Entered: 07/28/2022)

        37   Request for Transcript filed by Elizabeth Marie Little on behalf of Interested Party 3M Company (re: Doc # 32). (Little, Elizabeth)       07/28/2022
             (Entered: 07/28/2022)

        38   Appearance filed by Adam Arceneaux on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate              07/29/2022
             LLC, Aearo LLC, Aearo Technologies LLC. (Arceneaux, Adam) CORRECTION: Document filed in error. See doc. #45 for corrected
             filing. Modified on 8/1/2022. (cmm) (Entered: 07/29/2022)

        39   Appearance filed by Brent Barriere on behalf of Interested Party Clark, Love & Hutson, PLLC. (Barriere, Brent) (Entered:                  07/29/2022
             07/29/2022)

        40   Appearance filed by Tristan Manthey on behalf of Interested Party Clark, Love & Hutson, PLLC. (Manthey, Tristan) (Entered:                07/29/2022
             07/29/2022)

        41   Appearance filed by Cherie Nobles on behalf of Interested Party Clark, Love & Hutson, PLLC. (Nobles, Cherie) (Entered:                    07/29/2022
             07/29/2022)



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        42   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 7/27/2022. The transcript may be viewed at the        08/01/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 33, 34, 37). Remote electronic access to the transcript is restricted until 10/31/2022. (Bowen, James)
             (Entered: 08/01/2022) [Transcript]

        43   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 7/27/2022. The transcript may be viewed at the        08/01/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 33, 34, 37). Remote electronic access to the transcript is restricted until 10/31/2022. (Bowen, James)
             (Entered: 08/01/2022) [Transcript]

        44   Appearance filed by Laura A DuVall on behalf of U.S. Trustee. (DuVall, Laura) (Entered: 08/01/2022)                                   08/01/2022

        45   Appearance filed by Adam Arceneaux on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate          08/01/2022
             LLC, Aearo LLC, Aearo Technologies LLC. (Arceneaux, Adam) (Entered: 08/01/2022)

        46   Appearance filed by Harrison Edward Strauss on behalf of U.S. Trustee. (Strauss, Harrison) (Entered: 08/01/2022)                      08/01/2022

        47   Appearance filed by Melanie Louise Cyganowski on behalf of Interested Party Seeger Weiss LLP. (Cyganowski, Melanie) (Entered:         08/01/2022
             08/01/2022)

        48   Appearance filed by Adam C. Silverstein on behalf of Interested Party Seeger Weiss LLP. (Silverstein, Adam) (Entered:                 08/01/2022
             08/01/2022)

        49   Appearance filed by John Bougiamas on behalf of Interested Party Seeger Weiss LLP. (Bougiamas, John) (Entered: 08/01/2022)            08/01/2022

        50   Appearance filed by Robert C Yan on behalf of Interested Party Seeger Weiss LLP. (Yan, Robert) (Entered: 08/01/2022)                  08/01/2022

        51   Appearance filed by Jason Walker Burge on behalf of Interested Party Clark, Love & Hutson, PLLC. (Burge, Jason) (Entered:             08/01/2022
             08/01/2022)

        52   Notice of Submission // Notice of (I) Service of Certain Discovery Requests; and (II) Intent to Serve Subpoena to Testify at a        08/01/2022
             Deposition filed by Robert J Pfister on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Attachments: (1)
             Written Discovery Requests (2) Castellano Deposition Notice (3) Stein Deposition Notice (4) 3M Subpoena) (Pfister, Robert)
             (Entered: 08/01/2022)

        53   Agreed Entry Resolving Debtors' Request for a Temporary Restraining Order filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M      08/01/2022
             Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 2).
             (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 08/01/2022)

        54   CORRECTED ENTRY: Notice of Hearing re: Motion for Preliminary Injunction filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M       08/01/2022
             Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc 2).
             Objections due by 4:00 PM Eastern on 8/11/2022. Hearing to be held on 8/15/2022 at 09:00 AM Eastern in Rm 311 U.S.
             Courthouse, Indianapolis. Video participation information is included in this notice. Parties that wish to listen but not actively
             participate may do so by phone at 551-285-1373 or 646-828-7669, Meeting ID 160 2312 6397 (Hokanson, Jeffrey) ORIGINAL
             ENTRY: Notice of Hearing re: Agreed Entry, filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo
             Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc 53). Objections due by 4:00 PM Eastern on
             8/11/2022. Hearing to be held on 8/15/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis. (Hokanson, Jeffrey)
             Modified on 8/2/2022. (cmm) Modified on 8/4/2022. (cmm) (Entered: 08/01/2022)

        55   Appearance filed by Ashley Keller on behalf of Defendant Parties Listed on Appendix A to the Complaint. (Keller, Ashley) (Entered:    08/02/2022
             08/02/2022)

        56   Appearance filed by Jennifer S. Feeney on behalf of Interested Party Seeger Weiss LLP. (Feeney, Jennifer) (Entered: 08/02/2022)       08/02/2022

        57   Appearance filed by Kiah T Ford IV on behalf of Interested Party Parafinczuk Wolf, P.A. (Ford, Kiah) (Entered: 08/02/2022)            08/02/2022

        58   Appearance filed by Phillip Fajgenbaum on behalf of Interested Party Parafinczuk Wolf, P.A. (Fajgenbaum, Phillip) (Entered:           08/02/2022
             08/02/2022)

        59   Appearance filed by Maggie B. Burrus on behalf of Interested Party Bailey Glasser Plaintiffs. (Burrus, Maggie) (Entered:              08/02/2022
             08/02/2022)

        60   Appearance filed by Kevin W Barrett on behalf of Interested Party Bailey Glasser Plaintiffs. (Barrett, Kevin) (Entered: 08/02/2022)   08/02/2022

        61   Appearance filed by Samuel P Hershey on behalf of Interested Party 3M Company. (Hershey, Samuel) (Entered: 08/02/2022)                08/02/2022

        62   Amended Agreed Entry Resolving Debtor's Request for a Temporary Restraining Order filed by Jeffrey A Hokanson on behalf of            08/02/2022
             Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc
             # 2). (Attachments: (1) Exhibit) (Hokanson, Jeffrey) (Entered: 08/02/2022) [Approved by # 78
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        63   CORRECTED ENTRY: Amended Notice of Hearing re: Motion for Preliminary Injunction, filed by Jeffrey A Hokanson on behalf of              08/02/2022
             Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc
             # 54). Objections due by 4:00 PM Eastern on 8/11/2022. Hearing to be held on 8/15/2022 at 09:00 AM Eastern in Rm 307 U.S.
             Courthouse, Indianapolis. Video participation information is included in this notice. Parties that wish to listen but not actively
             participate may do so by phone at 551-285-1373 or 646-828-7669, Meeting ID 160 2312 6397 (Hokanson, Jeffrey) ORIGINAL
             ENTRY: Amended Notice of Hearing re: Agreed Entry, filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety
             LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 54). Objections due by 4:00 PM
             Eastern on 8/11/2022. Hearing to be held on 8/15/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis. (Hokanson,
             Jeffrey) Modified on 8/4/2022. (cmm) (Entered: 08/02/2022)

        64   Notice of Submission //Notice of Service of Requests for Production and Intent to Serve Notices of Deposition and Subpoena filed        08/02/2022
             by Kevin C Maclay on behalf of Interested Parties Heninger Garrison Davis, LLC, Cory Watson, P.C. (Maclay, Kevin) (Entered:
             08/02/2022)

        65   Appearance filed by Brian A Glasser on behalf of Interested Party Bailey Glasser Plaintiffs. (Glasser, Brian) (Entered: 08/03/2022)     08/03/2022

        66   Appearance filed by Kevin C Maclay on behalf of Interested Party Cory Watson, P.C. (Maclay, Kevin) (Entered: 08/03/2022)                08/03/2022

        67   Appearance filed by Kevin C Maclay on behalf of Interested Party Heninger Garrison Davis, LLC. (Maclay, Kevin) (Entered:                08/03/2022
             08/03/2022)

        68   Appearance filed by Kevin M Davis on behalf of Interested Party Cory Watson, P.C. (Davis, Kevin) (Entered: 08/03/2022)                  08/03/2022

        69   Appearance filed by Kevin M Davis on behalf of Interested Party Heninger Garrison Davis, LLC. (Davis, Kevin) (Entered:                  08/03/2022
             08/03/2022)

        70   Appearance filed by Todd E. Phillips on behalf of Interested Party Cory Watson, P.C. (Phillips, Todd) (Entered: 08/03/2022)             08/03/2022

        71   Appearance filed by Todd E. Phillips on behalf of Interested Party Heninger Garrison Davis, LLC. (Phillips, Todd) (Entered:             08/03/2022
             08/03/2022)

        72   Notice of Submission \\ Notice of Joinder of the Bailey Glasser Plaintiffs to Certain Claimants' Discovery Requests, Depositions and    08/03/2022
             Deposition Subpoena filed by Kevin W Barrett on behalf of Interested Party Bailey Glasser Plaintiffs (re: Doc # 52). (Barrett, Kevin)
             (Entered: 08/03/2022)

        73   Appearance filed by Shelley Van Natter Hutson on behalf of Interested Party Clark, Love & Hutson, PLLC. (Hutson, Shelley)               08/04/2022
             (Entered: 08/04/2022)

        74   Appearance filed by William Michael Moreland on behalf of Interested Party Clark, Love & Hutson, PLLC. (Moreland, William)              08/04/2022
             (Entered: 08/04/2022)

        75   Appearance filed by Clayton A Clark on behalf of Interested Party Clark, Love & Hutson, PLLC. (Clark, Clayton) (Entered:                08/04/2022
             08/04/2022)

        76   JOINT Request for Status Conference filed by Kevin W Barrett, Jeffrey A Hokanson, Jay Jaffe, Kevin C Maclay, Robert J Pfister,          08/05/2022
             Meredith R. Theisen on behalf of Interested Parties 3M Company, Aylstock, Witkin, Kreis & Overholtz, PLLC, Bailey Glasser
             Plaintiffs, Cory Watson, P.C., Heninger Garrison Davis, LLC, Seeger Weiss LLP, Plaintiffs 3M Occupational Safety LLC, Aearo
             Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC. (Theisen, Meredith) CORRECTION: Missing docket
             text added in all capitals. Modified on 8/5/2022. (cmm) (Entered: 08/05/2022)

        77   Notice of Status Conference on Joint Request for Status Conference (re: Doc # 76). Status conference to be held on 8/8/2022 at          08/05/2022
             02:00 PM Eastern via Zoom video conference with Judge Graham. Parties that wish to listen but not actively participate may do so
             by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397 (lat) CORRECTION: Second phone number to listen to the
             hearing changed from 646-828-7669 to 646-828-7666. Modified on 8/8/2022. (cmm) (Entered: 08/05/2022)

        78   Order Approving Agreed Entry (re: Doc # 62). The Clerk's Office will distribute this order. (cmm) (Entered: 08/05/2022)                 08/05/2022

        79   Appearance filed by Kevin C Maclay on behalf of Interested Party The Gori Law Firm, P.C. (Maclay, Kevin) (Entered: 08/05/2022)          08/05/2022

        80   Appearance filed by Todd E. Phillips on behalf of Interested Party The Gori Law Firm, P.C. (Phillips, Todd) (Entered: 08/05/2022)       08/05/2022

        81   Appearance filed by Kevin M Davis on behalf of Interested Party The Gori Law Firm, P.C. (Davis, Kevin) (Entered: 08/05/2022)            08/05/2022

        82   Notice of Submission // Notice of Service of Deposition Notices filed by Robert J Pfister on behalf of Interested Party Aylstock,       08/05/2022
             Witkin, Kreis & Overholtz, PLLC. (Pfister, Robert) (Entered: 08/05/2022)

        83   Appearance filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo                     08/08/2022
             Intermediate LLC, Aearo LLC, Aearo Technologies LLC. (Hokanson, Jeffrey) (Entered: 08/08/2022)




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        84   Notice of Submission of Joint Notice of Disputed Issues for Status Conference Regarding Certain Discovery Matters filed by Kevin        08/08/2022
             W Barrett, Jeffrey A Hokanson, Jay Jaffe, Kevin C Maclay, Robert J Pfister, Meredith R. Theisen on behalf of Interested Parties 3M
             Company, Aylstock, Witkin, Kreis & Overholtz, PLLC, Bailey Glasser Plaintiffs, Bellwether Plaintiffs Adkins, Wilkerson, & Vaughn,
             Clark, Love & Hutson, PLLC, Cory Watson, P.C., Heninger Garrison Davis, LLC, Seeger Weiss LLP, Plaintiffs 3M Occupational
             Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 76). (Theisen, Meredith)
             (Entered: 08/08/2022)

        85   Minute Entry/Order: re: Video Status Conference on Joint Request for Status Conference re: Certain Discovery Matters (re: Doc #         08/08/2022
             76). Disposition: Video Status Conference held. (hhd) (Entered: 08/08/2022)

        86   Appearance filed by Martha R. Lehman on behalf of Interested Parties Johnson Law Group, Tracey Fox King & Walters. (Lehman,             08/08/2022
             Martha) (Entered: 08/08/2022)

        87   Request for Transcript filed by Nir Maoz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC (re: Doc # 85).        08/08/2022
             (Maoz, Nir) (Entered: 08/08/2022)

        88   SECOND AMENDED Notice of Hearing with Certificate of Service re: Motion for Preliminary Injunction, filed by Jeffrey A Hokanson         08/09/2022
             on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies
             LLC (re: Doc 63). Objections due by 4:00 PM Eastern on 8/11/2022. Hearing to be held on 8/15/2022 at 09:00 AM Eastern in Rm
             307 U.S. Courthouse, Indianapolis. VIDEO PARTICIPATION INFORMATION IS INCLUDED IN THIS NOTICE. PARTIES THAT
             WISH TO LISTEN BUT NOT ACTIVELY PARTICIPATE MAY DO SO BY PHONE AT 551-285-1373 OR 646-828-7666, MEETING
             ID 160 2312 6397. (Hokanson, Jeffrey) CORRECTION: Missing docket text added in all capitals. Courtroom number changed from
             310 to 307. Related document number changed from 2 to 63. Modified on 8/9/2022. (cmm) (Entered: 08/09/2022)

        89   Appearance filed by David R. Buchanan on behalf of Interested Party Seeger Weiss LLP. (Buchanan, David) (Entered: 08/09/2022)           08/09/2022

        90   Appearance filed by Christopher A. Seeger on behalf of Interested Party Seeger Weiss LLP. (Seeger, Christopher) (Entered:               08/09/2022
             08/09/2022)

        91   Appearance filed by Gregory Starner on behalf of Interested Party 3M Company. (Starner, Gregory) (Entered: 08/09/2022)                  08/09/2022

        92   Appearance filed by Bryan F. Aylstock on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Aylstock, Bryan)        08/09/2022
             (Entered: 08/09/2022)

        93   Appearance filed by Jennifer M. Hoekstra on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Hoekstra,            08/09/2022
             Jennifer) (Entered: 08/09/2022)

        94   Appearance filed by Bobby Jene Bradford, Jr. on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Bradford,        08/09/2022
             Jr., Bobby) (Entered: 08/09/2022)

        95   Appearance filed by Justin G. Witkin on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Witkin, Justin)          08/10/2022
             (Entered: 08/10/2022)

        96   Appearance filed by David L. Selby II on behalf of Interested Party Bailey Glasser Plaintiffs. (Selby, David) (Entered: 08/10/2022)     08/10/2022

        97   Appearance filed by D. Todd Mathews on behalf of Interested Party Bailey Glasser Plaintiffs. (Mathews, D.) (Entered: 08/10/2022)        08/10/2022

        98   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 8/8/2022. The transcript may be viewed at the           08/10/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 87). Remote electronic access to the transcript is restricted until 11/08/2022. (Bowen, James) (Entered:
             08/10/2022) [Transcript]

        99   Certificate of Service re: Complaint, Order on Motion for Authority, Summons Issued, Agreed Entry, Hearing Notice, Agreed Entry,        08/11/2022
             Hearing Notice, filed by Noticing Agent on behalf of Plaintiff Aearo Technologies LLC (re: Doc # 1, 10, 11, 53, 54, 62, 63). (Baer,
             Herbert) (Entered: 08/11/2022)

       100   Objection to Motion for Preliminary Injunction filed by Kevin W Barrett on behalf of Interested Party Bailey Glasser Plaintiffs (re:    08/11/2022
             Doc # 2). (Barrett, Kevin) (Entered: 08/11/2022)

       101   Objection to Motion for Preliminary Injunction filed by Harrison Edward Strauss on behalf of U.S. Trustee (re: Doc # 2). (Strauss,      08/11/2022
             Harrison) (Entered: 08/11/2022)

       102   Objection to Motion for Preliminary Injunction filed by Syed Ali Saeed on behalf of Interested Party Paul LLP (re: Doc # 2). (Saeed,    08/11/2022
             Syed) (Entered: 08/11/2022)

       103   Objection to Motion for Preliminary Injunction, OR IN THE ALTERNATIVE, REQUEST FOR CONDITION TO IMPOSE                                  08/11/2022
             INJUNCTION filed by Ashley Keller on behalf of Interested Parties Charles Rataj, Keller Postman LLC (re: Doc # 2). (Attachments:
             (1) Exhibit 1 (2) Exhibit 2 (3) Exhibit 3 (4) Exhibit 4 (5) Exhibit 5 (6) Exhibit 6) (Keller, Ashley) CORRECTION: Missing docket text
             added in all capitals. Modified on 8/12/2022. (cmm) (Entered: 08/11/2022)

       104   Witness List AND EXHIBIT LIST filed by Ashley Keller on behalf of Interested Parties Keller Postman LLC, Charles Rataj (re: Doc #       08/11/2022
             2). (Keller, Ashley) CORRECTION: Missing docket text added in all capitals. Modified on 8/12/2022. (cmm) (Entered: 08/11/2022)


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       105   Supplemental Brief in Support re: Motion for Preliminary Injunction, filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M                     08/11/2022
             Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 2).
             (Attachments: (1) Exhibit 1 (2) Exhibit 2 (3) Exhibit 3 (4) Exhibit 4 (5) Exhibit 5 (6) Exhibit 6 (7) Exhibit 7 (8) Exhibit 8 (9) Exhibit 9
             (10) Exhibit 10 (11) Exhibit 11 (12) Exhibit 12 (13) Exhibit 13 (14) Exhibit 14 (15) Exhibit 15 (16) Exhibit 16 (17) Exhibit 17 (18)
             Exhibit 18 (19) Exhibit 19) (Hokanson, Jeffrey) CORRECTION: Document filed in error. See doc. #110 for corrected filing. Modified
             on 8/12/2022. (cmm) (Entered: 08/11/2022)

       106   WITNESS LIST AND Exhibit List filed by Brian A Glasser, Martha R. Lehman, Kevin C Maclay, Tristan Manthey, Adam C.                              08/11/2022
             Silverstein, Patricia B. Tomasco, Robert J Pfister on behalf of Interested Parties Aylstock, Witkin, Kreis & Overholtz, PLLC, Bailey
             Glasser Plaintiffs, Bellwether Plaintiffs Adkins, Wilkerson, & Vaughn, Clark, Love & Hutson, PLLC, Cory Watson, P.C., Heninger
             Garrison Davis, LLC, Johnson Law Group, Seeger Weiss LLP, The Gori Law Firm, P.C., Tracey Fox King & Walters (re: Doc # 32).
             (Pfister, Robert) CORRECTION: Missing docket text added in all capitals. Modified on 8/12/2022. (cmm) (Entered: 08/11/2022)

       107   Witness List AND EXHIBIT LIST filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding                     08/11/2022
             LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 2). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey)
             CORRECTION: Missing docket text added in all capitals. Modified on 8/12/2022. (cmm) (Entered: 08/11/2022)

       108   Objection to Motion for Preliminary Injunction filed by Sasha M. Gurvitz, Martha R. Lehman, Kevin C Maclay, Tristan Manthey,                    08/11/2022
             Adam C. Silverstein, Patricia B. Tomasco, Robert J Pfister on behalf of Interested Parties Aylstock, Witkin, Kreis & Overholtz,
             PLLC, Bellwether Plaintiffs Adkins, Wilkerson, & Vaughn, Clark, Love & Hutson, PLLC, Cory Watson, P.C., Heninger Garrison
             Davis, LLC, Johnson Law Group, Seeger Weiss LLP, The Gori Law Firm, P.C., Tracey Fox King & Walters (re: Doc # 2). (Pfister,
             Robert) (Entered: 08/11/2022)

       109   Notice of Submission / Debtors' Request for Judicial Notice in Support of their Motion for a Preliminary Injunction filed by Jeffrey A          08/11/2022
             Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo
             Technologies LLC (re: Doc # 4). (Attachments: (1) Exhibit 1 (2) Exhibit 2 (3) Exhibit 3 (4) Exhibit 4 (5) Exhibit 5 (6) Exhibit 6 (7)
             Exhibit 7 (8) Exhibit 8 (9) Exhibit 9 (10) Exhibit 10 (11) Exhibit 11 (12) Exhibit 12 (13) Exhibit 13 (14) Exhibit 14 (15) Exhibit 15 (16)
             Exhibit 16 (17) Exhibit 17 (18) Exhibit 18 (19) Exhibit 19 (20) Exhibit 20 (21) Exhibit 21 (22) Exhibit 22 (23) Exhibit 23 (24) Exhibit
             24 (25) Exhibit 25 (26) Exhibit 26 (27) Exhibit 27 (28) Certificate of Service 28 (29) Exhibit 29 (30) Exhibit 30 (31) Exhibit 31 (32)
             Exhibit 32 (33) Exhibit 33 (34) Exhibit 34 (35) Exhibit 35 (36) Exhibit 36 (37) Exhibit 37 (38) Exhibit 38 (39) Exhibit 39 (40) Exhibit
             40 (41) Exhibit 41 (42) Exhibit 42 (43) Exhibit 43 (44) Exhibit 44 (45) Exhibit 45 (46) Exhibit 46 (47) Exhibit 47 (48) Exhibit 48 (49)
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             57 (58) Exhibit 58 (59) Affidavit 59 (60) Exhibit 60 (61) Exhibit 61 (62) Exhibit 62 (63) Exhibit 63 (64) Exhibit 63 (65) Exhibit 65 (66)
             Exhibit 66 (67) Exhibit 67 (68) Exhibit 68a (69) Exhibit 68b (70) Exhibit 68c (71) Exhibit 68d (72) Exhibit 68e (73) Exhibit 68f (74)
             Certificate of Service 68g (75) Exhibit 68h (76) Exhibit 68i (77) Exhibit 68j (78) Exhibit 68k (79) Exhibit 68l (80) Exhibit 68m (81)
             Exhibit 68n (82) 68o (83) Exhibit 68p (84) Exhibit 68r (85) Exhibit 69 (86) Exhibit 70 (87) Exhibit 71 (88) Certificate of Service 72
             (89) Exhibit 73 (90) Exhibit 74 (91) Exhibit 75 (92) Exhibit 76 (93) Exhibit 77 (94) Exhibit 78 (95) Exhibit 79 (96) Exhibit 80 (97)
             Exhibit 81 (98) Exhibit 82 (99) Exhibit 83 (100) Exhibit 84 (101) Exhibit 85 (102) Exhibit 86 (103) Exhibit 87 (104) Exhibit 88 (105)
             Exhibit 89 (106) Exhibit 90) (Hokanson, Jeffrey) (Entered: 08/11/2022)

       110   Supplemental Brief in Support re: Motion for Preliminary Injunction, filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M                     08/11/2022
             Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 2).
             (Attachments: (1) Exhibit 1 (2) Exhibit 2 (3) Exhibit 3 (4) Exhibit 4 (5) Exhibit 5 (6) Exhibit 6 (7) Exhibit 7 (8) Exhibit 8 (9) Exhibit 9
             (10) Exhibit 10 (11) Exhibit 11 (12) Exhibit 12 (13) Exhibit 13 (14) Exhibit 14 (15) Exhibit 15 (16) Exhibit 16 (17) Exhibit 17 (18)
             Exhibit 18 (19) Exhibit 19) (Hokanson, Jeffrey) (Entered: 08/11/2022)

       111   WITNESS LIST AND Exhibit List filed by Brian A Glasser, Martha R. Lehman, Kevin C Maclay, Tristan Manthey, Adam C.                              08/12/2022
             Silverstein, Robert J Pfister on behalf of Interested Parties Aylstock, Witkin, Kreis & Overholtz, PLLC, Bailey Glasser Plaintiffs,
             Bellwether Plaintiffs Adkins, Wilkerson, & Vaughn, Clark, Love & Hutson, PLLC, Cory Watson, P.C., Heninger Garrison Davis, LLC,
             Johnson Law Group, Seeger Weiss LLP, The Gori Law Firm, P.C., Tracey Fox King & Walters (re: Doc # 106). (Pfister, Robert)
             CORRECTION: Missing docket text added in all capitals. Modified on 8/12/2022. (cmm) (Entered: 08/12/2022)

       112   Notice of Submission / Notice of Replacement Exhibits to Debtors' Supplemental Submission in Advance of the August 15, 2022                     08/12/2022
             Hearing on Their Motion for Declaratory and Injunctive Relief (I) Confirming that the Automatic Stay Applies to Certain Actions
             Against a Non-Debtor; and (II) Preliminarily Enjoining Certain Actions Against a Non-Debtor filed by Jeffrey A Hokanson on behalf
             of Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re:
             Doc # 110). (Attachments: (1) Exhibit 1 (2) Exhibit 2 (3) Exhibit 3 (4) Exhibit 4 (5) Exhibit 5 (6) Exhibit 6 (7) Exhibit 7 (8) Exhibit 8 (9)
             Exhibit 9 (10) Exhibit 10 (11) Exhibit 11 (12) Exhibit 12 (13) Exhibit 13 (14) Exhibit 14 (15) Exhibit 15 (16) Exhibit 16 (17) Exhibit 17
             (18) Exhibit 18 (19) Exhibit 19) (Hokanson, Jeffrey) (Entered: 08/12/2022)




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       113   Notice of Submission Claimants' Request for Judicial Notice in Support of their Objection to the Debtors' Motion for Declaratory and           08/13/2022
             Injunctive Relief filed by Kevin W Barrett, Brent Barriere, Jason Walker Burge, Maggie B. Burrus, Deborah Caruso, Melanie Louise
             Cyganowski, Kevin M Davis, Jennifer S. Feeney, Sasha M. Gurvitz, Kevin C Maclay, Tristan Manthey, Nir Maoz, D. Todd Mathews,
             Cherie Nobles, Thomas E Patterson, Robert J Pfister, Todd E. Phillips, David L. Selby II, Adam C. Silverstein, Meredith R. Theisen,
             Patricia B. Tomasco, Michael L. Tuchin, Brian A Glasser on behalf of Interested Parties Aylstock, Witkin, Kreis & Overholtz, PLLC,
             Bailey Glasser Plaintiffs, Bellwether Plaintiffs Adkins, Wilkerson, & Vaughn, Clark, Love & Hutson, PLLC, Cory Watson, P.C.,
             Heninger Garrison Davis, LLC, Johnson Law Group, Seeger Weiss LLP, The Gori Law Firm, P.C. (Attachments: (1) Exhibit Exhibit
             1 (2) Exhibit Exhibit 2 (3) Exhibit Exhibit 3 (4) Exhibit Exhibit 4 (5) Exhibit Exhibit 5 (6) Exhibit Exhibit 6 (7) Exhibit Exhibit 7 (8)
             Exhibit Exhibit 8 (9) Exhibit Exhibit 9 (10) Exhibit Exhibit 10 (11) Exhibit Exhibit 11 (12) Exhibit Exhibit 12 (13) Exhibit Exhibit 13 (14)
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             Exhibit Exhibit 65 (66) Exhibit Exhibit 66 (67) Exhibit Exhibit 67 (68) Exhibit Exhibit 68 (69) Exhibit Exhibit 69 (70) Exhibit Exhibit 70
             (71) Exhibit Exhibit 71 (72) Exhibit Exhibit 72 (73) Exhibit Exhibit 74 (74) Exhibit Exhibit 73 (75) Exhibit Exhibit 75 (76) Exhibit
             Exhibit 76 (77) Exhibit Exhibit 77 (78) Exhibit Exhibit 78 (79) Exhibit Exhibit 79 (80) Exhibit Exhibit 80 (81) Exhibit Exhibit 81 (82)
             Certificate of Service Exhibit 82 (83) Exhibit Exhibit 83 (84) Exhibit Exhibit 84 (85) Exhibit Exhibit 85 (86) Exhibit Exhibit 86 (87)
             Exhibit Exhibit 87 (88) Exhibit Exhibit 88 (89) Exhibit Exhibit 89 (90) Exhibit Exhibit 90 (91) Exhibit Exhibit 91 (92) Exhibit Exhibit 92
             (93) Exhibit Exhibit 93 (94) Exhibit Exhibit 94 (95) Exhibit Exhibit 95 (96) Exhibit Exhibit 96 (97) Exhibit Exhibit 97 (98) Exhibit
             Exhibit 98 (99) Exhibit Exhibit 99 (100) Exhibit Exhibit 100 (101) Exhibit Exhibit 101 (102) Exhibit Exhibit 102 (103) Exhibit Exhibit
             103 (104) Exhibit Exhibit 104 (105) Exhibit Exhibit 105 (106) Exhibit Exhibit 106 (107) Exhibit Exhibit 107 (108) Exhibit 108 (109)
             Exhibit Exhibit 109 (110) Exhibit Exhibit 110 (111) Certificate of Service Exhibit 111 (112) Exhibit Exhibit 112 (113) Exhibit Exhibit
             113 (114) Exhibit Exhibit 114 (115) Exhibit Exhibit 115 (116) Exhibit Exhibit 116 (117) Exhibit Exhibit 117 (118) Exhibit Exhibit 118
             (119) Exhibit Exhibit 119 (120) Exhibit Exhibit 120 (121) Exhibit Exhibit 121 (122) Exhibit Exhibit 122 (123) Exhibit Exhibit 123 (124)
             Exhibit Exhibit 124 (125) Exhibit Exhibit 126 (126) Exhibit Exhibit 125 (127) Exhibit Exhibit 127 (128) Exhibit Exhibit 128 (129)
             Exhibit Exhibit 129 (130) Exhibit Exhibit 130 (131) Exhibit Exhibit 131 (132) Exhibit Exhibit 132 (133) Exhibit Exhibit 133 (134)
             Exhibit Exhibit 134 (135) Exhibit Exhibit 134 (136) Exhibit Exhibit 136 (137) Exhibit Exhibit 137 (138) Exhibit Exhibit 138 (139)
             Exhibit Exhibit 139 (140) Exhibit Exhibit 140 (141) Exhibit Exhibit 141 (142) Exhibit Exhibit 142 (143) Exhibit Exhibit 143 (144)
             Exhibit Exhibit 144 (145) Exhibit Exhibit 145 (146) Exhibit Exhibit 146 (147) Exhibit Exhibit 147 (148) Exhibit Exhibit 148 (149)
             Exhibit Exhibit 149 (150) Exhibit Exhibit 150 (151) Exhibit Exhibit 151 (152) Exhibit Exhibit 152 (153) Exhibit Exhibit 153 (154)
             Exhibit Exhibit 154 (155) Exhibit Exhibit 155 (156) Exhibit Exhibit 156 (157) Exhibit Exhibit 57 (158) Exhibit Exhibit 158 (159) Exhibit
             Exhibit 159 (160) Exhibit Exhibit 160 (161) Exhibit Exhibit 161 (162) Exhibit Exhibit 162 (163) Exhibit Exhibit 163 (164) Exhibit
             Exhibit 164 (165) Exhibit Exhibit 165 (166) Exhibit Exhibit 166 (167) Exhibit Exhibit 167 (168) Exhibit 168 (169) Exhibit Exhibit 169
             (170) Exhibit Exhibit 170 (171) Exhibit Exhibit 171 (172) Exhibit Exhibit 172) (Glasser, Brian) (Entered: 08/14/2022)

       114   WITNESS LIST AND AMENDED Exhibit List filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo                    08/14/2022
             Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 2). (Attachments: (1) Exhibit A)(Hokanson,
             Jeffrey) CORRECTION: Missing docket text added in all capitals. Modified on 8/15/2022. (cmm) (Entered: 08/14/2022)

       115   Notice of Submission / Agenda for Hearing on the Debtors' Motion for Declaratory and Injunctive Relief on August 15, 2022, at 9:00             08/14/2022
             a.m (Prevailing Eastern Time) filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC,
             Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 2). (Hokanson, Jeffrey) (Entered: 08/14/2022)

       116   Notice of Submission // Notice of Order in In re 3M Combat Arms Liability Litigation filed by Kevin M Davis, Brian A Glasser, Martha           08/14/2022
             R. Lehman, Tristan Manthey, Adam C. Silverstein, Patricia B. Tomasco, Robert J Pfister on behalf of Interested Parties Aylstock,
             Witkin, Kreis & Overholtz, PLLC, Bailey Glasser Plaintiffs, Bellwether Plaintiffs Adkins, Wilkerson, & Vaughn, Clark, Love & Hutson,
             PLLC, Cory Watson, P.C., Heninger Garrison Davis, LLC, Johnson Law Group, Seeger Weiss LLP, The Gori Law Firm, P.C., Tracey
             Fox King & Walters. (Pfister, Robert) (Entered: 08/14/2022)

       117   AMENDED Witness List AND SECOND AMENDED EXHIBIT LIST filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M                                    08/14/2022
             Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc 2, 114).
             (Attachments: (1) Exhibit A)(Hokanson, Jeffrey) CORRECTION: Missing docket text added in all capitals. Related document #114
             added. Modified on 8/15/2022. (cmm) (Entered: 08/14/2022)

       118   WITNESS LIST AND AMENDED Exhibit List filed by Brian A Glasser, Kevin C Maclay, Tristan Manthey, Adam C. Silverstein,                          08/15/2022
             Patricia B. Tomasco, Robert J Pfister on behalf of Interested Parties Aylstock, Witkin, Kreis & Overholtz, PLLC, Bailey Glasser
             Plaintiffs, Bellwether Plaintiffs Adkins, Wilkerson, & Vaughn, Clark, Love & Hutson, PLLC, Cory Watson, P.C., Heninger Garrison
             Davis, LLC, Johnson Law Group, Seeger Weiss LLP, The Gori Law Firm, P.C., Tracey Fox King & Walters (re: Doc # 106). (Pfister,
             Robert) CORRECTION: Missing docket text added in all capitals. Modified on 8/16/2022. (cmm) (Entered: 08/15/2022)




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       120   Minute Entry/Order: re: Hearing on Debtors'/Plaintiffs' Motion for Declaratory and Injunctive Relief (I) Confirming that the Automatic   08/15/2022
             Stay Applies to Certain Actions Against a Non-Debtor; (II) Preliminarily Enjoining Certain Actions Against a Non-Debtor; and (III)
             Granting a Temporary Restraining Order Pending an Order on the Preliminary Injunction and Objections (re: Doc # 2). Disposition:
             Hearing held. Matter continued. Hearing to be held on 08/16/2022 at 08:00 AM Eastern in Rm 307 U.S. Courthouse, Indianapolis
             and via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666,
             Meeting ID 160 2312 6397 Notice given in court and no further notice will be issued. (hhd) (Entered: 08/16/2022)

       119   AMENDED WITNESS LIST AND THIRD AMENDED Exhibit List filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational                  08/16/2022
             Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc 2, 117). (Hokanson,
             Jeffrey) CORRECTION: Missing docket text added in all capitals. Related document #117 added. Modified on 8/16/2022. (cmm)
             (Entered: 08/16/2022)

       121   Request for Transcript filed by Nir Maoz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC (re: Doc # 120).        08/16/2022
             (Maoz, Nir) (Entered: 08/16/2022)

       122   Stipulation of Facts/Documents filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC,        08/16/2022
             Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC. (Attachments: (1) Exhibit 1) (Hokanson, Jeffrey) (Entered:
             08/16/2022)

       123   Appearance filed by Sean Patrick Tracey on behalf of Interested Party Tracey Fox King & Walters. (Tracey, Sean) (Entered:                08/16/2022
             08/16/2022)

       124   Notice of Submission NOTICE OF ORDER IN IN RE 3M COMBAT ARMS LIABILITY LITIGATION filed by Brian A Glasser, Martha                       08/16/2022
             R. Lehman, Kevin C Maclay, Tristan Manthey, Adam C. Silverstein, Robert J Pfister on behalf of Interested Parties Aylstock, Witkin,
             Kreis & Overholtz, PLLC, Bailey Glasser Plaintiffs, Bellwether Plaintiffs Adkins, Wilkerson, & Vaughn, Clark, Love & Hutson, PLLC,
             Cory Watson, P.C., Heninger Garrison Davis, LLC, Johnson Law Group, Keller Postman LLC, Seeger Weiss LLP, The Gori Law
             Firm, P.C., Tracey Fox King & Walters. (Pfister, Robert) (Entered: 08/16/2022)

       125   Minute Entry/Order: re:Continued Hearing on Debtors'/Plaintiffs' Motion for Declaratory and Injunctive Relief (I) Confirming that the    08/16/2022
             Automatic Stay Applies to Certain Actions Against a Non-Debtor; (II) Preliminarily Enjoining Certain Actions Against a Non-Debtor;
             and (III) Granting a Temporary Restraining Order Pending an Order on the Preliminary Injunction and Objections (Day 2) (re: Doc #
             2). Disposition: Hearing held. Matter continued. Hearing to be held on 08/17/2022 at 08:00 AM Eastern in Rm 311 U.S. Courthouse,
             Indianapolis and via ZOOM. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-
             7666, Meeting ID 160 2312 6397. Notice given in court and no further notice will be issued. (hhd) (Entered: 08/16/2022)

       126   Request for Transcript filed by Nir Maoz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC (re: Doc # 125).        08/16/2022
             (Maoz, Nir) (Entered: 08/16/2022)

       127   Notice of Submission // Claimants' Supplemental Request for Judicial Notice filed by Robert J Pfister on behalf of Interested Party      08/17/2022
             Aylstock, Witkin, Kreis & Overholtz, PLLC (re: Doc # 113). (Pfister, Robert) (Entered: 08/17/2022)

       128   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 8/15/2022. The transcript may be viewed at the           08/17/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 121). Remote electronic access to the transcript is restricted until 11/15/2022. (Bowen, James) (Entered:
             08/17/2022) [Transcript]

       129   Notice of Submission // Supplement to Stipulated Facts filed by Nir Maoz on behalf of Interested Party Aylstock, Witkin, Kreis &         08/17/2022
             Overholtz, PLLC (re: Doc # 122). (Maoz, Nir) (Entered: 08/17/2022)

       130   Appearance filed by David Agay on behalf of Plaintiff Aearo Technologies LLC, PLAINTIFF 3M OCCUPATIONAL SAFETY LLC,                      08/17/2022
             PLAINTIFF AEARO HOLDING LLC, PLAINTIFF AEARO INTERMEDIATE LLC, AND PLAINTIFF AEARO LLC. (Agay, David)
             CORRECTION: Missing docket text added in all capitals. Modified on 8/18/2022. (cmm) (Entered: 08/17/2022)

       131   Appearance filed by Micah E. Marcus on behalf of Plaintiff Aearo Technologies LLC, PLAINTIFF 3M OCCUPATIONAL SAFETY                      08/17/2022
             LLC, PLAINTIFF AEARO HOLDING LLC, PLAINTIFF AEARO INTERMEDIATE LLC, AND PLAINTIFF AEARO LLC. (Marcus,
             Micah) CORRECTION: Missing docket text added in all capitals. Modified on 8/18/2022. (cmm) (Entered: 08/17/2022)

       132   Appearance filed by Joshua A. Gadharf on behalf of Plaintiff Aearo Technologies LLC, PLAINTIFF 3M OCCUPATIONAL SAFETY                    08/17/2022
             LLC, PLAINTIFF AEARO HOLDING LLC, PLAINTIFF AEARO INTERMEDIATE LLC, AND PLAINTIFF AEARO LLC. (Gadharf,
             Joshua) CORRECTION: Missing docket text added in all capitals. Modified on 8/18/2022. (cmm) (Entered: 08/17/2022)

       133   Appearance filed by Ashley J. Jericho on behalf of Plaintiff Aearo Technologies LLC, PLAINTIFF 3M OCCUPATIONAL SAFETY                    08/17/2022
             LLC, PLAINTIFF AEARO HOLDING LLC, PLAINTIFF AEARO INTERMEDIATE LLC, AND PLAINTIFF AEARO LLC. (Jericho,
             Ashley) CORRECTION: Missing docket text added in all capitals. Modified on 8/18/2022. (cmm) (Entered: 08/17/2022)




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       134   Minute Entry/Order: re: Continued Hearing on Debtors'/Plaintiffs' Motion for Declaratory and Injunctive Relief (I) Confirming that the      08/17/2022
             Automatic Stay Applies to Certain Actions Against a Non-Debtor; (II) Preliminarily Enjoining Certain Actions Against a Non-Debtor;
             and (III) Granting a Temporary Restraining Order Pending an Order on the Preliminary Injunction and Objections by the United
             States Trustee; Interested Parties, The Bailey Glasser and Pulaski Kherkher Plaintiffs; Interested Party, Paul LLP; Interested
             Parties, Aylstock, Witkin, Kreis & Overholtz, PLLC, Bellwether Plaintiffs Adkins, Wilkerson, & Vaughn, Clark, Love & Hutson, PLLC,
             Cory Watson, P.C., Heninger Garrison Davis, LLC, Johnson Law Group, Seeger Weiss LLP, The Gori Law Firm, P.C., Tracey Fox
             King & Walters; and on the Objection or In The Alternative, Request For Condition To Impose Injunction by Keller Postman LLC
             (Day 3) (re: Doc # 2). Disposition: Hearing held. Court swears in and hears evidence from: John R. Castellano, Chris Sullivan,
             James Heaton, Brian Myers, Michael Dai and Jeffrey Stein. Plaintiffs exhibits: 43, 144, 37, 32, 28, 24, 20, 41, 141, 146, 2, 67, 1,
             248, 176, 200, 70, 69, 247, 77, 76, 119, 71, 148, 66, Claimants exhibit A, 304, 148, 554, 142 and 138 are admitted into evidence.
             Interested parties exhibits: AG, GL, GM, K, FE, B, EY, EU, GF, and GD are entered into evidence. Parties withdraw their respective
             requests for judicial notice, docket entries 109, 113, and 127, on the record. Parties invited to submit Proposed Findings of Fact
             and Conclusions of Law by 8/22/22 at 5:00 pm Eastern. Court takes ruling on matter under advisement. (hhd) (Entered:
             08/18/2022)

       135   Request for Transcript filed by Nir Maoz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC (re: Doc # 134).           08/18/2022
             (Maoz, Nir) (Entered: 08/18/2022)

       136   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 8/16/2022. The transcript may be viewed at the              08/18/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 126). Remote electronic access to the transcript is restricted until 11/16/2022. (Bowen, James) (Entered:
             08/18/2022) [Transcript]

       137   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 8/17/2022. The transcript may be viewed at the              08/19/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 135). Remote electronic access to the transcript is restricted until 11/17/2022. (Bowen, James) (Entered:
             08/19/2022)

       138   Notice of Submission / Letter from Chad Husnick re MDL Order filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational            08/19/2022
             Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC. (Hokanson, Jeffrey) (Entered:
             08/19/2022)

       139   Notice of Submission of Letter from Ashley Keller in Response to Letter from Chad Husnick filed by Ashley Keller on behalf of               08/21/2022
             Interested Party Keller Postman LLC (re: Doc # 138). (Attachments: (1) Exhibit 1 (2) Exhibit 2) (Keller, Ashley) (Entered:
             08/21/2022)

       140   Motion to Extend Time to File Response to Debtors' Complaint filed by Brian A Glasser, Ashley Keller, Martha R. Lehman, Kevin C             08/24/2022
             Maclay, Tristan Manthey, Robert J Pfister, Syed Ali Saeed, Patricia B. Tomasco, Meredith R. Theisen on behalf of Interested Parties
             Robinson Calcagnie, Inc., Nabers Law Firm PLLC, Junell & Associates PLLC, The Monsour Law Firm, Pulaski Kherkher, PLLC,
             Weitz & Luxenberg P.C., Aylstock, Witkin, Kreis & Overholtz, PLLC, Bailey Glasser Plaintiffs, Bellwether Plaintiffs Adkins,
             Wilkerson, & Vaughn, Clark, Love & Hutson, PLLC, Cory Watson, P.C., Heninger Garrison Davis, LLC, Johnson Law Group, Keller
             Postman LLC, Paul LLP, Seeger Weiss LLP, The Gori Law Firm, P.C., Tracey Fox King & Walters. (Attachments: (1) Exhibit A -
             Proposed Order) (Theisen, Meredith) (Entered: 08/24/2022) [Granted by # 141
             CMECF.widget.DocLink('documentKcaseidV741804Kde_seq_numV557Kdm_idV43788425Kdoc_numV141Kpdf_headerV1');]

       141   Order Granting Motion to Extend Time to File Response to Debtors' Complaint (re: Doc # 140). Time to file extended to 10/10/2022.           08/26/2022
             Attorney for the interested parties must distribute this order. (cmm) (Entered: 08/26/2022)

       142   Certificate of Service re: Order on Motion to Extend Time to File Adversary Documents, filed by Meredith R. Theisen on behalf of            08/26/2022
             Interested Party Seeger Weiss LLP (re: Doc # 141). (Theisen, Meredith) (Entered: 08/26/2022)

       143   Order Denying Plaintiffs' Motion for Preliminary Injunction (re: Doc # 2). The Clerk's Office will distribute this order. (cmm) (Entered:   08/26/2022
             08/26/2022) [Opinion]

       144   BNC Certificate of Service - ORDER (re: Doc # 143). No. of Notices: 2 Notice Date 08/28/2022. (Admin) (Entered: 08/29/2022)                 08/28/2022

       145   Notice of Appeal filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo                   08/29/2022
             Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 143). Appellant Designation due by 09/12/2022. (Attachments:
             (1) Exhibit A - Order)(Hokanson, Jeffrey) (Entered: 08/29/2022)

             Receipt of Notice of Appeal( 22-50059) [appeal,ntcapl] (298.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount 298.00 (re:                08/29/2022
             Doc # 145). (U.S. Treasury) (Entered: 08/29/2022)

       146   Request for Certification for Direct Appeal to Court of Appeals filed by Jeffrey A Hokanson on behalf of Plaintiffs 3M Occupational         08/29/2022
             Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc # 145). Response to
             Request for Certification for Direct Appeal due by 09/12/2022. (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C (4) Exhibit D)
             (Hokanson, Jeffrey) (Entered: 08/29/2022) [Granted by # 181
             CMECF.widget.DocLink('documentKcaseidV741804Kde_seq_numV680Kdm_idV43843605Kdoc_numV181Kpdf_headerV1');]

       147   Appearance filed by Richard Paul III on behalf of Interested Party Paul LLP. (Paul, Richard) (Entered: 08/30/2022)                          08/30/2022

       148   Appearance filed by Ashlea Schwarz on behalf of Interested Party Paul LLP. (Schwarz, Ashlea) (Entered: 08/30/2022)                          08/30/2022

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       149   Appearance filed by Andrew T Kight on behalf of Interested Party Weitz & Luxenberg P.C. (Kight, Andrew) (Entered: 09/02/2022)              09/02/2022

       150   Appearance filed by Michael W. Hile on behalf of Interested Party Weitz & Luxenberg P.C. (Hile, Michael) (Entered: 09/02/2022)             09/02/2022

       151   Appearance filed by Justine Delaney on behalf of Interested Party Weitz & Luxenberg P.C. (Delaney, Justine) (Entered:                      09/02/2022
             09/02/2022)

       152   Appearance filed by Perry Weitz on behalf of Interested Party Weitz & Luxenberg P.C. (Weitz, Perry) (Entered: 09/02/2022)                  09/02/2022

       153   Appearance filed by Lisa Nathanson Busch on behalf of Interested Party Weitz & Luxenberg P.C. (Busch, Lisa) (Entered:                      09/06/2022
             09/06/2022)

       154   Appearance filed by Eric John McKeown on behalf of Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo                         09/08/2022
             Intermediate LLC, Aearo LLC, Aearo Technologies LLC. (McKeown, Eric) (Entered: 09/08/2022)

       155   Certificate of Service re: Notice of Appeal, Request for Certification for Direct Appeal to Court of Appeals, filed by Noticing Agent on   09/08/2022
             behalf of Plaintiff Aearo Technologies LLC (re: Doc # 145, 146). (Baer, Herbert) (Entered: 09/08/2022)

       156   Notice of Withdrawal as Attorney filed by Deborah Caruso on behalf of Interested Party Seeger Weiss LLP. (Caruso, Deborah)                 09/12/2022
             (Entered: 09/12/2022)

       157   Notice of Withdrawal as Attorney filed by Meredith R. Theisen on behalf of Interested Party Seeger Weiss LLP. (Theisen, Meredith)          09/12/2022
             (Entered: 09/12/2022)

       158   Appearance filed by Deborah Caruso on behalf of Intervenor Tort Claimants - CAE Committee. (Caruso, Deborah) (Entered:                     09/12/2022
             09/12/2022)

       159   Appearance filed by Meredith R. Theisen on behalf of Intervenor Tort Claimants - CAE Committee. (Theisen, Meredith) (Entered:              09/12/2022
             09/12/2022)

       160   Agreed Motion to Intervene filed by Jeffrey A Hokanson, Meredith R. Theisen on behalf of Plaintiffs 3M Occupational Safety LLC,            09/12/2022
             Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC, Intervenor Tort Claimants - CAE Committee.
             (Attachments: (1) Exhibit A - Proposed Order) (Theisen, Meredith) (Entered: 09/12/2022) [Granted by # 180
             CMECF.widget.DocLink('documentKcaseidV741804Kde_seq_numV675Kdm_idV43842592Kdoc_numV180Kpdf_headerV1');]

       161   Notice of Withdrawal as Attorney filed by Thomas E Patterson on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz,            09/12/2022
             PLLC. (Patterson, Thomas) (Entered: 09/12/2022)

       162   Notice of Withdrawal as Attorney filed by Melanie Louise Cyganowski on behalf of Interested Party Seeger Weiss LLP.                        09/12/2022
             (Cyganowski, Melanie) (Entered: 09/12/2022)

       163   Notice of Withdrawal as Attorney filed by Adam C. Silverstein on behalf of Interested Party Seeger Weiss LLP. (Silverstein, Adam)          09/12/2022
             (Entered: 09/12/2022)

       164   Notice of Withdrawal as Attorney filed by John Bougiamas on behalf of Interested Party Seeger Weiss LLP. (Bougiamas, John)                 09/12/2022
             (Entered: 09/12/2022)

       165   Notice of Withdrawal as Attorney filed by Robert C Yan on behalf of Interested Party Seeger Weiss LLP. (Yan, Robert) (Entered:             09/12/2022
             09/12/2022)

       166   Notice of Withdrawal as Attorney filed by Jennifer S. Feeney on behalf of Interested Party Seeger Weiss LLP. (Feeney, Jennifer)            09/12/2022
             (Entered: 09/12/2022)

       167   Objection to Request for Certification for Direct Appeal to Court of Appeals filed by Meredith R. Theisen on behalf of Intervenor Tort     09/12/2022
             Claimants - CAE Committee (re: Doc # 146). (Theisen, Meredith) (Entered: 09/12/2022)

       168   Reply to Request for Certification for Direct Appeal to Court of Appeals filed by Patricia B. Tomasco on behalf of Interested Party        09/12/2022
             Bellwether Plaintiffs Adkins and Vaugh (re: Doc # 146). (Tomasco, Patricia) CORRECTION: See doc. #179 for corrected filing.
             Modified on 9/13/2022. (cmm) (Entered: 09/12/2022)

       169   Notice of Withdrawal as Attorney filed by Nir Maoz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Maoz,         09/12/2022
             Nir) (Entered: 09/12/2022)

       170   Appearance filed by Nir Maoz on behalf of Intervenor Tort Claimants - CAE Committee. (Maoz, Nir) (Entered: 09/12/2022)                     09/12/2022

       171   Notice of Withdrawal as Attorney filed by Michael L. Tuchin on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC.       09/12/2022
             (Tuchin, Michael) (Entered: 09/12/2022)

       172   Appearance filed by Michael L. Tuchin on behalf of Intervenor Tort Claimants - CAE Committee. (Tuchin, Michael) (Entered:                  09/12/2022
             09/12/2022)

       173   Notice of Withdrawal as Attorney filed by Robert J Pfister on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC.        09/12/2022
             (Pfister, Robert) (Entered: 09/12/2022)


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       174   Appearance filed by Robert J Pfister on behalf of Intervenor Tort Claimants - CAE Committee. (Pfister, Robert) (Entered:              09/12/2022
             09/12/2022)

       175   Notice of Withdrawal as Attorney filed by Sasha M. Gurvitz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC.   09/12/2022
             (Gurvitz, Sasha) (Entered: 09/12/2022)

       176   Appearance filed by Sasha M. Gurvitz on behalf of Intervenor Tort Claimants - CAE Committee. (Gurvitz, Sasha) (Entered:               09/12/2022
             09/12/2022)

       177   Appearance filed by Ariella Thal Simonds on behalf of Intervenor Tort Claimants - CAE Committee. (Thal Simonds, Ariella)              09/12/2022
             (Entered: 09/12/2022)

       178   Appellant Designation of Items for Inclusion in Record on Appeal and Statement of Issues, filed by Jeffrey A Hokanson on behalf of    09/12/2022
             Plaintiffs 3M Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC (re: Doc
             # 145). Appellee designation due by 09/26/2022. (Hokanson, Jeffrey) (Entered: 09/12/2022)

       179   Amended Objection to Request for Certification for Direct Appeal to Court of Appeals filed by Patricia B. Tomasco on behalf of        09/12/2022
             Interested Party Bellwether Plaintiffs Adkins and Vaugh (re: Doc # 146). (Tomasco, Patricia) (Entered: 09/12/2022)

       180   Order Granting Motion to Intervene (re: Doc # 160). Attorney for Intervenor Tort Claimants - CAE Committee must distribute this       09/13/2022
             order. (cmm) (Entered: 09/13/2022)

       181   Certification for Direct Appeal to Court of Appeals (re: Doc #146). The Clerk's Office will distribute this order. (nar) (Entered:    09/13/2022
             09/13/2022)

       182   Certificate of Service re: Order on Motion to Intervene, filed by Meredith R. Theisen on behalf of Defendant Tort Claimants - CAE     09/13/2022
             Committee (re: Doc # 180). (Theisen, Meredith) (Entered: 09/13/2022)

       183   Certificate of Service re: Order on Motion to Intervene, filed by Adam C. Silverstein on behalf of Interested Party Counsel for the   09/13/2022
             Official Committee of Unsecured Cr (re: Doc # 180). (Silverstein, Adam) (Entered: 09/13/2022)

       184   Motion to Withdraw as Attorney filed by Kevin C Maclay on behalf of Interested Parties Cory Watson, P.C., Heninger Garrison           09/13/2022
             Davis, LLC, The Gori Law Firm, P.C. (Maclay, Kevin) (Entered: 09/13/2022) [Granted by # 190
             CMECF.widget.DocLink('documentKcaseidV741804Kde_seq_numV711Kdm_idV43848672Kdoc_numV190Kpdf_headerV1');]

       185   Appearance filed by Kevin C Maclay on behalf of Defendant Tort Claimants - CAE Committee. (Maclay, Kevin) (Entered:                   09/13/2022
             09/13/2022)

       186   Motion to Withdraw as Attorney filed by Todd E. Phillips on behalf of Interested Parties Cory Watson, P.C., Heninger Garrison         09/13/2022
             Davis, LLC, The Gori Law Firm, P.C. (Phillips, Todd) (Entered: 09/13/2022) [Granted by # 191
             CMECF.widget.DocLink('documentKcaseidV741804Kde_seq_numV713Kdm_idV43850330Kdoc_numV191Kpdf_headerV1');]

       187   Appearance filed by Todd E. Phillips on behalf of Defendant Tort Claimants - CAE Committee. (Phillips, Todd) (Entered:                09/13/2022
             09/13/2022)

       188   Motion to Withdraw as Attorney filed by Kevin M Davis on behalf of Interested Parties Cory Watson, P.C., Heninger Garrison Davis,     09/13/2022
             LLC, The Gori Law Firm, P.C. (Davis, Kevin) (Entered: 09/13/2022) [Granted by # 192
             CMECF.widget.DocLink('documentKcaseidV741804Kde_seq_numV715Kdm_idV43850351Kdoc_numV192Kpdf_headerV1');]

       189   Appearance filed by Kevin M Davis on behalf of Defendant Tort Claimants - CAE Committee. (Davis, Kevin) (Entered: 09/13/2022)         09/13/2022

       190   Order Granting Kevin C. Maclay's Motion to Withdraw as Attorney on behalf of Interested Parties Cory Watson, P.C., Heninger           09/14/2022
             Garrison Davis, LLC, The Gori Law Firm, P.C (re: Doc # 184). Attorney for the interested parties must distribute this order. (lat)
             (Entered: 09/14/2022)

       193   Circuit Court of Appeals Case Number 22-2606 (re: Doc # 145). (nar) (Entered: 09/15/2022)                                             09/13/2022

       190   Order Granting Kevin C. Maclay's Motion to Withdraw as Attorney on behalf of Interested Parties Cory Watson, P.C., Heninger           09/14/2022
             Garrison Davis, LLC, The Gori Law Firm, P.C (re: Doc # 184). Attorney for the interested parties must distribute this order. (lat)
             (Entered: 09/14/2022)

       191   Order Granting Todd E. Phillips Motion to Withdraw as Attorney on behalf of Interested Parties Cory Watson, P.C., Heninger            09/15/2022
             Garrison Davis, LLC, The Gori Law Firm, P.C(re: Doc # 186). Attorney for the interested parties must distribute this order. (lat)
             (Entered: 09/15/2022)

       192   Order Granting Kevin M Davis' Motion to Withdraw as Attorney on behalf of certain claimants represented by The Gori Law Firm,         09/15/2022
             P.C.; Cory Watson, P.C.; and Heninger Garrison Davis, LLC((re: Doc # 188). Attorney for the interested parties must distribute this
             order. (lat) (Entered: 09/15/2022)

       194   Appearance filed by Melanie Louise Cyganowski on behalf of Interested Party Counsel for the Official Committee of Unsecured Cr.       09/15/2022
             (Cyganowski, Melanie) (Entered: 09/15/2022)




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       195   Appearance filed by Adam C. Silverstein on behalf of Interested Party Counsel for the Official Committee of Unsecured Cr.              09/15/2022
             (Silverstein, Adam) (Entered: 09/15/2022)

       196   Appearance filed by John Bougiamas on behalf of Interested Party Counsel for the Official Committee of Unsecured Cr.                   09/15/2022
             (Bougiamas, John) (Entered: 09/15/2022)

       197   Appearance filed by Jennifer S. Feeney on behalf of Interested Party Counsel for the Official Committee of Unsecured Cr. (Feeney,      09/15/2022
             Jennifer) (Entered: 09/15/2022)

       198   Appearance filed by Pauline McTernan on behalf of Interested Party Counsel for the Official Committee of Unsecured Cr.                 09/15/2022
             (McTernan, Pauline) (Entered: 09/15/2022)

       199   BNC Certificate of Service - ORDER (re: Doc # 181). No. of Notices: 2 Notice Date 09/15/2022. (Admin) (Entered: 09/16/2022)            09/15/2022

       200   Appearance filed by Michael S. Winograd on behalf of Defendant Tort Claimants - CAE Committee. (Winograd, Michael) (Entered:           09/16/2022
             09/16/2022)

       201   Appearance filed by David Molton on behalf of Defendant Tort Claimants - CAE Committee. (Molton, David) (Entered: 09/16/2022)          09/16/2022

       202   Appearance filed by Jeffrey L. Jonas on behalf of Defendant Tort Claimants - CAE Committee. (Jonas, Jeffrey) (Entered:                 09/16/2022
             09/16/2022)

       203   Deficiency Notice Issued re: Appearance (re: Doc # 194). Deficiency to be cured by 9/30/2022. (cmm) (Entered: 09/16/2022)              09/16/2022

       204   Deficiency Notice Issued re: Appearance (re: Doc # 195). Deficiency to be cured by 9/30/2022. (cmm) (Entered: 09/16/2022)              09/16/2022

       205   Deficiency Notice Issued re: Appearance (re: Doc # 196). Deficiency to be cured by 9/30/2022. (cmm) (Entered: 09/16/2022)              09/16/2022

       206   Deficiency Notice Issued re: Appearance (re: Doc # 197). Deficiency to be cured by 9/30/2022. (cmm) (Entered: 09/16/2022)              09/16/2022

       207   Deficiency Notice Issued re: Appearance (re: Doc # 198). Deficiency to be cured by 9/30/2022. (cmm) (Entered: 09/16/2022)              09/16/2022

       208   Appearance filed by Melanie Louise Cyganowski on behalf of Defendant Tort Claimants - CAE Committee. (Cyganowski, Melanie)             09/16/2022
             (Entered: 09/16/2022)

       209   Appearance filed by Adam C. Silverstein on behalf of Defendant Tort Claimants - CAE Committee. (Silverstein, Adam) (Entered:           09/16/2022
             09/16/2022)

       210   Appearance filed by John Bougiamas on behalf of Defendant Tort Claimants - CAE Committee. (Bougiamas, John) (Entered:                  09/16/2022
             09/16/2022)

       211   Appearance filed by Jennifer S. Feeney on behalf of Defendant Tort Claimants - CAE Committee. (Feeney, Jennifer) (Entered:             09/16/2022
             09/16/2022)

       212   Appearance filed by Pauline McTernan on behalf of Defendant Tort Claimants - CAE Committee. (McTernan, Pauline) (Entered:              09/16/2022
             09/16/2022)

       213   Certificate of Service re: Complaint, Motion for Preliminary Injunction, Declaration, Declaration, Exhibit, Debtors' Ex Parte Motion   09/23/2022
             for Approval of Service Procedures for Summons, Complaint, and Other Pleadings, Debtors' Ex Parte Motion for Entry of an Order
             Shortening Notice and Setting an Expedited Hearing on the Debtors' Request for a Temporary Restraining Order, Corporate
             Ownership Statement, Scheduling Order, Order on Motion for Authority, filed by Noticing Agent on behalf of Plaintiff Aearo
             Technologies LLC (re: Doc # 1, 2, 3, 4, 5, 6, 7, 8, 9, 10). (Baer, Herbert) (Entered: 09/23/2022)

       214   Appellee Designation of Additional Items for Inclusion in Record on Appeal filed by Meredith R. Theisen on behalf of Defendant Tort    09/26/2022
             Claimants - CAE Committee (re: Doc # 145). (Theisen, Meredith) (Entered: 09/26/2022)

       215   Appellee Designation of Additional Items for Inclusion in Record on Appeal filed by Patricia B. Tomasco on behalf of Interested        09/26/2022
             Party Bellwether Plaintiffs Adkins and Vaughn (re: Doc # 145). (Tomasco, Patricia) (Entered: 09/26/2022)

       216   Notice of Withdrawal as Attorney filed by Andrew T Kight on behalf of Interested Party Weitz & Luxenberg P.C. (Kight, Andrew)          09/27/2022
             (Entered: 09/27/2022)

       217   Notice of Withdrawal as Attorney filed by Michael W. Hile on behalf of Interested Party Weitz & Luxenberg P.C. (Hile, Michael)         09/27/2022
             (Entered: 09/27/2022)

       218   AMENDED Appellee Designation of Additional Items for Inclusion in Record on Appeal filed by Meredith R. Theisen on behalf of           09/29/2022
             Defendant Tort Claimants - CAE Committee (re: Doc # 145). (Theisen, Meredith) CORRECTION: Missing docket text in all capitals.
             Modified on 9/29/2022. (nar) (Entered: 09/29/2022)

       219   AMENDED Appellee Designation of Additional Items for Inclusion in Record on Appeal filed by Patricia B. Tomasco on behalf of           09/29/2022
             Interested Party Bellwether Plaintiffs Adkins and Vaughn (re: Doc # 145). (Tomasco, Patricia) CORRECTION: Missing docket text
             in all capitals. Modified on 9/29/2022. (nar) (Entered: 09/29/2022)



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       220   Agreed Motion to Extend Time to File Answer or Otherwise Respond to Complaint filed by Meredith R. Theisen, Martha R. Lehman              10/10/2022
             on behalf of Interested Party Tracey Fox King & Walters. (Attachments: (1) Main Document (2) Exhibit A) (Lehman, Martha)
             (Entered: 10/10/2022) [Amended by # 221
             CMECF.widget.DocLink('documentKcaseidV741804Kde_seq_numV844Kdm_idV43933162Kdoc_numV221Kpdf_headerV1');]

       221   Amended Motion to Extend Time to File Answer or Otherwise Respond to Complaint filed by Meredith R. Theisen, Martha R.                    10/10/2022
             Lehman on behalf of Interested Party Tracey Fox King & Walters (re: Doc # 220). (Attachments: (1) Exhibit A) (Lehman, Martha)
             (Entered: 10/10/2022)

       222   Motion to Extend Time to File Answer or Otherwise Respond to Complaint for All Named Defendants (Unopposed) filed by Martha               10/11/2022
             R. Lehman, Meredith R. Theisen on behalf of Interested Parties Johnson Law Group, Tracey Fox King & Walters, Defendant Tort
             Claimants - CAE Committee. (Attachments: (1) Exhibit A - Proposed Order) (Theisen, Meredith) (Entered: 10/11/2022) [Granted by
             # 223
             CMECF.widget.DocLink('documentKcaseidV741804Kde_seq_numV853Kdm_idV43939410Kdoc_numV223Kpdf_headerV1');]

       223   Order Granting Motion to Extend Time to File Answer or Otherwise Respond to Complaint for All Named Defendants (Unopposed).               10/12/2022
             All Appendix A Defendants shall not have to answer or otherwise respond to the Complaint pending a ruling on the Debtors appeal
             of the PI Order and have thirty (30) days from that ruling to answer or otherwise respond to the Complaint (re: Doc # 222). Attorney
             for the interested parties must distribute this order. (lat) (Entered: 10/12/2022)

       224   Certificate of Service re: Order on Motion to Extend Time to File Adversary Documents, filed by Martha R. Lehman on behalf of             10/12/2022
             Interested Party Tracey Fox King & Walters (re: Doc # 223). (Lehman, Martha) (Entered: 10/12/2022)

       225   ORDER re: 1) Petition for Authorization of Direct Appeal under 28 U.S.C. §158(d)(2). 5 2) Answer of CAE Committee in Opposition           10/12/2022
             to Petition for Direct Appeal under 28 U.S.C. §158(d)(2). 3) Objection to Petition for Authorization of Direct Appeal under 28 U.S.C.
             §158(d)(2). 4) Reply In Support of Petition for Authorization of Direct Appeal under 28 U.S.C. §158(d)(2). The petition is GRANTED.
             The appellants shall pay the required appellate fees to the clerk of the bankruptcy court within 14 days from the entry of this order
             pursuant to Federal Rule of Appellate Procedure 5(d)(1) (re: Doc # 181). The Clerk's Office will distribute this order. (nar) (Entered:
             10/13/2022)

       226   BNC Certificate of Service - ORDER (re: Doc # 225). No. of Notices: 2 Notice Date 10/15/2022. (Admin) (Entered: 10/16/2022)               10/15/2022

             Fee due and payable by Jeffrey A Hokanson on behalf of Plaintiff 3M Occupational Safety LLC for Request for Certification for             10/24/2022
             Direct Appeal to Court of Appeals in the amount of $207.00 (re: Doc # 146). (kao) (Entered: 10/24/2022)

             Receipt of Request for Certification for Direct Appeal to Court of Appeals( 22-50059) [motion,reqdirap] (207.00) Filing Fee. Receipt      10/24/2022
             number AXXXXXXXX. Fee amount 207.00 (re: Doc # 146). (U.S. Treasury) (Entered: 10/24/2022)




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                       Case: 22-2606               Document: 32              Filed: 12/12/2022             Pages: 457
                                                            U.S. Bankruptcy Court
                                                   Southern District of Indiana (Indianapolis)
                                                    Bankruptcy Petition #: 22-02890-JJG-11
       *Associated Cases*                     ClaimsAgent, NtcAgent, OmniHearing, PlnDue, DsclsDue, JNTADMN, LEAD, CaptionLead, MEDIATION


                                                                                                          Date filed:    07/26/2022
      Assigned to: Jeffrey J. Graham
      Chapter 11                                                                                       341 meeting:      09/06/2022 10:00 AM
      Voluntary
      Asset                                                                        Deadline for filing claims (govt.):   01/23/2023
      Creditors: 201
      Show Associated Cases
      Claims Register




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      Debtor          Case: 22-2606                Document: 32            Filed:represented
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                                                                                                      Agay 457
      Aearo Technologies LLC                                                                       McDonal Hopkins LLC
      7911 Zionsville Road                                                                         300 N. LaSalle Street
      Indianapolis, IN 46268                                                                       Suite 1400
      MARION-IN                                                                                    Chicago, IL 60654
      Tax ID / EIN: XX-XXXXXXX                                                                     312-642-2217
      fka E-A-R Specialty Composites                                                               Fax : 312-280-8232
      fka Aearo Company                                                                            Email: dagay@mcdonaldhopkins.com
      fka Aearo Technologies
                                                                                                   David Bernick
                                                                                                   Kirkland & Ellis LLP
                                                                                                   1301 Pennsylvania Avenue, N.W.
                                                                                                   Washington, DC 20004
                                                                                                   202-389-3201
                                                                                                   Fax : 202-389-5200
                                                                                                   Email: david.bernick@kirkland.com

                                                                                                   Tabitha De Paulo
                                                                                                   Kirkland & Ellis LLP
                                                                                                   609 Main Street
                                                                                                   Houston, TX 77002
                                                                                                   713-836-3361
                                                                                                   Email: tabitha.depaulo@kirkland.com

                                                                                                   Joshua A. Gadharf
                                                                                                   McDonald Hopkins LLC
                                                                                                   300 N. LaSalle
                                                                                                   Suite 1400
                                                                                                   Chicago, IL 60654
                                                                                                   312-280-0111
                                                                                                   Fax : 248-646-5075
                                                                                                   Email: jgadharf@mcdonaldhopkins.com

                                                                                                   Emily Geier
                                                                                                   Kirkland & Ellis LLP
                                                                                                   601 Lexington Avenue
                                                                                                   New York, NY 10022
                                                                                                   212-446-4800
                                                                                                   Email: emily.geier@kirkland.com

                                                                                                   Jeffrey A Hokanson
                                                                                                   Ice Miller LLP
                                                                                                   One American Square
                                                                                                   Suite 2900
                                                                                                   Indianapolis, IN 46282-0200
                                                                                                   317-236-2236
                                                                                                   Fax : 317-592-4809
                                                                                                   Email: jeff.hokanson@icemiller.com

                                                                                                   David Horowitz
                                                                                                   Kirkland & Ellis LLP
                                                                                                   333 South Hope Street
                                                                                                   Los Angeles, CA 94104
                                                                                                   213-680-8400
                                                                                                   Email: dhorowitz@kirkland.com

                                                                                                   Derek Hunter
                                                                                                   Kirkland & Ellis LLP
                                                                                                   601 Lexington Avenue
                                                                                                   New York, NY 10022
                                                                                                   212-909-3371
                                                                                                   Email: derek.hunter@kirkland.com

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                                                                                                   Chad Husnick
                                                                                                   Kirkland & Ellis LLP
                                                                                                   300 North LaSalle Street
                                                                                                   Chicago, IL 60654
                                                                                                   312-862-2000
                                                                                                   Email: chusnick@kirkland.com

                                                                                                   Ashley J. Jericho
                                                                                                   McDonal Hopkins LLC
                                                                                                   39533 Woodward Ave.
                                                                                                   Suite 318
                                                                                                   Bloomfield Hills, MI 48304
                                                                                                   248-593-2945
                                                                                                   Fax : 248-646-5075
                                                                                                   Email: ajericho@mcdonaldhopkins.com

                                                                                                   Micah E. Marcus
                                                                                                   McDonal Hopkins LLC
                                                                                                   300 N. LaSalle Street
                                                                                                   Ste 1400
                                                                                                   Chicago, IL 60654
                                                                                                   312-280-0111
                                                                                                   Email: mmarcus@mcdonaldhopkins.com

                                                                                                   Mark McKane
                                                                                                   Kirkland & Ellis
                                                                                                   555 California Street
                                                                                                   Suite 2700
                                                                                                   San Francisco, CA 94104
                                                                                                   415-439-1473
                                                                                                   Email: mark.mckane@kirkland.com

                                                                                                   Brenton Rogers
                                                                                                   Kirkland & Ellis LLP
                                                                                                   300 North LaSalle
                                                                                                   Chicago, IL 60654
                                                                                                   312-862-7119
                                                                                                   Email: brogers@kirkland.com

                                                                                                   Edward Sassower
                                                                                                   Kirkland & Ellis LLP
                                                                                                   601 Lexington Avenue
                                                                                                   New York, NY 10022
                                                                                                   212-446-4800
                                                                                                   Email: esassower@kirkland.com

                                                                                                   Connor Skelly
                                                                                                   824 W. 146th Street
                                                                                                   Carmel, IN 46032
                                                                                                   317-260-0014
                                                                                                   Email: connor.skelly@icemiller.com

                                                                                                   Michael Slade
                                                                                                   Kirkland & Ellis LLP
                                                                                                   300 N Lasalle
                                                                                                   Chicago, IL 60654
                                                                                                   312-862-3348
                                                                                                   Email: michael.slade@kirkland.com

                                                                                                   Renee D. Smith
                                                                                                   Kirkland & Ellis LLP
                                                                                                   300 N. LaSalle
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                                                                                                 Pages:    457
                                                                                                     IL 60654
                                                                                                   312-862-2310
                                                                                                   Email: rdsmith@kirkland.com

                                                                                                   Claire Stephens
                                                                                                   300 N LaSalle
                                                                                                   Chicago, IL 60614
                                                                                                   773-397-1603
                                                                                                   Email: claire.stephens@kirkland.com

                                                                                                   Joshua Sussberg
                                                                                                   Kirkland & Ellis LLP
                                                                                                   601 Lexington Avenue
                                                                                                   New York, NY 10022
                                                                                                   212-446-4800
                                                                                                   Email: joshua.sussberg@kirkland.com

                                                                                                   McClain Thompson
                                                                                                   1301 Pennsylvania Avenue
                                                                                                   Washington, DC 20004
                                                                                                   202-389-5292
                                                                                                   Email: mcclain.thompson@kirkland.com

                                                                                                   Anne Gilbert Wallice
                                                                                                   Kirkland & Ellis LLP
                                                                                                   601 Lexington
                                                                                                   New York, NY 10022
                                                                                                   212-390-4511
                                                                                                   Email: anne.wallice@kirkland.com

                                                                                                   Nick Wasdin
                                                                                                   Kirkland & Ellis LLP
                                                                                                   300 N LaSalle
                                                                                                   Chicago, IL 60654
                                                                                                   312-862-2000
                                                                                                   Email: nick.wasdin@kirkland.com

                                                                                                   Spencer Winters
                                                                                                   Kirkland & Ellis LLP
                                                                                                   300 N. LaSalle Street
                                                                                                   Chicago, IL 60654
                                                                                                   312-862-2000
                                                                                                   Email: spencer.winters@kirkland.com


      Member Debtor                                                               represented by Jeffrey A Hokanson
      Aearo LLC                                                                                  (See above for address)
      7911 Zionsville Road
      Indianapolis, IN 46268                                                                       Connor Skelly
      Tax ID / EIN: XX-XXXXXXX                                                                     (See above for address)




      Member Debtor                                                               represented by Jeffrey A Hokanson
      Aearo Intermediate LLC                                                                     (See above for address)
      7911 Zionsville Road
      Indianapolis, IN 46268                                                                       Connor Skelly
      Tax ID / EIN: XX-XXXXXXX                                                                     (See above for address)




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      Member DebtorCase: 22-2606                   Document: 32              Filed:represented
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                                                                                                          A Hokanson
      Aearo Holding LLC                                                                             (See above for address)
      7911 Zionsville Road
      Indianapolis, IN 46268                                                                        Connor Skelly
      Tax ID / EIN: XX-XXXXXXX                                                                      (See above for address)




      Member Debtor                                                                represented by Jeffrey A Hokanson
      Aearo Mexico Holding Corp.                                                                  (See above for address)
      7911 Zionsville Road
      Indianapolis, IN 46268
      Tax ID / EIN: XX-XXXXXXX




      Member Debtor                                                                represented by Jeffrey A Hokanson
      Cabot Safety Intermediate LLC                                                               (See above for address)
      7911 Zionsville Road
      Indianapolis, IN 46268
      Tax ID / EIN: XX-XXXXXXX




      Member Debtor                                                                represented by Jeffrey A Hokanson
      3M Occupational Safety LLC                                                                  (See above for address)
      3M Center, Bldg. 224-5N-40
      St. Paul, MN 55144                                                                            Connor Skelly
      Tax ID / EIN: XX-XXXXXXX                                                                      (See above for address)




      Claims Agent                                                                 represented by Kroll Restructuring Administration
      Kroll Restructuring Administration LLC                                                      LLC
      55 East 52nd Street                                                                         PRO SE
      17th Floor
      New York, NY 10055
      855-639-3375
      Website: https://restructuring.ra.kroll.com/aearotechnologies




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                    Case: 22-2606
      Creditor Committee                           Document: 32            Filed:represented
                                                                                   12/12/2022by EdenPages:   457
                                                                                                    Mirelle Bernstein
      Tort Claimants - CAE Committee                                                               Kellogg, Hansen, Todd, Figel &
                                                                                                   Frederick, P.L.L.C.
                                                                                                   1615 M Street, N.W.
                                                                                                   Suite 400
                                                                                                   Washington, DC 20036
                                                                                                   202-326-7956
                                                                                                   Email: ebernstein@kellogghansen.com

                                                                                                   John Bougiamas
                                                                                                   Otterbourg P.C.
                                                                                                   230 Park Avenue
                                                                                                   New York, NY 10169
                                                                                                   212-905-3608
                                                                                                   Email: jbougiamas@otterbourg.com

                                                                                                   Deborah Caruso
                                                                                                   Rubin & Levin, P.C.
                                                                                                   135 N. Pennsylvania St, Suite 1400
                                                                                                   Indianapolis, IN 46204
                                                                                                   317-860-2867
                                                                                                   Email: dcaruso@rubin-levin.net

                                                                                                   Cathrine M Castaldi
                                                                                                   Brown Rudnick LLP
                                                                                                   2211 Michelson Drive
                                                                                                   Ste 700
                                                                                                   Irvine, CA 92612
                                                                                                   949-752-7100
                                                                                                   Fax : 949-252-1514
                                                                                                   Email: ccastaldi@brownrudnick.com

                                                                                                   Melanie Louise Cyganowski
                                                                                                   Otterbourg P.C.
                                                                                                   230 Park Avenue
                                                                                                   New York, NY 10169
                                                                                                   212-905-3677
                                                                                                   Fax : 212-682-6104
                                                                                                   Email: mcyganowski@otterbourg.com

                                                                                                   Kevin M Davis
                                                                                                   Caplin and Drysdale
                                                                                                   1 Thomas Circle, NW
                                                                                                   Ste 1100
                                                                                                   Washington, DC 20005-5812
                                                                                                   202-862-7846
                                                                                                   Email: kdavis@capdale.com

                                                                                                   Jennifer S. Feeney
                                                                                                   Otterbourg P.C.
                                                                                                   230 Park Avenue
                                                                                                   NY, NY 10169
                                                                                                   212-661-9100
                                                                                                   Email: jfenney@otterbourg.com

                                                                                                   Eric Goodman
                                                                                                   Brown Rudnick LLP
                                                                                                   601 Thirteenth Street NW
                                                                                                   Ste 600
                                                                                                   Washington DC, DC 20005
                                                                                                   202-536-1740
                                                                                                   Fax : 202-536-1701

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                                                                                                   egoodman@brownrudnick.com

                                                                                                   Sasha M. Gurvitz
                                                                                                   KTBS Law LLP
                                                                                                   1801 Century Park East
                                                                                                   Ste 26th Floor
                                                                                                   Los Angeles, CA 90067
                                                                                                   310-407-4032
                                                                                                   Fax : 310-407-9090
                                                                                                   Email: sgurvitz@ktbslaw.com

                                                                                                   Jeffrey L. Jonas
                                                                                                   Brown Rudnick LLP
                                                                                                   One Financial Center
                                                                                                   Boston, MA 02111
                                                                                                   617-856-8200
                                                                                                   Fax : 617-856-8201
                                                                                                   Email: jjonas@brownrudnick.com

                                                                                                   Kevin C Maclay
                                                                                                   Caplin and Drysdale
                                                                                                   1 Thomas Circle, NW
                                                                                                   Ste 1100
                                                                                                   Washington, DC 20005
                                                                                                   202-862-7841
                                                                                                   Email: kmaclay@capdale.com

                                                                                                   Nir Maoz
                                                                                                   KTBS Law LLP
                                                                                                   1801 Century Park East
                                                                                                   26th Floor
                                                                                                   Los Angeles, CA 90067
                                                                                                   310-407-4000
                                                                                                   Fax : 310-407-9090
                                                                                                   Email: nmaoz@ktbslaw.com

                                                                                                   David Molton
                                                                                                   Brown Rudnick LLP
                                                                                                   7 Times Square
                                                                                                   New York, NY 10036
                                                                                                   212-209-4800
                                                                                                   Email: dmolton@brownrudnick.com

                                                                                                   Robert J Pfister
                                                                                                   KTBS Law LLP
                                                                                                   1801 Century Park East
                                                                                                   26th Floor
                                                                                                   Los Angeles, CA 90067
                                                                                                   310-407-4065
                                                                                                   Fax : 310-407-9090
                                                                                                   Email: rpfister@ktbslaw.com

                                                                                                   Todd E. Phillips
                                                                                                   Caplin and Drysdale
                                                                                                   One Thomas Circle, NW
                                                                                                   Suite 1100
                                                                                                   Washington, DC 20005
                                                                                                   202-862-7850
                                                                                                   Email: tphillips@capdale.com

                                                                                                   Derek Reinbold
                                                                                                   Kellogg, Hansen, Todd, Figel &
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                                                                                                 M Street NW
                                                                                                   Suite 400
                                                                                                   Washington, DC 20036
                                                                                                   202-326-7900
                                                                                                   Email: dreinbold@kellogghansen.com

                                                                                                   Adam C. Silverstein
                                                                                                   Otterbourg P.C.
                                                                                                   230 Park Avenue
                                                                                                   New York, NY 11050
                                                                                                   212-905-3628
                                                                                                   Email: asilverstein@otterbourg.com

                                                                                                   Ariella Thal Simonds
                                                                                                   KTBS Law LLP
                                                                                                   1801 Century Park East
                                                                                                   26th Floor
                                                                                                   Los Angeles, CA 90067
                                                                                                   310-407-4039
                                                                                                   Fax : 310-407-9090
                                                                                                   Email: asimonds@ktbslaw.com

                                                                                                   Meredith R. Theisen
                                                                                                   Rubin & Levin, P.C.
                                                                                                   135 N. Pennsylvania St., Suite 1400
                                                                                                   Indianapolis, IN 46204
                                                                                                   (317) 860-2877
                                                                                                   Fax : (317) 453-8602
                                                                                                   Email: mtheisen@rubin-levin.net

                                                                                                   Michael L. Tuchin
                                                                                                   KTBS Law LLP
                                                                                                   1801 Century Park East
                                                                                                   Ste 26th Floor
                                                                                                   Los Angeles, CA 90067
                                                                                                   310-407-4040
                                                                                                   Fax : 310-407-9090
                                                                                                   Email: mtuchin@ktbslaw.com

                                                                                                   James Wehner
                                                                                                   Caplin and Drysdale
                                                                                                   One Thomas Circle NW
                                                                                                   Suite 1100
                                                                                                   Washington, DC 20005
                                                                                                   202-862-5075
                                                                                                   Email: jwehner@capdale.com

                                                                                                   Michael S. Winograd
                                                                                                   Brown Rudnick LLP
                                                                                                   7 Times Square
                                                                                                   New York, NY 10036
                                                                                                   212-209-4917
                                                                                                   Email: mwinograd@brownrudnick.com

                                                                                                   Robert C Yan
                                                                                                   Otterbourg P.C.
                                                                                                   230 Park Avenue
                                                                                                   New York, NY 10169
                                                                                                   212-661-9100
                                                                                                   Email: ryan@otterbourg.com




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                    Case: 22-2606
      Creditor Committee                  Document:                   32              Filed:represented
                                                                                              12/12/2022by KevinPages:  457
                                                                                                                 Dale McCullough
      Tort Claimants - Respirator Committee                                                                     Rochelle McCullough, LLP
                                                                                                                325 N. St. Paul Street
                                                                                                                Suite 4500
                                                                                                                Dallas, TX 75201-6630
                                                                                                                214-953-0182
                                                                                                                Email: kdm@romclaw.com


      U.S. Trustee                                                                          represented by Laura A DuVall
      U.S. Trustee                                                                                         DOJ-Ust
      Office of U.S. Trustee                                                                               Office of The United States Trustee
      46 E Ohio Street, Room 520                                                                           Birch Bayh Federal Building and U.S.
      Indianapolis, IN 46204                                                                               Courthouse
      317-226-6101                                                                                         46 E. Ohio Street, Ste 520
      Email: ustpregion10.in.ecf@usdoj.gov                                                                 Indianapolis, IN 46204
                                                                                                           317-226-6101
                                                                                                           Fax : 317-226-6356
                                                                                                           Email: Laura.Duvall@usdoj.gov

                                                                                                                Ronald J. Moore
                                                                                                                DOJ-Ust
                                                                                                                Birch Bayh Federal Building and
                                                                                                                U.S. Courthouse
                                                                                                                46 E. Ohio St., Ste 520
                                                                                                                Indianapolis, IN 46204
                                                                                                                317-226-6101
                                                                                                                Fax : 317-226-6356
                                                                                                                Email: Ronald.Moore@usdoj.gov

                                                                                                                Harrison Edward Strauss
                                                                                                                DOJ-Ust
                                                                                                                Birch Bayh Federal Building
                                                                                                                United States Courthouse
                                                                                                                46 E. Ohio St, Room 520
                                                                                                                Indianapolis, IN 46204
                                                                                                                317-226-5707
                                                                                                                Email: harrison.strauss@usdoj.gov


         #                                                              Docket Text                                                              Date Filed

         1   Chapter 11 Voluntary Petition (Non-Individual) with Corporate Ownership Statement, List of 20 Largest Unsecured Creditors and       07/26/2022
             List of Equity Security Holders filed by Jeffrey A Hokanson on behalf of Aearo Technologies LLC. List of Secured Creditors due by
             08/02/2022. Income & Expense Schedule due by 08/09/2022. Statement of Current Monthly Income (Form 122B) due by
             08/09/2022. Debtor`s Pay Advices or Statement in Lieu due by 08/09/2022. Joint Debtor`s Pay Advices or Statement in Lieu due by
             08/09/2022. Attorney Disclosure of Compensation due by 08/09/2022. Statement of Financial Affairs with Declaration due by
             08/09/2022. Summary of Assets and Liabilities with Declaration due by 08/09/2022. Schedules A/B through J with Declaration due
             by 08/09/2022. Schedule A/B with Declaration due by 08/09/2022. Schedule C with Declaration due by 08/09/2022. Schedule D
             with Declaration due by 08/09/2022. Schedule E/F with Declaration due by 08/09/2022. Schedule G with Declaration due by
             08/09/2022. Schedule H with Declaration due by 08/09/2022. Schedule I with Declaration due by 08/09/2022. Schedule J with
             Declaration due by 08/09/2022. Verification of Creditor List due by 08/09/2022. (Hokanson, Jeffrey) (Entered: 07/26/2022)

         2   Appearance filed by Jay Jaffe on behalf of Creditor 3M Company. (Jaffe, Jay) (Entered: 07/26/2022)                                  07/26/2022

         3   Appearance filed by Kayla D. Britton on behalf of Creditor 3M Company. (Britton, Kayla) (Entered: 07/26/2022)                       07/26/2022

         4   Appearance filed by Harmony A Mappes on behalf of Creditor 3M Company. (Mappes, Harmony) (Entered: 07/26/2022)                      07/26/2022

         5   Appearance filed by Elizabeth Marie Little on behalf of Creditor 3M Company. (Little, Elizabeth) (Entered: 07/26/2022)              07/26/2022

             Receipt of Chapter 11 Voluntary Petition( 22-02890-11) [misc,volp11] (1738.00) Filing Fee. Receipt number AXXXXXXXX. Fee            07/26/2022
             amount 1738.00 (re: Doc # 1). (U.S. Treasury) (Entered: 07/26/2022)

         6   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Michael Andolina on behalf of Creditor 3M Company. (Attachments:   07/26/2022
             (1) Affidavit) (Andolina, Michael) (Entered: 07/26/2022) [Granted by # 34
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV134Kdm_idV43682659Kdoc_numV34Kpdf_headerV1');]


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                        Case: 22-2606                Document: 32Docket Text Filed: 12/12/2022                            Pages: 457                    Date Filed

         7   First Day Motion for Joint Administration of Cases 22-02890, 22-02893, 22-02892, 22-02891, 22-02894, 22-02895 and 22-02896                 07/26/2022
             filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A - Proposed Order) (Hokanson,
             Jeffrey) (Entered: 07/26/2022) [Terminated on 07/26/2022]

         8   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Matthew Evan Linder on behalf of Creditor 3M Company.                     07/26/2022
             (Attachments: (1) Affidavit) (Linder, Matthew) (Entered: 07/26/2022) [Granted by # 36
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV138Kdm_idV43682692Kdoc_numV36Kpdf_headerV1');]

         9   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Laura Elizabeth Baccash on behalf of Creditor 3M Company.                 07/26/2022
             (Attachments: (1) Affidavit) (Baccash, Laura) (Entered: 07/26/2022) [Granted by # 35
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV136Kdm_idV43682683Kdoc_numV35Kpdf_headerV1');]

             Judge Jeffrey J. Graham assigned. (Kleis, Eric) (Entered: 07/26/2022)                                                                      07/26/2022

        10   Adversary case 22-50059. Complaint filed by Plaintiff(s) Aearo Technologies LLC, 3M Occupational Safety LLC, Aearo Holding                 07/26/2022
             LLC, Aearo Intermediate LLC, Aearo LLC against Defendant(s) Those Parties Listed on Appendix A to the Complain [91
             (Declaratory judgment)], [72 (Injunctive relief - other)]. (Attachments: (1) Appendix A (2) Appendix B) (Hokanson, Jeffrey) (Entered:
             07/26/2022)

        11   Declaration re: Chapter 11 Voluntary Petition, Motion for Joint Administration filed by Jeffrey A Hokanson on behalf of Debtor Aearo       07/26/2022
             Technologies LLC (re: Doc # 1, 7). (Attachments: (1) Exhibit Evidentiary Support for First Day Motions (2) Exhibit Funding
             Agreement (3) Exhibit Exhibit C) (Hokanson, Jeffrey) (Entered: 07/26/2022)

        12   Brief in Support re: Declaration, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 11).                   07/26/2022
             (Hokanson, Jeffrey) (Entered: 07/26/2022)

        13   Motion to Retain Noticing, Balloting, or Claims Agents Pursuant to Local Rule S.D.Ind. B-1007-2, filed by Jeffrey A Hokanson on            07/26/2022
             behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C) (Hokanson, Jeffrey) (Entered:
             07/26/2022) [Granted by # 133
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV626Kdm_idV43693770Kdoc_numV133Kpdf_headerV1');]

        14   Appearance filed by Harrison Edward Strauss on behalf of U.S. Trustee. (Strauss, Harrison) (Entered: 07/26/2022)                           07/26/2022

        15   Notice of Incomplete Filing issued to Jeffrey A Hokanson. Failure to file required item(s) by the due date may result in the striking of   07/26/2022
             the incomplete filing, the dismissal of the Bankruptcy case without further notice, or other action as the Court deems appropriate.
             Required item(s): A text file including names and addresses listed on Schedules D, E, F, G and H must be uploaded through the
             Creditor Maintenance menu. (re: Doc # 1). Incomplete Filing due by 8/2/2022. (cmm) (Entered: 07/26/2022)

        16   Motion to Extend Time to File Schedules filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments:              07/26/2022
             (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 07/26/2022) [Granted by # 151
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV696Kdm_idV43698325Kdoc_numV151Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX. Fee                 07/26/2022
             amount 100.00 (re: Doc # 6). (U.S. Treasury) (Entered: 07/26/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX. Fee                 07/26/2022
             amount 100.00 (re: Doc # 8). (U.S. Treasury) (Entered: 07/26/2022)

        17   Motion for Authority / Debtors' Motion for Entry of an Order (I) Authorizing the Debtors to File One List of the Top Law Firms             07/26/2022
             Representing the Largest Numbers of Tort Plaintiffs Asserting Claims Against the Debtors, (II) Authorizing The Debtors to File One
             Consolidated Creditor Matrix, (III) Authorizing the Listing of Addresses of Counsel For Tort Claimants in the Creditor Matrix in Lieu
             of Claimants' Addresses, (IV) Authorizing the Debtors to Redact Personally Identifiable Information, (V) Approving Certain Notice
             Procedures for Tort Claimants, (VI) Approving the Form and Manner of Notice of the Commencement of these Chapter 11 Cases,
             and (VII) Granting Related Relief filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments: (1)
             Exhibit A (2) Exhibit B) (Hokanson, Jeffrey) (Entered: 07/26/2022) [Granted by # 134
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV632Kdm_idV43693812Kdoc_numV134Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX. Fee                 07/26/2022
             amount 100.00 (re: Doc # 9). (U.S. Treasury) (Entered: 07/26/2022)

        18   Motion for Case Management Order filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments: (1)                 07/26/2022
             Exhibit A (2) Exhibit 1) (Hokanson, Jeffrey) (Entered: 07/26/2022) [Granted by # 152
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV704Kdm_idV43698466Kdoc_numV152Kpdf_headerV1');]

        19   Motion for Case Management Order filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments: (1)                 07/26/2022
             Exhibit A (2) Exhibit B) (Hokanson, Jeffrey) CORRECTION: Document filed in error. See doc. #23 for corrected filing. Modified on
             7/26/2022. (cmm) (Entered: 07/26/2022) [Amended by # 23
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV98Kdm_idV43681620Kdoc_numV23Kpdf_headerV1');]




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        20   Motion for Authority / Debtors' First Day Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Pay            07/26/2022
             Prepetition Wages, Compensation, and Benefit Obligations and (B) Continue Employee Compensation and Benefits Programs, and
             (II) Granting Related Relief filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson, Jeffrey) (Entered:
             07/26/2022) [Granted by # 547
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2399Kdm_idV43850697Kdoc_numV547Kpdf_headerV1');]

        21   First Day Motion to Pay Pre-Petition Trust Fund Taxes filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.            07/26/2022
             (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C) (Hokanson, Jeffrey) (Entered: 07/26/2022) [Granted by # 540
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2372Kdm_idV43848252Kdoc_numV540Kpdf_headerV1');]

        22   Motion for Authority / Debtors' First Day Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Maintain       07/26/2022
             Their Prepetition Insurance Coverage and Satisfy Prepetition Obligations Related Thereto, (B) Continue to Pay Certain Brokerage
             Fees, and (C) Renew, Supplement, Modify, or Purchase Insurance and Reinsurance Coverage, (II) Approving Continuation of Their
             Surety Bond Program, and (III) Granting Related Relief filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.
             (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C) (Hokanson, Jeffrey) (Entered: 07/26/2022) [Granted by # 542
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2376Kdm_idV43848426Kdoc_numV542Kpdf_headerV1');]

        23   Amended First Day Motion for Approval of Cash Management System (Bank Accounts/Business Forms) filed by Jeffrey A                        07/26/2022
             Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 19). (Attachments: (1) Exhibit A (2) Exhibit B) (Hokanson,
             Jeffrey) (Entered: 07/26/2022) [Granted by # 543
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2378Kdm_idV43848474Kdoc_numV543Kpdf_headerV1');]

        24   First Day Motion to Provide Adequate Assurance to Utilities filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies           07/26/2022
             LLC. (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C) (Hokanson, Jeffrey) (Entered: 07/26/2022) [Granted by # 539
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2370Kdm_idV43848231Kdoc_numV539Kpdf_headerV1');]

        25   Motion for Authority / Debtors' First Day Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay Prepetition    07/26/2022
             Claims of Specified Trade Claimants, (II) Granting Administrative Expense Priority to All Undisputed Obligations on Account of
             Outstanding Orders, and (III) Granting Related Relief filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.
             (Attachments: (1) Exhibit A (2) Exhibit B) (Hokanson, Jeffrey) (Entered: 07/26/2022) [Granted by # 537
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2362Kdm_idV43848207Kdoc_numV537Kpdf_headerV1');]

        26   Appearance filed by Ronald J. Moore on behalf of U.S. Trustee. (Moore, Ronald) (Entered: 07/26/2022)                                     07/26/2022

        27   Appearance filed by Laura A DuVall on behalf of U.S. Trustee. (DuVall, Laura) (Entered: 07/26/2022)                                      07/26/2022

        28   Motion for Expedited Hearing and/or Shortened Notice Time on Motion for Case Management Order, filed by Jeffrey A Hokanson               07/26/2022
             on behalf of Debtor Aearo Technologies LLC (re: Doc # 18). (Hokanson, Jeffrey) (Entered: 07/26/2022) [Amended by # 32
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV123Kdm_idV43682234Kdoc_numV32Kpdf_headerV1');]

        29   Motion for Expedited Hearing and/or Shortened Notice Time on Motion for Authority / Debtors' Motion for Entry of an Order (I)            07/26/2022
             Authorizing the Debtors to File One List of the Top Law Firms Representing the Largest Numbers of Tort Plaintiffs Asserting Claims
             Against the Debtors, (II) Authorizing The Debtors to File One Consolidated Creditor Matrix, (III) Authorizing the Listing of Addresses
             of Counsel For Tort Claimants in the Creditor Matrix in Lieu of Claimants' Addresses, (IV) Authorizing the Debtors to Redact
             Personally Identifiable Information, (V) Approving Certain Notice Procedures for Tort Claimants, (VI) Approving the Form and
             Manner of Notice of the Commencement of these Chapter 11 Cases, and (VII) Granting Related Relief, filed by Jeffrey A Hokanson
             on behalf of Debtor Aearo Technologies LLC (re: Doc # 17). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 07/26/2022)
             [Granted by # 45
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV193Kdm_idV43683172Kdoc_numV45Kpdf_headerV1');]

        30   Motion for Expedited Hearing and/or Shortened Notice Time on Motion to Retain Noticing, Balloting, or Claims Agent, filed by             07/26/2022
             Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 13). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey)
             (Entered: 07/26/2022) [Granted by # 47
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV204Kdm_idV43683259Kdoc_numV47Kpdf_headerV1');]

        31   Motion for Expedited Hearing and/or Shortened Notice Time on Motion to Extend Time to File Initial Documents, filed by Jeffrey A         07/26/2022
             Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 16). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered:
             07/26/2022) [Granted by # 49
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV214Kdm_idV43683298Kdoc_numV49Kpdf_headerV1');]

        32   Amended Motion for Expedited Hearing and/or Shortened Notice Time on Motion for Case Management Order, Motion for                        07/26/2022
             Expedited Hearing and/or Shortened Notice Time, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re:
             Doc # 18, 28). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 07/26/2022) [Granted by # 50
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV217Kdm_idV43683328Kdoc_numV50Kpdf_headerV1');]

        33   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Jessica Lauria on behalf of Creditor 3M Company. (Attachments:          07/26/2022
             (1) Affidavit Affidavit in Support of Motion to Appear Pro Hac Vice) (Lauria, Jessica) (Entered: 07/26/2022) [Granted by # 85
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV449Kdm_idV43685235Kdoc_numV85Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               07/26/2022
             Fee amount 100.00 (re: Doc # 33). (U.S. Treasury) (Entered: 07/26/2022)


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        34   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 6). Attorney for Creditor 3M Company must distribute this order. (hhd)       07/26/2022
             (Entered: 07/26/2022)

        35   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 9). Attorney for Creditor 3M Company must distribute this order. (hhd)       07/26/2022
             (Entered: 07/26/2022)

        36   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 8). Attorney for Creditor 3M Company must distribute this order. (hhd)       07/26/2022
             (Entered: 07/26/2022)

        37   Order Granting Motion to Jointly Administer Member Case 22-02891 under Lead Case 22-02890. (order distributed to e-filers only)      07/26/2022
             (cmm) (Entered: 07/26/2022)

        38   Order Granting Motion to Jointly Administer Member Case 22-02892 under Lead Case 22-02890. (order distributed to e-filers only)      07/26/2022
             (cmm) (Entered: 07/26/2022)

        39   Order Granting Motion to Jointly Administer Member Case 22-02893 under Lead Case 22-02890. (order distributed to e-filers only)      07/26/2022
             (cmm) (Entered: 07/26/2022)

        40   Order Granting Motion to Jointly Administer Member Case 22-02894 under Lead Case 22-02890. (order distributed to e-filers only)      07/26/2022
             (cmm) (Entered: 07/26/2022)

        41   Order Granting Motion to Jointly Administer Member Case 22-02895 under Lead Case 22-02890. (order distributed to e-filers only)      07/26/2022
             (cmm) (Entered: 07/26/2022)

        42   Order Granting Motion to Jointly Administer Member Case 22-02896 under Lead Case 22-02890. (order distributed to e-filers only)      07/26/2022
             (cmm) (Entered: 07/26/2022)

        43   Appearance filed by Robert J Pfister on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Pfister, Robert)      07/26/2022
             (Entered: 07/26/2022)

        44   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Nir Maoz on behalf of Interested Party Aylstock, Witkin, Kreis &    07/26/2022
             Overholtz, PLLC. (Maoz, Nir) (Entered: 07/26/2022) [Granted by # 86
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV451Kdm_idV43685274Kdoc_numV86Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           07/26/2022
             Fee amount 100.00 (re: Doc # 44). (U.S. Treasury) (Entered: 07/26/2022)

        45   Order Granting Motion for Expedited Hearing on Debtor's Motion on Motion for Entry of an Order (I) Authorizing the Debtors to File   07/26/2022
             One List of the Top Law Firms Representing the Largest Numbers of Tort Plaintiffs Asserting Claims Against the Debtors, (II)
             Authorizing The Debtors to File One Consolidated Creditor Matrix, (III) Authorizing the Listing of Addresses of Counsel For Tort
             Claimants in the Creditor Matrix in Lieu of Claimants' Addresses, (IV) Authorizing the Debtors to Redact Personally Identifiable
             Information, (V) Approving Certain Notice Procedures for Tort Claimants, (VI) Approving the Form and Manner of Notice of the
             Commencement of these Chapter 11 Cases (re: Doc #29). Hearing to be held on 7/27/2022 at 09:30 AM Eastern in Rm 344 U.S.
             Courthouse, Indianapolis. Video Participation Information Included in Hearing Notice Attorney for the debtor must distribute this
             order. (hhd) (Entered: 07/26/2022)

        46   Notice of Jointly Administered Cases (re: Doc # 37, 38, 39, 40, 41, 42, 7 on 22-02893-JJG-11, 7 on 22-02896-JJG-11, 7 on 22-         07/26/2022
             02894-JJG-11, 7 on 22-02892-JJG-11, 7 on 22-02891-JJG-11, 7 on 22-02895-JJG-11). ATTORNEY FOR THE DEBTOR MUST
             DISTRIBUTE THIS ORDER. (cmm) CORRECTION: Missing docket text added in all capitals. Modified on 7/27/2022. (cmm)
             (Entered: 07/26/2022)

        47   Order Granting Motion for Expedited Hearing on Debtor's Motion to Retain Noticing, Balloting, or Claims Agents Pursuant to Local     07/26/2022
             Rule S.D.Ind. B-1007-2 (re: Doc #30). Hearing to be held on 7/27/2022 at 09:30 AM Eastern in Rm 344 U.S. Courthouse,
             Indianapolis. Video Participation Information to be Included in Hearing Notice Attorney for the debtor must distribute this order.
             (hhd) (Entered: 07/26/2022)

        48   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Sasha M. Gurvitz on behalf of Interested Party Aylstock, Witkin,    07/26/2022
             Kreis & Overholtz, PLLC. (Gurvitz, Sasha) (Entered: 07/26/2022) [Granted by # 90
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV464Kdm_idV43685723Kdoc_numV90Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           07/26/2022
             Fee amount 100.00 (re: Doc # 48). (U.S. Treasury) (Entered: 07/26/2022)

        49   Order Granting Motion for Expedited Hearing on Debtor's Motion to Extend Time to File Schedules (re: Doc #31). Hearing to be         07/26/2022
             held on 7/27/2022 at 09:30 AM Eastern in Rm 344 U.S. Courthouse, Indianapolis.Video Participation Information to be Included in
             Hearing Notice Attorney for the debtor must distribute this order. (hhd) (Entered: 07/26/2022)

        50   Order Granting Motion for Expedited Hearing on Debtor's Motion for Case Management Order (re: Doc #32). Hearing to be held on        07/26/2022
             7/27/2022 at 09:30 AM Eastern in Rm 344 U.S. Courthouse, Indianapolis. Video Participation Information to be Included in Hearing
             Notice. Attorney for the debtor must distribute this order. (hhd) (Entered: 07/26/2022)




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        51   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Thomas E Patterson on behalf of Interested Party Aylstock, Witkin,      07/26/2022
             Kreis & Overholtz, PLLC. (Patterson, Thomas) (Entered: 07/26/2022) [Granted by # 91
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV466Kdm_idV43685770Kdoc_numV91Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               07/26/2022
             Fee amount 100.00 (re: Doc # 51). (U.S. Treasury) (Entered: 07/26/2022)

        52   Notice of Submission / Agenda for First Day Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re:          07/26/2022
             Doc # 7, 11, 12, 13, 16, 17, 18, 20, 22, 23, 24, 25, 29, 30). (Hokanson, Jeffrey) (Entered: 07/26/2022)

        53   CORRECTED ENTRY: Notice of Hearing on (I) First Day Motions and (II) Related Pleadings Filed in Adversary Proceeding filed by            07/26/2022
             Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 52). Hearing to be held on 7/27/2022 at 09:30 AM
             Eastern in Rm 344 U.S. Courthouse, Indianapolis. Parties that wish to listen but not actively participate may do so by phone at 551-
             285-1373 or 646-828-7669, Meeting ID 160 2312 6397 (Hokanson, Jeffrey) ORIGINAL ENTRY: Notice of Hearing re: Notice of
             Submission / Agenda for First Day Hearing, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc #
             52). Hearing to be held on 7/27/2022 at 09:30 AM Eastern in Rm 344 U.S. Courthouse, Indianapolis. (Hokanson, Jeffrey) Modified
             on 7/26/2022. (cmm) Modified on 7/27/2022. (cmm) Modified on 8/4/2022. (cmm) (Entered: 07/26/2022)

        54   Objection to Motion for Authority / Debtors' First Day Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay   07/26/2022
             Prepetition Claims of Specified Trade Claimants, (II) Granting Administrative Expense Priority to All Undisputed Obligations on
             Account of Outstanding Orders, and (III) Granting Related Relief filed by Harrison Edward Strauss on behalf of U.S. Trustee (re:
             Doc # 25). (Strauss, Harrison) (Entered: 07/26/2022)

        55   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Chad Husnick on behalf of Debtor Aearo Technologies LLC.                07/26/2022
             (Attachments: (1) Affidavit) (Husnick, Chad) (Entered: 07/26/2022) [Granted by # 111
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV544Kdm_idV43690991Kdoc_numV111Kpdf_headerV1');]

        56   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Emily Geier on behalf of Debtor Aearo Technologies LLC.                 07/26/2022
             (Attachments: (1) Affidavit) (Geier, Emily) (Entered: 07/26/2022) [Granted by # 112
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV546Kdm_idV43691414Kdoc_numV112Kpdf_headerV1');]

        57   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Ashley Keller on behalf of Creditor Richard Valle. (Attachments: (1)    07/26/2022
             Affidavit (2) Proposed Order) (Keller, Ashley) (Entered: 07/26/2022) [Granted by # 113
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV548Kdm_idV43691565Kdoc_numV113Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               07/26/2022
             Fee amount 100.00 (re: Doc # 57). (U.S. Treasury) (Entered: 07/26/2022)

        58   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Spencer Winters on behalf of Debtor Aearo Technologies LLC.             07/26/2022
             (Attachments: (1) Affidavit) (Winters, Spencer) (Entered: 07/26/2022) [Granted by # 114
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV550Kdm_idV43691778Kdoc_numV114Kpdf_headerV1');]

        59   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Derek Hunter on behalf of Debtor Aearo Technologies LLC.                07/26/2022
             (Attachments: (1) Affidavit) (Hunter, Derek) (Entered: 07/26/2022) [Granted by # 115
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV552Kdm_idV43691791Kdoc_numV115Kpdf_headerV1');]

        60   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Edward Sassower on behalf of Debtor Aearo Technologies LLC.             07/26/2022
             (Attachments: (1) Affidavit) (Sassower, Edward) (Entered: 07/26/2022) [Granted by # 116
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV554Kdm_idV43691797Kdoc_numV116Kpdf_headerV1');]

        61   Motion to Appear Pro Hac Vice with Affidavit in Support filed by McClain Thompson on behalf of Debtor Aearo Technologies LLC.            07/26/2022
             (Attachments: (1) Affidavit) (Thompson, McClain) (Entered: 07/26/2022) [Granted by # 117
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV556Kdm_idV43691807Kdoc_numV117Kpdf_headerV1');]

        62   Motion to Appear Pro Hac Vice with Affidavit in Support filed by David Horowitz on behalf of Debtor Aearo Technologies LLC.              07/26/2022
             (Attachments: (1) Affidavit) (Horowitz, David) (Entered: 07/26/2022) [Granted by # 118
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV558Kdm_idV43691823Kdoc_numV118Kpdf_headerV1');]

        63   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Micah E. Marcus on behalf of Debtor Aearo Technologies LLC.             07/26/2022
             (Attachments: (1) Exhibit A - Affidavit) (Marcus, Micah) (Entered: 07/26/2022) [Granted by # 125
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV604Kdm_idV43692491Kdoc_numV125Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               07/26/2022
             Fee amount 100.00 (re: Doc # 63). (U.S. Treasury) (Entered: 07/26/2022)

        64   Objection to Motion for Approval of Cash Management System (Bank Accounts/Business Forms) filed by Harrison Edward Strauss               07/26/2022
             on behalf of U.S. Trustee (re: Doc # 23). (Strauss, Harrison) (Entered: 07/26/2022)

        65   Motion to Appear Pro Hac Vice with Affidavit in Support filed by David Agay on behalf of Debtor Aearo Technologies LLC.                  07/26/2022
             (Attachments: (1) Exhibit A - Affidavit) (Agay, David) (Entered: 07/26/2022) [Granted by # 127
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV609Kdm_idV43693015Kdoc_numV127Kpdf_headerV1');]



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        66   Objection to Motion for Authority / Debtors' First Day Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)   07/26/2022
             Pay Prepetition Wages, Compensation, and Benefit Obligations and (B) Continue Employee Compensation and Benefits
             Programs, and (II) Granting Related Relief filed by Harrison Edward Strauss on behalf of U.S. Trustee (re: Doc # 20). (Strauss,
             Harrison) (Entered: 07/26/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               07/26/2022
             Fee amount 100.00 (re: Doc # 65). (U.S. Treasury) (Entered: 07/26/2022)

        67   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Joshua A. Gadharf on behalf of Debtor Aearo Technologies LLC.           07/26/2022
             (Attachments: (1) Exhibit A - Affidavit) (Gadharf, Joshua) (Entered: 07/26/2022) [Granted by # 128
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV611Kdm_idV43693035Kdoc_numV128Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               07/26/2022
             Fee amount 100.00 (re: Doc # 67). (U.S. Treasury) (Entered: 07/26/2022)

        68   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Ashley Jennifer Jericho on behalf of Debtor Aearo Technologies          07/26/2022
             LLC. (Attachments: (1) Exhibit A - Affidavit) (Jericho, Ashley) (Entered: 07/26/2022) [Granted by # 129
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV613Kdm_idV43693048Kdoc_numV129Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               07/26/2022
             Fee amount 100.00 (re: Doc # 68). (U.S. Treasury) (Entered: 07/26/2022)

        69   Objection to Motion for Authority / Debtors' Motion for Entry of an Order (I) Authorizing the Debtors to File One List of the Top Law    07/26/2022
             Firms Representing the Largest Numbers of Tort Plaintiffs Asserting Claims Against the Debtors, (II) Authorizing The Debtors to File
             One Consolidated Creditor Matrix, (III) Authorizing the Listing of Addresses of Counsel For Tort Claimants in the Creditor Matrix in
             Lieu of Claimants' Addresses, (IV) Authorizing the Debtors to Redact Personally Identifiable Information, (V) Approving Certain
             Notice Procedures for Tort Claimants, (VI) Approving the Form and Manner of Notice of the Commencement of these Chapter 11
             Cases, and (VII) Granting Related Relief filed by Harrison Edward Strauss on behalf of U.S. Trustee (re: Doc # 17). (Strauss,
             Harrison) (Entered: 07/26/2022)

        70   Certificate of Service re: Motion for Joint Administration, Declaration, Brief, Motion to Retain Noticing, Balloting, or Claims Agent,   07/26/2022
             Motion to Extend Time to File Initial Documents, Motion for Authority / Debtors' Motion for Entry of an Order (I) Authorizing the
             Debtors to File One List of the Top Law Firms Representing the Largest Numbers of Tort Plaintiffs Asserting Claims Against the
             Debtors, (II) Authorizing The Debtors to File One Consolidated Creditor Matrix, (III) Authorizing the Listing of Addresses of Counsel
             For Tort Claimants in the Creditor Matrix in Lieu of Claimants' Addresses, (IV) Authorizing the Debtors to Redact Personally
             Identifiable Information, (V) Approving Certain Notice Procedures for Tort Claimants, (VI) Approving the Form and Manner of Notice
             of the Commencement of these Chapter 11 Cases, and (VII) Granting Related Relief, Motion for Case Management Order, Motion
             for Authority / Debtors' First Day Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Pay Prepetition
             Wages, Compensation, and Benefit Obligations and (B) Continue Employee Compensation and Benefits Programs, and (II)
             Granting Related Relief, Motion to Pay Pre-Petition Trust Fund Taxes, Motion for Authority / Debtors' First Day Motion for Entry of
             Interim and Final Orders (I) Authorizing the Debtors to (A) Maintain Their Prepetition Insurance Coverage and Satisfy Prepetition
             Obligations Related Thereto, (B) Continue to Pay Certain Brokerage Fees, and (C) Renew, Supplement, Modify, or Purchase
             Insurance and Reinsurance Coverage, (II) Approving Continuation of Their Surety Bond Program, and (III) Granting Related Relief,
             Motion for Approval of Cash Management System (Bank Accounts/Business Forms), Motion to Provide Adequate Assurance to
             Utilities, Motion for Authority / Debtors' First Day Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay
             Prepetition Claims of Specified Trade Claimants, (II) Granting Administrative Expense Priority to All Undisputed Obligations on
             Account of Outstanding Orders, and (III) Granting Related Relief, Motion for Expedited Hearing and/or Shortened Notice Time on
             Motion for Authority / Debtors' Motion for Entry of an Order (I) Authorizing the Debtors to File One List of the Top Law Firms
             Representing the Largest Numbers of Tort Plaintiffs Asserting Claims Against the Debtors, (II) Authorizing The Debtors to File One
             Consolidated Creditor Matrix, (III) Authorizing the Listing of Addresses of Counsel For Tort Claimants in the Creditor Matrix in Lieu
             of Claimants' Addresses, (IV) Authorizing the Debtors to Redact Personally Identifiable Information, (V) Approving Certain Notice
             Procedures for Tort Claimants, (VI) Approving the Form and Manner of Notice of the Commencement of these Chapter 11 Cases,
             and (VII) Granting Related Relief, Motion for Expedited Hearing and/or Shortened Notice Time, Motion for Expedited Hearing
             and/or Shortened Notice Time, Motion for Expedited Hearing and/or Shortened Notice Time, Order on Motion for Expedited
             Hearing and/or Shortened Notice Time, Joint Administration Notice, Order on Motion for Expedited Hearing and/or Shortened
             Notice Time, Order on Motion for Expedited Hearing and/or Shortened Notice Time, Order on Motion for Expedited Hearing and/or
             Shortened Notice Time, Notice of Submission / Agenda for First Day Hearing, Notice of Hearing on (I) First Day Motions and (II)
             Related Pleadings Filed in Adversary Proceeding, filed by Noticing Agent on behalf of Member Debtor Aearo Intermediate LLC (re:
             Doc # 7, 11, 12, 13, 16, 17, 18, 20, 21, 22, 23, 24, 25, 29, 30, 31, 32, 45, 46, 47, 49, 50, 52, 53). (Baer, Herbert) (Entered:
             07/26/2022)

        71   Notice of Incomplete Filing issued to Edward Sassower. Failure to file required item(s) by the due date may result in the striking of    07/27/2022
             the incomplete filing, the dismissal of the Bankruptcy case without further notice, or other action as the Court deems appropriate.
             Required item(s): A $100.00 filing fee is due for the Motion to Appear Pro Hac Vice filed on 07/26/2022. (re: Doc # 60). Incomplete
             Filing due by 08/03/2022. (Admin) (Entered: 07/27/2022)

        72   Notice of Incomplete Filing issued to Spencer Winters. Failure to file required item(s) by the due date may result in the striking of    07/27/2022
             the incomplete filing, the dismissal of the Bankruptcy case without further notice, or other action as the Court deems appropriate.
             Required item(s): A $100.00 filing fee is due for the Motion to Appear Pro Hac Vice filed on 07/26/2022. (re: Doc # 58). Incomplete
             Filing due by 08/03/2022. (Admin) (Entered: 07/27/2022)


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        73   Notice of Incomplete Filing issued to Chad Husnick. Failure to file required item(s) by the due date may result in the striking of the     07/27/2022
             incomplete filing, the dismissal of the Bankruptcy case without further notice, or other action as the Court deems appropriate.
             Required item(s): A $100.00 filing fee is due for the Motion to Appear Pro Hac Vice filed on 07/26/2022. (re: Doc # 55). Incomplete
             Filing due by 08/03/2022. (Admin) (Entered: 07/27/2022)

        74   Notice of Incomplete Filing issued to McClain Thompson. Failure to file required item(s) by the due date may result in the striking of     07/27/2022
             the incomplete filing, the dismissal of the Bankruptcy case without further notice, or other action as the Court deems appropriate.
             Required item(s): A $100.00 filing fee is due for the Motion to Appear Pro Hac Vice filed on 07/26/2022. (re: Doc # 61). Incomplete
             Filing due by 08/03/2022. (Admin) (Entered: 07/27/2022)

        75   Notice of Incomplete Filing issued to David Horowitz. Failure to file required item(s) by the due date may result in the striking of the   07/27/2022
             incomplete filing, the dismissal of the Bankruptcy case without further notice, or other action as the Court deems appropriate.
             Required item(s): A $100.00 filing fee is due for the Motion to Appear Pro Hac Vice filed on 07/26/2022. (re: Doc # 62). Incomplete
             Filing due by 08/03/2022. (Admin) (Entered: 07/27/2022)

        76   Notice of Incomplete Filing issued to Emily Geier. Failure to file required item(s) by the due date may result in the striking of the      07/27/2022
             incomplete filing, the dismissal of the Bankruptcy case without further notice, or other action as the Court deems appropriate.
             Required item(s): A $100.00 filing fee is due for the Motion to Appear Pro Hac Vice filed on 07/26/2022. (re: Doc # 56). Incomplete
             Filing due by 08/03/2022. (Admin) (Entered: 07/27/2022)

        77   Notice of Incomplete Filing issued to Derek Hunter. Failure to file required item(s) by the due date may result in the striking of the     07/27/2022
             incomplete filing, the dismissal of the Bankruptcy case without further notice, or other action as the Court deems appropriate.
             Required item(s): A $100.00 filing fee is due for the Motion to Appear Pro Hac Vice filed on 07/26/2022. (re: Doc # 59). Incomplete
             Filing due by 08/03/2022. (Admin) (Entered: 07/27/2022)

        78   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.            07/27/2022
             (Attachments: (1) Affidavit) (Hokanson, Jeffrey) (Entered: 07/27/2022) [Amended by # 171
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV789Kdm_idV43703014Kdoc_numV171Kpdf_headerV1');]

        79   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.            07/27/2022
             (Attachments: (1) Affidavit) (Hokanson, Jeffrey) (Entered: 07/27/2022) [Amended by # 170
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV783Kdm_idV43702988Kdoc_numV170Kpdf_headerV1');]

        80   Notice of Submission / Amended Agenda for Hearing on First Day Motions filed by Jeffrey A Hokanson on behalf of Debtor Aearo               07/27/2022
             Technologies LLC (re: Doc # 7, 10, 11, 12, 13, 16, 17, 18, 20, 21, 22, 23, 24, 25, 31, 32, 45, 47, 49, 50, 54, 64, 66, 69, 6 on 22-
             02896-JJG-11, 2 on 22-02896-JJG-11, 5 on 22-02896-JJG-11, 1 on 22-02896-JJG-11). (Hokanson, Jeffrey) (Entered: 07/27/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                 07/27/2022
             Fee amount 100.00 (re: Doc # 55). Deadline terminated: Notice of Incomplete Filing (73). (U.S. Treasury) (Entered: 07/27/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                 07/27/2022
             Fee amount 100.00 (re: Doc # 78). (U.S. Treasury) (Entered: 07/27/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                 07/27/2022
             Fee amount 100.00 (re: Doc # 79). (U.S. Treasury) (Entered: 07/27/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                 07/27/2022
             Fee amount 100.00 (re: Doc # 62). Deadline terminated: Notice of Incomplete Filing (75). (U.S. Treasury) (Entered: 07/27/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                 07/27/2022
             Fee amount 100.00 (re: Doc # 56). Deadline terminated: Notice of Incomplete Filing (76). (U.S. Treasury) (Entered: 07/27/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                 07/27/2022
             Fee amount 100.00 (re: Doc # 60). Deadline terminated: Notice of Incomplete Filing (71). (U.S. Treasury) (Entered: 07/27/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                 07/27/2022
             Fee amount 100.00 (re: Doc # 61). Deadline terminated: Notice of Incomplete Filing (74). (U.S. Treasury) (Entered: 07/27/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                 07/27/2022
             Fee amount 100.00 (re: Doc # 59). Deadline terminated: Notice of Incomplete Filing (77). (U.S. Treasury) (Entered: 07/27/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                 07/27/2022
             Fee amount 100.00 (re: Doc # 58). Deadline terminated: Notice of Incomplete Filing (72). (U.S. Treasury) (Entered: 07/27/2022)

        81   Appearance filed by Deborah Caruso on behalf of Creditor Seeger Weiss LLP. (Caruso, Deborah) (Entered: 07/27/2022)                         07/27/2022

        82   Appearance filed by Meredith R. Theisen on behalf of Creditor Seeger Weiss LLP. (Theisen, Meredith) (Entered: 07/27/2022)                  07/27/2022

        83   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Karen Hope Beyea-Schroeder on behalf of Creditor Junell &                 07/27/2022
             Associates, PLLC. (Attachments: (1) Affidavit (2) Exhibit Proposed Form of Order) (Beyea-Schroeder, Karen) (Entered: 07/27/2022)
             [Amended by # 87
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV453Kdm_idV43685335Kdoc_numV87Kpdf_headerV1');]


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             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           07/27/2022
             Fee amount 100.00 (re: Doc # 83). (U.S. Treasury) (Entered: 07/27/2022)

        84   Notice of Submission / Second Amended Agenda for First Day Motions filed by Jeffrey A Hokanson on behalf of Debtor Aearo             07/27/2022
             Technologies LLC (re: Doc # 80). (Hokanson, Jeffrey) (Entered: 07/27/2022)

        85   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 33). Attorney for Creditor 3M Company must distribute this order. (hhd)      07/27/2022
             (Entered: 07/27/2022)

        86   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 44). Attorney for Interested Party Aylstock, Witkin, Kreis & Overholtz,      07/27/2022
             PLLC must distribute this order. (hhd) (Entered: 07/27/2022)

        87   Amended Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Karen Hope Beyea-Schroeder on behalf of           07/27/2022
             Creditor Junell & Associates, PLLC (re: Doc # 83). (Attachments: (1) Affidavit of Pro Hac Counsel (2) Exhibit Proposed Order)
             (Beyea-Schroeder, Karen) (Entered: 07/27/2022) [Granted by # 172
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV795Kdm_idV43703298Kdoc_numV172Kpdf_headerV1');]

        88   Deficiency Notice Issued re: Motion to Appear Pro Hac Vice (re: Doc # 78). Deficiency to be cured by 8/10/2022. (cmm) (Entered:      07/27/2022
             07/27/2022)

        89   Deficiency Notice Issued re: Motion to Appear Pro Hac Vice (re: Doc # 79). Deficiency to be cured by 8/10/2022. (cmm) (Entered:      07/27/2022
             07/27/2022)

        90   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 48). Attorney for Interested Party Aylstock, Witkin, Kreis & Overholtz,      07/27/2022
             PLLC must distribute this order. (hhd) (Entered: 07/27/2022)

        91   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 51). Attorney for Interested Party Aylstock, Witkin, Kreis & Overholtz,      07/27/2022
             PLLC must distribute this order. (hhd) (Entered: 07/27/2022)

        92   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Patricia B. Tomasco on behalf of Creditor Bellwether Plaintiffs     07/27/2022
             Adkins, Wilkerson, and Vaugh. (Tomasco, Patricia) (Entered: 07/27/2022) [Corrected by # 98
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV496Kdm_idV43687942Kdoc_numV98Kpdf_headerV1');]

        93   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Michael L. Tuchin on behalf of Interested Party Aylstock, Witkin,   07/27/2022
             Kreis & Overholtz, PLLC. (Tuchin, Michael) (Entered: 07/27/2022) [Granted by # 120
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV562Kdm_idV43691970Kdoc_numV120Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           07/27/2022
             Fee amount 100.00 (re: Doc # 92). (U.S. Treasury) (Entered: 07/27/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           07/27/2022
             Fee amount 100.00 (re: Doc # 93). (U.S. Treasury) (Entered: 07/27/2022)

        94   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Deborah K. Levy on behalf of Creditor Junell & Associates, PLLC.    07/27/2022
             (Attachments: (1) Affidavit of Pro Hac Counsel (2) Exhibit Proposed Order) (Levy, Deborah) (Entered: 07/27/2022) [Granted by #
             121 CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV564Kdm_idV43691977Kdoc_numV121Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           07/27/2022
             Fee amount 100.00 (re: Doc # 94). (U.S. Treasury) (Entered: 07/27/2022)

        95   Appearance filed by Thomas E Patterson on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Patterson,          07/27/2022
             Thomas) (Entered: 07/27/2022)

        96   Appearance filed by Sasha M. Gurvitz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Gurvitz, Sasha)       07/27/2022
             (Entered: 07/27/2022)

        97   Appearance filed by Nir Maoz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Maoz, Nir) (Entered:          07/27/2022
             07/27/2022)

        98   Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Patricia B. Tomasco on behalf of Creditor Bellwether      07/27/2022
             Plaintiffs Adkins, Wilkerson, and Vaugh (re: Doc # 92). (Tomasco, Patricia) (Entered: 07/27/2022) [Granted by # 175
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV802Kdm_idV43704206Kdoc_numV175Kpdf_headerV1');]

        99   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Mark McKane on behalf of Debtor Aearo Technologies LLC.             07/27/2022
             (Attachments: (1) Affidavit) (McKane, Mark) (Entered: 07/27/2022) [Granted by # 131
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV619Kdm_idV43693109Kdoc_numV131Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           07/27/2022
             Fee amount 100.00 (re: Doc # 99). (U.S. Treasury) (Entered: 07/27/2022)




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       101   Minute Entry/Order: re: Expedited Hearing on Debtors' Motion on Motion for Entry of an Order (I) Authorizing the Debtors to File        07/27/2022
             One List of the Top Law Firms Representing the Largest Numbers of Tort Plaintiffs Asserting Claims Against the Debtors, (II)
             Authorizing The Debtors to File One Consolidated Creditor Matrix, (III) Authorizing the Listing of Addresses of Counsel For Tort
             Claimants in the Creditor Matrix in Lieu of Claimants' Addresses, (IV) Authorizing the Debtors to Redact Personally Identifiable
             Information, (V) Approving Certain Notice Procedures for Tort Claimants, (VI) Approving the Form and Manner of Notice of the
             Commencement of these Chapter 11 Cases and US Trustee's Objection thereto (re: Doc # 17,69). Disposition: Hearing held. Court
             grants Motion as modified in open Court. Counsel for Debtors to submit order within 5 days. (hhd) (Entered: 07/28/2022)

       102   Minute Entry/Order: re: Expedited Hearing on Debtors' Motion to Retain Noticing, Balloting, or Claims Agents Pursuant to Local          07/27/2022
             Rule S.D.Ind. B-1007-2 (re: Doc # 13). Disposition: Hearing held. Court grants Motion. Counsel for Debtors to submit order within 5
             days. (hhd) (Entered: 07/28/2022)

       103   Minute Entry/Order: re: Expedited Hearing on Debtors' Motion to Extend Time to File Schedules (re: Doc # 16). Disposition:              07/27/2022
             Hearing held. Court grants Motion. Order to be entered. (hhd) (Entered: 07/28/2022)

       104   Minute Entry/Order: re: Hearing on Debtors' Motion for Case Management Order (re: Doc # 18). Disposition: Hearing held. Court           07/27/2022
             grants Motion as modified in open court. Counsel for Debtors to submit order within 5 days. (hhd) (Entered: 07/28/2022)

       105   Minute Entry/Order: re: Hearing on Debtors' First Day Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)   07/27/2022
             Pay Prepetition Wages, Compensation, and Benefit Obligations and (B) Continue Employee Compensation and Benefits
             Programs, and (II) Granting Related Relief and US Trustee's Objection thereto (re: Doc # 20,66). Disposition: Hearing held. Court
             accepts proffered testimony of John Castellano. Court grants Motion as modified in open Court on an interim basis and sets final
             hearing for 08/18/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via ZOOM. Counsel for Debtors to
             submit order within 5 days. (hhd) (Entered: 07/28/2022)

       106   Minute Entry/Order: re: Hearing on Debtors' First Day Motion to Pay Pre-Petition Trust Fund Taxes (re: Doc # 21, 53). Disposition:      07/27/2022
             Hearing held. Court accepts proffered testimony of John Castellano. Court grants Motion on an interim basis and sets final hearing
             for 08/18/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via ZOOM. Counsel for Debtors to submit order
             within 5 days. (hhd) (Entered: 07/28/2022)

       107   Minute Entry/Order: re: Hearing on Debtors' First Day Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)   07/27/2022
             Maintain Their Prepetition Insurance Coverage and Satisfy Prepetition Obligations Related Thereto, (B) Continue to Pay Certain
             Brokerage Fees, and (C) Renew, Supplement, Modify, or Purchase Insurance and Reinsurance Coverage, (II) Approving
             Continuation of Their Surety Bond Program, and (III) Granting Related Relief (re: Doc # 22,53). Disposition: Hearing held. Court
             accepts proffered testimony of John Castellano. Court grants Motion on an interim basis and sets final hearing for 08/18/2022 at
             09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via ZOOM. Counsel for Debtors to submit order within 5 days.
             (hhd) (Entered: 07/28/2022)

       108   Minute Entry/Order: re: Motion to Hearing on Debtors' First Day Motion to Provide Adequate Assurance to Utilities (re: Doc #            07/27/2022
             24,53). Disposition: Hearing held. Court accepts proffered testimony of John Castellano. Court grants Motion on an interim basis
             and sets final hearing for 08/18/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via ZOOM. Counsel for
             Debtors to submit order within 5 days. (hhd) (Entered: 07/28/2022)

       109   Minute Entry/Order: re: Hearing on Debtors' First Day Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to       07/27/2022
             Pay Prepetition Claims of Specified Trade Claimants, (II) Granting Administrative Expense Priority to All Undisputed Obligations on
             Account of Outstanding Orders, and (III) Granting Related Relief and US Trustee's Objection thereto (re: Doc # 25,53,54).
             Disposition: Hearing held. Court accepts proffered testimony of John Castellano. Court grants Motion as modified in open court on
             an interim basis and sets final hearing for 08/18/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via
             ZOOM. Counsel for Debtors to submit order within 5 days. (hhd) (Entered: 07/28/2022)

       110   Minute Entry/Order: re: Hearing on Debtors' Amended First Day Motion for Approval of Cash Management System (Bank                       07/27/2022
             Accounts/Business Forms) and US Trustee's Objection thereto (re: Doc # 23,64). Disposition: Hearing held. Court accepts
             proffered testimony of John Castellano. Court grants Motion as modified in open on an interim basis and sets final hearing for
             08/18/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via ZOOM. Counsel for Debtors to submit order
             within 5 days. (hhd) (Entered: 07/28/2022)

       100   Motion to Appear Pro Hac Vice with Affidavit in Support filed by John Bougiamas on behalf of Creditor Seeger Weiss LLP.                 07/28/2022
             (Attachments: (1) Exhibit A.) (Bougiamas, John) (Entered: 07/28/2022) [Granted by # 153
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV706Kdm_idV43698783Kdoc_numV153Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              07/28/2022
             Fee amount 100.00 (re: Doc # 100). (U.S. Treasury) (Entered: 07/28/2022)

       111   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 55). Attorney for the debtor must distribute this order. (hhd) (Entered:        07/28/2022
             07/28/2022)

       112   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 56). Attorney for the debtor must distribute this order. (hhd) (Entered:        07/28/2022
             07/28/2022)

       113   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 57). Attorney for Creditor Richard Valle must distribute this order. (hhd)      07/28/2022
             (Entered: 07/28/2022)


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       114   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 58). Attorney for the debtor must distribute this order. (hhd) (Entered:    07/28/2022
             07/28/2022)

       115   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 59). Attorney for the debtor must distribute this order. (hhd) (Entered:    07/28/2022
             07/28/2022)

       116   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 60). Attorney for the debtor must distribute this order. (hhd) (Entered:    07/28/2022
             07/28/2022)

       117   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 61). Attorney for the debtor must distribute this order. (hhd) (Entered:    07/28/2022
             07/28/2022)

       118   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 62). Attorney for the debtor must distribute this order. (hhd) (Entered:    07/28/2022
             07/28/2022)

       119   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 79). Attorney for the debtor must distribute this order. (hhd) (Entered:    07/28/2022
             07/28/2022) [Vacated by # 159
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV734Kdm_idV43701892Kdoc_numV159Kpdf_headerV1');]

       120   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 93). Attorney for Interested Party Aylstock, Witkin, Kreis & Overholtz,     07/28/2022
             PLLC must distribute this order. (hhd) (Entered: 07/28/2022)

       121   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 94). Attorney for Creditor Junell & Associates, PLLC must distribute this   07/28/2022
             order. (hhd) (Entered: 07/28/2022)

       122   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Anne Gilbert Wallice on behalf of Debtor Aearo Technologies LLC.   07/28/2022
             (Attachments: (1) Affidavit) (Wallice, Anne) (Entered: 07/28/2022) [Granted by # 160
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV740Kdm_idV43701931Kdoc_numV160Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.          07/28/2022
             Fee amount 100.00 (re: Doc # 122). (U.S. Treasury) (Entered: 07/28/2022)

       123   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Claire Stephens on behalf of Debtor Aearo Technologies LLC.        07/28/2022
             (Attachments: (1) Affidavit) (Stephens, Claire) (Entered: 07/28/2022) [Granted by # 161
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV742Kdm_idV43701984Kdoc_numV161Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.          07/28/2022
             Fee amount 100.00 (re: Doc # 123). (U.S. Treasury) (Entered: 07/28/2022)

       124   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Jennifer S. Feeney on behalf of Creditor Seeger Weiss LLP.         07/28/2022
             (Attachments: (1) Exhibit A.) (Feeney, Jennifer) (Entered: 07/28/2022) [Granted by # 200
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV902Kdm_idV43708402Kdoc_numV200Kpdf_headerV1');]

       125   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 63). Attorney for the debtor must distribute this order. (hhd) (Entered:    07/28/2022
             07/28/2022)

       126   Request for Transcript filed by Meredith R. Theisen on behalf of Creditor Seeger Weiss LLP (re: Doc # 110). (Theisen, Meredith)     07/28/2022
             (Entered: 07/28/2022)

       127   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 65). Attorney for the debtor must distribute this order. (hhd) (Entered:    07/28/2022
             07/28/2022)

       128   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 67). Attorney for the debtor must distribute this order. (hhd) (Entered:    07/28/2022
             07/28/2022)

       129   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 68). Attorney for the debtor must distribute this order. (hhd) (Entered:    07/28/2022
             07/28/2022)

       130   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Melanie Louise Cyganowski on behalf of Creditor Seeger Weiss       07/28/2022
             LLP. (Attachments: (1) Exhibit A.) (Cyganowski, Melanie) (Entered: 07/28/2022) [Granted by # 162
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV744Kdm_idV43702012Kdoc_numV162Kpdf_headerV1');]

       131   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 99). Attorney for the debtor must distribute this order. (hhd) (Entered:    07/28/2022
             07/28/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.          07/28/2022
             Fee amount 100.00 (re: Doc # 130). (U.S. Treasury) (Entered: 07/28/2022)

       132   Appearance filed by Patricia B. Tomasco on behalf of Creditor Bellwether Plaintiffs Adkins, Wilkerson, and Vaugh. (Tomasco,         07/28/2022
             Patricia) (Entered: 07/28/2022)

       133   Order Granting Motion to Retain Noticing, Balloting, or Claims Agents Pursuant to Local Rule S.D.Ind. B-1007-2 (re: Doc # 13).      07/28/2022
             Attorney for the debtor must distribute this order. (cmm) (Entered: 07/28/2022)

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       134   Order (I) Authorizing the Debtors to File One List of the Top Law Firms Representing the Largest Numbers of Tort Plaintiffs                 07/28/2022
             Asserting Claims Against the Debtors, (II) Authorizing The Debtors to File One Consolidated Creditor Matrix, (III) Authorizing the
             Listing of Addresses of Counsel For Tort Claimants in the Creditor Matrix in Lieu of Claimants' Addresses, (IV) Authorizing the
             Debtors to Redact Personally Identifiable Information, (V) Approving Certain Notice Procedures for Tort Claimants, (VI) Approving
             the Form and Manner of Notice of the Commencement of these Chapter 11 Cases, and (VII) Granting Related Relief (re: Doc #
             17). Attorney for the debtor must distribute this order. (cmm) (Entered: 07/28/2022)

       135   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Eric Winston on behalf of Creditor Bellwether Plaintiffs Adkins,           07/28/2022
             Wilkerson, and Vaugh. (Winston, Eric) (Entered: 07/28/2022) [Granted by # 163
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV746Kdm_idV43702022Kdoc_numV163Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                  07/28/2022
             Fee amount 100.00 (re: Doc # 135). (U.S. Treasury) (Entered: 07/28/2022)

       136   Appearance filed by Michael L. Tuchin on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Tuchin, Michael)            07/28/2022
             (Entered: 07/28/2022)

       137   Request for Transcript filed by Elizabeth Marie Little on behalf of Creditor 3M Company (re: Doc # 110). (Little, Elizabeth) (Entered:      07/28/2022
             07/28/2022)

       138   BNC Certificate of Service - NOTICE (re: Doc # 1). No. of Notices: 1 Notice Date 07/28/2022. (Admin) (Entered: 07/29/2022)                  07/28/2022

       139   BNC Certificate of Service - NOTICE (re: Doc # 46). No. of Notices: 8 Notice Date 07/28/2022. (Admin) (Entered: 07/29/2022)                 07/28/2022

       140   Notice of Incomplete Filing issued to Jennifer Feeney. Failure to file required item(s) by the due date may result in the striking of the   07/29/2022
             incomplete filing, the dismissal of the Bankruptcy case without further notice, or other action as the Court deems appropriate.
             Required item(s): A $100.00 filing fee is due for the Motion to Appear Pro Hac Vice filed on 07/28/2022. (re: Doc # 124). Incomplete
             Filing due by 08/05/2022. (Admin) (Entered: 07/29/2022)

       141   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Adam C. Silverstein on behalf of Creditor Seeger Weiss LLP.                07/29/2022
             (Attachments: (1) Exhibit A.) (Silverstein, Adam) (Entered: 07/29/2022) [Granted by # 167
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV762Kdm_idV43702555Kdoc_numV167Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                  07/29/2022
             Fee amount 100.00 (re: Doc # 141). (U.S. Treasury) (Entered: 07/29/2022)

       142   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Robert C Yan on behalf of Creditor Seeger Weiss LLP.                       07/29/2022
             (Attachments: (1) Exhibit A.) (Yan, Robert) (Entered: 07/29/2022) [Granted by # 168
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV764Kdm_idV43702560Kdoc_numV168Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                  07/29/2022
             Fee amount 100.00 (re: Doc # 142). (U.S. Treasury) (Entered: 07/29/2022)

       143   Interim Order on Motion for Approval of Cash Management System (re: Doc # 23). Hearing to be held on 8/18/2022 at 09:00 AM                  07/29/2022
             Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do so by
             phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Objections due by 4:00 PM Eastern on 8/15/2022. Attorney
             for the debtor must distribute this order. (cmm) (Entered: 07/29/2022)

       144   Interim Order (I) Authorizing the Debtors to (A) Maintain Their Prepetition Insurance Coverage and Satisfy Prepetition Obligations          07/29/2022
             Related Thereto, (B) Continue to Pay Certain Brokerage Fees, and (C) Renew, Supplement, Modify, or Purchase Insurance and
             Reinsurance Coverage, (II) Approving Continuation of Their Surety Bond Program, and (III) Granting Related Relief (re: Doc # 22).
             Hearing to be held on 8/18/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to
             listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Objections
             due by 4:00 PM Eastern on 8/15/2022. Attorney for the debtor must distribute this order. (cmm) (Entered: 07/29/2022)

       145   Appearance filed by Andrea Kochert Townsend on behalf of Creditor Capital Machinery Systems, Inc. (Townsend, Andrea)                        07/29/2022
             (Entered: 07/29/2022)

       146   Interim Order on Motion to Pay Pre-Petition Trust Fund Taxes (re: Doc # 21). Hearing to be held on 8/18/2022 at 09:00 AM Eastern            07/29/2022
             in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do so by phone
             at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Objections due by 4:00 PM Eastern on 8/15/2022. Attorney for the
             debtor must distribute this order. (cmm) (Entered: 07/29/2022)

       147   Interim Order on Motion to Provide Adequate Assurance to Utilities (re: Doc # 24). Hearing to be held on 8/18/2022 at 09:00 AM              07/29/2022
             Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do so by
             phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Objections due by 4:00 PM Eastern on 8/15/2022. Attorney
             for the debtor must distribute this order. (cmm) (Entered: 07/29/2022)

       148   Appearance filed by Deborah K. Levy on behalf of Creditor Junell & Associates, PLLC. (Levy, Deborah) (Entered: 07/29/2022)                  07/29/2022




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       149   Interim Order (I) Authorizing the Debtors to Pay Prepetition Claims of 503(B)(9) Claimants, (II) Granting Administrative Expense        07/29/2022
             Priority to All Undisputed Obligations on Account of Outstanding Orders, and (III) Granting Related Relief (re: Doc # 25). Hearing to
             be held on 8/18/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but
             not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Objections due by 4:00
             PM Eastern on 8/15/2022. Attorney for the debtor must distribute this order. (cmm) (Entered: 07/29/2022)

       150   Interim Order (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Compensation, and Benefit Obligations and (B) Continue          07/29/2022
             Employee Compensation and Benefits Programs, and (II) Granting Related Relief (re: Doc # 20). Hearing to be held on 8/18/2022
             at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate
             may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Objections due by 4:00 PM Eastern on
             8/15/2022. Attorney for the debtor must distribute this order. (cmm) (Entered: 07/29/2022)

       151   Order (I) Extending Time to File (A) Schedules of Assets and Liabilities, (B) Schedules of Current Income and Expenditures, (C)         07/29/2022
             Schedules of Executory Contracts and Unexpired Leases, (D) Statements of Financial Affairs, and (II) Granting Related Relief (re:
             Doc # 16). Incomplete Filings due by 8/29/2022. Attorney for the debtor must distribute this order. (cmm) (Entered: 07/29/2022)

       152   Order (I) Establishing Certain Notice, Case Management, and Administrative Procedures and (II) Granting Related Relief (re: Doc #       07/29/2022
             18). Attorney for the debtor must distribute this order. (cmm) (Entered: 07/29/2022)

       153   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 100). Attorney for Creditor Seeger Weiss LLP must distribute this order.        07/29/2022
             (hhd) (Entered: 07/29/2022)

       154   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Tristan Manthey on behalf of Creditor Clark, Love & Hutson, PLLC.      07/29/2022
             (Manthey, Tristan) (Entered: 07/29/2022) [Granted by # 176
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV804Kdm_idV43704224Kdoc_numV176Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              07/29/2022
             Fee amount 100.00 (re: Doc # 154). (U.S. Treasury) (Entered: 07/29/2022)

       155   Appearance filed by Tristan Manthey on behalf of Creditor Clark, Love & Hutson, PLLC. (Manthey, Tristan) (Entered: 07/29/2022)          07/29/2022

       156   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Brent Barriere on behalf of Creditor Clark, Love & Hutson, PLLC.       07/29/2022
             (Barriere, Brent) (Entered: 07/29/2022) [Granted by # 178
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV814Kdm_idV43704253Kdoc_numV178Kpdf_headerV1');]

       157   Appearance filed by Brent Barriere on behalf of Creditor Clark, Love & Hutson, PLLC. (Barriere, Brent) (Entered: 07/29/2022)            07/29/2022

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              07/29/2022
             Fee amount 100.00 (re: Doc # 156). (U.S. Treasury) (Entered: 07/29/2022)

       158   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Cherie Nobles on behalf of Creditor Clark, Love & Hutson, PLLC.        07/29/2022
             (Nobles, Cherie) (Entered: 07/29/2022) [Granted by # 179
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV816Kdm_idV43704266Kdoc_numV179Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              07/29/2022
             Fee amount 100.00 (re: Doc # 158). (U.S. Treasury) (Entered: 07/29/2022)

       159   Order Vacating Order on Motion to Appear Pro Hac Vice (re: Doc # 119). The Clerk's Office will distribute this order. (hhd) (Entered:   08/01/2022
             08/01/2022)

       160   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 122). Attorney for the debtor must distribute this order. (hhd) (Entered:       08/01/2022
             08/01/2022)

       161   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 123). Attorney for the debtor must distribute this order. (hhd) (Entered:       08/01/2022
             08/01/2022)

       162   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 130). Attorney for Creditor Seeger Weiss LLP must distribute this order.        08/01/2022
             (hhd) (Entered: 08/01/2022)

       163   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 135). Attorney for Creditor Bellwether Plaintiffs Adkins, Wilkerson, and        08/01/2022
             Vaugh must distribute this order. (hhd) (Entered: 08/01/2022)

       164   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 7/27/2022. The transcript may be viewed at the          08/01/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 126, 137). Remote electronic access to the transcript is restricted until 10/31/2022. (Bowen, James) (Entered:
             08/01/2022) [Transcript]

       165   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 7/27/2022. The transcript may be viewed at the          08/01/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 126, 137). Remote electronic access to the transcript is restricted until 10/31/2022. (Bowen, James) (Entered:
             08/01/2022) [Transcript]

       166   Appearance filed by Cherie Nobles on behalf of Creditor Clark, Love & Hutson, PLLC. (Nobles, Cherie) (Entered: 08/01/2022)              08/01/2022

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       167   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 141). Attorney for Creditor Seeger Weiss LLP must distribute this order.   08/01/2022
             (hhd) (Entered: 08/01/2022)

       168   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 142). Attorney for Creditor Seeger Weiss LLP must distribute this order.   08/01/2022
             (hhd) (Entered: 08/01/2022)

             Fee due and payable by Jennifer S. Feeney on behalf of Creditor Seeger Weiss LLP for Motion to Appear Pro Hac Vice in the          08/01/2022
             amount of $100.00 (re: Doc # 124). (gel) (Entered: 08/01/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number                    08/01/2022
             76273804148. Fee amount 100.00 (re: Doc # 124). Deadline terminated: Notice of Incomplete Filing (140). (gel) (Entered:
             08/01/2022)

       169   Notice of Submission OF NOTICE OF POTENTIAL TAG-ALONG ACTION filed by Ashley Keller. (lad) CORRECTION: Missing                     08/01/2022
             docket text added in all capitals. Modified on 8/5/2022. (lad) (Entered: 08/01/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.         08/01/2022
             Fee amount 100.00 (re: Doc # 124). (U.S. Treasury) (Entered: 08/01/2022)

       170   Amended Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Renee D. Smith on behalf of Debtor Aearo        08/01/2022
             Technologies LLC (re: Doc # 79). (Attachments: (1) Affidavit) (Smith, Renee) (Entered: 08/01/2022) [Granted by # 191
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV873Kdm_idV43706466Kdoc_numV191Kpdf_headerV1');]

       171   Amended Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by David Bernick on behalf of Debtor Aearo         08/01/2022
             Technologies LLC (re: Doc # 78). (Attachments: (1) Affidavit) (Bernick, David) (Entered: 08/01/2022) [Granted by # 192
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV875Kdm_idV43706478Kdoc_numV192Kpdf_headerV1');]

       172   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 87). Attorney for Creditor Junell & Associates, PLLC must        08/01/2022
             distribute this order. (hhd) (Entered: 08/01/2022)

       173   Motion to Enforce Automatic Stay filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments: (1)         08/01/2022
             Exhibit A (2) Exhibit B (3) Exhibit C (4) Exhibit D (5) Exhibit E) (Hokanson, Jeffrey) (Entered: 08/01/2022)

       174   Notice of Hearing re: Motion to Enforce Automatic Stay, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC     08/01/2022
             (re: Doc # 173). Objections due by 4:00 PM Eastern on 8/15/2022. Hearing to be held on 8/18/2022 at 09:00 AM Eastern in Rm 311
             U.S. Courthouse, Indianapolis AND VIA ZOOM. PARTIES THAT WISH TO LISTEN BUT NOT ACTIVELY PARTICIPATE MAY DO
             SO BY PHONE AT 551-285-1373 OR 646-828-7669, MEETING ID 160 2312 6397. (Hokanson, Jeffrey) CORRECTION: Missing
             docket text added in all capitals. Modified on 8/2/2022. (cmm) (Entered: 08/01/2022)

       175   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 98). Attorney for Creditor Bellwether Plaintiffs Adkins,         08/01/2022
             Wilkerson, and Vaugh must distribute this order. (cmm) (Entered: 08/01/2022)

       176   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 154). Attorney for Creditor Clark, Love & Hutson, PLLC must distribute     08/01/2022
             this order. (cmm) (Entered: 08/01/2022)

       177   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Michael B. Martin on behalf of Interested Party Michael Martin.   08/01/2022
             (Attachments: (1) Affidavit of Michael Martin) (Martin, Michael) (Entered: 08/01/2022) [Granted by # 193
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV877Kdm_idV43706525Kdoc_numV193Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.         08/01/2022
             Fee amount 100.00 (re: Doc # 177). (U.S. Treasury) (Entered: 08/01/2022)

       178   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 156). Attorney for Creditor Clark, Love & Hutson, PLLC must distribute     08/01/2022
             this order. (cmm) (Entered: 08/01/2022)

       179   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 158). Attorney for Creditor Clark, Love & Hutson, PLLC must distribute     08/01/2022
             this order. (cmm) (Entered: 08/01/2022)

       180   Appearance filed by Karen Hope Beyea-Schroeder on behalf of Creditor Junell & Associates, PLLC. (Beyea-Schroeder, Karen)           08/01/2022
             (Entered: 08/01/2022)

       181   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, Order on Corrected Motion to Appear Pro Hac Vice, filed by      08/01/2022
             Patricia B. Tomasco on behalf of Creditor Bellwether Plaintiffs Adkins, Wilkerson, and Vaugh (re: Doc # 163, 175). (Tomasco,
             Patricia) (Entered: 08/01/2022)

       182   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Jason Walker Burge on behalf of Creditor Clark, Love & Hutson,    08/01/2022
             PLLC. (Burge, Jason) (Entered: 08/01/2022) [Granted by # 194
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV879Kdm_idV43706528Kdoc_numV194Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.         08/01/2022
             Fee amount 100.00 (re: Doc # 182). (U.S. Treasury) (Entered: 08/01/2022)

       183   Appearance filed by Jason Walker Burge on behalf of Creditor Clark, Love & Hutson, PLLC. (Burge, Jason) (Entered: 08/01/2022)      08/01/2022

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       184   Notice of Submission // Notice of Filing with respect to Motion to Enforce filed by Robert J Pfister on behalf of Interested Party    08/01/2022
             Aylstock, Witkin, Kreis & Overholtz, PLLC (re: Doc # 173). (Pfister, Robert) (Entered: 08/01/2022)

       185   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Kevin C Maclay on behalf of Interested Party Cory Watson, P.C.       08/01/2022
             (Maclay, Kevin) (Entered: 08/01/2022) [Granted by # 195
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV881Kdm_idV43706531Kdoc_numV195Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.            08/01/2022
             Fee amount 100.00 (re: Doc # 185). (U.S. Treasury) (Entered: 08/01/2022)

       186   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Todd E. Phillips on behalf of Interested Party Cory Watson, P.C.     08/01/2022
             (Phillips, Todd) (Entered: 08/01/2022) [Granted by # 196
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV883Kdm_idV43706540Kdoc_numV196Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.            08/01/2022
             Fee amount 100.00 (re: Doc # 186). (U.S. Treasury) (Entered: 08/01/2022)

       187   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Kevin M Davis on behalf of Interested Party Cory Watson, P.C.        08/01/2022
             (Davis, Kevin) (Entered: 08/01/2022) [Granted by # 197
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV885Kdm_idV43706548Kdoc_numV197Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.            08/01/2022
             Fee amount 100.00 (re: Doc # 187). (U.S. Treasury) (Entered: 08/01/2022)

       188   Appearance filed by Kevin C Maclay on behalf of Interested Party Cory Watson, P.C. (Maclay, Kevin) (Entered: 08/01/2022)              08/01/2022

       189   Appearance filed by Andrew T Kight on behalf of Interested Party Weitz & Luxenberg, PC. (Kight, Andrew) (Entered: 08/02/2022)         08/02/2022

       190   Appearance filed by Michael W. Hile on behalf of Interested Party Weitz & Luxenberg, PC. (Hile, Michael) (Entered: 08/02/2022)        08/02/2022

       191   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 170). Attorney for the debtor must distribute this order. (hhd)     08/02/2022
             (Entered: 08/02/2022)

       192   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 171). Attorney for the debtor must distribute this order. (hhd)     08/02/2022
             (Entered: 08/02/2022)

       193   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 177). Attorney for Interested Party Michael Martin must distribute this       08/02/2022
             order. (hhd) (Entered: 08/02/2022)

       194   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 182). Attorney for Creditor Clark, Love & Hutson, PLLC must distribute        08/02/2022
             this order. (hhd) (Entered: 08/02/2022)

       195   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 185). Attorney for Interested Party Cory Watson, P.C. must distribute this    08/02/2022
             order. (hhd) (Entered: 08/02/2022)

       196   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 186). Attorney for Interested Party Cory Watson, P.C. must distribute this    08/02/2022
             order. (hhd) (Entered: 08/02/2022)

       197   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 187). Attorney for Interested Party Cory Watson, P.C. must distribute this    08/02/2022
             order. (hhd) (Entered: 08/02/2022)

       198   Appearance filed by Ashley Keller on behalf of Creditor Keller Postman LLC. (Keller, Ashley) (Entered: 08/02/2022)                    08/02/2022

       199   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, Order on Motion to         08/02/2022
             Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, filed by Cherie Nobles on behalf of Creditor Clark, Love & Hutson,
             PLLC (re: Doc # 176, 178, 179, 194). (Nobles, Cherie) (Entered: 08/02/2022)

       200   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 124). Attorney for Creditor Seeger Weiss LLP must distribute this order.      08/02/2022
             (hhd) (Entered: 08/02/2022)

       201   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Samuel P Hershey on behalf of Creditor 3M Company.                   08/02/2022
             (Attachments: (1) Affidavit) (Hershey, Samuel) (Entered: 08/02/2022) [Granted by # 217
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV988Kdm_idV43711089Kdoc_numV217Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.            08/02/2022
             Fee amount 100.00 (re: Doc # 201). (U.S. Treasury) (Entered: 08/02/2022)

       202   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Kiah T Ford IV on behalf of Creditor Parafinczuk Wolf, P.A. (Ford,   08/02/2022
             Kiah) (Entered: 08/02/2022) [Granted by # 218
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV990Kdm_idV43711102Kdoc_numV218Kpdf_headerV1');]




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       203   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Phillip Fajgenbaum on behalf of Creditor Parafinczuk Wolf, P.A.        08/02/2022
             (Fajgenbaum, Phillip) (Entered: 08/02/2022) [Granted by # 219
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV992Kdm_idV43711118Kdoc_numV219Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/02/2022
             Fee amount 100.00 (re: Doc # 203). (U.S. Treasury) (Entered: 08/02/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/02/2022
             Fee amount 100.00 (re: Doc # 202). (U.S. Treasury) (Entered: 08/02/2022)

       204   Appearance filed by Kiah T Ford IV on behalf of Creditor Parafinczuk Wolf, P.A. (Ford, Kiah) (Entered: 08/02/2022)                      08/02/2022

       205   Appearance filed by Phillip Fajgenbaum on behalf of Creditor Parafinczuk Wolf, P.A. (Fajgenbaum, Phillip) (Entered: 08/02/2022)         08/02/2022

       206   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Nicole Berg on behalf of Creditor Keller Postman LLC.                  08/02/2022
             (Attachments: (1) Affidavit (2) Exhibit COG - Nicole C. Berg (3) Exhibit Proposed Order) (Berg, Nicole) (Entered: 08/02/2022)
             [Granted by # 220
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV994Kdm_idV43711123Kdoc_numV220Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/02/2022
             Fee amount 100.00 (re: Doc # 206). (U.S. Treasury) (Entered: 08/02/2022)

       207   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Kevin W Barrett on behalf of Creditor Bailey Glasser Plaintiffs.       08/02/2022
             (Attachments: (1) Affidavit) (Barrett, Kevin) (Entered: 08/02/2022) [Granted by # 221
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV996Kdm_idV43711134Kdoc_numV221Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/02/2022
             Fee amount 100.00 (re: Doc # 207). (U.S. Treasury) (Entered: 08/02/2022)

       208   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Maggie B. Burrus on behalf of Creditor Bailey Glasser Plaintiffs.      08/02/2022
             (Attachments: (1) Affidavit) (Burrus, Maggie) (Entered: 08/02/2022) [Granted by # 222
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV998Kdm_idV43711145Kdoc_numV222Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/02/2022
             Fee amount 100.00 (re: Doc # 208). (U.S. Treasury) (Entered: 08/02/2022)

       209   Appearance filed by Maggie B. Burrus on behalf of Creditor Bailey Glasser Plaintiffs. (Burrus, Maggie) (Entered: 08/02/2022)            08/02/2022

       210   Appearance filed by Kevin W Barrett on behalf of Creditor Bailey Glasser Plaintiffs. (Barrett, Kevin) (Entered: 08/02/2022)             08/02/2022

       211   Appearance filed by Kevin C Maclay on behalf of Interested Party Heninger Garrison Davis, LLC. (Maclay, Kevin) (Entered:                08/02/2022
             08/02/2022)

       212   Verification of Creditor List filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson, Jeffrey)               08/02/2022
             CORRECTION: Document filed in error. See doc. #213 for corrected filing. Modified on 8/3/2022. (cmm) (Entered: 08/02/2022)

       213   List of Secured Creditors filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson, Jeffrey) (Entered:         08/02/2022
             08/02/2022)

       214   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Ariella Thal Simonds on behalf of Interested Party Aylstock, Witkin,   08/03/2022
             Kreis & Overholtz, PLLC. (Thal Simonds, Ariella) (Entered: 08/03/2022) [Granted by # 234
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1071Kdm_idV43714771Kdoc_numV234Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/03/2022
             Fee amount 100.00 (re: Doc # 214). (U.S. Treasury) (Entered: 08/03/2022)

       215   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Brian A Glasser on behalf of Creditor Bailey Glasser Plaintiffs.       08/03/2022
             (Attachments: (1) Affidavit) (Glasser, Brian) (Entered: 08/03/2022) [Granted by # 235
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1073Kdm_idV43714774Kdoc_numV235Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/03/2022
             Fee amount 100.00 (re: Doc # 215). (U.S. Treasury) (Entered: 08/03/2022)

       216   Appearance filed by Brian A Glasser on behalf of Creditor Bailey Glasser Plaintiffs. (Glasser, Brian) (Entered: 08/03/2022)             08/03/2022

       217   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 201). Attorney for Creditor 3M Company must distribute this order. (hhd)        08/03/2022
             (Entered: 08/03/2022)

       218   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 202). Attorney for Creditor Parafinczuk Wolf, P.A. must distribute this         08/03/2022
             order. (hhd) (Entered: 08/03/2022)

       219   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 203). Attorney for Creditor Parafinczuk Wolf, P.A. must distribute this         08/03/2022
             order. (hhd) (Entered: 08/03/2022)


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       220   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 206). Attorney for Creditor Keller Postman LLC must distribute this order.    08/03/2022
             (hhd) (Entered: 08/03/2022)

       221   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 207). Attorney for Creditor Bailey Glasser Plaintiffs must distribute this    08/03/2022
             order. (hhd) (Entered: 08/03/2022)

       222   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 208). Attorney for Creditor Bailey Glasser Plaintiffs must distribute this    08/03/2022
             order. (hhd) (Entered: 08/03/2022)

       223   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Ashley Barriere on behalf of Creditor Keller Postman LLC.            08/03/2022
             (Attachments: (1) Affidavit) (Barriere, Ashley) (Entered: 08/03/2022) [Granted by # 238
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1089Kdm_idV43715228Kdoc_numV238Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.            08/03/2022
             Fee amount 100.00 (re: Doc # 223). (U.S. Treasury) (Entered: 08/03/2022)

       224   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Frank Dylewski on behalf of Creditor Keller Postman LLC.             08/03/2022
             (Attachments: (1) Affidavit) (Dylewski, Frank) (Entered: 08/03/2022) [Granted by # 239
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1091Kdm_idV43715233Kdoc_numV239Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.            08/03/2022
             Fee amount 100.00 (re: Doc # 224). (U.S. Treasury) (Entered: 08/03/2022)

       225   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Matthew Steven Hosen on behalf of Creditor Bellwether Plaintiffs     08/03/2022
             Adkins and Vaughn. (Hosen, Matthew) (Entered: 08/03/2022) [Granted by # 240
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1093Kdm_idV43715241Kdoc_numV240Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.            08/03/2022
             Fee amount 100.00 (re: Doc # 225). (U.S. Treasury) (Entered: 08/03/2022)

       226   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Lisa Nathanson Busch on behalf of Interested Party Weitz &           08/03/2022
             Luxenberg, PC. (Attachments: (1) Affidavit Pro Hac Vice motion and affidavit) (Busch, Lisa) (Entered: 08/03/2022) [Granted by #
             241 CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1095Kdm_idV43715246Kdoc_numV241Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.            08/03/2022
             Fee amount 100.00 (re: Doc # 226). (U.S. Treasury) (Entered: 08/03/2022)

       227   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Shelley Van Natter Hutson on behalf of Creditor Clark, Love &        08/03/2022
             Hutson, PLLC. (Hutson, Shelley) (Entered: 08/03/2022) [Granted by # 244
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1114Kdm_idV43715470Kdoc_numV244Kpdf_headerV1');]

       228   Notice of Submission of Applicability of Large Case U.S. Trustee Fee Guidelines filed by Harrison Edward Strauss on behalf of U.S.    08/03/2022
             Trustee. (Attachments: (1) Appendix B) (Strauss, Harrison) (Entered: 08/03/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.            08/03/2022
             Fee amount 100.00 (re: Doc # 227). (U.S. Treasury) (Entered: 08/03/2022)

       229   Motion to Appear Pro Hac Vice with Affidavit in Support filed by William Michael Moreland on behalf of Creditor Clark, Love &         08/03/2022
             Hutson, PLLC. (Moreland, William) (Entered: 08/03/2022) [Granted by # 245
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1116Kdm_idV43715483Kdoc_numV245Kpdf_headerV1');]

       230   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Clayton A Clark on behalf of Creditor Clark, Love & Hutson, PLLC.    08/03/2022
             (Clark, Clayton) (Entered: 08/03/2022) [Granted by # 246
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1118Kdm_idV43715498Kdoc_numV246Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.            08/03/2022
             Fee amount 100.00 (re: Doc # 229). (U.S. Treasury) (Entered: 08/03/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.            08/03/2022
             Fee amount 100.00 (re: Doc # 230). (U.S. Treasury) (Entered: 08/03/2022)

       231   Motion to Appear Pro Hac Vice with Affidavit in Support filed by David R. Buchanan on behalf of Creditor Seeger Weiss LLP.            08/03/2022
             (Buchanan, David) (Entered: 08/03/2022) [Granted by # 242
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1097Kdm_idV43715252Kdoc_numV242Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.            08/03/2022
             Fee amount 100.00 (re: Doc # 231). (U.S. Treasury) (Entered: 08/03/2022)

       232   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Max Kelly on behalf of Interested Party Seeger Weiss, LLP. (Kelly,   08/03/2022
             Max) (Entered: 08/03/2022) [Granted by # 243
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1099Kdm_idV43715263Kdoc_numV243Kpdf_headerV1');]



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             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           08/03/2022
             Fee amount 100.00 (re: Doc # 232). (U.S. Treasury) (Entered: 08/03/2022)

       233   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Caleb Seeley on behalf of Interested Party Seeger Weiss, LLP.       08/04/2022
             (Seeley, Caleb) (Entered: 08/04/2022) [Granted by # 252
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1138Kdm_idV43716389Kdoc_numV252Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           08/04/2022
             Fee amount 100.00 (re: Doc # 233). (U.S. Treasury) (Entered: 08/04/2022)

       234   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 214). Attorney for Interested Party Aylstock, Witkin, Kreis & Overholtz,     08/04/2022
             PLLC must distribute this order. (hhd) (Entered: 08/04/2022)

       235   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 215). Attorney for Creditor Bailey Glasser Plaintiffs must distribute this   08/04/2022
             order. (hhd) (Entered: 08/04/2022)

       236   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Christopher A. Seeger on behalf of Interested Party Seeger Weiss,   08/04/2022
             LLP. (Seeger, Christopher) (Entered: 08/04/2022) [Granted by # 253
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1140Kdm_idV43716400Kdoc_numV253Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           08/04/2022
             Fee amount 100.00 (re: Doc # 236). (U.S. Treasury) (Entered: 08/04/2022)

       237   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Justine Delaney on behalf of Interested Party Weitz & Luxenberg,    08/04/2022
             PC. (Delaney, Justine) (Entered: 08/04/2022) [Granted by # 264
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1190Kdm_idV43719133Kdoc_numV264Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           08/04/2022
             Fee amount 100.00 (re: Doc # 237). (U.S. Treasury) (Entered: 08/04/2022)

       238   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 223). Attorney for Creditor Keller Postman LLC must distribute this order.   08/04/2022
             (hhd) (Entered: 08/04/2022)

       239   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 224). Attorney for Creditor Keller Postman LLC must distribute this order.   08/04/2022
             (hhd) (Entered: 08/04/2022)

       240   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 225). Attorney for Creditor Bellwether Plaintiffs Adkins and Vaughn must     08/04/2022
             distribute this order. (hhd) (Entered: 08/04/2022)

       241   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 226). Attorney for Interested Party Weitz & Luxenberg, PC must distribute    08/04/2022
             this order. (hhd) (Entered: 08/04/2022)

       242   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 231). Attorney for Creditor Seeger Weiss LLP must distribute this order.     08/04/2022
             (hhd) (Entered: 08/04/2022)

       243   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 232). Attorney for Interested Party Seeger Weiss, LLP must distribute this   08/04/2022
             order. (hhd) (Entered: 08/04/2022)

       244   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 227). Attorney for Creditor Clark, Love & Hutson, PLLC must distribute       08/04/2022
             this order. (cmm) (Entered: 08/04/2022)

       245   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 229). Attorney for Creditor Clark, Love & Hutson, PLLC must distribute       08/04/2022
             this order. (cmm) (Entered: 08/04/2022)

       246   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 230). Attorney for Creditor Clark, Love & Hutson, PLLC must distribute       08/04/2022
             this order. (cmm) (Entered: 08/04/2022)

       247   Appearance filed by Shelley Van Natter Hutson on behalf of Creditor Clark, Love & Hutson, PLLC. (Hutson, Shelley) (Entered:          08/04/2022
             08/04/2022)

       248   Appearance filed by William Michael Moreland on behalf of Creditor Clark, Love & Hutson, PLLC. (Moreland, William) (Entered:         08/04/2022
             08/04/2022)

       249   Appearance filed by Clayton A Clark on behalf of Creditor Clark, Love & Hutson, PLLC. (Clark, Clayton) (Entered: 08/04/2022)         08/04/2022

       250   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, Order on Motion to        08/04/2022
             Appear Pro Hac Vice, filed by Shelley Van Natter Hutson on behalf of Creditor Clark, Love & Hutson, PLLC (re: Doc # 244, 245,
             246). (Hutson, Shelley) (Entered: 08/04/2022)

       251   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, Order on Motion to        08/04/2022
             Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, filed by Nir Maoz on
             behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC (re: Doc # 86, 90, 91, 120, 234). (Maoz, Nir) (Entered:
             08/04/2022)

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       252   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 233). Attorney for Interested Party Seeger Weiss, LLP must distribute this        08/04/2022
             order. (hhd) (Entered: 08/04/2022)

       253   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 236). Attorney for Interested Party Seeger Weiss, LLP must distribute this        08/04/2022
             order. (hhd) (Entered: 08/04/2022)

       254   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Amanda Hunt on behalf of Creditor Keller Postman LLC.                    08/04/2022
             (Attachments: (1) Affidavit) (Hunt, Amanda) (Entered: 08/04/2022) [Granted by # 265
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1192Kdm_idV43719136Kdoc_numV265Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                08/04/2022
             Fee amount 100.00 (re: Doc # 254). (U.S. Treasury) (Entered: 08/04/2022)

       255   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, Order on Motion to             08/04/2022
             Appear Pro Hac Vice, filed by Kevin W Barrett on behalf of Creditor Bailey Glasser Plaintiffs (re: Doc # 221, 222, 235). (Barrett,
             Kevin) (Entered: 08/04/2022)

       256   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Justin G. Witkin on behalf of Interested Party Aylstock, Witkin, Kreis   08/04/2022
             & Overholtz, PLLC. (Attachments: (1) Affidavit) (Witkin, Justin) (Entered: 08/04/2022) [Amended by # 274
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1259Kdm_idV43720572Kdoc_numV274Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                08/04/2022
             Fee amount 100.00 (re: Doc # 256). (U.S. Treasury) (Entered: 08/04/2022)

       257   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Bobby Jene Bradford, Jr. on behalf of Interested Party Aylstock,         08/04/2022
             Witkin, Kreis & Overholtz, PLLC. (Attachments: (1) Affidavit) (Bradford, Jr., Bobby) (Entered: 08/04/2022) [Granted by # 268
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1239Kdm_idV43719984Kdoc_numV268Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                08/04/2022
             Fee amount 100.00 (re: Doc # 257). (U.S. Treasury) (Entered: 08/04/2022)

       258   Notice of Submission of United States Trustee's Notice Regarding Status of Formation of Unsecured Creditors Committee(s) filed            08/04/2022
             by Harrison Edward Strauss on behalf of U.S. Trustee. (Strauss, Harrison) (Entered: 08/04/2022)

       259   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Bryan F. Aylstock on behalf of Interested Party Aylstock, Witkin,        08/04/2022
             Kreis & Overholtz, PLLC. (Attachments: (1) Affidavit) (Aylstock, Bryan) (Entered: 08/04/2022) [Granted by # 272
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1253Kdm_idV43720449Kdoc_numV272Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                08/04/2022
             Fee amount 100.00 (re: Doc # 259). (U.S. Treasury) (Entered: 08/04/2022)

       260   Notice of Submission / Amended Consolidated List of Law Firms Representing the Respirator Claimants filed by Jeffrey A                    08/04/2022
             Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson, Jeffrey) (Entered: 08/04/2022)

       261   Notice of Submission / Amended Consolidated List of Law Firms Representing the Combat Arms Claimants filed by Jeffrey A                   08/04/2022
             Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson, Jeffrey) (Entered: 08/04/2022)

       262   Notice of Submission / Amended Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders               08/04/2022
             filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson, Jeffrey) (Entered: 08/04/2022)

       263   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Adam Wolfson on behalf of Creditor Bellwether Plaintiffs Adkins and      08/05/2022
             Vaughn. (Wolfson, Adam) (Entered: 08/05/2022) [Granted by # 273
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1255Kdm_idV43720455Kdoc_numV273Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                08/05/2022
             Fee amount 100.00 (re: Doc # 263). (U.S. Treasury) (Entered: 08/05/2022)

       264   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 237). Attorney for Interested Party Weitz & Luxenberg, PC must distribute         08/05/2022
             this order. (hhd) (Entered: 08/05/2022)

       265   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 254). Attorney for Creditor Keller Postman LLC must distribute this order.        08/05/2022
             (hhd) (Entered: 08/05/2022)




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       266   Certificate of Service re: Motion for Joint Administration, Declaration, Brief, Motion to Retain Noticing, Balloting, or Claims Agent,   08/05/2022
             Motion to Extend Time to File Initial Documents, Motion for Authority / Debtors' Motion for Entry of an Order (I) Authorizing the
             Debtors to File One List of the Top Law Firms Representing the Largest Numbers of Tort Plaintiffs Asserting Claims Against the
             Debtors, (II) Authorizing The Debtors to File One Consolidated Creditor Matrix, (III) Authorizing the Listing of Addresses of Counsel
             For Tort Claimants in the Creditor Matrix in Lieu of Claimants' Addresses, (IV) Authorizing the Debtors to Redact Personally
             Identifiable Information, (V) Approving Certain Notice Procedures for Tort Claimants, (VI) Approving the Form and Manner of Notice
             of the Commencement of these Chapter 11 Cases, and (VII) Granting Related Relief, Motion for Case Management Order, Motion
             for Authority / Debtors' First Day Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Pay Prepetition
             Wages, Compensation, and Benefit Obligations and (B) Continue Employee Compensation and Benefits Programs, and (II)
             Granting Related Relief, Motion to Pay Pre-Petition Trust Fund Taxes, Motion for Authority / Debtors' First Day Motion for Entry of
             Interim and Final Orders (I) Authorizing the Debtors to (A) Maintain Their Prepetition Insurance Coverage and Satisfy Prepetition
             Obligations Related Thereto, (B) Continue to Pay Certain Brokerage Fees, and (C) Renew, Supplement, Modify, or Purchase
             Insurance and Reinsurance Coverage, (II) Approving Continuation of Their Surety Bond Program, and (III) Granting Related Relief,
             Motion for Approval of Cash Management System (Bank Accounts/Business Forms), Motion to Provide Adequate Assurance to
             Utilities, Motion for Authority / Debtors' First Day Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay
             Prepetition Claims of Specified Trade Claimants, (II) Granting Administrative Expense Priority to All Undisputed Obligations on
             Account of Outstanding Orders, and (III) Granting Related Relief, Motion for Expedited Hearing and/or Shortened Notice Time on
             Motion for Authority / Debtors' Motion for Entry of an Order (I) Authorizing the Debtors to File One List of the Top Law Firms
             Representing the Largest Numbers of Tort Plaintiffs Asserting Claims Against the Debtors, (II) Authorizing The Debtors to File One
             Consolidated Creditor Matrix, (III) Authorizing the Listing of Addresses of Counsel For Tort Claimants in the Creditor Matrix in Lieu
             of Claimants' Addresses, (IV) Authorizing the Debtors to Redact Personally Identifiable Information, (V) Approving Certain Notice
             Procedures for Tort Claimants, (VI) Approving the Form and Manner of Notice of the Commencement of these Chapter 11 Cases,
             and (VII) Granting Related Relief, Motion for Expedited Hearing and/or Shortened Notice Time, Motion for Expedited Hearing
             and/or Shortened Notice Time, Motion for Expedited Hearing and/or Shortened Notice Time, Order on Motion for Expedited
             Hearing and/or Shortened Notice Time, Joint Administration Notice, Order on Motion for Expedited Hearing and/or Shortened
             Notice Time, Order on Motion for Expedited Hearing and/or Shortened Notice Time, Order on Motion for Expedited Hearing and/or
             Shortened Notice Time, Order on Motion to Retain Noticing, Balloting, or Claims Agents Pursuant to Local Rule S.D.Ind. B-1007-2,
             Order on Motion for Authority, Interim Order, Interim Order, Interim Order, Interim Order, Interim Order, Interim Order, Order on
             Motion to Extend Time to File Initial Documents, Order on Motion for Case Management Order, filed by Noticing Agent on behalf of
             Debtor Aearo Technologies LLC (re: Doc # 7, 11, 12, 13, 16, 17, 18, 20, 21, 22, 23, 24, 25, 29, 30, 31, 32, 45, 46, 47, 49, 50, 133,
             134, 143, 144, 146, 147, 149, 150, 151, 152). (Baer, Herbert) (Entered: 08/05/2022)

       267   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Joseph Scott Nabers on behalf of Creditor Nabers Law Firm PLLC.         08/05/2022
             (Attachments: (1) Affidavit) (Nabers, Joseph) (Entered: 08/05/2022) [Granted by # 276
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1268Kdm_idV43721143Kdoc_numV276Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               08/05/2022
             Fee amount 100.00 (re: Doc # 267). (U.S. Treasury) (Entered: 08/05/2022)

       268   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 257). Attorney for Interested Party Aylstock, Witkin, Kreis & Overholtz,         08/05/2022
             PLLC must distribute this order. (hhd) (Entered: 08/05/2022)

       269   Appearance filed by Martha R. Lehman on behalf of Interested Parties The Johnson Law Group, Tracey Fox King & Walters.                   08/05/2022
             (Lehman, Martha) (Entered: 08/05/2022)

       270   Appearance filed by Mark R. Wenzel on behalf of Interested Parties The Johnson Law Group, Tracey Fox King & Walters. (Wenzel,            08/05/2022
             Mark) (Entered: 08/05/2022)

       271   Notice of Submission of United States Trustee's Second Notice Regarding the Status of Formation of Unsecured Creditors                   08/05/2022
             Committee(s) filed by Harrison Edward Strauss on behalf of U.S. Trustee. (Strauss, Harrison) (Entered: 08/05/2022)

       272   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 259). Attorney for Interested Party Aylstock, Witkin, Kreis & Overholtz,         08/05/2022
             PLLC must distribute this order. (hhd) (Entered: 08/05/2022)

       273   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 263). Attorney for Creditor Bellwether Plaintiffs Adkins and Vaughn must         08/05/2022
             distribute this order. (hhd) (Entered: 08/05/2022)

       274   Amended Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Justin G. Witkin on behalf of Interested Party        08/05/2022
             Aylstock, Witkin, Kreis & Overholtz, PLLC (re: Doc # 256). (Attachments: (1) Affidavit) (Witkin, Justin) (Entered: 08/05/2022)
             [Granted by # 313
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1429Kdm_idV43733703Kdoc_numV313Kpdf_headerV1');]

       275   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, Order on Corrected Motion to Appear Pro Hac Vice, filed by            08/05/2022
             Karen Hope Beyea-Schroeder on behalf of Creditor Junell & Associates, PLLC (re: Doc # 121, 172). (Beyea-Schroeder, Karen)
             (Entered: 08/05/2022)

       276   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 267). Attorney for Creditor Nabers Law Firm PLLC must distribute this            08/05/2022
             order. (hhd) (Entered: 08/05/2022)

       277   Appearance filed by Kevin C Maclay on behalf of Interested Party The Gori Law Firm, P.C. (Maclay, Kevin) (Entered: 08/05/2022)           08/05/2022



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       278   Verification of Creditor List filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Main            08/05/2022
             Document (cont.) (2) Main Document (cont.)) (Hokanson, Jeffrey) (Entered: 08/05/2022)

       279   Appearance filed by Joseph Scott Nabers on behalf of Creditor Nabers Law Firm PLLC. (Nabers, Joseph) (Entered: 08/08/2022)              08/08/2022

       280   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, filed by Joseph Scott Nabers on behalf of Creditor Nabers Law        08/08/2022
             Firm PLLC (re: Doc # 276). (Nabers, Joseph) (Entered: 08/08/2022)

       281   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Perry Weitz on behalf of Interested Party Weitz & Luxenberg, PC.       08/08/2022
             (Weitz, Perry) (Entered: 08/08/2022) [Granted by # 286
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1325Kdm_idV43728968Kdoc_numV286Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/08/2022
             Fee amount 100.00 (re: Doc # 281). (U.S. Treasury) (Entered: 08/08/2022)

       282   Motion to Appear Pro Hac Vice with Affidavit in Support filed by James Wehner on behalf of Interested Parties Cory Watson, P.C.,        08/08/2022
             Heninger Garrison Davis, LLC, The Gori Law Firm, P.C. (Wehner, James) (Entered: 08/08/2022) [Granted by # 288
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1334Kdm_idV43729352Kdoc_numV288Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/08/2022
             Fee amount 100.00 (re: Doc # 282). (U.S. Treasury) (Entered: 08/08/2022)

       283   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Jennifer M. Hoekstra on behalf of Interested Party Aylstock, Witkin,   08/08/2022
             Kreis & Overholtz, PLLC. (Attachments: (1) Affidavit) (Hoekstra, Jennifer) (Entered: 08/08/2022) [Granted by # 289
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1336Kdm_idV43729367Kdoc_numV289Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number B33276884.              08/08/2022
             Fee amount 100.00 (re: Doc # 283). (U.S. Treasury) (Entered: 08/08/2022)

       284   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Brenton Rogers on behalf of Debtor Aearo Technologies LLC.             08/08/2022
             (Attachments: (1) Affidavit) (Rogers, Brenton) (Entered: 08/08/2022) [Granted by # 291
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1351Kdm_idV43729867Kdoc_numV291Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/08/2022
             Fee amount 100.00 (re: Doc # 284). (U.S. Treasury) (Entered: 08/08/2022)

       285   Certificate of Service re: Motion to Enforce Automatic Stay, Hearing Notice, filed by Noticing Agent on behalf of Debtor Aearo          08/08/2022
             Technologies LLC (re: Doc # 173, 174). (Baer, Herbert) (Entered: 08/08/2022)

       286   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 281). Attorney for Interested Party Weitz & Luxenberg, PC must distribute       08/09/2022
             this order. (hhd) (Entered: 08/09/2022)

       287   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Nick Wasdin on behalf of Debtor Aearo Technologies LLC.                08/09/2022
             (Attachments: (1) Affidavit) (Wasdin, Nick) (Entered: 08/09/2022) [Granted by # 309
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1412Kdm_idV43732333Kdoc_numV309Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/09/2022
             Fee amount 100.00 (re: Doc # 287). (U.S. Treasury) (Entered: 08/09/2022)

       288   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 282). Attorney for the interested parties must distribute this order. (hhd)     08/09/2022
             (Entered: 08/09/2022)

       289   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 283). Attorney for Interested Party Aylstock, Witkin, Kreis & Overholtz,        08/09/2022
             PLLC must distribute this order. (hhd) (Entered: 08/09/2022)

       290   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Gregory Starner on behalf of Creditor 3M Company. (Attachments:        08/09/2022
             (1) Affidavit) (Starner, Gregory) (Entered: 08/09/2022) [Granted by # 310
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1414Kdm_idV43732340Kdoc_numV310Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/09/2022
             Fee amount 100.00 (re: Doc # 290). (U.S. Treasury) (Entered: 08/09/2022)

       291   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 284). Attorney for the debtor must distribute this order. (hhd) (Entered:       08/09/2022
             08/09/2022)

       292   Notice of 341 Meeting of Creditors. 341 Meeting to be held on 9/6/2022 at 10:00 AM Eastern via a teleconference at 888-947-8927;        08/09/2022
             passcode 4467430. Attorney for Debtor to do Distribution (kao) Additional attachment(s) added. Modified on 8/9/2022. (kao)
             CORRECTION: Distribution language added to docket text. Modified on 8/10/2022. (cmm) (Entered: 08/09/2022)

       293   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Connor Skelly on behalf of Member Debtors 3M Occupational              08/09/2022
             Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Debtor Aearo Technologies LLC. (Skelly, Connor) (Entered:
             08/09/2022) [Granted by # 312
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1427Kdm_idV43733352Kdoc_numV312Kpdf_headerV1');]

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       294   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, Order on Motion to             08/09/2022
             Appear Pro Hac Vice, filed by Jennifer M. Hoekstra, Bryan F. Aylstock on behalf of Interested Party Aylstock, Witkin, Kreis &
             Overholtz, PLLC (re: Doc # 268, 272, 289). (Aylstock, Bryan) (Entered: 08/09/2022)

       295   Appearance filed by Bryan F. Aylstock on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Aylstock, Bryan)          08/09/2022
             (Entered: 08/09/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                08/09/2022
             Fee amount 100.00 (re: Doc # 293). (U.S. Treasury) (Entered: 08/09/2022)

       296   Appearance filed by Jennifer M. Hoekstra on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Hoekstra,              08/09/2022
             Jennifer) (Entered: 08/09/2022)

       297   Appearance filed by Bobby Jene Bradford, Jr. on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Bradford,          08/09/2022
             Jr., Bobby) (Entered: 08/09/2022)

       298   Supplemental Brief in Support re: Motion to Enforce Automatic Stay, filed by Jeffrey A Hokanson on behalf of Debtor Aearo                 08/09/2022
             Technologies LLC (re: Doc # 173). (Attachments: (1) Exhibit Exhibit A) (Hokanson, Jeffrey) (Entered: 08/09/2022)

       299   Supplemental Brief in Support re: Motion to Enforce Automatic Stay, filed by Jeffrey A Hokanson on behalf of Debtor Aearo                 08/09/2022
             Technologies LLC (re: Doc # 173). (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C (4) Exhibit D (5) Exhibit E (6) Exhibit F (7)
             Exhibit G (8) Exhibit H (9) Exhibit I (10) Exhibit K1 (11) Exhibit K2 (12) Exhibit L (13) Exhibit M (14) Exhibit N (15) Exhibit O)
             (Hokanson, Jeffrey) (Entered: 08/09/2022)

       300   Application to Employ Kirkland & Ellis LLP as Debtor's Attorney (Verified Statement attached), filed by Jeffrey A Hokanson on             08/09/2022
             behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C) (Hokanson, Jeffrey) (Entered:
             08/09/2022) [Granted by # 804
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3361Kdm_idV44056686Kdoc_numV804Kpdf_headerV1');]

       301   Application to Employ McDonald Hopkins LLC as Special Counsel (Verified Statement attached), filed by Jeffrey A Hokanson on               08/09/2022
             behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C) (Hokanson, Jeffrey) (Entered:
             08/09/2022) [Granted by # 680
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2934Kdm_idV43954385Kdoc_numV680Kpdf_headerV1');]

       302   Application to Employ Ice Miller LLP as Debtor's Attorney (Verified Statement attached), filed by Jeffrey A Hokanson on behalf of         08/09/2022
             Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C) (Hokanson, Jeffrey) (Entered: 08/09/2022)
             [Granted by # 672
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2908Kdm_idV43944702Kdoc_numV672Kpdf_headerV1');]

       303   Application to Employ Bates White, LLC as Other Professional (Verified Statement attached), filed by Jeffrey A Hokanson on behalf         08/09/2022
             of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C) (Hokanson, Jeffrey) (Entered:
             08/09/2022) [Amended by # 304
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1394Kdm_idV43732024Kdoc_numV304Kpdf_headerV1');]

       304   Amended Application to Employ Bates White, LLC as Other Professional (Verified Statement attached), filed by Jeffrey A Hokanson           08/09/2022
             on behalf of Debtor Aearo Technologies LLC (re: Doc # 303). (Attachments: (1) Exhibit A (2) Exhibit B) (Hokanson, Jeffrey)
             (Entered: 08/09/2022) [Granted by # 880
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3654Kdm_idV44108619Kdoc_numV880Kpdf_headerV1');]

       305   Application to Employ AP Services, LLC as Other Professional (Verified Statement attached), filed by Jeffrey A Hokanson on behalf         08/09/2022
             of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C) (Hokanson, Jeffrey) (Entered:
             08/09/2022) [Granted by # 678
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2928Kdm_idV43946036Kdoc_numV678Kpdf_headerV1');]

       306   Motion to Establish Procedures for Interim Compensation and Reimbursement of Expenses re: Retained Professionals, filed by                08/09/2022
             Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered:
             08/09/2022) [Granted by # 541
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2374Kdm_idV43848298Kdoc_numV541Kpdf_headerV1');]

       307   Motion for Authority / Debtors' Motion for Entry of an Order Authorizing the Debtors to Retain and Compensate Professionals               08/09/2022
             Utilized in the Ordinary Course of Business filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments:
             (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 08/09/2022) [Granted by # 546
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2397Kdm_idV43850631Kdoc_numV546Kpdf_headerV1');]




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       308   Notice of Hearing re: Application to Employ, Application to Employ, Application to Employ, Application to Employ, Application to       08/10/2022
             Employ, Motion to Establish Procedures for Interim Compensation and Reimbursement of Expenses, Motion for Authority / Debtors'
             Motion for Entry of an Order Authorizing the Debtors to Retain and Compensate Professionals Utilized in the Ordinary Course of
             Business, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 300, 301, 302, 304, 305, 306, 307).
             Hearing to be held on 9/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis AND VIA ZOOM. PARTIES THAT
             WISH TO LISTEN BUT NOT ACTIVELY PARTICIPATE MAY DO SO BY PHONE AT 551-285-1373 OR 646-828-7666, MEETING
             ID 160 2312 6397. Objections due by 4:00 PM Eastern on 09/07/2022. (Hokanson, Jeffrey) CORRECTION: Missing docket text
             added in all capitals. Language regarding only holding hearing if objections are filed removed. Modified on 8/10/2022. (cmm)
             (Entered: 08/10/2022)

       309   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 287). Attorney for the debtor must distribute this order. (hhd) (Entered:      08/10/2022
             08/10/2022)

       310   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 290). Attorney for Creditor 3M Company must distribute this order. (hhd)       08/10/2022
             (Entered: 08/10/2022)

       311   Appearance filed by John Joseph Allman on behalf of Creditors John Hunt Morgan, PSC, Kenealy & Jacobi, PLLC, Plotkin, Vincent          08/10/2022
             & Jaffe, LLC. (Allman, John) (Entered: 08/10/2022)

       312   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 293). Attorney for the debtor must distribute this order. (hhd) (Entered:      08/10/2022
             08/10/2022)

       313   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 274). Attorney for Interested Party Aylstock, Witkin, Kreis &        08/10/2022
             Overholtz, PLLC must distribute this order. (hhd) (Entered: 08/10/2022)

       314   Certificate of Service re: Order on Corrected Motion to Appear Pro Hac Vice, filed by Justin G. Witkin on behalf of Interested Party   08/10/2022
             Aylstock, Witkin, Kreis & Overholtz, PLLC (re: Doc # 313). (Witkin, Justin) (Entered: 08/10/2022)

       315   Appearance filed by Justin G. Witkin on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Witkin, Justin)         08/10/2022
             (Entered: 08/10/2022)

       316   Motion to Appear Pro Hac Vice with Affidavit in Support filed by David L. Selby II on behalf of Creditor Bailey Glasser Plaintiffs.    08/10/2022
             (Attachments: (1) Affidavit) (Selby, David) (Entered: 08/10/2022) [Granted by # 327
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1493Kdm_idV43741898Kdoc_numV327Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.             08/10/2022
             Fee amount 100.00 (re: Doc # 316). (U.S. Treasury) (Entered: 08/10/2022)

       317   Motion to Appear Pro Hac Vice with Affidavit in Support filed by D. Todd Mathews on behalf of Creditor Bailey Glasser Plaintiffs.      08/10/2022
             (Attachments: (1) Affidavit) (Mathews, D.) (Entered: 08/10/2022) [Corrected by # 386
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1788Kdm_idV43789884Kdoc_numV386Kpdf_headerV1');, 387
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1808Kdm_idV43795740Kdoc_numV387Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.             08/10/2022
             Fee amount 100.00 (re: Doc # 317). (U.S. Treasury) (Entered: 08/10/2022)

       318   Appearance filed by David L. Selby II on behalf of Creditor Bailey Glasser Plaintiffs. (Selby, David) (Entered: 08/10/2022)            08/10/2022

       319   Appearance filed by D. Todd Mathews on behalf of Creditor Bailey Glasser Plaintiffs. (Mathews, D.) (Entered: 08/10/2022)               08/10/2022

       320   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Rachel C. Strickland on behalf of Interested Party The Monsour        08/11/2022
             Law Firm. (Attachments: (1) Affidavit) (Strickland, Rachel) (Entered: 08/11/2022) [Granted by # 328
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1495Kdm_idV43741903Kdoc_numV328Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.             08/11/2022
             Fee amount 100.00 (re: Doc # 320). (U.S. Treasury) (Entered: 08/11/2022)

       321   Appearance filed by Kevin W Barrett on behalf of Creditor Bailey Glasser Plaintiffs. (Barrett, Kevin) (Entered: 08/11/2022)            08/11/2022

       322   Appearance filed by Brian A Glasser on behalf of Creditor Bailey Glasser Plaintiffs. (Glasser, Brian) (Entered: 08/11/2022)            08/11/2022

       323   Appearance filed by Maggie B. Burrus on behalf of Creditor Bailey Glasser Plaintiffs. (Burrus, Maggie) (Entered: 08/11/2022)           08/11/2022

       324   Appearance filed by David L. Selby II on behalf of Creditor Bailey Glasser Plaintiffs. (Selby, David) (Entered: 08/11/2022)            08/11/2022

       325   Appearance filed by D. Todd Mathews on behalf of Creditor Bailey Glasser Plaintiffs. (Mathews, D.) (Entered: 08/11/2022)               08/11/2022

       326   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Joanna Diane Caytas on behalf of Creditor Bellwether Plaintiffs       08/11/2022
             Adkins and Vaughn. (Caytas, Joanna) (Entered: 08/11/2022) [Granted by # 333
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1517Kdm_idV43744700Kdoc_numV333Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.             08/11/2022
             Fee amount 100.00 (re: Doc # 326). (U.S. Treasury) (Entered: 08/11/2022)

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       327   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 316). Attorney for Creditor Bailey Glasser Plaintiffs must distribute this   08/12/2022
             order. (hhd) (Entered: 08/12/2022)

       328   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 320). Attorney for Interested Party The Monsour Law Firm must distribute     08/12/2022
             this order. (hhd) (Entered: 08/12/2022)

       329   Appearance filed by Michael B. Martin on behalf of Interested Party Martin Walton Law Firm. (Martin, Michael) (Entered:              08/12/2022
             08/12/2022)

       330   Adversary case 22-50068. Complaint filed by Plaintiff(s) Nicholas thank Maciel against Defendant(s) 3M Occupational Safety LLC,      08/12/2022
             Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC [14 (Recovery of money/property - other)].
             (Keller, Ashley) (Entered: 08/12/2022)

       331   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, filed by Kevin W Barrett on behalf of Creditor Bailey Glasser     08/12/2022
             Plaintiffs (re: Doc # 327). (Barrett, Kevin) (Entered: 08/12/2022)

       332   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Sean Patrick Tracey on behalf of Interested Party Tracey Fox King   08/12/2022
             & Walters. (Tracey, Sean) (Entered: 08/12/2022) [Granted by # 339
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1545Kdm_idV43748961Kdoc_numV339Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           08/12/2022
             Fee amount 100.00 (re: Doc # 332). (U.S. Treasury) (Entered: 08/12/2022)

       333   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 326). Attorney for Creditor Bellwether Plaintiffs Adkins and Vaughn must     08/12/2022
             distribute this order. (cmm) (Entered: 08/12/2022)

       334   Notice of Submission / Notice of Filing 503(B)(9) Report filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC      08/12/2022
             (re: Doc # 149). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 08/12/2022)

       335   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Mark P. Robinson Jr on behalf of Interested Party Robinson          08/12/2022
             Calcagnie, Inc. (Attachments: (1) Exhibit 1 Mark Robinson CV (2) Affidavit in Support of Motion to Appear Pro Hac Vice) (Robinson,
             Mark) (Entered: 08/12/2022) [Granted by # 340
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1547Kdm_idV43748999Kdoc_numV340Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           08/12/2022
             Fee amount 100.00 (re: Doc # 335). (U.S. Treasury) (Entered: 08/12/2022)

       336   Notice of Submission of Claimants' Response to Debtors' Informational Brief filed by Brian A Glasser, Michael W. Hile, Martha R.     08/14/2022
             Lehman, Kevin C Maclay, Tristan Manthey, Robert J Pfister, Adam C. Silverstein, Eric Winston, Meredith R. Theisen on behalf of
             Interested Parties Aylstock, Witkin, Kreis & Overholtz, PLLC, Cory Watson, P.C., Heninger Garrison Davis, LLC, Seeger Weiss,
             LLP, The Gori Law Firm, P.C., The Johnson Law Group, Tracey Fox King & Walters, Weitz & Luxenberg, PC, Creditors Bailey
             Glasser Plaintiffs, Bellwether Plaintiffs Adkins and Vaughn, Clark, Love & Hutson, PLLC (re: Doc # 12). (Theisen, Meredith)
             (Entered: 08/14/2022)

       337   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Syed Ali Saeed on behalf of Interested Party Paul LLP.              08/15/2022
             (Attachments: (1) Affidavit in Support) (Saeed, Syed) (Entered: 08/15/2022) [Amended by # 341
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1552Kdm_idV43750023Kdoc_numV341Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           08/15/2022
             Fee amount 100.00 (re: Doc # 337). (U.S. Treasury) (Entered: 08/15/2022)

       338   Appearance filed by Richard Paul III on behalf of Creditor Paul LLP. (Paul, Richard) (Entered: 08/15/2022)                           08/15/2022

       339   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 332). Attorney for Interested Party Tracey Fox King & Walters must           08/15/2022
             distribute this order. (hhd) (Entered: 08/15/2022)

       340   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 335). Attorney for Interested Party Robinson Calcagnie, Inc. must            08/15/2022
             distribute this order. (hhd) (Entered: 08/15/2022)

       341   Amended Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Richard Paul III on behalf of Creditor Paul LLP   08/15/2022
             (re: Doc # 337). (Attachments: (1) Affidavit) (Paul, Richard) (Entered: 08/15/2022)

       342   Objection to Motion to Enforce Automatic Stay filed by Ashley Keller on behalf of Creditor Richard Valle (re: Doc # 173).            08/15/2022
             (Attachments: (1) Exhibit 1 (2) Exhibit 2 (3) Exhibit 3 (4) Exhibit 4) (Keller, Ashley) (Entered: 08/15/2022)




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       343   CORRECTED ENTRY: Claimants' Limited Omnibus Objection to Entry of Final Orders for Certain First Day Motions filed by Brian A          08/15/2022
             Glasser, Michael W. Hile, Martha R. Lehman, Kevin C Maclay, Tristan Manthey, Robert J Pfister, Eric Winston, Meredith R. Theisen
             on behalf of Interested Parties Aylstock, Witkin, Kreis & Overholtz, PLLC, Cory Watson, P.C., Heninger Garrison Davis, LLC,
             Seeger Weiss, LLP, The Gori Law Firm, P.C., The Johnson Law Group, Tracey Fox King & Walters, Weitz & Luxenberg, PC,
             Creditors Bailey Glasser Plaintiffs, Bellwether Plaintiffs Adkins and Vaughn, Clark, Love & Hutson, PLLC (re: Doc 20, 21, 22, 24,
             25) (Theisen, Meredith) ORIGINAL ENTRY: Limited Objection to Motion for Authority / Debtors' First Day Motion for Entry of Interim
             and Final Orders (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Compensation, and Benefit Obligations and (B)
             Continue Employee Compensation and Benefits Programs, and (II) Granting Related Relief filed by Brian A Glasser, Michael W.
             Hile, Martha R. Lehman, Kevin C Maclay, Tristan Manthey, Robert J Pfister, Eric Winston, Meredith R. Theisen on behalf of
             Interested Parties Aylstock, Witkin, Kreis & Overholtz, PLLC, Cory Watson, P.C., Heninger Garrison Davis, LLC, Seeger Weiss,
             LLP, The Gori Law Firm, P.C., The Johnson Law Group, Tracey Fox King & Walters, Weitz & Luxenberg, PC, Creditors Bailey
             Glasser Plaintiffs, Bellwether Plaintiffs Adkins and Vaughn, Clark, Love & Hutson, PLLC (re: Doc 20). (Theisen, Meredith) Modified
             on 8/16/2022. (cmm) (Entered: 08/15/2022)

       344   Supplemental Brief in Support re: Motion to Enforce Automatic Stay, filed by Jeffrey A Hokanson on behalf of Debtor Aearo              08/15/2022
             Technologies LLC (re: Doc # 173). (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C) (Hokanson, Jeffrey) (Entered:
             08/15/2022)

       345   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, filed by Sean Patrick Tracey on behalf of Interested Party Tracey   08/16/2022
             Fox King & Walters (re: Doc # 339). (Tracey, Sean) (Entered: 08/16/2022)

       346   Appearance filed by Sean Patrick Tracey on behalf of Interested Party Tracey Fox King & Walters. (Tracey, Sean) (Entered:              08/16/2022
             08/16/2022)

       347   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Johnny Givens on behalf of Creditor Givens Law Firm Plaintiffs.       08/16/2022
             (Attachments: (1) Affidavit Affidavit of Johnny Givens) (Givens, Johnny) (Entered: 08/16/2022) [Granted by # 356
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1655Kdm_idV43756434Kdoc_numV356Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.             08/16/2022
             Fee amount 100.00 (re: Doc # 347). (U.S. Treasury) (Entered: 08/16/2022)

       348   Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 149).                     08/16/2022
             (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 08/16/2022) [Granted by # 360
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1666Kdm_idV43758560Kdoc_numV360Kpdf_headerV1');]

       349   Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 147).                     08/16/2022
             (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 08/16/2022) [Granted by # 363
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1675Kdm_idV43758858Kdoc_numV363Kpdf_headerV1');]

       350   Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 144).                     08/16/2022
             (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 08/16/2022) [Granted by # 361
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1669Kdm_idV43758710Kdoc_numV361Kpdf_headerV1');]

       351   Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 143).                     08/16/2022
             (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 08/16/2022) [Granted by # 364
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1678Kdm_idV43758864Kdoc_numV364Kpdf_headerV1');]

       352   Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 146).                     08/16/2022
             (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 08/16/2022) [Granted by # 359
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1663Kdm_idV43758459Kdoc_numV359Kpdf_headerV1');]

       353   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, filed by Mark P. Robinson Jr on behalf of Interested Party          08/16/2022
             Robinson Calcagnie, Inc (re: Doc # 340). (Robinson, Mark) (Entered: 08/16/2022)

       354   Certificate of Service re: Brief, Brief, Application to Employ, Application to Employ, Application to Employ, Application to Employ,   08/16/2022
             Application to Employ, Application to Employ, Motion to Establish Procedures for Interim Compensation and Reimbursement of
             Expenses, Motion for Authority / Debtors' Motion for Entry of an Order Authorizing the Debtors to Retain and Compensate
             Professionals Utilized in the Ordinary Course of Business, Notice of Hearing re: Application to Employ, Application to Employ,
             Application to Employ, Application to Employ, Application to Employ, Motion to Establish Procedures for Interim Compensation and
             Reimbursement of Expenses, Motion for Authority / Debtors' Motion for Entry of an Order Authorizing the Debtors to Retain and
             Compensate Professionals Utilized in the Ordinary Course of Business, Order on Motion to Appear Pro Hac Vice, filed by Noticing
             Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 298, 299, 300, 301, 302, 303, 304, 305, 306, 307, 308, 312). (Baer,
             Herbert) (Entered: 08/16/2022)




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       355   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, Order on Motion to         08/16/2022
             Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, Order on Motion to
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             Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, Order on Motion to
             Appear Pro Hac Vice, Order on Corrected Motion to Appear Pro Hac Vice, Order on Corrected Motion to Appear Pro Hac Vice,
             Order on Motion to Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, filed by Noticing Agent on behalf of Debtor
             Aearo Technologies LLC (re: Doc # 111, 112, 114, 115, 116, 117, 118, 119, 125, 127, 128, 129, 131, 160, 161, 191, 192, 291, 309).
             (Baer, Herbert) (Entered: 08/16/2022)

       356   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 347). Attorney for Creditor Givens Law Firm Plaintiffs must distribute this   08/17/2022
             order. (hhd) (Entered: 08/17/2022)

       357   Supplemental Declaration re: Application to Employ filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re:        08/17/2022
             Doc # 305). (Hokanson, Jeffrey) (Entered: 08/17/2022)

       358   Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 150).                    08/17/2022
             (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 08/17/2022) [Granted by # 362
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1672Kdm_idV43758752Kdoc_numV362Kpdf_headerV1');]

       359   Order Granting Motion to Continue Hearing (re: Doc # 352). Continued Final Hearing on Motion to Pay Pre-Petition Trust Fund           08/17/2022
             Taxes be held on 9/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen
             but not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397 Objections due by
             9/7/2022 by 4:00 PM Eastern. Attorney for the debtor must distribute this order. (hhd) (Entered: 08/17/2022)

       360   Order Granting Motion to Continue Hearing (re: Doc # 348). Continued Final Hearing on Debtors' Vendor Motion to be held on            08/17/2022
             9/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively
             participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Objections due by 9/7/2022 by 4:00
             PM Eastern. Attorney for the debtor must distribute this order. (hhd) (Entered: 08/17/2022)

       361   Order Granting Motion to Continue Hearing (re: Doc # 350). Continued Final Hearing Debtor's Insurance Motion to be held on            08/17/2022
             9/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively
             participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397 Objections due by 9/7/2022 by 4:00
             PM Eastern. Attorney for the debtor must distribute this order. (hhd) (Entered: 08/17/2022)

       362   Order Granting Motion to Continue Hearing (re: Doc # 358). Final Continued Hearing on Debtors' Wage Motion to be held on              08/17/2022
             9/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively
             participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Objections due by 9/7/2022 by 4:00
             PM Eastern. Attorney for the debtor must distribute this order. (hhd) (Entered: 08/17/2022)

       363   Order Granting Motion to Continue Hearing (re: Doc # 349). Continued Final Hearing on Debtors' Utilities Motion to be held on         08/17/2022
             9/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively
             participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Objections due by 9/7/2022 by 4:00
             PM Eastern. Attorney for the debtor must distribute this order. (hhd) (Entered: 08/17/2022)

       364   Order Granting Motion to Continue Hearing (re: Doc # 351). Final Continued Hearing on Debtors' Cash Management Motion to be           08/17/2022
             held on 9/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not
             actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Objections due by 9/7/2022
             by 4:00 PM Eastern. Attorney for the debtor must distribute this order. (hhd) (Entered: 08/17/2022)

       365   CORRECTED ENTRY: Publisher's Affidavit filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 1)           08/17/2022
             (Hokanson, Jeffrey) ORIGINAL ENTRY: Certificate of Service re: Chapter 11 Voluntary Petition, filed by Jeffrey A Hokanson on
             behalf of Debtor Aearo Technologies LLC (re: Doc # 1). (Hokanson, Jeffrey) Modified on 8/19/2022. (cmm) (Entered: 08/17/2022)

       366   CORRECTED ENTRY: Proof of Publication filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 1)            08/17/2022
             (Hokanson, Jeffrey) ORIGINAL ENTRY: Certificate of Service re: Chapter 11 Voluntary Petition, filed by Jeffrey A Hokanson on
             behalf of Debtor Aearo Technologies LLC (re: Doc # 1). (Hokanson, Jeffrey) Modified on 8/19/2022. (cmm) (Entered: 08/17/2022)

       367   Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 174).                    08/17/2022
             (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 08/17/2022) [Granted by # 368
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1690Kdm_idV43760630Kdoc_numV368Kpdf_headerV1');]

       368   Order Granting Motion to Continue Hearing (re: Doc # 367). Continued Hearing on Debtors' Motion to Enforce Automatic Stay to be       08/18/2022
             held on 9/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not
             actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Attorney for the debtor must
             distribute this order. (hhd) (Entered: 08/18/2022)

       369   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, filed by Justine Delaney on behalf of Interested Party Weitz &     08/18/2022
             Luxenberg, PC (re: Doc # 264). (Delaney, Justine) (Entered: 08/18/2022)

       370   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, filed by Lisa Nathanson Busch on behalf of Interested Party        08/18/2022
             Weitz & Luxenberg, PC (re: Doc # 241). (Busch, Lisa) (Entered: 08/18/2022)

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       371   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, filed by Perry Weitz on behalf of Interested Party Weitz &            08/18/2022
             Luxenberg, PC (re: Doc # 286). (Weitz, Perry) (Entered: 08/18/2022)

       372   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Ashlea Schwarz on behalf of Creditor Paul LLP. (Attachments: (1)        08/18/2022
             Affidavit) (Schwarz, Ashlea) (Entered: 08/18/2022) [Granted by # 374
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1715Kdm_idV43765874Kdoc_numV374Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               08/18/2022
             Fee amount 100.00 (re: Doc # 372). (U.S. Treasury) (Entered: 08/18/2022)

       373   Appearance filed by Ashlea Schwarz on behalf of Creditor Paul LLP. (Schwarz, Ashlea) (Entered: 08/18/2022)                               08/18/2022

       374   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 372). Attorney for Creditor Paul LLP must distribute this order. (hhd)           08/19/2022
             (Entered: 08/19/2022)

       375   Certificate of Service re: Notice of 341 Meeting of Creditors re: Chapter 11, filed by Noticing Agent on behalf of Debtor Aearo          08/19/2022
             Technologies LLC (re: Doc # 292). (Attachments: (1) Exhibit B Pt. 1 (2) Exhibit B Pt. 2 (3) Exhibit B Pt. 3) (Baer, Herbert) (Entered:
             08/19/2022)

       376   Chapter 11 Report of Operations for July 2022 filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.                    08/22/2022
             (Attachments: (1) Exhibit Global Notes) (Hokanson, Jeffrey) (Entered: 08/22/2022)

       377   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, Order on Motion to            08/23/2022
             Appear Pro Hac Vice, filed by Matthew Steven Hosen on behalf of Creditor Bellwether Plaintiffs Adkins and Vaughn (re: Doc # 240,
             273, 333). (Hosen, Matthew) (Entered: 08/23/2022)

       378   Certificate of Service re: Motion to Continue Hearing, Motion to Continue Hearing, Trial, Pretrial Conference or Status Conference,      08/25/2022
             Motion to Continue Hearing, Motion to Continue Hearing, Trial, Pretrial Conference or Status Conference, Motion to Continue
             Hearing, Trial, Pretrial Conference or Status Conference, Motion to Continue Hearing, Order on Motion to Continue Hearing, Trial,
             Pretrial Conference or Status Conference, Order on Motion to Continue Hearing, Trial, Pretrial Conference or Status Conference,
             Order on Motion to Continue Hearing, Trial, Pretrial Conference or Status Conference, Order on Motion to Continue Hearing, Trial,
             Pretrial Conference or Status Conference, Order on Motion to Continue Hearing, Trial, Pretrial Conference or Status Conference,
             Order on Motion to Continue Hearing, Trial, Pretrial Conference or Status Conference, Motion to Continue Hearing, Trial, Pretrial
             Conference or Status Conference, AND SUPPLEMENTAL DECLARATION RE: APPLICATION TO EMPLOY filed by Noticing Agent
             on behalf of Debtor Aearo Technologies LLC (re: Doc 348, 349, 350, 351, 352, 357, 358, 359, 360, 361, 362, 363, 364, 367). (Baer,
             Herbert) CORRECTION: Related doc #357 added. Missing docket text added in all capitals. Modified on 8/26/2022. (cmm)
             (Entered: 08/25/2022)

       379   Certificate of Service re: Order on Motion to Continue Hearing, Trial, Pretrial Conference or Status Conference, filed by Noticing       08/25/2022
             Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 368). (Baer, Herbert) (Entered: 08/25/2022)

       380   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Derek Wayne Edwards on behalf of Creditors Yabor Indstria               08/25/2022
             Aeronutica S.A., Embraer Executive Aircraft, LLC, Embraer S.A. (Attachments: (1) Exhibit A - Declaration) (Edwards, Derek)
             (Entered: 08/25/2022) [Amended by # 383
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1770Kdm_idV43788016Kdoc_numV383Kpdf_headerV1');, 384
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1778Kdm_idV43788998Kdoc_numV384Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               08/25/2022
             Fee amount 100.00 (re: Doc # 380). (U.S. Treasury) (Entered: 08/25/2022)

       381   Notice of Submission of Exhibit B to Wages Motion filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re:            08/25/2022
             Doc # 20). (Hokanson, Jeffrey) (Entered: 08/25/2022)

       382   Appearance filed by Weston Erick Overturf on behalf of Creditor Solimide Foams division of Boyd Corporation. (Overturf, Weston)          08/26/2022
             (Entered: 08/26/2022)

       383   Amended Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Derek Wayne Edwards on behalf of Creditors            08/26/2022
             Embraer Executive Aircraft, LLC, Embraer S.A, Yabor Indstria Aeronutica S.A (re: Doc # 380). (Attachments: (1) Exhibit A:
             Declaration) (Edwards, Derek) (Entered: 08/26/2022) [Amended by # 384
             CMECF.widget.DocLink('document1KcaseidV741797Kde_seq_numV1778Kdm_idV43788998Kdoc_numV384Kpdf_headerV1');]

       384   Amended Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Derek Wayne Edwards on behalf of Creditors            08/26/2022
             Yabora Industria Aeronautica S.A., Embraer Executive Aircraft, LLC, Embraer S.A (re: Doc 380, 383). (Attachments: (1) Exhibit A -
             Declaration) (Edwards, Derek) CORRECTION: Related doc #383 added. Modified on 8/26/2022. (cmm) (Entered: 08/26/2022)

       385   Motion to Continue Hearing filed by Brian A Glasser, Andrew T Kight, Kevin C Maclay, Tristan Manthey, Robert J Pfister, Patricia B.      08/26/2022
             Tomasco, Meredith R. Theisen on behalf of Interested Parties Aylstock, Witkin, Kreis & Overholtz, PLLC, Cory Watson, P.C.,
             Heninger Garrison Davis, LLC, Seeger Weiss, LLP, The Gori Law Firm, P.C., Weitz & Luxenberg, PC, Creditors Bailey Glasser
             Plaintiffs, Bellwether Plaintiffs Adkins, Wilkerson, and Vaugh, Clark, Love & Hutson, PLLC (re: Doc # 308). (Attachments: (1) Exhibit
             A - Proposed Order) (Theisen, Meredith) (Entered: 08/26/2022) [Granted by # 390
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1829Kdm_idV43797972Kdoc_numV390Kpdf_headerV1');]



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       386   Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by D. Todd Mathews on behalf of Creditor Bailey Glasser         08/26/2022
             Plaintiffs (re: Doc 317). (Attachments: (1) Affidavit) (Mathews, D.) (Entered: 08/26/2022) [Corrected by # 387
             CMECF.widget.DocLink('document1KcaseidV741797Kde_seq_numV1808Kdm_idV43795740Kdoc_numV387Kpdf_headerV1');]

       387   Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by D. Todd Mathews on behalf of Creditor Bailey Glasser         08/29/2022
             Plaintiffs (re: Doc 317, 386). (Attachments: (1) Affidavit) (Mathews, D.) CORRECTION: Related doc #386 added. Modified on
             8/29/2022. (cmm) (Entered: 08/29/2022) [Granted by # 457
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2101Kdm_idV43823117Kdoc_numV457Kpdf_headerV1');]

       388   Schedule(s) A/B, D, E/F, G, H and Summary of Assets and Liabilities (creditors added) (parties added) filed by Jeffrey A Hokanson       08/29/2022
             on behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Main Document (cont.) Attachment 1 (2) Main Document (cont.)
             Attachment 2 (3) Main Document (cont.) Attachment 3 (4) Main Document (cont.) Attachment 4 (5) Main Document (cont.)
             Attachment 5 (6) Main Document (cont.) Attachment 6) (Hokanson, Jeffrey) (Entered: 08/29/2022)

       389   Statement of Financial Affairs filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson, Jeffrey)              08/29/2022
             (Entered: 08/29/2022)

             Receipt of Schedule(s)( 22-02890-JJG-11) [misc,schall] (32.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount 32.00 (re:              08/29/2022
             Doc # 388). (U.S. Treasury) (Entered: 08/29/2022)

       390   Order Granting Motion to Continue Hearings on Debtors' Applications to Employ (re: Doc # 385). Continued Hearing to be held in          08/30/2022
             Rm 311 U.S. Courthouse, Indianapolis at 09:00 AM Eastern on 10/12/2022. Attorney for the interested parties must distribute this
             order. (hhd) (Entered: 08/30/2022)

       391   Motion for Refund of Court Fee from receipt 76273804148 in the amount of $100.00 filed by Jennifer S. Feeney on behalf of Other         08/30/2022
             Professional Jennifer Feeney (re: Doc # 124). (Feeney, Jennifer) (Entered: 08/30/2022) [Granted by # 397
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1852Kdm_idV43801011Kdoc_numV397Kpdf_headerV1');]

       392   Certificate of Service re: Order on Motion to Continue Hearing, Trial, Pretrial Conference or Status Conference, filed by Meredith R.   08/30/2022
             Theisen on behalf of Interested Party Seeger Weiss, LLP (re: Doc # 390). (Theisen, Meredith) (Entered: 08/30/2022)

       393   U.S. Trustee's Notice of Appointment of Creditors' Committee. (Strauss, Harrison) (Entered: 08/30/2022)                                 08/30/2022

       394   U.S. Trustee's Notice of Appointment of Beal, James and Freeman, LaShanda Parker as Chairman of Creditors' Committee.                   08/30/2022
             (Strauss, Harrison) (Entered: 08/30/2022)

       395   U.S. Trustee's Notice of Appointment of Creditors' Committee. (Strauss, Harrison) (Entered: 08/30/2022)                                 08/30/2022

       396   U.S. Trustee's Notice of Appointment of Morgan, Josh as Chairman of Creditors' Committee. (Strauss, Harrison) (Entered:                 08/30/2022
             08/30/2022)

       397   Order Granting Motion for Refund of Court Fee from receipt 76273804148 in the amount of $100.00 (re: Doc # 391). Attorney for           08/30/2022
             Other Professional Jennifer Feeney must distribute this order. (cmm) (Entered: 08/30/2022)

       398   Appearance filed by David L. Selby II on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants. (Selby, David)         08/30/2022
             (Entered: 08/30/2022)

       399   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Kevin Dale McCullough on behalf of Creditor Unsecured Creditor         08/30/2022
             Committee - Respirators. (Attachments: (1) Affidavit in Support of Motion to Appear Pro Hac Vice) (McCullough, Kevin) (Entered:
             08/30/2022) [Amended by # 401
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1868Kdm_idV43801436Kdoc_numV401Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              08/30/2022
             Fee amount 100.00 (re: Doc # 399). (U.S. Treasury) (Entered: 08/30/2022)

       400   Appearance filed by Kevin Dale McCullough on behalf of Creditor Unsecured Creditor Committee - Respirators. (McCullough,                08/30/2022
             Kevin) (Entered: 08/30/2022)

       401   Amended Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Kevin Dale McCullough on behalf of Creditor          08/30/2022
             Unsecured Creditor Committee - Respirators (re: Doc # 399). (Attachments: (1) Affidavit in Support of Motion to Appear Pro Hac
             Vice) (McCullough, Kevin) (Entered: 08/30/2022) [Granted by # 417
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1954Kdm_idV43814460Kdoc_numV417Kpdf_headerV1');]

       402   Periodic Report Pursuant to Fed.R.Bankr.P. 2015.3 Regarding Value, Operations and Profitability of Entities in Which the Debtor's       08/30/2022
             Estate Holds a Substantial or Controlling Interest filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.
             (Hokanson, Jeffrey) (Entered: 08/30/2022)

       403   Notice of Submission \\ Informational Brief of the Ad Hoc Committee of CAEv2 Earplug Claimants filed by David L. Selby II on            08/31/2022
             behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants (re: Doc # 398). (Selby, David) (Entered: 08/31/2022)




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       404   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Shannon Thomas on behalf of Creditor Unsecured Creditor                 08/31/2022
             Committee - Respirators. (Attachments: (1) Affidavit in Support of Motion to Appear Pro Hac Vice) (Thomas, Shannon) (Entered:
             08/31/2022) [Amended by # 411
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1923Kdm_idV43807890Kdoc_numV411Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               08/31/2022
             Fee amount 100.00 (re: Doc # 404). (U.S. Treasury) (Entered: 08/31/2022)

       405   Appearance filed by Shannon Thomas on behalf of Creditor Unsecured Creditor Committee - Respirators. (Thomas, Shannon)                   08/31/2022
             (Entered: 08/31/2022)

       406   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Michael Richard Rochelle on behalf of Creditor Unsecured Creditor       08/31/2022
             Committee - Respirators. (Attachments: (1) Affidavit in Support of Motion to Appear Pro Hac Vice) (Rochelle, Michael) (Entered:
             08/31/2022) [Granted by # 412
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1928Kdm_idV43807990Kdoc_numV412Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               08/31/2022
             Fee amount 100.00 (re: Doc # 406). (U.S. Treasury) (Entered: 08/31/2022)

       407   Appearance filed by Michael Richard Rochelle on behalf of Creditor Unsecured Creditor Committee - Respirators. (Rochelle,                08/31/2022
             Michael) (Entered: 08/31/2022)

       408   Motion for Authority / Debtors' Motion to Lift the Automatic Stay to Permit Certain Appeals to Proceed filed by Jeffrey A Hokanson       08/31/2022
             on behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 08/31/2022) [Amended by
             # 413
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1930Kdm_idV43808206Kdoc_numV413Kpdf_headerV1');]

       409   Notice of Hearing re: Motion for Authority / Debtors' Motion to Lift the Automatic Stay to Permit Certain Appeals to Proceed, filed by   08/31/2022
             Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 408). Objections due by 4:00 PM Eastern on 9/11/2022.
             Hearing to be held on 9/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to
             listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. (Hokanson,
             Jeffrey) (Entered: 08/31/2022)

       410   Deficiency Notice Issued re: Motion for Authority / Debtors' Motion to Lift the Automatic Stay to Permit Certain Appeals to Proceed.     09/01/2022
             Incorrect event used (re: Doc # 408). Deficiency to be cured by 9/15/2022. (cmm) (Entered: 09/01/2022)

       411   Amended Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Shannon Thomas on behalf of Creditor                  09/01/2022
             Unsecured Creditor Committee - Respirators (re: Doc # 404). (Attachments: (1) Affidavit in Support of Motion to Appear Pro Hac
             Vice) (Thomas, Shannon) (Entered: 09/01/2022) [Granted by # 418
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1956Kdm_idV43814466Kdoc_numV418Kpdf_headerV1');]

       412   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 406). Attorney for Creditor Unsecured Creditor Committee - Respirators           09/01/2022
             must distribute this order. (hhd) (Entered: 09/01/2022)

       413   Amended Motion for Relief from Stay and Refusal to Waive Hearing Time filed by Jeffrey A Hokanson on behalf of Debtor Aearo              09/01/2022
             Technologies LLC (re: Doc # 408). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 09/01/2022) [Granted by # 548
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2401Kdm_idV43850746Kdoc_numV548Kpdf_headerV1');]

             Receipt of Motion for Relief from Stay( 22-02890-JJG-11) [motion,mrlfsty] (188.00) Filing Fee. Receipt number AXXXXXXXX. Fee             09/01/2022
             amount 188.00 (re: Doc # 413). (U.S. Treasury) (Entered: 09/01/2022)

       414   Amended Notice of Hearing with Certificate of Service re: Motion for Authority / Debtors' Motion to Lift the Automatic Stay to Permit    09/01/2022
             Certain Appeals to Proceed, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc 409, 413).
             Objections due by 4:00 PM Eastern on 9/11/2022. Hearing to be held on 9/14/2022 at 09:00 AM Eastern in Rm 311 U.S.
             Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373
             or 646-828-7666, Meeting ID 160 2312 6397. (Hokanson, Jeffrey) CORRECTION: Related doc #413 added. Modified on 9/2/2022.
             (cmm) (Entered: 09/01/2022)

       415   Notice of Submission / Exhibit 1 to Statement of Financial Affairs (re: Docket No. 389) filed by Jeffrey A Hokanson on behalf of         09/01/2022
             Debtor Aearo Technologies LLC (re: Doc # 389). (Hokanson, Jeffrey) (Entered: 09/01/2022)

       416   Appearance filed by D. Todd Mathews on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants. (Mathews, D.)             09/02/2022
             (Entered: 09/02/2022)

       417   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 401). Attorney for Creditor Unsecured Creditor Committee -             09/02/2022
             Respirators must distribute this order. (hhd) (Entered: 09/02/2022)

       418   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 411). Attorney for Creditor Unsecured Creditor Committee -             09/02/2022
             Respirators must distribute this order. (hhd) (Entered: 09/02/2022)




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       419   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, Order on Corrected Motion to Appear Pro Hac Vice, Order on            09/02/2022
             Corrected Motion to Appear Pro Hac Vice, filed by Shannon Thomas on behalf of Creditor Unsecured Creditor Committee -
             Respirators (re: Doc # 412, 417, 418). (Thomas, Shannon) (Entered: 09/02/2022)

       420   Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and Randi S. Ellis as Co-        09/02/2022
             Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III) Granting Related Relief filed by Jeffrey A Hokanson
             on behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - MDL Mediation Order)
             (Hokanson, Jeffrey) (Entered: 09/02/2022) [Granted by # 477
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2165Kdm_idV43831051Kdoc_numV477Kpdf_headerV1');]

       421   Motion for Expedited Hearing and/or Shortened Notice Time on Motion for Authority / Debtors' Motion for Entry of an Order (I)            09/02/2022
             Appointing the Honorable James M. Carr and Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the
             Mediation, and (III) Granting Related Relief, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc #
             420). (Attachments: (1) Exhibit A - Proposed Order) (Hokanson, Jeffrey) (Entered: 09/02/2022) [Granted by # 422
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV1968Kdm_idV43815104Kdoc_numV422Kpdf_headerV1');]

       422   Order Granting Motion for Expedited Hearing and Shortened Notice Time (re: Doc #421). Hearing to be held on 9/7/2022 at 01:30            09/02/2022
             PM Eastern via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666,
             Meeting ID 160 2312 6397. Objections due by 4:00 PM Eastern on 9/6/2022. Attorney for the debtor must distribute this order.
             (hhd) (Entered: 09/02/2022)

       423   Notice of Hearing with Certificate of Service re: Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the        09/02/2022
             Honorable James M. Carr and Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III)
             Granting Related Relief, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 420). Objections due
             by 4:00 PM Eastern on 9/6/2022. Hearing to be held on 9/7/2022 at 01:30 PM Eastern via Zoom. Parties that wish to listen but not
             actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. (Hokanson, Jeffrey)
             (Entered: 09/02/2022)

       424   Certificate of Service re: Notice of 341 Meeting of Creditors re: Chapter 11, filed by Noticing Agent on behalf of Debtor Aearo          09/02/2022
             Technologies LLC (re: Doc # 292). (Baer, Herbert) (Entered: 09/02/2022)

       425   Appearance filed by Brian A Glasser on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants. (Glasser, Brian)          09/04/2022
             (Entered: 09/04/2022)

       426   Appearance filed by Kevin W Barrett on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants. (Barrett, Kevin)          09/04/2022
             (Entered: 09/04/2022)

       427   Appearance filed by Maggie B. Burrus on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants. (Burrus,                 09/04/2022
             Maggie) (Entered: 09/04/2022)

       428   Appearance filed by Michael L. Tuchin on behalf of Creditor Committee Tort Claimants - CAE Committee. (Tuchin, Michael)                  09/04/2022
             (Entered: 09/04/2022)

       429   Appearance filed by Melanie Louise Cyganowski on behalf of Creditor Committee Tort Claimants - CAE Committee. (Cyganowski,               09/04/2022
             Melanie) (Entered: 09/04/2022)

       430   Appearance filed by Robert J Pfister on behalf of Creditor Committee Tort Claimants - CAE Committee. (Pfister, Robert) (Entered:         09/04/2022
             09/04/2022)

       431   Appearance filed by Sasha M. Gurvitz on behalf of Creditor Committee Tort Claimants - CAE Committee. (Gurvitz, Sasha)                    09/04/2022
             (Entered: 09/04/2022)

       432   Appearance filed by Ariella Thal Simonds on behalf of Creditor Committee Tort Claimants - CAE Committee. (Thal Simonds, Ariella)         09/04/2022
             (Entered: 09/04/2022)

       433   Appearance filed by Adam C. Silverstein on behalf of Creditor Committee Tort Claimants - CAE Committee. (Silverstein, Adam)              09/04/2022
             (Entered: 09/04/2022)

       434   Appearance filed by Jennifer S. Feeney on behalf of Creditor Committee Tort Claimants - CAE Committee. (Feeney, Jennifer)                09/04/2022
             (Entered: 09/04/2022)

       435   Appearance filed by Nir Maoz on behalf of Creditor Committee Tort Claimants - CAE Committee. (Maoz, Nir) (Entered: 09/04/2022)           09/04/2022

       436   Appearance filed by John Bougiamas on behalf of Creditor Committee Tort Claimants - CAE Committee. (Bougiamas, John)                     09/04/2022
             (Entered: 09/04/2022)

       437   Appearance filed by Robert C Yan on behalf of Creditor Committee Tort Claimants - CAE Committee. (Yan, Robert) (Entered:                 09/04/2022
             09/04/2022)

       438   Appearance filed by Kevin C Maclay on behalf of Creditor Committee Tort Claimants - CAE Committee. (Maclay, Kevin) (Entered:             09/04/2022
             09/04/2022)



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       439   Appearance filed by Todd E. Phillips on behalf of Creditor Committee Tort Claimants - CAE Committee. (Phillips, Todd) (Entered:            09/04/2022
             09/04/2022)

       440   Appearance filed by Kevin M Davis on behalf of Creditor Committee Tort Claimants - CAE Committee. (Davis, Kevin) (Entered:                 09/04/2022
             09/04/2022)

       441   Appearance filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee. (Theisen, Meredith)                09/05/2022
             (Entered: 09/05/2022)

       442   Limited Objection to Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and           09/05/2022
             Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III) Granting Related Relief filed by
             Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 420). (Attachments: (1) Exhibit A)
             (Theisen, Meredith) (Entered: 09/05/2022)

       443   Appearance filed by Deborah Caruso on behalf of Creditor Committee Tort Claimants - CAE Committee. (Caruso, Deborah)                       09/05/2022
             (Entered: 09/05/2022)

       444   Certificate of Service re: Limited Objection to Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the            09/05/2022
             Honorable James M. Carr and Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III)
             Granting Related Relief, filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc #
             442). (Theisen, Meredith) (Entered: 09/05/2022)

       445   CORRECTED ENTRY: Response to Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and Randi                    09/06/2022
             S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III) Granting Related Relief filed by
             Joanna Diane Caytas on behalf of Creditor Bellwether Plaintiffs Adkins and Vaughn (re: Doc # 420) (Attachments: (1) Exhibit 1)
             (Caytas, Joanna) ORIGINAL ENTRY: Reply to Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the
             Honorable James M. Carr and Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III)
             Granting Related Relief filed by Joanna Diane Caytas on behalf of Creditor Bellwether Plaintiffs Adkins and Vaughn (re: Doc #
             420). (Attachments: (1) Exhibit 1) (Caytas, Joanna) Modified on 9/7/2022. (cmm) (Entered: 09/06/2022)

       446   Limited Objection to Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and           09/06/2022
             Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III) Granting Related Relief filed by
             Kevin W Barrett on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants (re: Doc # 420). (Attachments: (1)
             Exhibit A) (Barrett, Kevin) (Entered: 09/06/2022)

       447   CORRECTED ENTRY: Joinder of Official Respirator Committee to the Limited Objection of the Official CAE Committee to the                    09/06/2022
             Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and Randi S. Ellis as Co-Mediators, (II)
             Authorizing the Debtors to Participate in the Mediation, and (III) Granting Related Relief filed by Kevin Dale McCullough on behalf
             of Creditor Unsecured Creditor Committee - Respirators (re: Doc 420, 442) (McCullough, Kevin) ORIGINAL ENTRY: Limited
             Objection to Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and Randi S.
             Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III) Granting Related Relief filed by Kevin
             Dale McCullough on behalf of Creditor Unsecured Creditor Committee - Respirators (re: Doc 420). (McCullough, Kevin) Modified
             on 9/7/2022. (cmm) (Entered: 09/06/2022)

       448   Certificate of Service re: Limited Objection to Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the            09/06/2022
             Honorable James M. Carr and Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III)
             Granting Related Relief, filed by Kevin W Barrett on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants (re:
             Doc # 442). (Barrett, Kevin) CORRECTION: Document filed in error. See doc. #454 for corrected filing. Modified on 9/7/2022.
             (cmm) (Entered: 09/06/2022)

       449   Motion to Appear Pro Hac Vice with Affidavit in Support filed by David Molton on behalf of Creditor Committee Tort Claimants - CAE         09/06/2022
             Committee. (Attachments: (1) Affidavit) (Molton, David) (Entered: 09/06/2022) [Granted by # 459
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2112Kdm_idV43825521Kdoc_numV459Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                 09/06/2022
             Fee amount 100.00 (re: Doc # 449). (U.S. Treasury) (Entered: 09/06/2022)

       450   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Cathrine M Castaldi on behalf of Creditor Committee Tort Claimants        09/06/2022
             - CAE Committee. (Attachments: (1) Affidavit) (Castaldi, Cathrine) (Entered: 09/06/2022) [Granted by # 460
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2114Kdm_idV43825526Kdoc_numV460Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                 09/06/2022
             Fee amount 100.00 (re: Doc # 450). (U.S. Treasury) (Entered: 09/06/2022)

       451   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Jeffrey L. Jonas on behalf of Creditor Committee Tort Claimants -         09/06/2022
             CAE Committee. (Attachments: (1) Affidavit) (Jonas, Jeffrey) (Entered: 09/06/2022) [Granted by # 461
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2116Kdm_idV43825532Kdoc_numV461Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                 09/06/2022
             Fee amount 100.00 (re: Doc # 451). (U.S. Treasury) (Entered: 09/06/2022)




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       452   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Eric Goodman on behalf of Creditor Committee Tort Claimants -               09/06/2022
             CAE Committee. (Attachments: (1) Affidavit) (Goodman, Eric) (Entered: 09/06/2022) [Granted by # 462
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2118Kdm_idV43825602Kdoc_numV462Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                   09/06/2022
             Fee amount 100.00 (re: Doc # 452). (U.S. Treasury) (Entered: 09/06/2022)

       453   Certificate of Service re: Reply to Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James          09/06/2022
             M. Carr and Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III) Granting Related
             Relief, filed by Adam Wolfson on behalf of Creditor Bellwether Plaintiffs Adkins and Vaughn (re: Doc # 445). (Wolfson, Adam)
             (Entered: 09/06/2022)

       454   Amended Certificate of Service re: Limited Objection to Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing          09/06/2022
             the Honorable James M. Carr and Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and
             (III) Granting Related Relief, filed by Kevin W Barrett on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants
             (re: Doc 446, 448). (Barrett, Kevin) CORRECTION: Related doc #448 added. Modified on 9/7/2022. (cmm) (Entered: 09/06/2022)

       455   Certificate of Service re: Limited Objection to Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the              09/06/2022
             Honorable James M. Carr and Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III)
             Granting Related Relief, filed by Kevin Dale McCullough on behalf of Creditor Committee Tort Claimants - Respirator Committee
             (re: Doc # 447). (McCullough, Kevin) (Entered: 09/06/2022)

       456   Notice of Submission / Supplement to Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and Randi              09/06/2022
             S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III) Granting Related Relief filed by Jeffrey
             A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 420). (Hokanson, Jeffrey) (Entered: 09/06/2022)

       457   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 387). Attorney for Creditor Bailey Glasser Plaintiffs must                 09/07/2022
             distribute this order. (hhd) (Entered: 09/07/2022)

       458   Minute Entry/Order: re: Video Hearing on Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and                09/07/2022
             Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III) Granting Related Relief and
             Supplement thereto with limited Objections filed by: Committee Tort Claimants - CAE Committee, Ad Hoc Committee of CAEv2
             Earplug Claimants, Unsecured Creditor Committee - Respirators and Response of Bellwether Plaintiffs Adkins and Vaughn (re: Doc
             #420, 456, 442,445, 446, 447). Disposition: Video Hearing held. Matter continued. Hearing to be held on 09/08/2022 at 10:30 AM
             Eastern in Video Conference with Judge Graham. Notice given in court and no further notice will be issued. (hhd) (Entered:
             09/07/2022)

       459   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 449). Attorney for Creditor Committee Tort Claimants - CAE Committee                 09/07/2022
             must distribute this order. (hhd) (Entered: 09/07/2022)

       460   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 450). Attorney for Creditor Committee Tort Claimants - CAE Committee                 09/07/2022
             must distribute this order. (hhd) (Entered: 09/07/2022)

       461   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 451). Attorney for Creditor Committee Tort Claimants - CAE Committee                 09/07/2022
             must distribute this order. (hhd) (Entered: 09/07/2022)

       462   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 452). Attorney for Creditor Committee Tort Claimants - CAE Committee                 09/07/2022
             must distribute this order. (hhd) (Entered: 09/07/2022)

       463   Limited Objection to Motion to Establish Procedures for Interim Compensation and Reimbursement of Expenses filed by Kevin W                  09/07/2022
             Barrett on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants (re: Doc # 306). (Attachments: (1) Exhibit A)
             (Barrett, Kevin) (Entered: 09/07/2022)

       464   Certificate of Service re: Limited Objection to Motion to Establish Procedures for Interim Compensation and Reimbursement of                 09/07/2022
             Expenses, filed by Kevin W Barrett on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants (re: Doc # 463).
             (Barrett, Kevin) (Entered: 09/07/2022)

       465   Request for Transcript filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc #                09/07/2022
             458). (Theisen, Meredith) (Entered: 09/07/2022)

       466   Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and Randi S. Ellis as Co-            09/08/2022
             Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters, (II) Referring Such Matters to Mediation, (III) Directing
             the Mediation Parties to Participate in the Mediation, and (IV) Granting Related Relief filed by Jeffrey A Hokanson on behalf of
             Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 09/08/2022)

       467   Motion for Expedited Hearing and/or Shortened Notice Time on Motion for Authority / Debtors' Motion for Entry of an Order (I)                09/08/2022
             Appointing the Honorable James M. Carr and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation
             Related Matters, (II) Referring Such Matters to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and
             (IV) Granting Related Relief, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 466).
             (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 09/08/2022) [Granted by # 469
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2141Kdm_idV43826926Kdoc_numV469Kpdf_headerV1');, 478
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2167Kdm_idV43831317Kdoc_numV478Kpdf_headerV1');]

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       468   Acknowledgement of Transcript Request (re: Doc # 465). The transcript request was received 9/8/2022. The transcript is expected          09/08/2022
             by 9/9/2022. (Bowen, James) (Entered: 09/08/2022)

       469   Order Granting Motion for Expedited Hearing and Shortened Notice Time (re: Doc #467). Hearing to be held on 9/14/2022 at 09:00           09/08/2022
             AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do
             so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Objections due by 4:00 PM Eastern on 9/13/2022.
             Attorney for the debtor must distribute this order. (cmm) (Entered: 09/08/2022)

       470   Motion for Relief from Judgment/Order Pursuant to Fed.R.Bankr.P. 9024 filed by Meredith R. Theisen on behalf of Creditor                 09/08/2022
             Committee Tort Claimants - CAE Committee (re: Doc # 469). (Theisen, Meredith) (Entered: 09/08/2022) [Granted by # 474
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2156Kdm_idV43829005Kdoc_numV474Kpdf_headerV1');]

       471   Notice of Hearing with Certificate of Service re: Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the        09/08/2022
             Honorable James M. Carr and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters,
             (II) Referring Such Matters to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting
             Related Relief, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 466). Objections due by 4:00
             PM Eastern on 9/13/2022. Hearing to be held on 9/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via
             Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160
             2312 6397. (Hokanson, Jeffrey) (Entered: 09/08/2022)

       472   Minute Entry/Order: re: Continued Video Hearing on Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M.           09/08/2022
             Carr and Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III) Granting Related
             Relief and Supplement thereto with limited Objections filed by: Committee Tort Claimants - CAE Committee, Ad Hoc Committee of
             CAEv2 Earplug Claimants, Unsecured Creditor Committee - Respirators and Response of Bellwether Plaintiffs Adkins and Vaughn
             (re: Doc # 420,456,442,445,446,447). Disposition: Video Hearing held. Objections are denied as moot and Debtors' Motion is
             granted as modified in open Court. Counsel for Debtor to submit order within 3 days. Court addresses Motion for Relief from
             Judgment/Order Pursuant to Fed.R.Bankr.P. 9024 filed by Creditor Committee Tort Claimants - CAE Committee 470 re: Order
             Granting Motion for Expedited Hearing and Shortened Notice Time entered on 9/8/22. Court grants Motion and vacates order
             setting the matter on the 9/14/22 omnibus hearing date. Court grants Debtors' Motion to Expedite and will hear matter on 9/20/22 at
             9:00 am via Zoom. Counsel for Debtor to submit Amended Order and Notice. (hhd) (Entered: 09/08/2022)

       473   Request for Transcript filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc #            09/08/2022
             472). (Theisen, Meredith) (Entered: 09/08/2022)

       474   Order Granting Motion for Relief from Judgment/Order Pursuant to Fed.R.Bankr.P. 9024 (re: Doc # 470). The Clerk's Office will            09/08/2022
             distribute this order. (hhd) (Entered: 09/08/2022)

       475   Acknowledgement of Transcript Request (re: Doc # 473). The transcript request was received 9/8/2022. The transcript is expected          09/08/2022
             by 9/9/2022. (Bowen, James) (Entered: 09/08/2022)

       476   Notice of Hearing re: Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and        09/08/2022
             Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters, (II) Referring Such Matters to
             Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting Related Relief, filed by Jeffrey A
             Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 466). Objections due by 4:00 PM Eastern on 9/16/2022. Hearing
             to be held on 9/20/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but
             not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. (Hokanson, Jeffrey)
             (Entered: 09/08/2022)

       477   Order Granting Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and Randi         09/09/2022
             S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III) Granting Related Relief (re: Doc #
             420). Attorney for the debtor must distribute this order. (cmm) (Entered: 09/09/2022)

       478   Order Granting Motion for Expedited Hearing and Shortened Notice Time (re: Doc #467). Hearing to be held on 9/20/2022 at 09:00           09/09/2022
             AM Eastern via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666,
             Meeting ID 160 2312 6397. Objections due by 4:00 PM Eastern on 9/16/2022. Attorney for the debtor must distribute this order.
             (cmm) (Entered: 09/09/2022)

       479   Notice of Submission / Notice of Filing 503(B)(9) Report filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC          09/09/2022
             (re: Doc # 149, 334). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 09/09/2022)

       480   Certificate of Service re: Order on Corrected Motion to Appear Pro Hac Vice, filed by D. Todd Mathews on behalf of Creditor Bailey       09/09/2022
             Glasser Plaintiffs (re: Doc # 457). (Mathews, D.) (Entered: 09/09/2022)

       481   Amended Notice of Hearing with Certificate of Service re: Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing    09/09/2022
             the Honorable James M. Carr and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related
             Matters, (II) Referring Such Matters to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV)
             Granting Related Relief, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 476). Objections due
             by 4:00 PM Eastern on 9/16/2022. Hearing to be held on 9/20/2022 at 09:00 AM Eastern via Zoom. Parties that wish to listen but
             not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. (Hokanson, Jeffrey)
             (Entered: 09/09/2022)



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       482   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 9/7/2022. The transcript may be viewed at the          09/09/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 465). Remote electronic access to the transcript is restricted until 12/08/2022. (Bowen, James) (Entered:
             09/09/2022)

       483   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 9/8/2022. The transcript may be viewed at the          09/09/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 473). Remote electronic access to the transcript is restricted until 12/08/2022. (Bowen, James) (Entered:
             09/09/2022)

       484   BNC Certificate of Service - ORDER (re: Doc # 474). No. of Notices: 10 Notice Date 09/10/2022. (Admin) (Entered: 09/11/2022)           09/10/2022

       485   Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 174, 368).                09/11/2022
             (Attachments: (1) Exhibit A - Proposed Order) (Hokanson, Jeffrey) (Entered: 09/11/2022) [Granted by # 500
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2234Kdm_idV43838621Kdoc_numV500Kpdf_headerV1');]

       486   Notice of Withdrawal as Attorney filed by Meredith R. Theisen on behalf of Interested Party Seeger Weiss, LLP. (Theisen, Meredith)     09/12/2022
             (Entered: 09/12/2022)

       487   Notice of Withdrawal as Attorney filed by Deborah Caruso on behalf of Interested Party Seeger Weiss, LLP. (Caruso, Deborah)            09/12/2022
             (Entered: 09/12/2022)

       488   Notice of Withdrawal as Attorney filed by Melanie Louise Cyganowski on behalf of Interested Party Seeger Weiss, LLP.                   09/12/2022
             (Cyganowski, Melanie) (Entered: 09/12/2022)

       489   Notice of Withdrawal as Attorney filed by John Bougiamas on behalf of Interested Party Seeger Weiss, LLP. (Bougiamas, John)            09/12/2022
             (Entered: 09/12/2022)

       490   Notice of Withdrawal as Attorney filed by Robert C Yan on behalf of Interested Party Seeger Weiss, LLP. (Yan, Robert) (Entered:        09/12/2022
             09/12/2022)

       491   Notice of Withdrawal as Attorney filed by Nir Maoz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC. (Maoz,     09/12/2022
             Nir) (Entered: 09/12/2022)

       492   Declaration of the Honorable James M. Carr (re: Doc # 477). (nar) (Entered: 09/12/2022)                                                09/12/2022

       493   Notice of Withdrawal as Attorney filed by Adam C. Silverstein on behalf of Interested Party Seeger Weiss, LLP. (Silverstein, Adam)     09/12/2022
             (Entered: 09/12/2022)

       494   Notice of Withdrawal as Attorney filed by Michael L. Tuchin on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC.   09/12/2022
             (Tuchin, Michael) (Entered: 09/12/2022)

       495   Notice of Withdrawal as Attorney filed by Jennifer S. Feeney on behalf of Interested Party Seeger Weiss, LLP. (Feeney, Jennifer)       09/12/2022
             (Entered: 09/12/2022)

       496   Notice of Withdrawal as Attorney filed by Robert J Pfister on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC.    09/12/2022
             (Pfister, Robert) (Entered: 09/12/2022)

       497   Notice of Withdrawal as Attorney filed by Thomas E Patterson on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz,        09/12/2022
             PLLC. (Patterson, Thomas) (Entered: 09/12/2022)

       498   Notice of Withdrawal as Attorney filed by Sasha M. Gurvitz on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz, PLLC.    09/12/2022
             (Gurvitz, Sasha) (Entered: 09/12/2022)

       499   Notice of Withdrawal as Attorney filed by Ariella Thal Simonds on behalf of Interested Party Aylstock, Witkin, Kreis & Overholtz,      09/12/2022
             PLLC. (Thal Simonds, Ariella) (Entered: 09/12/2022)

       500   Order Granting Motion to Continue Hearing (re: Doc # 485). Hearing to be held on 10/12/2022 at 09:00 AM Eastern in Rm 311 U.S.         09/12/2022
             Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373
             or 646-828-7666, Meeting ID 160 2312 6397. Attorney for the debtor must distribute this order. (cmm) (Entered: 09/12/2022)

       501   Certificate of Service re: Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr     09/12/2022
             and Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III) Granting Related Relief,
             Motion for Expedited Hearing and/or Shortened Notice Time on Motion for Authority / Debtors' Motion for Entry of an Order (I)
             Appointing the Honorable James M. Carr and Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the
             Mediation, and (III) Granting Related Relief, Order on Motion for Expedited Hearing and/or Shortened Notice Time, Notice of
             Hearing with Certificate of Service re: Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable
             James M. Carr and Randi S. Ellis as Co-Mediators, (II) Authorizing the Debtors to Participate in the Mediation, and (III) Granting
             Related Relief, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 420, 421, 422, 423). (Baer, Herbert)
             (Entered: 09/12/2022)

       502   Disclosure of Compensation of Attorney for Debtor filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.              09/13/2022
             (Hokanson, Jeffrey) (Entered: 09/13/2022)

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       503   Disclosure of Compensation of Attorney for Debtor filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.                 09/13/2022
             (Hokanson, Jeffrey) (Entered: 09/13/2022)

       504   Disclosure of Compensation of Attorney for Debtor filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.                 09/13/2022
             (Hokanson, Jeffrey) (Entered: 09/13/2022)

       505   Income & Expense Statement filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson, Jeffrey)                    09/13/2022
             (Entered: 09/13/2022)

       506   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Pauline McTernan on behalf of Creditor Official Committee of             09/13/2022
             Unsecured Creditors for Tort. (Attachments: (1) Exhibit A.) (McTernan, Pauline) (Entered: 09/13/2022) [Granted by # 513
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2299Kdm_idV43844664Kdoc_numV513Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                09/13/2022
             Fee amount 100.00 (re: Doc # 506). (U.S. Treasury) (Entered: 09/13/2022)

       507   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Tabitha De Paulo on behalf of Debtor Aearo Technologies LLC.             09/13/2022
             (Attachments: (1) Exhibit A) (De Paulo, Tabitha) (Entered: 09/13/2022) [Granted by # 527
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2333Kdm_idV43847433Kdoc_numV527Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                09/13/2022
             Fee amount 100.00 (re: Doc # 507). (U.S. Treasury) (Entered: 09/13/2022)

       508   Verification of Creditor List filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Main              09/13/2022
             Document (cont.) Part 2 (2) Main Document (cont.) Part 3) (Hokanson, Jeffrey) (Entered: 09/13/2022)

       509   Notice of Submission / Agenda for Hearing on Debtors' (I) Motion to Lift the Automatic Stay, (II) Certain First Day Motions, and (III)    09/13/2022
             Certain Motions Regarding Retention and Compensation Matters on September 14, 2022, at 9:00 A.M (Prevailing Eastern Time)
             filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 20, 22, 23, 25, 54, 64, 66, 306, 307, 343, 363,
             408). (Hokanson, Jeffrey) (Entered: 09/13/2022)

       510   CORRECTED ENTRY: Comment of Official Respirator Committee to the Debtors' Motion for Entry of an Order (I) Appointing the                 09/13/2022
             Honorable James M. Carr and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters,
             (II) Referring Such Matters to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting
             Related Relief filed by Michael Richard Rochelle on behalf of Creditor Unsecured Creditor Committee - Respirators (re: Doc # 466)
             (Rochelle, Michael) ORIGINAL ENTRY: Reply to Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the
             Honorable James M. Carr and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters,
             (II) Referring Such Matters to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting
             Related Relief filed by Michael Richard Rochelle on behalf of Creditor Unsecured Creditor Committee - Respirators (re: Doc # 466).
             (Rochelle, Michael) Modified on 9/14/2022. (cmm) (Entered: 09/13/2022)

       511   Certificate of Service re: Reply to Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James       09/13/2022
             M. Carr and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters, (II) Referring Such
             Matters to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting Related Relief, filed by
             Michael Richard Rochelle on behalf of Creditor Unsecured Creditor Committee - Respirators (re: Doc # 510). (Rochelle, Michael)
             (Entered: 09/13/2022)

       512   Adversary Proceeding 22-50068 Closed. (cmm) (Entered: 09/13/2022)                                                                         09/13/2022

       513   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 506). Attorney for Creditor Official Committee of Unsecured Creditors for         09/13/2022
             Tort must distribute this order. (hhd) (Entered: 09/13/2022)

       514   Notice of Withdrawal as Attorney filed by Kevin C Maclay on behalf of Interested Party Cory Watson, P.C. (Maclay, Kevin) (Entered:        09/13/2022
             09/13/2022)

       515   Notice of Withdrawal as Attorney filed by Kevin C Maclay on behalf of Interested Party Heninger Garrison Davis, LLC. (Maclay,             09/13/2022
             Kevin) (Entered: 09/13/2022)

       516   Notice of Withdrawal as Attorney filed by Kevin C Maclay on behalf of Interested Party The Gori Law Firm, P.C. (Maclay, Kevin)            09/13/2022
             (Entered: 09/13/2022)

       517   Notice of Withdrawal as Attorney filed by Todd E. Phillips on behalf of Interested Party Cory Watson, P.C. (Phillips, Todd) (Entered:     09/13/2022
             09/13/2022)

       518   Notice of Withdrawal as Attorney filed by Kevin M Davis on behalf of Interested Party Cory Watson, P.C. (Davis, Kevin) (Entered:          09/13/2022
             09/13/2022)

       519   Notice of Withdrawal as Attorney filed by James Wehner on behalf of Interested Party Cory Watson, P.C. (Wehner, James)                    09/13/2022
             (Entered: 09/13/2022)

       520   Notice of Withdrawal as Attorney filed by James Wehner on behalf of Interested Party Heninger Garrison Davis, LLC. (Wehner,               09/13/2022
             James) (Entered: 09/13/2022)


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       521   Notice of Withdrawal as Attorney filed by James Wehner on behalf of Interested Party The Gori Law Firm, P.C. (Wehner, James)            09/13/2022
             (Entered: 09/13/2022)

       522   Notice of Withdrawal as Attorney filed by Todd E. Phillips on behalf of Interested Party Heninger Garrison Davis, LLC. (Phillips,       09/13/2022
             Todd) (Entered: 09/13/2022)

       523   Notice of Withdrawal as Attorney filed by Todd E. Phillips on behalf of Interested Party The Gori Law Firm, P.C. (Phillips, Todd)       09/13/2022
             (Entered: 09/13/2022)

       524   Notice of Withdrawal as Attorney filed by Kevin M Davis on behalf of Interested Party Heninger Garrison Davis, LLC. (Davis, Kevin)      09/13/2022
             (Entered: 09/13/2022)

       525   Notice of Withdrawal as Attorney filed by Kevin M Davis on behalf of Interested Party The Gori Law Firm, P.C. (Davis, Kevin)            09/13/2022
             (Entered: 09/13/2022)

       526   Declaration re: Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and Randi       09/13/2022
             S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters, (II) Referring Such Matters to
             Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting Related Relief filed by Jeffrey A
             Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 466). (Hokanson, Jeffrey) (Entered: 09/13/2022)

       527   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 507). Attorney for the debtor must distribute this order. (hhd) (Entered:       09/14/2022
             09/14/2022)

       528   Minute Entry/Order: re: Hearing on Debtors' Motion for Relief from Stay and Refusal to Waive Hearing Time to Permit Certain             09/14/2022
             Appeals to Proceed (re: Doc # 413). Disposition: Hearing held. Court grants Motion. Counsel for Debtors' to submit order within 7
             days. (hhd) (Entered: 09/14/2022)

       529   Minute Entry/Order: re: Continued Final Hearing on Debtor's First Day Motion for Entry of Interim and Final Orders (I) Authorizing      09/14/2022
             the Debtors to (A) Pay Prepetition Wages, Compensation, and Benefit Obligations and (B) Continue Employee Compensation and
             Benefits Programs, and (II) Granting Related Relief and US Trustee's Objection thereto (re: Doc # 360). Disposition: Hearing held.
             Court accepts proffered testimony of John Castellano. US Trustee's Objection is overruled as moot and Motion is granted as
             modified in open court. Counsel for Debtors' to submit order within 7 days. (hhd) (Entered: 09/14/2022)

       530   Minute Entry/Order: re: Continued Final Hearing on Debtor's First Day Motion for Entry of Interim and Final Orders (I) Authorizing      09/14/2022
             the Debtors to Pay Prepetition Claims of Specified Trade Claimants, (II) Granting Administrative Expense Priority to All Undisputed
             Obligations on Account of Outstanding Orders, and (III) Granting Related Relief and US Trustee's Objection thereto (re: Doc #
             25,53,54). Disposition: Hearing held. Court accepts proffered testimony of John Castellano. US Trustee's Objection is overruled as
             moot and Motion is granted as modified in open court. Counsel for Debtors' to submit order within 7 days. (hhd) (Entered:
             09/14/2022)

       531   Minute Entry/Order: re: Continued Final Hearing on Debtor's Amended First Day Motion for Approval of Cash Management System             09/14/2022
             (Bank Accounts/Business Forms) and US Trustee's Objection thereto (re: Doc # 23,64). Disposition: Hearing held. Motion is
             granted on a final basis as modified in open court. Counsel for Debtors' to submit order within 7 days. (hhd) (Entered: 09/14/2022)

       532   Minute Entry/Order: re: Continued Final Hearing on Debtor's First Day Motion for Entry of Interim and Final Orders (I) Authorizing      09/14/2022
             the Debtors to (A) Maintain Their Prepetition Insurance Coverage and Satisfy Prepetition Obligations Related Thereto, (B) Continue
             to Pay Certain Brokerage Fees, and (C) Renew, Supplement, Modify, or Purchase Insurance and Reinsurance Coverage, (II)
             Approving Continuation of Their Surety Bond Program, and (III) Granting Related Relief (re: Doc # 22,53). Disposition: Hearing
             held. Motion is granted on a final basis as modified in open court. Counsel for Debtors' to submit order within 7 days.(hhd)
             (Entered: 09/14/2022)

       533   Minute Entry/Order: re:Continued Final Hearing on Debtor's First Day Motion to Pay Pre-Petition Trust Fund Taxes (re: Doc #             09/14/2022
             21,53). Disposition: Hearing held. Motion is granted on a final basis as modified in open court. Counsel for Debtors' to submit order
             within 7 days. (hhd) (Entered: 09/14/2022)

       534   Minute Entry/Order: re: Order on Continued Final Hearing on Debtor's First Day Motion to Provide Adequate Assurance to Utilities        09/14/2022
             (re: Doc # 24,53). Disposition: Hearing held. Motion is granted on a final basis as modified in open court. Counsel for Debtors' to
             submit order within 7 days. (hhd) (Entered: 09/14/2022)

       535   Minute Entry/Order: re:Hearing on Debtor's Motion to Establish Procedures for Interim Compensation and Reimbursement of                 09/14/2022
             Expenses re: Retained Professionals and Limited Objection thereto filed by Ad Hoc Committee of CAEv2 Earplug Claimants (re:
             Doc # 306, 463). Disposition: Hearing held. Objection is overruled as moot and Motion is granted as modified in open court.
             Counsel for Debtors' to submit order within 7 days. (hhd) (Entered: 09/14/2022)

       536   Minute Entry/Order: re: Hearing on Debtors' Motion for Entry of an Order Authorizing the Debtors to Retain and Compensate               09/14/2022
             Professionals Utilized in the Ordinary Course of Business (re: Doc # 307). Disposition: Hearing held. Motion is granted as modified
             in open court. Counsel for Debtors' to submit order within 7 days. (hhd) (Entered: 09/14/2022)

       537   Final Order (I) Authorizing the Debtors to Pay Prepetition Claims of 503(B)(9) Claimants and Critical Vendors, (II) Granting            09/14/2022
             Administrative Expense Priority to All Undisputed Obligations on Account of Outstanding Orders, and (III) Granting Related Relief
             (re: Doc # 25). Attorney for the debtor must distribute this order. (cmm) (Entered: 09/14/2022)



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       538   Request for Transcript filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc #          09/14/2022
             528). (Theisen, Meredith) (Entered: 09/14/2022)

       539   Order Granting Motion to Provide Adequate Assurance to Utilities (re: Doc # 24). Attorney for the debtor must distribute this order.   09/14/2022
             (cmm) (Entered: 09/14/2022)

       540   Order Granting Motion to Pay Pre-Petition Trust Fund Taxes (re: Doc # 21). Attorney for the debtor must distribute this order. (cmm)   09/14/2022
             (Entered: 09/14/2022)

       541   Order Granting Motion to Establish Procedures for Interim Compensation and Reimbursement of Expenses re: Retained                      09/14/2022
             Professionals (re: Doc # 306). Attorney for the debtor must distribute this order. (cmm) (Entered: 09/14/2022)

       542   Final Order (I) Authorizing the Debtors to (A) Maintain Their Prepetition Insurance Coverage and Satisfy Prepetition Obligations       09/14/2022
             Related Thereto, (B) Continue to Pay Certain Brokerage Fees, and (C) Renew, Supplement, Modify, or Purchase Insurance and
             Reinsurance Coverage, (II) Approving Continuation of Their Surety Bond Program, and (III) Granting Related Relief (re: Doc # 22).
             Attorney for the debtor must distribute this order. (cmm) (Entered: 09/14/2022)

       543   Order Granting Motion for Approval of Cash Management System (Bank Accounts/Business Forms) (re: Doc # 23). Attorney for the           09/14/2022
             debtor must distribute this order. (cmm) (Entered: 09/14/2022)

       544   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Dania Slim on behalf of Interested Party American Optical             09/14/2022
             Corporation. (Slim, Dania) (Entered: 09/14/2022) [Granted by # 549
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2406Kdm_idV43851949Kdoc_numV549Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.             09/14/2022
             Fee amount 100.00 (re: Doc # 544). (U.S. Treasury) (Entered: 09/14/2022)

       545   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Leo T. Crowley on behalf of Interested Party American Optical         09/14/2022
             Corporation. (Crowley, Leo) (Entered: 09/14/2022) [Granted by # 550
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2408Kdm_idV43851978Kdoc_numV550Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.             09/14/2022
             Fee amount 100.00 (re: Doc # 545). (U.S. Treasury) (Entered: 09/14/2022)

       546   Order Authorizing the Debtors to Retain and Compensate Professionals Utilized in the Ordinary Course of Business (re: Doc #            09/15/2022
             307). Attorney for the debtor must distribute this order. (cmm) (Entered: 09/15/2022)

       547   Final Order (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Compensation, and Benefit Obligations and (B) Continue           09/15/2022
             Employee Compensation and Benefits Programs, and (II) Granting Related Relief (re: Doc # 20). Attorney for the debtor must
             distribute this order. (cmm) (Entered: 09/15/2022)

       548   Order Granting Motion of the Debtors to Lift the Automatic Stay to Permit Certain Appeals to Proceed (re: Doc # 413). Attorney for     09/15/2022
             the debtor must distribute this order. (cmm) (Entered: 09/15/2022)

       549   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 544). Attorney for Interested Party American Optical Corporation must          09/15/2022
             distribute this order. (hhd) (Entered: 09/15/2022)

       550   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 545). Attorney for Interested Party American Optical Corporation must          09/15/2022
             distribute this order. (hhd) (Entered: 09/15/2022)

       551   Notice of Withdrawal as Attorney filed by Rachel C. Strickland on behalf of Interested Party The Monsour Law Firm. (Strickland,        09/15/2022
             Rachel) (Entered: 09/15/2022)

       552   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Michael R Maizel on behalf of Creditor Official Committee of          09/15/2022
             Unsecured Creditors for Tort. (Maizel, Michael) (Entered: 09/15/2022) [Granted by # 554
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2423Kdm_idV43855730Kdoc_numV554Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.             09/15/2022
             Fee amount 100.00 (re: Doc # 552). (U.S. Treasury) (Entered: 09/15/2022)

       553   Appearance filed by John R. Humphrey on behalf of Creditor Cabot CSC LLC. (Humphrey, John) (Entered: 09/15/2022)                       09/15/2022

       554   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 552). Attorney for Creditor Official Committee of Unsecured Creditors for      09/16/2022
             Tort must distribute this order. (hhd) (Entered: 09/16/2022)




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       555   Certificate of Service re: Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr        09/16/2022
             and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters, (II) Referring Such Matters
             to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting Related Relief, Motion for
             Expedited Hearing and/or Shortened Notice Time on Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the
             Honorable James M. Carr and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters,
             (II) Referring Such Matters to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting
             Related Relief, Order on Motion to Refer to Mediation, Order on Motion for Expedited Hearing and/or Shortened Notice Time,
             Amended Notice of Hearing with Certificate of Service re: Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing
             the Honorable James M. Carr and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related
             Matters, (II) Referring Such Matters to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV)
             Granting Related Relief, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 466, 467, 477, 478, 481).
             (Baer, Herbert) (Entered: 09/16/2022)

       556   Supplemental Certificate of Service re: Notice of 341 Meeting of Creditors re: Chapter 11, filed by Noticing Agent on behalf of           09/16/2022
             Debtor Aearo Technologies LLC (re: Doc # 292). (Baer, Herbert) (Entered: 09/16/2022)

       557   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Michael S. Winograd on behalf of Creditor Committee Tort                 09/16/2022
             Claimants - CAE Committee. (Attachments: (1) Affidavit) (Winograd, Michael) (Entered: 09/16/2022) [Granted by # 585
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2536Kdm_idV43864813Kdoc_numV585Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                09/16/2022
             Fee amount 100.00 (re: Doc # 557). (U.S. Treasury) (Entered: 09/16/2022)

       558   Appearance filed by Leo T. Crowley on behalf of Interested Party American Optical Corporation. (Crowley, Leo) (Entered:                   09/16/2022
             09/16/2022)

       559   Appearance filed by Dania Slim on behalf of Interested Party American Optical Corporation. (Slim, Dania) (Entered: 09/16/2022)            09/16/2022

       560   Response in Support of Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr            09/16/2022
             and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters, (II) Referring Such Matters
             to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting Related Relief filed by John R.
             Humphrey on behalf of Creditor Cabot CSC LLC (re: Doc # 466). (Humphrey, John) (Entered: 09/16/2022)

       561   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Paul M. Green on behalf of Creditor Cabot CSC LLC. (Green, Paul)         09/16/2022
             (Entered: 09/16/2022) [Granted by # 586
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2538Kdm_idV43865086Kdoc_numV586Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.                09/16/2022
             Fee amount 100.00 (re: Doc # 561). (U.S. Treasury) (Entered: 09/16/2022)

       562   Response in Support of Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr            09/16/2022
             and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters, (II) Referring Such Matters
             to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting Related Relief filed by Dania
             Slim on behalf of Interested Party American Optical Corporation (re: Doc # 466). (Attachments: (1) Declaration of Dania Slim with
             Exhibits A and B (2) Certificate of Service) (Slim, Dania) (Entered: 09/16/2022)

       563   Certificate of Service re: Order on Motion to Appear Pro Hac Vice, Order on Motion to Appear Pro Hac Vice, filed by Dania Slim on         09/16/2022
             behalf of Interested Party American Optical Corporation (re: Doc # 549, 550). (Slim, Dania) (Entered: 09/16/2022)

       564   Limited Objection to Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the Honorable James M. Carr and          09/16/2022
             Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters, (II) Referring Such Matters to
             Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting Related Relief filed by Meredith R.
             Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 466). (Attachments: (1) Exhibit A - Alternative
             Proposed Order) (Theisen, Meredith) (Entered: 09/16/2022)

       565   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 9/14/2022. The transcript may be viewed at the            09/16/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 538). Remote electronic access to the transcript is restricted until 12/15/2022. (Bowen, James) (Entered:
             09/16/2022)

       566   Application to Employ Otterbourg P.C. as Creditor Comm. Aty (Verified Statement attached), filed by Meredith R. Theisen on behalf         09/16/2022
             of Creditor Committee Tort Claimants - CAE Committee. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Cyganowski
             Declaration (3) Exhibit C - Freeman Declaration) (Theisen, Meredith) (Entered: 09/16/2022) [Granted by # 667
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2898Kdm_idV43944248Kdoc_numV667Kpdf_headerV1');]

       567   Application to Employ KTBS Law LLP as Creditor Comm. Aty (Verified Statement attached), filed by Meredith R. Theisen on behalf            09/16/2022
             of Creditor Committee Tort Claimants - CAE Committee. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Pfister
             Declaration (3) Exhibit C - Freeman Declaration) (Theisen, Meredith) (Entered: 09/16/2022) [Granted by # 668
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2900Kdm_idV43944276Kdoc_numV668Kpdf_headerV1');]




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       568   Application to Employ Rubin & Levin, P.C. as Creditor Comm. Aty (Verified Statement attached), filed by Meredith R. Theisen on           09/16/2022
             behalf of Creditor Committee Tort Claimants - CAE Committee. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Theisen
             Declaration (3) Exhibit C - Parker Freeman Declaration) (Theisen, Meredith) (Entered: 09/16/2022) [Granted by # 669
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2902Kdm_idV43944307Kdoc_numV669Kpdf_headerV1');]

       569   Certificate of Service re: Application to Employ, Application to Employ, Application to Employ, filed by Meredith R. Theisen on behalf   09/16/2022
             of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 566, 567, 568). (Theisen, Meredith) (Entered: 09/16/2022)

       570   Notice of Hearing with Certificate of Service re: Application to Employ, Application to Employ, Application to Employ, filed by          09/16/2022
             Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 566, 567, 568). Objections due
             by 4:00 PM Eastern on 10/5/2022. Hearing to be held on 10/12/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis
             and via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666,
             Meeting ID 160 2312 6397. (Theisen, Meredith) (Entered: 09/16/2022)

       571   Application to Employ Caplin & Drysdale, Chartered as Creditor Comm. Aty (Verified Statement attached), filed by Meredith R.             09/16/2022
             Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit
             B - Maclay Declaration (3) Exhibit C - Freeman Declaration) (Theisen, Meredith) (Entered: 09/16/2022) [Granted by # 670
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2904Kdm_idV43944330Kdoc_numV670Kpdf_headerV1');]

       572   Certificate of Service re: Application to Employ, filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE      09/16/2022
             Committee (re: Doc # 571). (Theisen, Meredith) (Entered: 09/16/2022)

       573   Notice of Hearing with Certificate of Service re: Application to Employ, filed by Meredith R. Theisen on behalf of Creditor Committee    09/16/2022
             Tort Claimants - CAE Committee (re: Doc # 571). Objections due by 4:00 PM Eastern on 10/5/2022. Hearing to be held on
             10/12/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively
             participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. (Theisen, Meredith) (Entered:
             09/16/2022)

       574   Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 476, 481).                  09/19/2022
             (Attachments: (1) Exhibit A - Proposed Order) (Hokanson, Jeffrey) (Entered: 09/19/2022) [Granted by # 580
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2519Kdm_idV43863007Kdoc_numV580Kpdf_headerV1');]

       575   Appearance filed by Maggie B. Burrus on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants. (Burrus,                 09/19/2022
             Maggie) (Entered: 09/19/2022)

       576   Appearance filed by Brian A Glasser on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants. (Glasser, Brian)          09/19/2022
             (Entered: 09/19/2022)

       577   Appearance filed by D. Todd Mathews on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants. (Mathews, D.)             09/19/2022
             (Entered: 09/19/2022)

       578   Appearance filed by David L. Selby II on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants. (Selby, David)          09/19/2022
             (Entered: 09/19/2022)

       579   Appearance filed by Kevin W Barrett on behalf of Interested Party Ad Hoc Committee of CAEv2 Earplug Claimants. (Barrett, Kevin)          09/19/2022
             (Entered: 09/19/2022)

       580   Order Granting Motion to Continue Hearing (re: Doc # 574). Hearing to be held on 10/12/2022 at 09:00 AM Eastern in Rm 311 U.S.           09/19/2022
             Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373
             or 646-828-7666, Meeting ID 160 2312 6397. Attorney for the debtor must distribute this order. (cmm) (Entered: 09/19/2022)

       581   Amended Schedule(s) A/B, D, E/F, G and H (no added creditors) (no added parties) filed by Jeffrey A Hokanson on behalf of Debtor         09/19/2022
             Aearo Technologies LLC. (Attachments: (1) Attachment 1 (2) Attachment 2 (3) Attachment 3 (4) Attachment 4 (5) Attachment 5)
             (Hokanson, Jeffrey) (Entered: 09/19/2022)

             Receipt of Amended Schedule(s)( 22-02890-JJG-11) [misc,amdsch] (32.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount                  09/19/2022
             32.00 (re: Doc # 581). (U.S. Treasury) (Entered: 09/19/2022)

       582   Motion to Extend Time to File / Debtors' Motion for Entry of an Order (I) Enlarging the Period within which the Debtors May Remove       09/19/2022
             Civil Actions and (II) Granting Related Relief filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.
             (Attachments: (1) Exhibit A - Proposed Order) (Hokanson, Jeffrey) (Entered: 09/19/2022) [Granted by # 674
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2913Kdm_idV43945032Kdoc_numV674Kpdf_headerV1');]

       583   Certificate of Service re: Motion to Continue Hearing, Trial, Pretrial Conference or Status Conference, Order on Motion to Continue      09/19/2022
             Hearing, Trial, Pretrial Conference or Status Conference, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re:
             Doc # 485, 500). (Baer, Herbert) (Entered: 09/19/2022)

       584   Certificate of Service re: Notice of Submission / Agenda for Hearing on Debtors' (I) Motion to Lift the Automatic Stay, (II) Certain     09/19/2022
             First Day Motions, and (III) Certain Motions Regarding Retention and Compensation Matters on September 14, 2022, at 9:00 A.M
             (Prevailing Eastern Time), filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 509). (Baer, Herbert)
             (Entered: 09/19/2022)



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       585   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 557). Attorney for Creditor Committee Tort Claimants - CAE Committee             09/20/2022
             must distribute this order. (hhd) (Entered: 09/20/2022)

       586   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 561). Attorney for Creditor Cabot CSC LLC must distribute this order.            09/20/2022
             (hhd) (Entered: 09/20/2022)

       587   Notice of Hearing with Certificate of Service re: Motion to Extend Time to File Miscellaneous Documents/Installment Payment, filed       09/20/2022
             by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 582). Objections due by 4:00 PM Eastern on
             10/5/2022. Hearing to be held on 10/12/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties
             that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397.
             (Hokanson, Jeffrey) (Entered: 09/20/2022)

       588   Application to Employ Brown Rudnick LLP as Special Counsel (Verified Statement attached), filed by Meredith R. Theisen on                09/21/2022
             behalf of Creditor Committee Tort Claimants - CAE Committee. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B -
             Castaldi Declaration (3) Exhibit C - Freeman Declaration) (Theisen, Meredith) (Entered: 09/21/2022) [Granted by # 671
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2906Kdm_idV43944357Kdoc_numV671Kpdf_headerV1');]

       589   Notice of Hearing with Certificate of Service re: Application to Employ, filed by Meredith R. Theisen on behalf of Creditor Committee    09/21/2022
             Tort Claimants - CAE Committee (re: Doc # 588). Objections due by 4:00 PM Eastern on 10/5/2022. Hearing to be held on
             10/12/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively
             participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. (Theisen, Meredith) (Entered:
             09/21/2022)

       590   Chapter 11 Report of Operations for August 2022 filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.                  09/21/2022
             (Attachments: (1) Exhibit Global Notes) (Hokanson, Jeffrey) (Entered: 09/21/2022)

       591   Certificate of Service re: Order on Motion for Authority, Order on Motion to Provide Adequate Assurance to Utilities, Order on           09/23/2022
             Motion to Pay Pre-Petition Trust Fund Taxes, Order on Motion to Establish Procedures for Interim Compensation and
             Reimbursement of Expenses, Order on Motion for Authority, Order on Motion for Approval of Cash Management System (Bank
             Accounts/Business Forms), filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 537, 539, 540, 541, 542,
             543). (Baer, Herbert) (Entered: 09/23/2022)

       592   Certificate of Service re: Order on Motion for Authority, Order on Motion to Provide Adequate Assurance to Utilities, Order on           09/23/2022
             Motion to Pay Pre-Petition Trust Fund Taxes, Order on Motion to Establish Procedures for Interim Compensation and
             Reimbursement of Expenses, Order on Motion for Authority, Order on Motion for Approval of Cash Management System (Bank
             Accounts/Business Forms), Order on Motion for Authority, Order on Motion for Authority, Order on Motion for Relief from Stay, filed
             by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 537, 539, 540, 541, 542, 543, 546, 547, 548). (Baer,
             Herbert) (Entered: 09/23/2022)

       593   Supplemental Certificate of Service re: Notice of 341 Meeting of Creditors re: Chapter 11, filed by Noticing Agent on behalf of          09/23/2022
             Debtor Aearo Technologies LLC (re: Doc # 292). (Baer, Herbert) (Entered: 09/23/2022)

       594   Appearance filed by Curt Derek Hochbein on behalf of Creditor Unsecured Creditor Committee - Respirators. (Hochbein, Curt)               09/23/2022
             (Entered: 09/23/2022)

       595   Agreed Motion for Relief from Stay and Refusal to Waive Hearing Time filed by Jeffrey A Hokanson on behalf of Debtor Aearo               09/23/2022
             Technologies LLC. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Stipulation) (Hokanson, Jeffrey) (Entered:
             09/23/2022) [Amended by # 597
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2596Kdm_idV43884958Kdoc_numV597Kpdf_headerV1');]

       596   Notice of Incomplete Filing issued to Jeffrey Hokanson. Failure to file required item(s) by the due date may result in the striking of   09/26/2022
             the incomplete filing, the dismissal of the Bankruptcy case without further notice, or other action as the Court deems appropriate.
             Required item(s): A $188.00 filing fee is due for the Motion for Relief from Stay filed on 09/23/2022. (re: Doc # 595). Incomplete
             Filing due by 10/03/2022. (Admin) (Entered: 09/26/2022)

             Receipt of Motion for Relief from Stay( 22-02890-JJG-11) [motion,mrlfsty] (188.00) Filing Fee. Receipt number AXXXXXXXX. Fee             09/26/2022
             amount 188.00 (re: Doc # 595). Deadline terminated: Notice of Incomplete Filing (596). (U.S. Treasury) (Entered: 09/26/2022)

       597   Amended Motion for Approval of Agreement to Modify or Terminate Stay Pursuant to Fed.R.Bankr.P. 4001(d) filed by Jeffrey A               09/26/2022
             Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 595). (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B -
             Stipulation) (Hokanson, Jeffrey) (Entered: 09/26/2022) [Granted by # 673
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2911Kdm_idV43944931Kdoc_numV673Kpdf_headerV1');]

       598   Declaration re: Order on Motion for Authority filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc #          09/26/2022
             546). (Hokanson, Jeffrey) (Entered: 09/26/2022)

       599   Notice of Withdrawal as Attorney filed by Andrew T Kight on behalf of Interested Party Weitz & Luxenberg, PC. (Kight, Andrew)            09/27/2022
             (Entered: 09/27/2022)

       600   Notice of Withdrawal as Attorney filed by Michael W. Hile on behalf of Interested Party Weitz & Luxenberg, PC. (Hile, Michael)           09/27/2022
             (Entered: 09/27/2022)



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       601   Supplemental Certificate of Service re: Notice of 341 Meeting of Creditors re: Chapter 11, filed by Noticing Agent on behalf of          09/27/2022
             Debtor Aearo Technologies LLC (re: Doc # 292). (Baer, Herbert) (Entered: 09/27/2022)

       602   Certificate of Service re: Motion to Continue Hearing, Order on Motion to Continue Hearing, Trial, Pretrial Conference or Status         09/27/2022
             Conference, Motion to Extend Time to File Miscellaneous Documents/Installment Payment, Hearing Notice, filed by Noticing Agent
             on behalf of Debtor Aearo Technologies LLC (re: Doc # 574, 580, 582, 587). (Baer, Herbert) (Entered: 09/27/2022)

       603   Notice of Hearing with Certificate of Service re: Motion for Approval of Agreement Pursuant to FRBP 4001(d), filed by Jeffrey A          09/28/2022
             Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 597). Hearing to be held on 10/12/2022 at 09:00 AM Eastern in
             Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do so by phone at
             551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397 if an objection is timely filed. Objections due by 4:00 PM Eastern on
             10/9/2022. (Hokanson, Jeffrey) CORRECTION: Objection deadline changed from 10/11/22 to 10/9/22. Modified on 9/28/2022.
             (cmm) (Entered: 09/28/2022)

       604   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Gregory Mark Gordon on behalf of Creditor Cabot CSC LLC.                09/28/2022
             (Gordon, Gregory) (Entered: 09/28/2022) [Granted by # 605
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2628Kdm_idV43898320Kdoc_numV605Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               09/28/2022
             Fee amount 100.00 (re: Doc # 604). (U.S. Treasury) (Entered: 09/28/2022)

       605   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 604). Attorney for Creditor Cabot CSC LLC must distribute this order.            09/29/2022
             (hhd) (Entered: 09/29/2022)

       606   Joint Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 308).                 09/29/2022
             (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 09/29/2022) [Granted by # 608
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2636Kdm_idV43904411Kdoc_numV608Kpdf_headerV1');]

       607   Amended Order (I) Establishing Certain Notice, Case Management, and Administrative Procedures and (II) Granting Related Relief           09/30/2022
             (re: Doc # 152). (Attachments: (1) Exhibit 1 (2) Exhibit 3) Attorney for the debtor must distribute this order. (btw) (Entered:
             09/30/2022)

       608   Order Granting Motion to Continue Hearing on Certain Debtors' Employment Applications (re: Doc # 606). Hearing on the Kirkland           09/30/2022
             Employment Application and the Bates White Employment Application will held in Rm 311 U.S. Courthouse, Indianapolis at 09:00
             AM Eastern on 10/26/2022 and via Zoom (https://www.zoomgov.com/j/16023126397). Parties that wish to listen but not actively
             participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397 Objections due by 4:00pm on
             10/5/2022. Committee and US Trustee objections due by 4:00pm on 10/19/2022. Replies to Objections due by 4:00pm on
             10/24/2022. Attorney for the debtor must distribute this order. (btw) (Entered: 09/30/2022)

       609   Supplemental Declaration re: Application to Employ filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants -         09/30/2022
             CAE Committee (re: Doc # 566). (Theisen, Meredith) (Entered: 09/30/2022)

       610   Application to Employ Houlihan Lokey Capital, Inc., as Investment Banker as Other Professional (Verified Statement attached),            10/03/2022
             filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee. (Attachments: (1) Exhibit A -
             Proposed Order (2) Exhibit B - Burian Declaration) (Theisen, Meredith) (Entered: 10/03/2022) [Granted by # 786
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3307Kdm_idV44036553Kdoc_numV786Kpdf_headerV1');]

       611   Application to Employ Province, LLC as Financial Advisor (Verified Statement attached), filed by Meredith R. Theisen on behalf of        10/03/2022
             Creditor Committee Tort Claimants - CAE Committee. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Atkinson
             Declaration) (Theisen, Meredith) (Entered: 10/03/2022) [Granted by # 787
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3309Kdm_idV44036591Kdoc_numV787Kpdf_headerV1');]

       612   Certificate of Service re: Application to Employ, Application to Employ, filed by Meredith R. Theisen on behalf of Creditor Committee    10/03/2022
             Tort Claimants - CAE Committee (re: Doc # 610, 611). (Theisen, Meredith) (Entered: 10/03/2022)

       613   Notice of Hearing with Certificate of Service re: Application to Employ, Application to Employ, filed by Meredith R. Theisen on behalf   10/03/2022
             of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 610, 611). Objections due by 4:00 PM Eastern on 11/2/2022.
             Hearing to be held on 11/9/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to
             listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. (Theisen,
             Meredith) (Entered: 10/03/2022)

       614   Notice of Submission / Notice of Filing 503(B)(9) Report filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC          10/03/2022
             (re: Doc # 334, 479, 537). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 10/03/2022)

       615   Certificate of Service re: Motion for Relief from Stay, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc #    10/03/2022
             595). (Baer, Herbert) (Entered: 10/03/2022)

       616   Certificate of Service re: Motion for Approval of Agreement Pursuant to FRBP 4001(d), Declaration re: Order on Motion for                10/03/2022
             Authority, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 597, 598). (Baer, Herbert) (Entered:
             10/03/2022)




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       617   Supplemental Certificate of Service re: Notice of 341 Meeting of Creditors re: Chapter 11, filed by Noticing Agent on behalf of      10/03/2022
             Debtor Aearo Technologies LLC (re: Doc # 292). (Baer, Herbert) (Entered: 10/03/2022)

       618   Certificate of Service re: Amended/Corrected Order, Order on Motion to Continue Hearing, Trial, Pretrial Conference or Status        10/04/2022
             Conference, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 607, 608). (Baer, Herbert) (Entered:
             10/04/2022)

       619   Notice of Submission of Response of the Official Committee of Unsecured Creditors for Tort Claimants - Related to Use of Combat      10/04/2022
             Arms Version 2 Earplugs Reserving Rights with Respect to Debtors' Motion for Entry of an Order (i) Enlarging the Period Within
             Which the Debtors May Remove Civil Actions and (ii) Granting Related Relief filed by Meredith R. Theisen on behalf of Creditor
             Committee Tort Claimants - CAE Committee (re: Doc # 582). (Theisen, Meredith) (Entered: 10/04/2022)

       620   Notice of Submission of Reservation of Rights of the CAE Committee in Response to the Debtors' Motion to Approve a Stipulation       10/04/2022
             Lifting the Automatic Stay as to the Gibsons filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE
             Committee (re: Doc # 597). (Theisen, Meredith) (Entered: 10/04/2022)

       621   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Raymond C Silverman on behalf of Interested Party Ad Hoc            10/04/2022
             Committee of CAEv2 Earplug Claimants. (Silverman, Raymond) (Entered: 10/04/2022) [Amended by # 634
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2762Kdm_idV43923854Kdoc_numV634Kpdf_headerV1');]
             [Corrected by # 629
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2728Kdm_idV43917344Kdoc_numV629Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           10/04/2022
             Fee amount 100.00 (re: Doc # 621). (U.S. Treasury) (Entered: 10/04/2022)

       622   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Harvey Brown II on behalf of Interested Party Ad Hoc Committee of   10/04/2022
             CAEv2 Earplug Claimants. (Brown, Harvey) (Entered: 10/04/2022) [Amended by # 637
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2787Kdm_idV43927219Kdoc_numV637Kpdf_headerV1');]
             [Corrected by # 630
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2733Kdm_idV43917384Kdoc_numV630Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           10/04/2022
             Fee amount 100.00 (re: Doc # 622). (U.S. Treasury) (Entered: 10/04/2022)

       623   Motion to Appear Pro Hac Vice with Affidavit in Support filed by H. Victor Thomas on behalf of Interested Party Ad Hoc Committee     10/04/2022
             of CAEv2 Earplug Claimants. (Thomas, H.) (Entered: 10/04/2022) [Amended by # 638
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2794Kdm_idV43927315Kdoc_numV638Kpdf_headerV1');]
             [Corrected by # 631
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2738Kdm_idV43917402Kdoc_numV631Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.           10/04/2022
             Fee amount 100.00 (re: Doc # 623). (U.S. Treasury) (Entered: 10/04/2022)

       624   Supplemental Declaration re: Application to Employ filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants -     10/05/2022
             CAE Committee (re: Doc # 588). (Theisen, Meredith) (Entered: 10/05/2022)

       625   Supplemental Declaration re: Application to Employ filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants -     10/05/2022
             CAE Committee (re: Doc # 567). (Theisen, Meredith) (Entered: 10/05/2022)

       626   Supplemental Declaration re: Application to Employ, Declaration filed by Meredith R. Theisen on behalf of Creditor Committee Tort    10/05/2022
             Claimants - CAE Committee (re: Doc # 566, 609). (Theisen, Meredith) (Entered: 10/05/2022)

       627   Supplemental Declaration re: Application to Employ filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants -     10/05/2022
             CAE Committee (re: Doc # 568). (Theisen, Meredith) (Entered: 10/05/2022)

       628   Supplemental Declaration re: Application to Employ filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants -     10/05/2022
             CAE Committee (re: Doc # 571). (Theisen, Meredith) (Entered: 10/05/2022)

       629   Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Raymond C Silverman on behalf of Creditor Committee       10/05/2022
             Tort Claimants - CAE Committee (re: Doc # 621). (Silverman, Raymond) (Entered: 10/05/2022) [Amended by # 634
             CMECF.widget.DocLink('document1KcaseidV741797Kde_seq_numV2762Kdm_idV43923854Kdoc_numV634Kpdf_headerV1');]

       630   Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Harvey Brown II on behalf of Creditor Committee Tort      10/05/2022
             Claimants - CAE Committee (re: Doc # 622). (Brown, Harvey) (Entered: 10/05/2022) [Amended by # 637
             CMECF.widget.DocLink('document1KcaseidV741797Kde_seq_numV2787Kdm_idV43927219Kdoc_numV637Kpdf_headerV1');]

       631   Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by H. Victor Thomas on behalf of Creditor Committee Tort     10/05/2022
             Claimants - CAE Committee (re: Doc # 623). (Thomas, H.) (Entered: 10/05/2022) [Amended by # 638
             CMECF.widget.DocLink('document1KcaseidV741797Kde_seq_numV2794Kdm_idV43927315Kdoc_numV638Kpdf_headerV1');]

       632   Supplemental Declaration re: Application to Employ filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re:       10/06/2022
             Doc # 301). (Hokanson, Jeffrey) (Entered: 10/06/2022)


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       633   Certificate of Service re: Hearing Notice, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 603).           10/06/2022
             (Baer, Herbert) (Entered: 10/06/2022)

       634   Amended Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Raymond C Silverman on behalf of Creditor             10/06/2022
             Parker Waichman LLP Plaintiffs (re: Doc 621, 629). (Silverman, Raymond) CORRECTION: Related doc #629 added. Modified on
             10/7/2022. (cmm) (Entered: 10/06/2022) [Granted by # 798
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3347Kdm_idV44049421Kdoc_numV798Kpdf_headerV1');]

       635   Certificate of Service re: Joint Motion to Continue Hearing, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re:     10/07/2022
             Doc # 606). (Baer, Herbert) (Entered: 10/07/2022)

       636   Certificate of Service re: Notice of Submission / Notice of Filing 503(B)(9) Report, Notice of Submission / Notice of Filing 503(B)(9)   10/07/2022
             Report, Notice of Submission / Notice of Filing 503(B)(9) Report, filed by Noticing Agent on behalf of Debtor Aearo Technologies
             LLC (re: Doc # 334, 479, 614). (Baer, Herbert) (Entered: 10/07/2022)

       637   Amended Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Harvey Brown II on behalf of Creditor The             10/07/2022
             Lanier Law Firm Plaintiffs (re: Doc 622, 630). (Brown, Harvey) CORRECTION: Related doc #630 added. Modified on 10/7/2022.
             (cmm) (Entered: 10/07/2022) [Granted by # 799
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3349Kdm_idV44049431Kdoc_numV799Kpdf_headerV1');]

       638   Amended Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by H. Victor Thomas on behalf of Creditor The            10/07/2022
             Lanier Law Firm Plaintiffs (re: Doc 623, 631). (Thomas, H.) CORRECTION: Related doc #631 added. Modified on 10/7/2022.
             (cmm) (Entered: 10/07/2022) [Granted by # 800
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3351Kdm_idV44049436Kdoc_numV800Kpdf_headerV1');]

       639   Motion for Examination Under Fed.R.Bankr.P. 2004 filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants -           10/07/2022
             CAE Committee. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - CAE Committee's Document Requests) (Theisen,
             Meredith) (Entered: 10/07/2022)

       640   Application to Employ Mattingly Burke Cohen & Biederman LLP as Creditor Comm. Aty (Verified Statement attached), filed by Curt           10/07/2022
             Derek Hochbein on behalf of Creditor Unsecured Creditor Committee - Respirators. (Attachments: (1) Exhibit A - Hochbein Affidavit
             (2) Exhibit B - Morgan Declaration (3) Exhibit C - Proposed Order) (Hochbein, Curt) (Entered: 10/07/2022) [Granted by # 789
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3313Kdm_idV44036932Kdoc_numV789Kpdf_headerV1');]

       641   Notice of Hearing with Certificate of Service re: Motion for Examination Under Fed.R.Bankr.P. 2004, filed by Meredith R. Theisen         10/07/2022
             on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 639). Objections due by 4:00 PM Eastern on
             11/2/2022. Hearing to be held on 11/9/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom IF AN
             OBJECTION IS TIMELY FILED. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-
             828-7666, Meeting ID 160 2312 6397. (Theisen, Meredith) CORRECTION: Missing docket text added in all capitals. Modified on
             10/11/2022. (cmm) (Entered: 10/07/2022)

       642   Application to Employ Rochelle McCullough, LLP as Creditor Comm. Aty (Verified Statement attached), filed by Curt Derek                  10/07/2022
             Hochbein on behalf of Creditor Unsecured Creditor Committee - Respirators. (Attachments: (1) Exhibit A - McCullough Affidavit (2)
             Exhibit B - Morgan Declaration (3) Exhibit C - Proposed Order) (Hochbein, Curt) (Entered: 10/07/2022) [Granted by # 790
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3315Kdm_idV44036948Kdoc_numV790Kpdf_headerV1');]

       643   Notice of Hearing with Certificate of Service re: Application to Employ, Application to Employ, filed by Curt Derek Hochbein on          10/07/2022
             behalf of Creditor Unsecured Creditor Committee - Respirators (re: Doc # 640, 642). Objections due by 4:00 PM Eastern on
             11/2/2022. Hearing to be held on 11/9/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties
             that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397.
             (Hochbein, Curt) (Entered: 10/07/2022)

       644   Supplemental Declaration re: Application to Employ, Declaration filed by Jeffrey A Hokanson on behalf of Debtor Aearo                    10/07/2022
             Technologies LLC (re: Doc # 305, 357). (Hokanson, Jeffrey) (Entered: 10/07/2022)

       645   Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc 471, 580).                    10/10/2022
             (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) CORRECTION: Related doc #580 added. Modified on 10/11/2022. (cmm)
             (Entered: 10/10/2022) [Granted by # 649
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2844Kdm_idV43935041Kdoc_numV649Kpdf_headerV1');]

       646   Reply to Motion to Extend Time to File Miscellaneous Documents/Installment Payment filed by Jeffrey A Hokanson on behalf of              10/10/2022
             Debtor Aearo Technologies LLC (re: Doc # 582). (Hokanson, Jeffrey) (Entered: 10/10/2022)

       647   Supplemental Declaration re: Application to Employ filed by Jeffrey A Hokanson on behalf of Member Debtors 3M Occupational               10/10/2022
             Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo LLC, Debtor Aearo Technologies LLC (re: Doc # 302).
             (Attachments: (1) Supplemental Schedule 2) (Hokanson, Jeffrey) (Entered: 10/10/2022)

       648   Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc 500). (Attachments:           10/11/2022
             (1) Exhibit A - Proposed Order) (Hokanson, Jeffrey) CORRECTION: Related doc # changed from 580 to 500. Modified on
             10/11/2022. (cmm) (Entered: 10/11/2022) [Granted by # 650
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2847Kdm_idV43935073Kdoc_numV650Kpdf_headerV1');]


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       649   Order Granting Motion to Continue Hearing (re: Doc # 645). Hearing to be held on 11/9/2022 at 09:00 AM Eastern in Rm 311 U.S.         10/11/2022
             Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373
             or 646-828-7666, Meeting ID 160 2312 6397. Attorney for the debtor must distribute this order. (cmm) (Entered: 10/11/2022)

       650   Order Granting Motion to Continue Hearing (re: Doc # 648). Hearing is continued to a date yet to be determined. Attorney for the      10/11/2022
             debtor must distribute this order. (cmm) (Entered: 10/11/2022)

       651   Reply to Motion for Approval of Agreement Pursuant to FRBP 4001(d) filed by Jeffrey A Hokanson on behalf of Debtor Aearo              10/11/2022
             Technologies LLC (re: Doc # 597). (Hokanson, Jeffrey) CORRECTION: Document filed in error. See doc. #653 for corrected filing.
             Modified on 10/11/2022. (cmm) (Entered: 10/11/2022)

       652   Notice of Submission / Agenda for Hearing on (I) Debtors Removal Period Enlargement Motion, (II) Lift-Stay Motion, (III) Certain of   10/11/2022
             Debtors' Retention Applications, and (IV) CAE Committee's Retention Applications, on October 12, 2022, at 9:00 A.M. (Prevailing
             Eastern Time) filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson, Jeffrey) (Entered: 10/11/2022)

       653   Reply to Motion for Approval of Agreement Pursuant to FRBP 4001(d) filed by Jeffrey A Hokanson on behalf of Debtor Aearo              10/11/2022
             Technologies LLC (re: Doc # 597). (Hokanson, Jeffrey) (Entered: 10/11/2022)

       654   Notice of Submission / Amended Agenda for Hearing on (I) Debtors' Removal Period Enlargement Motion, (II) Lift Stay Motion, (III)     10/11/2022
             Certain of Debtors' Retention Applications, and (IV) CAE Committee's Retention Applications, on October 12, 2022, at 9:00 A.M.
             (Prevailing Eastern Time) filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson, Jeffrey) (Entered:
             10/11/2022)

       655   Notice of Submission / Second Amended Agenda for Hearing on (I) Debtors' Removal Period Enlargement Motion, (II) Lift Stay            10/12/2022
             Motion, (III) Certain of Debtors' Retention Applications, And (IV) CAE Committee's Retention Applications, on October 12, 2022, at
             9:00 A.M. (Prevailing Eastern Time) filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson, Jeffrey)
             (Entered: 10/12/2022)

       656   Minute Entry/Order: re: Continued Hearing on Debtor's Application to Employ AP Services, LLC as Other Professional (Verified          10/12/2022
             Statement attached) (re: Doc # 305). Disposition: Hearing held. Application to Employ AP Services, LLC is granted. Counsel for
             Debtor to submit order within 3 days. (hhd) (Entered: 10/12/2022)

       657   Minute Entry/Order: re: Continued Hearing on Debtor's Application to Employ Ice Miller LLP as Debtor's Attorney (re: Doc # 302).      10/12/2022
             Disposition: Hearing held. Application to Employ Ice Miller LLP is granted as modified. Counsel for Debtor to submit order within 3
             days. (hhd) (Entered: 10/12/2022)

       658   Minute Entry/Order: re: Continued Hearing on Debtor's Application to Employ McDonald Hopkins LLC as Special Counsel (re: Doc          10/12/2022
             # 301). Disposition: Hearing held. Application to Employ McDonald Hopkins LLC is granted. Counsel for Debtor to submit order
             within 3 days. (hhd) (Entered: 10/12/2022)

       659   Minute Entry/Order: re: Hearing on Application to Employ Rubin & Levin, P.C. as Creditor Comm. Aty filed by Committee Tort            10/12/2022
             Claimants - CAE Committee (re: Doc # 568). Disposition: Hearing held. Application to Employ Rubin and Levin PC is granted.
             Counsel for movant to submit order within 3 days. (hhd) (Entered: 10/12/2022)

       660   Minute Entry/Order: re: Hearing on Application to Employ Otterbourg P.C. as Creditor Comm. Aty filed by Committee Tort Claimants      10/12/2022
             - CAE Committee (re: Doc # 566). Disposition: Hearing held. Application to Employ Otterbourg PC is granted. Counsel for movant
             to submit order within 3 days. (hhd) (Entered: 10/12/2022)

       661   Minute Entry/Order: re: Hearing on Application to Employ KTBS Law LLP as Creditor Comm. Aty filed by Committee Tort Claimants         10/12/2022
             - CAE Committee (re: Doc # 567). Disposition: Hearing held. Application to Employ KTBS Law LLP is granted. Counsel for movant
             to submit order within 3 days. (hhd) (Entered: 10/12/2022)

       662   Minute Entry/Order: re: Hearing on Application to Employ Caplin & Drysdale, Chartered as Creditor Comm. Aty filed by Committee        10/12/2022
             Tort Claimants - CAE Committee (re: Doc # 571). Disposition: Hearing held. Application to Employ Caplin & Drysdale, Chartered is
             granted. Counsel for movant to submit order within 3 days. (hhd) (Entered: 10/12/2022)

       663   Minute Entry/Order: re: Debtors' Motion for Entry of an Order (I) Enlarging the Period within which the Debtors May Remove Civil      10/12/2022
             Actions and (II) Granting Related Relief and Response of the Official Committee of Unsecured Creditors for Tort Claimants -
             Related to Use of Combat Arms Version 2 Earplugs and Debtors' Reply thereto (re: Doc # 582,619,646). Disposition: Hearing held.
             Debtors' Motion is granted. Counsel for Debtor to submit order within 3 days. (hhd) (Entered: 10/12/2022)

       664   Minute Entry/Order: re: Hearing on Application to Employ Brown Rudnick LLP as Special Counsel filed by Creditor Committee Tort        10/12/2022
             Claimants - CAE Committee (re: Doc # 588). Disposition: Hearing held. Application to Employ Brown Rudnick LLP is granted.
             Counsel for movant to submit order within 3 days. (hhd) (Entered: 10/12/2022)

       665   Minute Entry/Order: re: Hearing on Debtors' Amended Motion for Approval of Agreement to Modify or Terminate Stay Pursuant to          10/12/2022
             Fed.R.Bankr.P. 4001(d) and Debtors' Reply thereto (re: Doc # 597,653). Disposition: Hearing held. Debtors' Amended Motion is
             granted. Counsel for Debtor to submit order within 3 days. (hhd) (Entered: 10/12/2022)

       666   Certificate of Service re: Declaration, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 632). (Baer,    10/12/2022
             Herbert) (Entered: 10/12/2022)



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       667   Order Granting Application to Employ Otterbourg P.C. as Creditor Comm. Aty (re: Doc #566). Attorney for Creditor Committee Tort         10/13/2022
             Claimants - CAE Committee must distribute this order. (cmm) (Entered: 10/13/2022)

       668   Order Granting Application to Employ KTBS Law LLP as Creditor Comm. Aty (re: Doc #567). Attorney for Creditor Committee Tort            10/13/2022
             Claimants - CAE Committee must distribute this order. (cmm) (Entered: 10/13/2022)

       669   Order Granting Application to Employ Rubin & Levin, P.C. as Creditor Comm. Aty (re: Doc #568). Attorney for Creditor Committee          10/13/2022
             Tort Claimants - CAE Committee must distribute this order. (cmm) (Entered: 10/13/2022)

       670   Order Granting Application to Employ Caplin & Drysdale, Chartered as Creditor Comm. Aty (re: Doc #571). Attorney for Creditor           10/13/2022
             Committee Tort Claimants - CAE Committee must distribute this order. (cmm) (Entered: 10/13/2022)

       671   Order Granting Application to Employ Brown Rudnick LLP as Special Counsel (re: Doc #588). Attorney for Creditor Committee Tort          10/13/2022
             Claimants - CAE Committee must distribute this order. (cmm) (Entered: 10/13/2022)

       672   Order Granting Application to Employ Ice Miller LLP as Debtor's Attorney (re: Doc #302). Attorney for the debtor must distribute this   10/13/2022
             order. (cmm) (Entered: 10/13/2022)

       673   Order Granting Amended Motion for Approval of Agreement to Modify or Terminate Stay Pursuant to Fed.R.Bankr.P. 4001(d) (re:             10/13/2022
             Doc #597). Attorney for the debtor must distribute this order. (cmm) (Entered: 10/13/2022)

       674   Order (I) Enlarging the Period within which the Debtors May Remove Civil Actions and (II) Granting Related Relief (re: Doc # 582).      10/13/2022
             Deadline is extended through the later of (a) 4/21/2023, or (b) 30 days after entry of an order terminating the automatic stay with
             respect to any particular Civil Action sought to be removed. Attorney for the debtor must distribute this order. (cmm) (Entered:
             10/13/2022)

       675   Certificate of Service re: Order on Application to Employ, Order on Application to Employ, Order on Application to Employ, Order on     10/13/2022
             Application to Employ, Order on Application to Employ, filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants
             - CAE Committee (re: Doc # 667, 668, 669, 670, 671). (Theisen, Meredith) (Entered: 10/13/2022)

       676   Certificate of Service re: Declaration, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 644). (Baer,      10/13/2022
             Herbert) (Entered: 10/13/2022)

       677   Notice of Submission / Notice of Filing 503(b)(9) Report filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC         10/13/2022
             (re: Doc # 537). (Hokanson, Jeffrey) (Entered: 10/13/2022)

       678   Order Granting Application to Employ AP Services, LLC as Other Professional (re: Doc #305). Attorney for the debtor must                10/13/2022
             distribute this order. (cmm) (Entered: 10/13/2022)

       679   Declaration re: Order on Motion for Authority filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc #         10/13/2022
             546). (Hokanson, Jeffrey) (Entered: 10/13/2022)

       680   Order Granting Application to Employ McDonald Hopkins LLC as Special Counsel (re: Doc #301). Attorney for the debtor must               10/17/2022
             distribute this order. (cmm) (Entered: 10/17/2022)

       681   Certificate of Service re: Reply, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 646). (Baer, Herbert)   10/17/2022
             (Entered: 10/17/2022)

       682   Certificate of Service re: Notice of 341 Meeting of Creditors re: Chapter 11, filed by Noticing Agent on behalf of Debtor Aearo         10/17/2022
             Technologies LLC (re: Doc # 292). (Baer, Herbert) (Entered: 10/17/2022)

       683   Joint Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 608).                10/17/2022
             (Hokanson, Jeffrey) (Entered: 10/17/2022) [Amended by # 684
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2946Kdm_idV43955890Kdoc_numV684Kpdf_headerV1');]

       684   Amended Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 608,               10/17/2022
             683). (Attachments: (1) Exhibit A - Proposed Order) (Hokanson, Jeffrey) (Entered: 10/17/2022) [Granted by # 687
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV2957Kdm_idV43957969Kdoc_numV687Kpdf_headerV1');]

       685   Supplemental Declaration re: Application to Employ filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re:          10/17/2022
             Doc # 300). (Hokanson, Jeffrey) (Entered: 10/17/2022)

       686   Supplemental Declaration re: Application to Employ, Declaration filed by Jeffrey A Hokanson on behalf of Debtor Aearo                   10/17/2022
             Technologies LLC (re: Doc # 301, 632). (Hokanson, Jeffrey) (Entered: 10/17/2022)

       687   Order Granting Motion to Continue Hearing on Certain Debtors' Employment Applications (re: Doc # 684). Hearing to be held in Rm         10/18/2022
             311 U.S. Courthouse, Indianapolis at 09:00 AM Eastern on 11/9/2022 and via Zoom. Parties that wish to listen but not actively
             participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Replies to objections or responses
             due by 11/7/2022 at 04:00 PM Eastern. Objections due by 11/2/2022 at 04:00 PM Eastern. Attorney for the debtor must distribute
             this order. (cmm) (Entered: 10/18/2022)




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       688   Application to Employ Stretto, Inc., Information Agent as Other Professional (Verified Statement attached), filed by Meredith R.         10/19/2022
             Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit
             B - Betance Declaration) (Theisen, Meredith) (Entered: 10/19/2022) [Granted by # 788
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3311Kdm_idV44036635Kdoc_numV788Kpdf_headerV1');]

       689   Certificate of Service re: Application to Employ, filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE      10/19/2022
             Committee (re: Doc # 688). (Theisen, Meredith) (Entered: 10/19/2022)

       690   Notice of Hearing with Certificate of Service re: Application to Employ, filed by Meredith R. Theisen on behalf of Creditor Committee    10/19/2022
             Tort Claimants - CAE Committee (re: Doc # 688). Objections due by 4:00 PM Eastern on 11/2/2022. Hearing to be held on
             11/9/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom IF AN OBJECTION IS TIMELY FILED.
             Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312
             6397. (Theisen, Meredith) CORRECTION: Missing docket text added in all capitals. Modified on 10/20/2022. (cmm) (Entered:
             10/19/2022)

       691   Motion to Extend Exclusivity Period/Deadlines under Section 1121, 1129, 1189 or 1221 filed by Jeffrey A Hokanson on behalf of            10/19/2022
             Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 10/19/2022)

       692   Supplemental Declaration re: Application to Employ filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re:           10/19/2022
             Doc # 304). (Hokanson, Jeffrey) (Entered: 10/19/2022)

       693   Certificate of Service re: Order on Application to Employ, Order on Motion for Approval of Agreement Pursuant to FRBP 4001(d),           10/19/2022
             Order on Motion to Extend Time to File, Order on Application to Employ, Declaration re: Order on Motion for Authority, filed by
             Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 672, 673, 674, 678, 679). (Baer, Herbert) (Entered:
             10/19/2022)

       694   Certificate of Service re: Notice of Submission / Notice of Filing 503(b)(9) Report, filed by Noticing Agent on behalf of Debtor Aearo   10/20/2022
             Technologies LLC (re: Doc # 677). (Baer, Herbert) (Entered: 10/20/2022)

       695   Objection to Application to Employ filed by Harrison Edward Strauss on behalf of U.S. Trustee (re: Doc # 300). (Strauss, Harrison)       10/20/2022
             (Entered: 10/20/2022)

       696   Certificate of Service re: Amended Motion to Continue Hearing, DECLARATION, Declaration, filed by Noticing Agent on behalf of            10/20/2022
             Debtor Aearo Technologies LLC (re: Doc 684, 685, 686). (Baer, Herbert) CORRECTION: Related doc #685 added. Missing docket
             text added in all capitals. Modified on 10/20/2022. (cmm) (Entered: 10/20/2022)

       697   Supplemental Declaration re: Application to Employ, Declaration, Declaration filed by Jeffrey A Hokanson on behalf of Debtor Aearo       10/21/2022
             Technologies LLC (re: Doc # 305, 357, 644). (Hokanson, Jeffrey) (Entered: 10/21/2022)

       698   Notice of Hearing with Certificate of Service re: Motion to Extend Exclusivity Period/Deadlines under Section 1121, 1129, 1189 or        10/21/2022
             1221, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 691). Hearing to be held on 11/9/2022 at
             09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate
             may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397 if an objection is timely filed. Objections due by
             4:00 PM Eastern on 11/02/2022. (Hokanson, Jeffrey) (Entered: 10/21/2022)

       699   Chapter 11 Report of Operations for September 2022 filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.               10/21/2022
             (Attachments: (1) Exhibit Global Notes) (Hokanson, Jeffrey) (Entered: 10/21/2022)

       700   Exhibit Supplemental Exhibit to the CAE Committees Application for Entry of an Order Approving Retention and Employment of               10/21/2022
             Stretto, Inc. as Information Agent for CAE Committee filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants -
             CAE Committee (re: Doc # 688). (Attachments: (1) Exhibit A - Stretto Fee Structure) (Theisen, Meredith) (Entered: 10/21/2022)

       701   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: ICE MILLER LLP, filed by             10/21/2022
             Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. OBJECTIONS DUE BY 4:00 PM EASTERN ON 11/04/2022 (re:
             Doc # 672). (Attachments: (1) Exhibit A - Invoices 7/26/22 - 8/31/22) (Hokanson, Jeffrey) CORRECTION: Missing docket text
             added in all capitals. Modified on 10/24/2022. (cmm) (Entered: 10/21/2022)

       702   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: OTTERBOURG P.C.,                     10/21/2022
             filed by Melanie Louise Cyganowski, Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee.
             OBJECTIONS DUE BY 4:00 PM EASTERN ON 11/04/2022 (re: Doc 541). (Attachments: (1) Exhibit A - Monthly Invoice) (Theisen,
             Meredith) CORRECTION: Missing docket text added in all capitals. Related doc changed from #667 to #541. Modified on
             10/24/2022. (cmm) (Entered: 10/21/2022)

       703   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: ICE MILLER LLP, filed by             10/21/2022
             Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. OBJECTIONS DUE BY 4:00 PM EASTERN ON 11/04/2022 (re:
             Doc # 672). (Attachments: (1) Exhibit A - Invoices 9/1/22 - 9/30/22) (Hokanson, Jeffrey) CORRECTION: Missing docket text added
             in all capitals. Modified on 10/24/2022. (cmm) (Entered: 10/21/2022)

       704   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: KTBS LAW LLP, filed by               10/21/2022
             Robert J Pfister, Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee. OBJECTIONS DUE BY
             4:00 PM EASTERN ON 11/04/2022 (re: Doc # 541). (Attachments: (1) Exhibit A - Monthly Invoice) (Theisen, Meredith)
             CORRECTION: Missing docket text added in all capitals. Modified on 10/24/2022. (cmm) (Entered: 10/21/2022)

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       705   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: CAPLIN & DRYSDALE,                 10/21/2022
             CHARTERED, filed by Kevin C Maclay, Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee.
             OBJECTIONS DUE BY 4:00 PM EASTERN ON 11/04/2022 (re: Doc # 541). (Attachments: (1) Exhibit A - Monthly Invoice)
             (Theisen, Meredith) CORRECTION: Missing docket text added in all capitals. Modified on 10/24/2022. (cmm) (Entered:
             10/21/2022)

       706   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: BROWN RUDNICK LLP,                 10/21/2022
             filed by Cathrine M Castaldi, Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee. OBJECTIONS
             DUE BY 4:00 PM EASTERN ON 11/04/2022 (re: Doc # 541). (Attachments: (1) Exhibit A - Monthly Invoice) (Theisen, Meredith)
             CORRECTION: Missing docket text added in all capitals. Modified on 10/24/2022. (cmm) (Entered: 10/21/2022)

       707   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: RUBIN & LEVIN, P.C.,               10/21/2022
             filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee. OBJECTIONS DUE BY 4:00 PM
             EASTERN ON 11/04/2022 (re: Doc # 541). (Attachments: (1) Exhibit A - Monthly Invoice) (Theisen, Meredith) CORRECTION:
             Missing docket text added in all capitals. Modified on 10/24/2022. (cmm) (Entered: 10/21/2022)

       708   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: MCDONALD HOPKINS                   10/21/2022
             LLC, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 680). (Attachments: (1) Exhibit A (2)
             Exhibit B (3) Exhibit C) (Hokanson, Jeffrey) CORRECTION: Missing docket text added in all capitals. Modified on 10/25/2022.
             (cmm) (Entered: 10/21/2022)

       709   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: MCDONALD HOPKINS                   10/21/2022
             LLC, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 680). (Attachments: (1) Exhibit A (2)
             Exhibit B (3) Exhibit C) (Hokanson, Jeffrey) CORRECTION: Missing docket text added in all capitals. Modified on 10/25/2022.
             (cmm) (Entered: 10/21/2022)

       710   Certificate of Service re: Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to B-2014-1, Notice of Draw on              10/21/2022
             Retainer/Payment of Fees or Expenses Pursuant to B-2014-1, Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant
             to B-2014-1, Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to B-2014-1, Notice of Draw on Retainer/Payment
             of Fees or Expenses Pursuant to B-2014-1, filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE
             Committee (re: Doc # 702, 704, 705, 706, 707). (Theisen, Meredith) (Entered: 10/21/2022)

       711   Certificate of Service re: Order on Motion to Continue Hearing, Trial, Pretrial Conference or Status Conference, filed by Noticing     10/21/2022
             Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 687). (Baer, Herbert) (Entered: 10/21/2022)

       712   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: MCDONALD HOPKINS                   10/25/2022
             LLC, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. OBJECTIONS DUE BY 4:00 PM EASTERN ON
             11/08/2022 (re: Doc # 680). (Attachments: (1) Exhibit A - Monthly Invoices) (Hokanson, Jeffrey) CORRECTION: Missing docket text
             added in all capitals. Modified on 10/25/2022. (cmm) (Entered: 10/25/2022)

       713   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: MCDONALD HOPKINS                   10/25/2022
             LLC, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. OBJECTIONS DUE BY 4:00 PM EASTERN ON
             11/08/2022 (re: Doc # 680). (Attachments: (1) Exhibit A - Monthly Invoices) (Hokanson, Jeffrey) CORRECTION: Missing docket text
             added in all capitals. Modified on 10/25/2022. (cmm) (Entered: 10/25/2022)

       714   Certificate of Service re: Motion to Extend Exclusivity Period/Deadlines under Section 1121, 1129, 1189 or 1221, Declaration, filed    10/25/2022
             by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 691, 692). (Baer, Herbert) (Entered: 10/25/2022)

       715   Notice of Submission / Notice of Filing 503(B)(9) Report filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC        10/26/2022
             (re: Doc # 149, 479, 537, 614, 677). (Attachments: (1) Exhibit 1) (Hokanson, Jeffrey) (Entered: 10/26/2022)

       716   Motion for Protective Order filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit 1)       10/26/2022
             (Hokanson, Jeffrey) (Entered: 10/26/2022) [Granted by # 792
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3322Kdm_idV44037187Kdoc_numV792Kpdf_headerV1');]

       717   Motion for Approval of Agreement to Modify or Terminate Stay Pursuant to Fed.R.Bankr.P. 4001(d) filed by Jeffrey A Hokanson on         10/26/2022
             behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A (2) Exhibit B) (Hokanson, Jeffrey) (Entered: 10/26/2022)
             [Granted by # 751
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3189Kdm_idV44023183Kdoc_numV751Kpdf_headerV1');]

       718   Notice of Hearing with Certificate of Service re: Motion for Approval of Agreement Pursuant to FRBP 4001(d), filed by Jeffrey A        10/27/2022
             Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 717). Hearing to be held on 11/9/2022 at 09:00 AM Eastern in
             Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do so by phone at
             551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397 if an objection is timely filed. Objections due by 4:00 PM Eastern on
             11/04/2022. (Hokanson, Jeffrey) (Entered: 10/27/2022)

       719   Notice of Hearing with Certificate of Service re: Motion for Protective Order, filed by Jeffrey A Hokanson on behalf of Debtor Aearo   10/27/2022
             Technologies LLC (re: Doc # 716). Hearing to be held on 11/9/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis
             and via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666,
             Meeting ID 160 2312 6397 if an objection is timely filed. Objections due by 4:00 PM Eastern on 11/04/2022. (Hokanson, Jeffrey)
             (Entered: 10/27/2022)


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       720   Notice of Submission Notice of Filing 503(B)(9) Report filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC         10/28/2022
             (re: Doc # 537). (Attachments: (1) Exhibit 1) (Hokanson, Jeffrey) (Entered: 10/28/2022)

       721   Notice of Submission / Notice of Amendment to the List of Ordinary Course Professionals filed by Jeffrey A Hokanson on behalf of      10/31/2022
             Debtor Aearo Technologies LLC (re: Doc # 307, 546). (Attachments: (1) Exhibit A (2) Exhibit B) (Hokanson, Jeffrey) (Entered:
             10/31/2022)

       722   Declaration re: Order on Motion for Authority filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc #       10/31/2022
             546). (Hokanson, Jeffrey) (Entered: 10/31/2022)

       723   Certificate of Service re: Declaration, Hearing Notice, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc   11/01/2022
             # 697, 698). (Baer, Herbert) (Entered: 11/01/2022)

       724   Certificate of Service re: Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to B-2014-1, Notice of Draw on             11/01/2022
             Retainer/Payment of Fees or Expenses Pursuant to B-2014-1, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC
             (re: Doc # 712, 713). (Baer, Herbert) (Entered: 11/01/2022)

       725   Notice of Submission of Revised Proposed Order to Application of the Official Committee of Unsecured Creditors for Tort Claimants     11/02/2022
             - Related to Use of Combat Arms Version 2 Earplugs for Entry of an Order Pursuant to 11 U.S.C. 328(a) and 1103, Fed. R. Bankr.
             P. 2014 and 5002, and Local Rule 2014-1 Authorizing Retention and Employment of Houlihan Lokey Capital, Inc. as Investment
             Banker to the CAE Committee Effective as of September 9, 2022 filed by Meredith R. Theisen on behalf of Creditor Committee Tort
             Claimants - CAE Committee (re: Doc # 610). (Attachments: (1) Exhibit A - Revised Proposed Order (2) Exhibit B - Blackline Version
             of Revised Proposed Order) (Theisen, Meredith) (Entered: 11/02/2022)

       726   Notice of Submission of Revised Proposed Order to Application of the Official Committee of Unsecured Creditors for Tort Claimants     11/02/2022
             - Related to Combat Arms Version 2 Earplugs to Retain and Employ Province, LLC, as Financial Advisor, Effective as of September
             13, 2022 filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 611).
             (Attachments: (1) Exhibit A - Revised Proposed Order (2) Exhibit B - Blackline Version of Revised Proposed Order) (Theisen,
             Meredith) (Entered: 11/02/2022)

       727   Notice of Submission of Revised Proposed Order to CAE Committee's Application for Entry of an Order Approving Retention and           11/02/2022
             Employment of Stretto, Inc. as Information Agent for CAE Committee filed by Meredith R. Theisen on behalf of Creditor Committee
             Tort Claimants - CAE Committee (re: Doc # 688). (Attachments: (1) Exhibit A - Revised Proposed Order (2) Exhibit B - Blackline
             Version of Revised Proposed Order) (Theisen, Meredith) (Entered: 11/02/2022)

       728   Objection to Motion for Examination Under Fed.R.Bankr.P. 2004 filed by Jeffrey A Hokanson on behalf of Debtor Aearo                   11/02/2022
             Technologies LLC (re: Doc # 639). (Hokanson, Jeffrey) (Entered: 11/02/2022)

       729   Response in Support of Motion to Extend Exclusivity Period/Deadlines under Section 1121, 1129, 1189 or 1221 filed by Curt Derek       11/02/2022
             Hochbein on behalf of Creditor Unsecured Creditor Committee - Respirators (re: Doc # 691). (Hochbein, Curt) (Entered:
             11/02/2022)

       730   Objection to Application to Employ filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee        11/02/2022
             (re: Doc # 300). (Attachments: (1) Exhibit A (2) Exhibit B (3) Exhibit C (4) Exhibit D (5) Exhibit E) (Theisen, Meredith) (Entered:
             11/02/2022)

       731   Objection to Motion to Extend Exclusivity Period/Deadlines under Section 1121, 1129, 1189 or 1221 filed by Meredith R. Theisen on     11/02/2022
             behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 691). (Theisen, Meredith) (Entered: 11/02/2022)

       732   Objection to Motion to Extend Exclusivity Period/Deadlines under Section 1121, 1129, 1189 or 1221 filed by Martha R. Lehman on        11/02/2022
             behalf of Interested Party Tracey Fox King & Walters (re: Doc # 691). (Lehman, Martha) (Entered: 11/02/2022)

       733   Certificate of Service re: Objection, Objection, filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE    11/02/2022
             Committee (re: Doc # 730, 731). (Theisen, Meredith) (Entered: 11/02/2022)

       734   Limited Objection to Application to Employ filed by Curt Derek Hochbein on behalf of Creditor Unsecured Creditor Committee -          11/02/2022
             Respirators (re: Doc # 300). (Hochbein, Curt) (Entered: 11/02/2022)

       735   Objection to Motion to Extend Exclusivity Period/Deadlines under Section 1121, 1129, 1189 or 1221 filed by Patricia B. Tomasco on     11/02/2022
             behalf of Creditor Bellwether Plaintiffs Adkins and Vaughn (re: Doc # 691). (Tomasco, Patricia) (Entered: 11/02/2022)

       736   Objection to Motion for Examination Under Fed.R.Bankr.P. 2004 filed by Jay Jaffe on behalf of Creditor 3M Company (re: Doc #          11/02/2022
             639). (Jaffe, Jay) (Entered: 11/02/2022)

       737   Motion for Approval of Agreement to Modify or Terminate Stay Pursuant to Fed.R.Bankr.P. 4001(d) filed by Jeffrey A Hokanson on        11/02/2022
             behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Stipulation) (Hokanson,
             Jeffrey) (Entered: 11/02/2022)

       738   Notice of Submission of Notice of Service of Deposition Notices filed by Meredith R. Theisen on behalf of Creditor Committee Tort     11/02/2022
             Claimants - CAE Committee. (Attachments: (1) Exhibit A - Notice of Deposition of Chad Husnick (2) Exhibit B - Notice of Deposition
             of Jeffrey S. Stein (3) Exhibit C - Notice of Deposition of John R. Castellano) (Theisen, Meredith) (Entered: 11/02/2022)



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       739   Notice of Hearing with Certificate of Service re: Motion for Approval of Agreement Pursuant to FRBP 4001(d), filed by Jeffrey A        11/02/2022
             Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 737). Objections due by 4:00 PM Eastern on 12/7/2022. Hearing
             to be held on 12/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen
             but not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397 IF AN OBJECTION
             IS TIMELY FILED. (Hokanson, Jeffrey) CORRECTION: Missing docket text added in all capitals. Modified on 11/3/2022. (cmm)
             (Entered: 11/02/2022)

       740   Certificate of Service re: Hearing Notice, Hearing Notice, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re:     11/03/2022
             Doc # 718, 719). (Baer, Herbert) (Entered: 11/03/2022)

       741   Certificate of Service re: Notice of Submission Notice of Filing 503(B)(9) Report, filed by Noticing Agent on behalf of Debtor Aearo   11/04/2022
             Technologies LLC (re: Doc # 720). (Baer, Herbert) (Entered: 11/04/2022)

       742   Certificate of Service re: Notice of Submission / Notice of Amendment to the List of Ordinary Course Professionals, Declaration re:    11/04/2022
             Order on Motion for Authority, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 721, 722). (Baer,
             Herbert) (Entered: 11/04/2022)

       743   Joint Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 687).               11/04/2022
             (Attachments: (1) Exhibit 1) (Hokanson, Jeffrey) (Entered: 11/04/2022) [Granted by # 749
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3183Kdm_idV44022792Kdoc_numV749Kpdf_headerV1');]

       744   Limited Objection to Motion for Protective Order filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE     11/04/2022
             Committee (re: Doc # 716). (Attachments: (1) Exhibit A - Alternative Proposed Order) (Theisen, Meredith) (Entered: 11/04/2022)

       745   Notice of Submission / Certificate of No Objection filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc     11/04/2022
             # 717). (Attachments: (1) Exhibit 1) (Hokanson, Jeffrey) (Entered: 11/04/2022)

       746   Limited Objection to Motion for Protective Order filed by Harrison Edward Strauss on behalf of U.S. Trustee (re: Doc # 716).           11/05/2022
             (Strauss, Harrison) (Entered: 11/05/2022)

       747   Notice of Submission /Certificate of No Objection filed by Curt Derek Hochbein on behalf of Creditor Unsecured Creditor                11/07/2022
             Committee - Respirators (re: Doc # 640). (Hochbein, Curt) (Entered: 11/07/2022)

       748   Notice of Submission /Certificate of No Objection filed by Curt Derek Hochbein on behalf of Creditor Unsecured Creditor                11/07/2022
             Committee - Respirators (re: Doc # 642). (Hochbein, Curt) (Entered: 11/07/2022)

       749   Order Granting Motion to Continue Hearing on Debtors' Application for Retention and Employment of Bates White, LLC as Claims           11/07/2022
             Valuation Consultants as of the Petition Date (re: Doc # 743). Hearing to be held on 12/5/2022 at 09:00 AM Eastern in Rm 311 U.S.
             Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373
             or 646-828-7666, Meeting ID 160 2312 6397. Replies to objections or responses due by 12/2/2022 at 04:00 PM Eastern.
             Objections due by 11/28/2022 at 04:00 PM Eastern. Attorney for the debtor must distribute this order. (cmm) (Entered: 11/07/2022)

       750   Reply to Application to Employ filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 300).                 11/07/2022
             (Hokanson, Jeffrey) (Entered: 11/07/2022)

       751   Order Granting Motion for Approval of Agreement to Modify or Terminate Stay Pursuant to Fed.R.Bankr.P. 4001(d) (re: Doc #717).         11/07/2022
             Attorney for the debtor must distribute this order. (cmm) (Entered: 11/07/2022)

       752   Reply to Motion to Extend Time to File Chapter 11/12 Plan, Obtain Confirmation, and/or Extend Exclusivity filed by Jeffrey A           11/07/2022
             Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 691). (Hokanson, Jeffrey) (Entered: 11/07/2022)

       753   Joint Statement of Honorable James M. Carr and Randi S. Ellis Regarding the Debtor's Participation in the Meditation filed by Co-      11/07/2022
             Mediator Randi Ellis and Co-Meditator Honorable James M. Carr (re: Doc # 477). (cew) (Entered: 11/07/2022)

       754   CORRECTED ENTRY: Disinterested Directors' Statement in Support of Debtors' Retention of Kirkland & Ellis filed by Jeffrey A            11/07/2022
             Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 300) (Hokanson, Jeffrey) ORIGINAL ENTRY: Reply to
             Application to Employ filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 300). (Hokanson, Jeffrey)
             Modified on 11/8/2022. (cmm) (Entered: 11/07/2022)

       755   Motion to Continue Hearing filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 649).                     11/07/2022
             (Attachments: (1) Exhibit A - Proposed Order) (Hokanson, Jeffrey) (Entered: 11/07/2022) [Granted by # 762
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3234Kdm_idV44027042Kdoc_numV762Kpdf_headerV1');]

       756   Certificate of Service re: Motion for Approval of Agreement Pursuant to FRBP 4001(d), filed by Noticing Agent on behalf of Debtor      11/07/2022
             Aearo Technologies LLC (re: Doc # 737). (Baer, Herbert) (Entered: 11/07/2022)

       757   Witness List AND EXHIBIT LIST filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 719).                  11/07/2022
             (Attachments: (1) Exhibit A)(Hokanson, Jeffrey) CORRECTION: Missing docket text added in all capitals. Modified on 11/8/2022.
             (cmm) (Entered: 11/07/2022)




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       758   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.          11/08/2022
             (Attachments: (1) Exhibit 1) (Hokanson, Jeffrey) (Entered: 11/08/2022) [Corrected by # 760
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3223Kdm_idV44026166Kdoc_numV760Kpdf_headerV1');]

       779   Minute Entry/Order: re: Hearing on Debtors' Motion for Approval of Agreement to Modify or Terminate Stay Pursuant to                     11/07/2022
             Fed.R.Bankr.P. 4001(d) (re: Doc # 717). Hearing vacated. No Objection(s) filed, Court vacates hearing. Order to be entered. (hhd)
             (Entered: 11/10/2022)

       758   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.          11/08/2022
             (Attachments: (1) Exhibit 1) (Hokanson, Jeffrey) (Entered: 11/08/2022) [Corrected by # 760
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3223Kdm_idV44026166Kdoc_numV760Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               11/08/2022
             Fee amount 100.00 (re: Doc # 758). (U.S. Treasury) (Entered: 11/08/2022)

       759   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Joshua Sussberg on behalf of Debtor Aearo Technologies LLC.             11/08/2022
             (Attachments: (1) Exhibit 1) (Sussberg, Joshua) (Entered: 11/08/2022) [Granted by # 766
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3246Kdm_idV44028234Kdoc_numV766Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               11/08/2022
             Fee amount 100.00 (re: Doc # 758). (U.S. Treasury) (Entered: 11/08/2022)

       759   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Joshua Sussberg on behalf of Debtor Aearo Technologies LLC.             11/08/2022
             (Attachments: (1) Exhibit 1) (Sussberg, Joshua) (Entered: 11/08/2022) [Granted by # 766
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3246Kdm_idV44028234Kdoc_numV766Kpdf_headerV1');]

       760   Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Michael Slade on behalf of Debtor Aearo Technologies          11/08/2022
             LLC (re: Doc # 758). (Attachments: (1) Exhibit 1) (Slade, Michael) (Entered: 11/08/2022)

       760   Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Michael Slade on behalf of Debtor Aearo Technologies          11/08/2022
             LLC (re: Doc # 758). (Attachments: (1) Exhibit 1) (Slade, Michael) (Entered: 11/08/2022) [Granted by # 803
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3359Kdm_idV44053857Kdoc_numV803Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               11/08/2022
             Fee amount 100.00 (re: Doc # 759). (U.S. Treasury) (Entered: 11/08/2022)

       761   Witness List AND EXHIBIT LIST filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re:           11/08/2022
             Doc # 719). (Attachments: (1) Exhibit A - CAE Committee Exhibit List)(Theisen, Meredith) CORRECTION: Missing docket text
             added in all capitals. Modified on 11/8/2022. (cmm) (Entered: 11/08/2022)

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               11/08/2022
             Fee amount 100.00 (re: Doc # 759). (U.S. Treasury) (Entered: 11/08/2022)

       761   Witness List AND EXHIBIT LIST filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re:           11/08/2022
             Doc # 719). (Attachments: (1) Exhibit A - CAE Committee Exhibit List)(Theisen, Meredith) CORRECTION: Missing docket text
             added in all capitals. Modified on 11/8/2022. (cmm) (Entered: 11/08/2022)

       762   Order Granting Motion to Continue Hearing on Debtor's Motion for Entry of an Order (I) Appointing the Honorable James M. Carr            11/08/2022
             and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters, (II) Referring Such Matters
             to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting Related Relief (re: Doc # 755).
             Hearing to be held on 12/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to
             listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Attorney for
             the debtor must distribute this order. (cmm) (Entered: 11/08/2022)

       762   Order Granting Motion to Continue Hearing on Debtor's Motion for Entry of an Order (I) Appointing the Honorable James M. Carr            11/08/2022
             and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters, (II) Referring Such Matters
             to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting Related Relief (re: Doc # 755).
             Hearing to be held on 12/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to
             listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Attorney for
             the debtor must distribute this order. (cmm) (Entered: 11/08/2022)

       763   Notice of Submission / Notice of Filing 503(B)(9) Report filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC          11/08/2022
             (re: Doc # 537). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 11/08/2022)

       763   Notice of Submission / Notice of Filing 503(B)(9) Report filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC          11/08/2022
             (re: Doc # 537). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered: 11/08/2022)

       764   Reply to Motion for Protective Order filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 716).             11/08/2022
             (Hokanson, Jeffrey) (Entered: 11/08/2022)

       764   Reply to Motion for Protective Order filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 716).             11/08/2022
             (Hokanson, Jeffrey) (Entered: 11/08/2022)


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       765   Exhibit List filed by Harrison Edward Strauss on behalf of U.S. Trustee (re: Doc # 687). (Strauss, Harrison) (Entered: 11/08/2022)     11/08/2022

       765   Exhibit List filed by Harrison Edward Strauss on behalf of U.S. Trustee (re: Doc # 687). (Strauss, Harrison) (Entered: 11/08/2022)     11/08/2022

       766   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 759). Attorney for the debtor must distribute this order. (hhd) (Entered:      11/08/2022
             11/08/2022)

       766   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 759). Attorney for the debtor must distribute this order. (hhd) (Entered:      11/08/2022
             11/08/2022)

       767   Notice of Submission / Agenda For Hearing on (I) Respirator Committee's Certain Retention Applications, (II) CAE Committee's           11/08/2022
             Certain Retention Applications, (III) Debtors' Certain Retention Application, and (IV) Certain Debtors' Motions on November 9,
             2022, at 9:00 a.m. (Prevailing Eastern Time) filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson,
             Jeffrey) (Entered: 11/08/2022)

       767   Notice of Submission / Agenda For Hearing on (I) Respirator Committee's Certain Retention Applications, (II) CAE Committee's           11/08/2022
             Certain Retention Applications, (III) Debtors' Certain Retention Application, and (IV) Certain Debtors' Motions on November 9,
             2022, at 9:00 a.m. (Prevailing Eastern Time) filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Hokanson,
             Jeffrey) (Entered: 11/08/2022)

       768   Witness List AND AMENDED EXHIBIT LIST filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc #                11/08/2022
             719). (Attachments: (1) Exhibit 1)(Hokanson, Jeffrey) CORRECTION: Missing docket text added in all capitals. Modified on
             11/9/2022. (cmm) (Entered: 11/08/2022)

       768   Witness List AND AMENDED EXHIBIT LIST filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc #                11/08/2022
             719). (Attachments: (1) Exhibit 1)(Hokanson, Jeffrey) CORRECTION: Missing docket text added in all capitals. Modified on
             11/9/2022. (cmm) (Entered: 11/08/2022)

       769   Exhibit List filed by Patricia B. Tomasco on behalf of Creditor Bellwether Plaintiffs Adkins and Vaughn (re: Doc # 691). (Tomasco,     11/08/2022
             Patricia) (Entered: 11/08/2022)

       769   Exhibit List filed by Patricia B. Tomasco on behalf of Creditor Bellwether Plaintiffs Adkins and Vaughn (re: Doc # 691). (Tomasco,     11/08/2022
             Patricia) (Entered: 11/08/2022)

       770   Notice of Submission / Amended Proposed Agenda For Hearing on (I) Respirator Committee's Certain Retention Applications, (II)          11/09/2022
             CAE Committee's Certain Retention Applications, (III) Debtors' Certain Retention Application, and (IV) Certain Debtors' Motions on
             November 9, 2022, at 9:00 a.m. (Prevailing Eastern Time) filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies
             LLC. (Hokanson, Jeffrey) (Entered: 11/09/2022)

       770   Notice of Submission / Amended Proposed Agenda For Hearing on (I) Respirator Committee's Certain Retention Applications, (II)          11/09/2022
             CAE Committee's Certain Retention Applications, (III) Debtors' Certain Retention Application, and (IV) Certain Debtors' Motions on
             November 9, 2022, at 9:00 a.m. (Prevailing Eastern Time) filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies
             LLC. (Hokanson, Jeffrey) (Entered: 11/09/2022)

       771   Certificate of Service re: Joint Motion to Continue Hearing, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re:   11/09/2022
             Doc # 743). (Baer, Herbert) (Entered: 11/09/2022)

       772   Minute Entry/Order: re: Continued Hearing on Debtor's Application to Employ Kirkland & Ellis LLP as Debtor's Attorney (Verified        11/09/2022
             Statement attached) Objections thereto filed by the US Trustee,Creditor Committee Tort Claimants - CAE Committee and Limited
             Objection filed by Unsecured Creditor Committee - Respirators and Debtors' Reply thereto (re: Doc # 300,695,730,734,750).
             Disposition: Hearing held. Matter continued. Court swears in and hears testimony of Chad Husnick and Jeffrey S. Stein. Debtors'
             exhibits 26,15,6,7-12,14,2,3,16,42,13,1, and 17 are admitted into evidence. Tort Claimants -CAE Committee's H,I,J,L,U and AW are
             admitted into evidence. US Trustee's exhibits 1 and 2 are admitted into evidence. Court continues matter to 11/10/2022 at 09:30
             AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do
             so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Notice given in court and no further notice will be
             issued. (hhd) (Entered: 11/10/2022)

       773   Minute Entry/Order: re: Hearing on Application to Employ Rochelle McCullough, LLP as Creditor Comm. Aty filed by Unsecured             11/09/2022
             Creditor Committee - Respirators (re: Doc # 642). Disposition: Hearing held. Court grants Application. Counsel to submit order
             within 7 days. (hhd) (Entered: 11/10/2022)

       774   Minute Entry/Order: re: Hearing on Application to Employ Mattingly Burke Cohen & Biederman LLP as Creditor Comm. Aty filed by          11/09/2022
             Unsecured Creditor Committee - Respirators (re: Doc # 640). Disposition: Hearing held. Court grants Application. Counsel to
             submit order within 7 days. (hhd) (Entered: 11/10/2022)

       775   Minute Entry/Order: re: Hearing on Application of Creditor Committee Tort Claimants - CAE Committee to Employ Houlihan Lokey           11/09/2022
             Capital, Inc., as Investment Banker as Other Professional (re: Doc # 610). Disposition: Hearing held. Hearing held. Court grants
             Application. Court to review order. (hhd) (Entered: 11/10/2022)

       776   Minute Entry/Order: re: Hearing on Application of Creditor Committee Tort Claimants - CAE Committee to Employ Province, LLC as         11/09/2022
             Financial Advisor (re: Doc # 611). Disposition: Hearing held. Disposition: Hearing held. Hearing held. Court grants Application.
             Court to review order. (hhd) (Entered: 11/10/2022)

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       777   Minute Entry/Order: re: Hearing on Motion for Examination Under Fed.R.Bankr.P. 2004 filed by Creditor Committee Tort Claimants -        11/09/2022
             CAE Committee and Objections thereto filed by Debtors' and 3M Company (re: Doc # 639,728,736). Disposition: Hearing held.
             Parties request matter be continued to December Omnibus hearing. Matter continued. Hearing to be held on 12/14/2022 at 09:00
             AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do
             so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Notice given in court and no further notice will be
             issued. (hhd) (Entered: 11/10/2022)

       778   Minute Entry/Order: re: Hearing on Debtors' Motion to Extend Exclusivity Period/Deadlines under Section 1121, 1129, 1189 or 1221        11/09/2022
             with Response in Support thereto filed by Unsecured Creditor Committee - Respirators and Objections filed by Creditor Committee
             Tort Claimants - CAE Committee, Tracey Fox King & Walters and Bellwether Plaintiffs Adkins and Vaughn and Debtors' Reply
             thereto (re: Doc # 691,729,731,732,735,752). Disposition: Hearing held. Agreed Entry to be filed within 7 days. (hhd) (Entered:
             11/10/2022)

       780   Minute Entry/Order: re: Hearing on Application to Employ Stretto, Inc., Information Agent as Other Professional filed by the Creditor   11/09/2022
             Committee Tort Claimants - CAE Committee (re: Doc # 688). Disposition: Hearing held. Court grants Application. Court to review
             order. (hhd) (Entered: 11/10/2022)

       781   Minute Entry/Order: re: Hearing on Debtor's Motion for Protective Order and Limited Objections thereto filed by Creditor Committee      11/09/2022
             Tort Claimants - CAE Committee and the US Trustee with Reply filed by Debtor (re: Doc # 716,744,746,764). Disposition: Hearing
             held. Motion is granted as modified in open court. Parties to submit order within 7 days. (hhd) (Entered: 11/10/2022)

       782   Certificate of Service re: Notice of Submission / Certificate of No Objection, filed by Noticing Agent on behalf of Debtor Aearo        11/10/2022
             Technologies LLC (re: Doc # 745). (Baer, Herbert) (Entered: 11/10/2022)

       783   Minute Entry/Order: re: Continued Hearing on Debtor's Application to Employ Kirkland & Ellis LLP as Debtor's Attorney (Verified         11/10/2022
             Statement attached) Objections thereto filed by the US Trustee,Creditor Committee Tort Claimants - CAE Committee and Limited
             Objection filed by Unsecured Creditor Committee - Respirators and Debtors' Reply thereto (re: Doc # 300,695,730,734,750).
             Disposition: Hearing held. Court overrules Objections and grants Debtors' Application to Employ. Counsel for Debtor to submit
             order within 14 days. (hhd) (Entered: 11/10/2022)

       784   Request for Transcript filed by Patricia B. Tomasco on behalf of Creditor Bellwether Plaintiffs Adkins and Vaughn (re: Doc # 778).      11/10/2022
             (Tomasco, Patricia) (Entered: 11/10/2022)

       785   Request for Transcript filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc #           11/10/2022
             772). (Theisen, Meredith) (Entered: 11/10/2022)

       786   Order Granting Application to Employ Houlihan Lokey Capital, Inc. as Other Professional (Investment Banker) (re: Doc #610).             11/10/2022
             (Attachments: (1) Exhibit 1 - Engagement Agreement) Attorney for Creditor Committee Tort Claimants - CAE Committee must
             distribute this order. (cmm) (Entered: 11/10/2022)

       787   Order Granting Application to Employ Province, LLC as Financial Advisor (re: Doc #611). Attorney for Creditor Committee Tort            11/10/2022
             Claimants - CAE Committee must distribute this order. (cmm) (Entered: 11/10/2022)

       788   Order Granting Application to Employ Stretto, Inc. as Other Professional (Information Agent) (re: Doc #688). Attorney for Creditor      11/10/2022
             Committee Tort Claimants - CAE Committee must distribute this order. (cmm) (Entered: 11/10/2022)

       789   Order Granting Application to Employ Mattingly Burke Cohen & Biederman LLP as Creditor Comm. Aty (re: Doc #640). Attorney for           11/10/2022
             Creditor Unsecured Creditor Committee - Respirators must distribute this order. (cmm) (Entered: 11/10/2022)

       790   Order Granting Application to Employ Rochelle McCullough, LLP as Creditor Comm. Aty (re: Doc #642). Attorney for Creditor               11/10/2022
             Unsecured Creditor Committee - Respirators must distribute this order. (cmm) (Entered: 11/10/2022)

       791   Certificate of Service re: Order on Application to Employ, Order on Application to Employ, Order on Application to Employ, filed by     11/10/2022
             Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 786, 787, 788). (Theisen,
             Meredith) (Entered: 11/10/2022)

       792   Order Granting Motion for Protective Order (re: Doc # 716). (Attachments: (1) Exhibit 1 - Declaration of Acknowledgment) Attorney       11/10/2022
             for the debtor must distribute this order. (cmm) (Entered: 11/10/2022)

       793   Agreed Entry Resolving Debtors' Motion to Extend Their Exclusive Periods to File and Solicit Acceptances of a Chapter 11 Plan           11/13/2022
             filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 691). (Attachments: (1) Exhibit A - Proposed
             Order) (Hokanson, Jeffrey) (Entered: 11/13/2022) [Approved by # 802
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3356Kdm_idV44051451Kdoc_numV802Kpdf_headerV1');]

       794   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 11/9/2022. The transcript may be viewed at the          11/14/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 784, 785). Remote electronic access to the transcript is restricted until 02/13/2023. (Bowen, James) (Entered:
             11/14/2022)




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       795   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 11/10/2022. The transcript may be viewed at the        11/14/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 784, 785). Remote electronic access to the transcript is restricted until 02/13/2023. (Bowen, James) (Entered:
             11/14/2022)

       796   Certificate of Service re: Notice of Submission / Notice of Filing 503(B)(9) Report, Reply, Notice of Submission / Agenda For          11/15/2022
             Hearing on (I) Respirator Committee's Certain Retention Applications, (II) CAE Committee's Certain Retention Applications, (III)
             Debtors' Certain Retention Application, and (IV) Certain Debtors' Motions on November 9, 2022, at 9:00 a.m (Prevailing Eastern
             Time), filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 763, 764, 767). (Baer, Herbert) (Entered:
             11/15/2022)

       797   Certificate of Service re: Order on Application to Employ, Order on Application to Employ, filed by Curt Derek Hochbein on behalf of   11/15/2022
             Creditor Unsecured Creditor Committee - Respirators (re: Doc # 789, 790). (Hochbein, Curt) (Entered: 11/15/2022)

       798   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 634). Attorney for Creditor Parker Waichman LLP Plaintiffs           11/15/2022
             must distribute this order. (hhd) (Entered: 11/15/2022)

       799   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 637). Attorney for Creditor The Lanier Law Firm Plaintiffs must      11/15/2022
             distribute this order. (hhd) (Entered: 11/15/2022)

       800   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 638). Attorney for Creditor The Lanier Law Firm Plaintiffs must      11/15/2022
             distribute this order. (hhd) (Entered: 11/15/2022)

       801   Notice of Submission / Notice of Filing 503(B)(9) Report filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC        11/15/2022
             (re: Doc # 537). (Attachments: (1) Exhibit A - 503(b)(9) Report) (Hokanson, Jeffrey) (Entered: 11/15/2022)

       802   Order Approving Agreed Entry (re: Doc # 793). The Clerk's Office will distribute this order. (cmm) (Entered: 11/16/2022)               11/16/2022

       803   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 760). Attorney for the debtor must distribute this order. (hhd)      11/16/2022
             (Entered: 11/16/2022)

       804   Order Granting Application to Employ Kirkland & Ellis LLP as Debtor's Attorney (re: Doc #300). (Attachments: (1) Exhibit 1 -           11/17/2022
             Engagement Letter) Attorney for the debtor must distribute this order. (cmm) (Entered: 11/17/2022)

       805   Notice of Submission of Notice of Service of Deposition Notice filed by Meredith R. Theisen on behalf of Creditor Committee Tort       11/17/2022
             Claimants - CAE Committee. (Attachments: (1) Exhibit A - Notice of Deposition of Charles Mullin, Ph.D.) (Theisen, Meredith)
             (Entered: 11/17/2022)

       806   Appearance filed by James Wehner on behalf of Creditor Committee Tort Claimants - CAE Committee. (Wehner, James) (Entered:             11/17/2022
             11/17/2022)

       807   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: PROVINCE LLC, filed by             11/17/2022
             Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee. OBJECTIONS DUE BY 4:00 PM
             EASTERN ON 12/01/2022 (re: Doc # 541). (Attachments: (1) Exhibit A - Monthly Invoice) (Theisen, Meredith) CORRECTION:
             Missing docket text added in all capitals. Modified on 11/17/2022. (cmm) (Entered: 11/17/2022)

       808   CORRECTED ENTRY: Notice of Omnibus Hearing Schedule filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies                 11/17/2022
             LLC. Omnibus hearings to be held on 2/8/2023 at 09:00 AM Eastern, 3/8/2023 at 09:00 AM Eastern, 4/12/2023 at 09:00 AM
             Eastern, and 5/10/2023 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but
             not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. (Hokanson, Jeffrey)
             ORIGINAL ENTRY: Notice of Omnibus Hearing Schedule filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.
             Omnibus hearing to be held on 2/28/2023 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis. (Hokanson, Jeffrey)
             Modified on 11/18/2022. (cmm) (Entered: 11/17/2022)

       809   Motion to Extend Time to Assume or Reject filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.                      11/18/2022
             (Attachments: (1) Exhibit 1) (Hokanson, Jeffrey) (Entered: 11/18/2022) [Granted by # 817
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3406Kdm_idV44068718Kdoc_numV817Kpdf_headerV1');]

       810   CORRECTED ENTRY: Motion to Assume Unexpired Lease with Colfin 2017-8 Industrial Owner, LLC filed by Jeffrey A Hokanson                 11/18/2022
             on behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit `) (Hokanson, Jeffrey) ORIGINAL ENTRY: Motion to
             Assume Unexpired Lease with Newark Lease filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.
             (Attachments: (1) Exhibit `) (Hokanson, Jeffrey) Modified on 11/21/2022. (cmm) (Entered: 11/18/2022)

       811   Notice of Hearing with Certificate of Service re: Motion to Assume/Reject, filed by Jeffrey A Hokanson on behalf of Debtor Aearo       11/18/2022
             Technologies LLC (re: Doc # 810). Objections due by 4:00 PM Eastern on 12/7/2022. Hearing to be held on 12/14/2022 at 09:00
             AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate may do
             so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397 IF AN OBJECTION IS TIMELY FILED. (Hokanson,
             Jeffrey) CORRECTION: Missing docket text added in all capitals. Modified on 11/18/2022. (cmm) (Entered: 11/18/2022)

       812   Application to Employ Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C. as Other Professional (Verified Statement attached), filed    11/18/2022
             by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee. (Attachments: (1) Exhibit A - Proposed
             Order (2) Exhibit B - Frederick Declaration (3) Exhibit C - Freeman Declaration) (Theisen, Meredith) (Entered: 11/18/2022)

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       813   Certificate of Service re: Application to Employ, filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE     11/18/2022
             Committee (re: Doc # 812). (Theisen, Meredith) (Entered: 11/18/2022)

       814   Notice of Hearing with Certificate of Service re: Application to Employ, filed by Meredith R. Theisen on behalf of Creditor Committee   11/18/2022
             Tort Claimants - CAE Committee (re: Doc # 812). Objections due by 4:00 PM Eastern on 12/7/2022. Hearing to be held on
             12/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively
             participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397 IF AN OBJECTION IS TIMELY
             FILED. (Theisen, Meredith) CORRECTION: Missing docket text added in all capitals. Modified on 11/21/2022. (cmm) (Entered:
             11/18/2022)

       815   BNC Certificate of Service - ORDER (re: Doc # 802). No. of Notices: 11 Notice Date 11/18/2022. (Admin) (Entered: 11/19/2022)            11/18/2022

       816   CORRECTED ENTRY: Monthly Staffing and Compensation Report of AP Services, LLC filed by Jeffrey A Hokanson on behalf of                  11/21/2022
             Debtor Aearo Technologies LLC. Objections due by 4:00 PM Eastern on 12/05/2022. (Hokanson, Jeffrey) ORIGINAL ENTRY:
             Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for Aearo Technologies LLC as
             Other Professional (Fee: $1,973,883.70, Expense: $26,720.12) filed by Attorney Jeffrey A Hokanson on behalf of Debtor Aearo
             Technologies LLC. (Hokanson, Jeffrey) Modified on 11/21/2022. (cmm) (Entered: 11/21/2022)

       817   Order Granting Motion to Extend Time to Assume or Reject (re: Doc # 809). Time to assume or reject extended to 5/22/2023.               11/21/2022
             Attorney for the debtor must distribute this order. (cmm) (Entered: 11/21/2022)

       818   Chapter 11 Report of Operations for October 2022 filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.                11/21/2022
             (Attachments: (1) Exhibit Global Notes) (Hokanson, Jeffrey) (Entered: 11/21/2022)

       819   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: OTTERBOURG P.C.,                    11/21/2022
             filed by Melanie Louise Cyganowski, Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re:
             Doc # 541). (Attachments: (1) Exhibit A - Monthly Invoice) (Theisen, Meredith) CORRECTION: Missing docket text added in all
             capitals. Modified on 11/22/2022. (cmm) (Entered: 11/21/2022)

       820   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: CAPLIN & DRYSDALE,                  11/21/2022
             CHARTERED, filed by Kevin C Maclay, Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re:
             Doc # 541). (Attachments: (1) Exhibit A - Monthly Invoice) (Theisen, Meredith) CORRECTION: Missing docket text added in all
             capitals. Modified on 11/22/2022. (cmm) (Entered: 11/21/2022)

       821   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: BROWN RUDNICK LLP,                  11/21/2022
             filed by David Molton, Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 541).
             (Attachments: (1) Exhibit A - Monthly Invoice) (Theisen, Meredith) CORRECTION: Missing docket text added in all capitals.
             Modified on 11/22/2022. (cmm) (Entered: 11/21/2022)

       822   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: RUBIN & LEVIN, P.C.,                11/21/2022
             filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 541). (Attachments: (1)
             Exhibit A - Monthly Invoice) (Theisen, Meredith) CORRECTION: Missing docket text added in all capitals. Modified on 11/22/2022.
             (cmm) (Entered: 11/21/2022)

       823   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: KTBS LAW LLP, filed by              11/21/2022
             Robert J Pfister, Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 541).
             (Attachments: (1) Exhibit A - Monthly Invoice) (Theisen, Meredith) CORRECTION: Missing docket text added in all capitals.
             Modified on 11/22/2022. (cmm) (Entered: 11/21/2022)

       824   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: PROVINCE LLC, filed by              11/21/2022
             Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 541). (Attachments: (1) Exhibit A -
             Monthly Invoice) (Theisen, Meredith) CORRECTION: Missing docket text added in all capitals. Modified on 11/22/2022. (cmm)
             (Entered: 11/21/2022)

       825   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: HOULIHAN LOKEY                      11/21/2022
             CAPITAL, INC., filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 541).
             (Attachments: (1) Exhibit A - Monthly Invoice) (Theisen, Meredith) CORRECTION: Missing docket text added in all capitals.
             Modified on 11/22/2022. (cmm) (Entered: 11/21/2022)

       826   Certificate of Service re: Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to B-2014-1, Notice of Draw on               11/21/2022
             Retainer/Payment of Fees or Expenses Pursuant to B-2014-1, Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant
             to B-2014-1, Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to B-2014-1, Notice of Draw on Retainer/Payment
             of Fees or Expenses Pursuant to B-2014-1, Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to B-2014-1,
             Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to B-2014-1, filed by Meredith R. Theisen on behalf of Creditor
             Committee Tort Claimants - CAE Committee (re: Doc # 819, 820, 821, 822, 823, 824, 825). (Theisen, Meredith) (Entered:
             11/21/2022)

       827   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: ICE MILLER LLP, filed by            11/22/2022
             Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 672). (Attachments: (1) Exhibit A - Ice Miller Monthly
             Invoice - October 1-31, 2022) (Hokanson, Jeffrey) CORRECTION: Missing docket text added in all capitals. Modified on
             11/22/2022. (cmm) (Entered: 11/22/2022)


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       828   Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for KTBS Law LLP as Creditor               11/22/2022
             Comm. Aty (Fee: $980,896.50, Expense: $7,578.91) filed by Attorneys Robert J Pfister on behalf of Meredith R. Theisen on behalf
             of, Other Professional KTBS Law LLP. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Summary of Itemized Time
             Records (3) Exhibit C - Project Category Itemization (4) Exhibit D - Proposed Staffing Plan (5) Exhibit E - Itemized Time Records)
             (Theisen, Meredith) (Entered: 11/22/2022)

       829   Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for Otterbourg P.C. as Creditor            11/22/2022
             Comm. Aty (Fee: $1,156,348.00, Expense: $5,668.38) filed by Attorneys Melanie Louise Cyganowski on behalf of Meredith R.
             Theisen on behalf of, Other Professional Otterbourg P.C. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Summary of
             Itemized Time Records (3) Exhibit C - Project Category Itemization (4) Exhibit D - Budget vs. Actual (5) Exhibit E - Itemized Time
             Records) (Theisen, Meredith) (Entered: 11/22/2022)

       830   Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for Caplin & Drysdale, Chartered           11/22/2022
             as Creditor Comm. Aty (Fee: $615,690.50, Expense: $4,802.74) filed by Attorneys Kevin C Maclay on behalf of Meredith R.
             Theisen on behalf of, Other Professional Caplin & Drysdale, Chartered. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B -
             Summary of Itemized Time Records (3) Exhibit C - Project Category Itemization (4) Exhibit D - Itemized Time Records) (Theisen,
             Meredith) (Entered: 11/22/2022) [Amended by # 841
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3494Kdm_idV44074686Kdoc_numV841Kpdf_headerV1');]

       831   Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for Brown Rudnick LLP as Creditor          11/22/2022
             Comm. Aty (Fee: $1,268,346.00, Expense: $21,543.73) filed by Attorneys David Molton on behalf of Meredith R. Theisen on behalf
             of, Other Professional Brown Rudnick LLP. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Summary of Itemized Time
             Records (3) Exhibit C - Project Category Itemization (4) Exhibit D - Budget vs. Actual (5) Exhibit E - Itemized Time Records)
             (Theisen, Meredith) (Entered: 11/22/2022) [Amended by # 856
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3554Kdm_idV44078154Kdoc_numV856Kpdf_headerV1');]

       832   Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for Rubin & Levin, P.C. as Creditor        11/22/2022
             Comm. Aty (Fee: $102,427.50, Expense: $2,170.02) filed by Attorney Meredith R. Theisen on behalf of Other Professional Rubin &
             Levin, P.C. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Summary of Itemized Time Records (3) Exhibit C - Project
             Category Itemization (4) Exhibit D - Itemized Time Records) (Theisen, Meredith) (Entered: 11/22/2022)

       833   Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for Province, LLC as Financial             11/22/2022
             Advisor (Fee: $437,242.50, Expense: $523.33) filed by Attorney Meredith R. Theisen on behalf of Other Professional Province,
             LLC. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Summary of Itemized Time Records (3) Exhibit C - Project
             Category Itemization (4) Exhibit D - Itemized Time Records) (Theisen, Meredith) (Entered: 11/22/2022)

       834   Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for Houlihan Lokey Capital, Inc. as        11/22/2022
             Other Professional (Fee: $400,000.00, Expense: $2,008.90) filed by Attorney Meredith R. Theisen on behalf of Other Professional
             Houlihan Lokey Capital, Inc. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Summary of Itemized Time Records (3)
             Exhibit C - Itemized Time Records) (Theisen, Meredith) (Entered: 11/22/2022)

       835   Notice of Hearing with Certificate of Service re: Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec.      11/22/2022
             330, Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330, Application for Compensation and/or
             Reimbursement of Expenses Pursuant to Sec. 330, Application for Compensation and/or Reimbursement of Expenses Pursuant to
             Sec. 330, Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330, Application for Compensation
             and/or Reimbursement of Expenses Pursuant to Sec. 330, Application for Compensation and/or Reimbursement of Expenses
             Pursuant to Sec. 330, filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc #
             828, 829, 830, 831, 832, 833, 834). Hearing to be held on 12/20/2022 at 09:00 AM Eastern via Zoom. Parties that wish to listen but
             not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397 if an objection is timely
             filed. Objections due by 4:00 PM Eastern on 12/13/2022. (Theisen, Meredith) (Entered: 11/22/2022)

       836   Certificate of Service re: Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330, Application for        11/22/2022
             Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330, Application for Compensation and/or Reimbursement of
             Expenses Pursuant to Sec. 330, Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330,
             Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330, Application for Compensation and/or
             Reimbursement of Expenses Pursuant to Sec. 330, Application for Compensation and/or Reimbursement of Expenses Pursuant to
             Sec. 330, filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 828, 829, 830,
             831, 832, 833, 834). (Theisen, Meredith) (Entered: 11/22/2022)

       837   Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for Ice Miller LLP as Debtor's             11/22/2022
             Attorney (Fee: $453,132.50, Expense: $11,682.96) filed by Attorney Jeffrey A Hokanson on behalf of Other Professional Ice Miller
             LLP. (Attachments: (1) Exhibit A - Hokanson Declaration (2) Exhibit B - Customary and Comparable Billing Disclosures (3) Exhibit C
             - Summary of Timekeepers Fees Hours (4) Exhibit D - Summary of Expenses (5) Exhibit E - Compensation by Project Category (6)
             Exhibit F - Ice Miller Invoices) (Hokanson, Jeffrey) (Entered: 11/22/2022)

       838   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: ROCHELLE                          11/22/2022
             MCCULLOUGH, LLP, filed by Shannon Thomas, Curt Derek Hochbein on behalf of Creditor Unsecured Creditor Committee -
             Respirators (re: Doc # 541). (Attachments: (1) Exhibit A - Monthly Invoice) (Hochbein, Curt) CORRECTION: Missing docket text
             added in all capitals. Modified on 11/23/2022. (cmm) (Entered: 11/22/2022)




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       839   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: ROCHELLE                             11/22/2022
             MCCULLOUGH, LLP, filed by Shannon Thomas, Curt Derek Hochbein on behalf of Creditor Unsecured Creditor Committee -
             Respirators (re: Doc # 541). (Attachments: (1) Exhibit A - Monthly Invoice) (Hochbein, Curt) CORRECTION: Missing docket text
             added in all capitals. Modified on 11/23/2022. (cmm) (Entered: 11/22/2022)

       840   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: MATTINGLY BURKE                      11/22/2022
             COHEN & BIEDERMAN LLP, filed by Curt Derek Hochbein on behalf of Creditor Unsecured Creditor Committee - Respirators (re:
             Doc # 541). (Attachments: (1) Exhibit A - Monthly Invoice) (Hochbein, Curt) CORRECTION: Missing docket text added in all
             capitals. Modified on 11/23/2022. (cmm) (Entered: 11/22/2022)

       841   Amended Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for Caplin & Drysdale,                11/22/2022
             Chartered as Creditor Comm. Aty (Fee: $615,690.50, Expense: $4,802.74) filed by Attorneys Kevin C Maclay on behalf of Meredith
             R. Theisen on behalf of, Other Professional Caplin & Drysdale, Chartered (re: Doc # 830). (Attachments: (1) Exhibit A - Proposed
             Order (2) Exhibit B - Summary of Itemized Time Records (3) Exhibit C - Project Category Itemization (4) Exhibit D - Itemized Time
             Records) (Theisen, Meredith) (Entered: 11/22/2022)

       842   Certificate of Service re: Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to B-2014-1, Notice of Draw on                11/23/2022
             Retainer/Payment of Fees or Expenses Pursuant to B-2014-1, Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant
             to B-2014-1, filed by Curt Derek Hochbein on behalf of Creditor Unsecured Creditor Committee - Respirators (re: Doc # 838, 839,
             840). (Hochbein, Curt) (Entered: 11/23/2022)

       843   Notice of Hearing with Certificate of Service re: Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec.         11/23/2022
             330, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 837). Hearing to be held on 12/20/2022 at
             09:00 AM Eastern via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-
             828-7666, Meeting ID 160 2312 6397 if an objection is timely filed. Objections due by 4:00 PM Eastern on 12/14/2022. (Hokanson,
             Jeffrey) (Entered: 11/23/2022)

       844   Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for Mattingly Burke Cohen &                   11/23/2022
             Biederman LLP as Creditor Comm. Aty (Fee: $11,137.50, Expense: $27.04) filed by Attorney Curt Derek Hochbein on behalf of
             Other Professional Mattingly Burke Cohen & Biederman LLP, Creditor Unsecured Creditor Committee - Respirators. (Attachments:
             (1) Exhibit A - Proposed Order (2) Exhibit B - Summary of Itemized Time Records (3) Exhibit C - Project Category Itemization (4)
             Exhibit D - Itemized Time Records) (Hochbein, Curt) (Entered: 11/23/2022)

       845   Deficiency Notice Issued re: Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 (re: Doc #               11/23/2022
             831). Deficiency to be cured by 12/7/2022. (cmm) (Entered: 11/23/2022)

       846   Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for Rochelle McCullough, LLP as               11/23/2022
             Creditor Comm. Aty (Fee: $299,859.50, Expense: $1,401.18) filed by Attorney Curt Derek Hochbein on behalf of Other Professional
             Rochelle McCullough, LLP. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Summary of Itemized Time Records (3)
             Exhibit C - Project Category Itemization (4) Exhibit D - Itemized Time Records) (Hochbein, Curt) (Entered: 11/23/2022)

       847   Motion to Appear Pro Hac Vice with Affidavit in Support filed by David C. Frederick on behalf of Creditor Official Committee of          11/23/2022
             Unsecured Creditors for Tort. (Frederick, David) (Entered: 11/23/2022) [Granted by # 860
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3572Kdm_idV44084303Kdoc_numV860Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               11/23/2022
             Fee amount 100.00 (re: Doc # 847). (U.S. Treasury) (Entered: 11/23/2022)

       848   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Joshua D Branson on behalf of Creditor Official Committee of            11/23/2022
             Unsecured Creditors for Tort. (Branson, Joshua) (Entered: 11/23/2022) [Granted by # 861
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3574Kdm_idV44084320Kdoc_numV861Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.               11/23/2022
             Fee amount 100.00 (re: Doc # 848). (U.S. Treasury) (Entered: 11/23/2022)

       849   Certificate of Service re: Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330, Application for           11/23/2022
             Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330, filed by Curt Derek Hochbein on behalf of Creditor
             Unsecured Creditor Committee - Respirators (re: Doc # 844, 846). (Hochbein, Curt) (Entered: 11/23/2022)

       850   Notice of Hearing with Certificate of Service re: Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec.         11/23/2022
             330, Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330, filed by Curt Derek Hochbein on
             behalf of Creditor Unsecured Creditor Committee - Respirators (re: Doc # 844, 846). Hearing to be held on 12/20/2022 at 09:00 AM
             Eastern via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666,
             Meeting ID 160 2312 6397 if an objection is timely filed. Objections due by 4:00 PM Eastern on 12/14/2022. (Hochbein, Curt)
             (Entered: 11/23/2022)

       851   Certificate of Service re: Notice of Submission / Notice of Filing 503(B)(9) Report, filed by Noticing Agent on behalf of Debtor Aearo   11/23/2022
             Technologies LLC (re: Doc # 801). (Baer, Herbert) (Entered: 11/23/2022)

       852   Certificate of Service re: Motion to Extend Time to Assume or Reject, Motion to Assume/Reject, Hearing Notice, filed by Noticing         11/23/2022
             Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 809, 810, 811). (Baer, Herbert) (Entered: 11/23/2022)


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       853   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: MCDONALD HOPKINS                  11/23/2022
             LLC, filed by Jeffrey A Hokanson on behalf of Other Professional McDonald Hopkins LLC (re: Doc # 680). (Attachments: (1) Exhibit
             A - McDonald Hopkins' October 2022 Invoice) (Hokanson, Jeffrey) CORRECTION: Missing docket text added in all capitals.
             Modified on 11/28/2022. (cmm) (Entered: 11/23/2022)

       854   Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for McDonald Hopkins LLC as                11/23/2022
             Special Counsel (Fee: $363,751.50, Expense: $6,396.79) filed by Attorney Jeffrey A Hokanson on behalf of Other Professional
             McDonald Hopkins LLC. (Attachments: (1) Exhibit A - Agay Declaration (2) Exhibit B - Retention Order (3) Exhibit C - Engagement
             Letter (4) Exhibit D - Budget and Staffing Plan (5) Exhibit E - Voluntary Rate Disclosure (6) Exhibit F - Summary of Fees and Hours
             (7) Exhibit G - Summary of Expenses (8) Exhibit H - Fees and Expenses by Matter (9) Exhibit I - Invoices) (Hokanson, Jeffrey)
             (Entered: 11/23/2022)

       855   Notice of Hearing with Certificate of Service re: Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec.      11/23/2022
             330, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 854). Hearing to be held on 12/20/2022 at
             09:00 AM Eastern via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-
             828-7666, Meeting ID 160 2312 6397 if an objection is timely filed. Objections due by 4:00 PM Eastern on 12/14/2022. (Hokanson,
             Jeffrey) (Entered: 11/23/2022)

       856   Amended Application for Interim Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330 for Brown Rudnick LLP              11/23/2022
             as Special Counsel (Fee: $1,268,346.00, Expense: $21,543.73) filed by Attorneys David Molton on behalf of Meredith R. Theisen
             on behalf of, Other Professional Brown Rudnick LLP (re: Doc # 831). (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B -
             Summary of Itemized Time Records (3) Exhibit C - Project Category Itemization (4) Exhibit D - Budget vs. Actual (5) Exhibit E -
             Itemized Time Records) (Theisen, Meredith) (Entered: 11/23/2022)

       857   Notice of Hearing with Certificate of Service re: Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec.      11/23/2022
             330, Application for Compensation and/or Reimbursement of Expenses Pursuant to Sec. 330, filed by Meredith R. Theisen on
             behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 841, 856). Hearing to be held on 12/20/2022 at 09:00 AM
             Eastern via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666,
             Meeting ID 160 2312 6397 if an objection is timely filed. Objections due by 4:00 PM Eastern on 12/14/2022. (Theisen, Meredith)
             (Entered: 11/23/2022)

       858   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 RE: KIRKLAND & ELLIS LLP              11/25/2022
             AND KIRKLAND & ELLIS INTERNATIONAL LLP, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc
             # 804). (Attachments: (1) Exhibit 1) (Hokanson, Jeffrey) CORRECTION: Missing docket text added in all capitals. Modified on
             11/28/2022. (cmm) (Entered: 11/25/2022)

       859   Appearance filed by Wendy D Brewer on behalf of Interested Party Wagstaff & Cartmell, LLP. (Brewer, Wendy) (Entered:                  11/28/2022
             11/28/2022)

       860   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 847). Attorney for Creditor Official Committee of Unsecured Creditors for     11/28/2022
             Tort must distribute this order. (hhd) (Entered: 11/28/2022)

       861   Order Granting Motion to Appear Pro Hac Vice (re: Doc # 848). Attorney for Creditor Official Committee of Unsecured Creditors for     11/28/2022
             Tort must distribute this order. (hhd) (Entered: 11/28/2022)

       862   Notice of Submission of Reservation of Rights of the Official CAE Committee in Response to the Debtors' Application for an Order      11/28/2022
             Authorizing Retention and Employment of Bates White, LLC as Claims Valuation Consultants filed by Meredith R. Theisen on
             behalf of Creditor Committee Tort Claimants - CAE Committee (re: Doc # 304). (Theisen, Meredith) (Entered: 11/28/2022)

       863   Supplemental Declaration re: Application to Employ filed by Meredith R. Theisen on behalf of Creditor Committee Tort Claimants -      11/28/2022
             CAE Committee (re: Doc # 568). (Theisen, Meredith) (Entered: 11/28/2022)

       864   Application to Employ Clement & Murphy PLLC as Special Counsel (Verified Statement attached), filed by Jeffrey A Hokanson on          11/28/2022
             behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A - Proposed Order (2) Exhibit B - Clement Declaration (3)
             Exhibit C - Castellano Declaration) (Hokanson, Jeffrey) (Entered: 11/28/2022)

       865   Notice of Hearing with Certificate of Service re: Application to Employ, filed by Jeffrey A Hokanson on behalf of Debtor Aearo        11/29/2022
             Technologies LLC (re: Doc # 864). Hearing to be held on 1/11/2023 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis
             and via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666,
             Meeting ID 160 2312 6397 if an objection is timely filed. Objections due by 4:00 PM Eastern on 01/04/2023. (Hokanson, Jeffrey)
             (Entered: 11/29/2022)

       866   Amended Order Granting Motion to Continue Hearing on Debtors' Application for Retention and Employment of Bates White, LLC            11/29/2022
             as Claims Valuation Consultants as of the Petition Date (re: Doc # 749). Hearing converted from live in person hearing to ZOOM
             ONLY. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160
             2312 6397. The Clerk's Office will distribute this order. (hhd) (Entered: 11/29/2022)

       867   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 for AP Services, LLC filed by         11/30/2022
             Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 678). (Attachments: (1) Exhibit A (2) Exhibit B (3)
             Exhibit C (4) Exhibit D) (Hokanson, Jeffrey) (Entered: 11/30/2022)



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       868   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Derek Reinbold on behalf of Creditor Official Committee of             12/01/2022
             Unsecured Creditors for Tort. (Reinbold, Derek) (Entered: 12/01/2022) [Corrected by # 870
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3620Kdm_idV44099717Kdoc_numV870Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              12/01/2022
             Fee amount 100.00 (re: Doc # 868). (U.S. Treasury) (Entered: 12/01/2022)

       869   Motion to Appear Pro Hac Vice with Affidavit in Support filed by Eden Mirelle Bernstein on behalf of Creditor Official Committee of     12/01/2022
             Unsecured Creditors for Tort. (Bernstein, Eden) (Entered: 12/01/2022) [Corrected by # 871
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3625Kdm_idV44099729Kdoc_numV871Kpdf_headerV1');]

             Receipt of Motion to Appear Pro Hac Vice( 22-02890-JJG-11) [motion,mprohac] (100.00) Filing Fee. Receipt number AXXXXXXXX.              12/01/2022
             Fee amount 100.00 (re: Doc # 869). (U.S. Treasury) (Entered: 12/01/2022)

       870   Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Derek Reinbold on behalf of Creditor Committee Tort          12/01/2022
             Claimants - CAE Committee (re: Doc # 868). (Reinbold, Derek) (Entered: 12/01/2022) [Granted by # 888
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3677Kdm_idV44115050Kdoc_numV888Kpdf_headerV1');]

       871   Corrected Motion to Appear Pro Hac Vice with Affidavit in Support filed by Eden Mirelle Bernstein on behalf of Creditor Committee       12/01/2022
             Tort Claimants - CAE Committee (re: Doc # 869). (Bernstein, Eden) (Entered: 12/01/2022) [Granted by # 889
             CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3679Kdm_idV44115053Kdoc_numV889Kpdf_headerV1');]

       872   BNC Certificate of Service - ORDER (re: Doc # 866). No. of Notices: 14 Notice Date 12/01/2022. (Admin) (Entered: 12/02/2022)            12/01/2022

       873   Certificate of Service re: Hearing Notice, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 865).          12/02/2022
             (Baer, Herbert) (Entered: 12/02/2022)

       874   Notice of Submission / Notice of Filing 503(B)(9) Report filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC.        12/02/2022
             (Attachments: (1) Exhibit 1) (Hokanson, Jeffrey) (Entered: 12/02/2022)

       875   Certificate of Service re: Order on Motion to Extend Time to Assume or Reject, Chapter 11 Report of Operations, filed by Noticing       12/02/2022
             Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 817, 818). (Baer, Herbert) (Entered: 12/02/2022)

       876   Certificate of Service re: Application to Employ, filed by Noticing Agent on behalf of Debtor Aearo Technologies LLC (re: Doc # 864).   12/02/2022
             (Baer, Herbert) (Entered: 12/02/2022)

       877   Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to Local Rule S.D.Ind. B-2014-1 for Kirkland & Ellis LLP filed          12/02/2022
             by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 804). (Attachments: (1) Exhibit 1) (Hokanson,
             Jeffrey) (Entered: 12/02/2022)

       878   Minute Entry/Order: re: Continued VIDEO Hearing on Debtor's Amended Application to Employ Bates White, LLC as Other                     12/05/2022
             Professional (Verified Statement attached) (re: Doc # 304). Disposition: Video Hearing held. Court approves Application as
             modified by proposed order. Order to be entered. (hhd) (Entered: 12/05/2022)

       879   Request for Transcript filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 657). (Hokanson,               12/05/2022
             Jeffrey) (Entered: 12/05/2022)

       880   Order Granting Application to Employ Bates White, LLC as Other Professional (Claims Valuation Consultants) (re: Doc #304).              12/05/2022
             (Attachments: (1) Exhibit 1 - Engagement Letter) Attorney for the debtor must distribute this order. (cmm) (Entered: 12/05/2022)

       881   Certificate of Service re: Notice of Draw on Retainer/Payment of Fees or Expenses Pursuant to B-2014-1, filed by Noticing Agent         12/06/2022
             on behalf of Debtor Aearo Technologies LLC (re: Doc # 867). (Baer, Herbert) (Entered: 12/06/2022)

       882   Notice of Submission / Notice of Second Amendment to the List of Ordinary Course Professionals filed by Jeffrey A Hokanson on           12/06/2022
             behalf of Debtor Aearo Technologies LLC (re: Doc # 307, 546). (Attachments: (1) Exhibit A (2) Exhibit B) (Hokanson, Jeffrey)
             (Entered: 12/06/2022)

       883   Declaration re: Order on Motion for Authority filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc #         12/06/2022
             546). (Hokanson, Jeffrey) (Entered: 12/06/2022)

       884   CORRECTED ENTRY: Debtors' Motion for Entry of an Order (I) Amending the Order Authorizing Participation in the MDL                      12/06/2022
             Mediation, (II) Appointing the Honorable Christopher S. Sontchi, Ret. as Replacement Co-Mediator in the MDL Mediation, (III)
             Authorizing Payment of Mediation Fees and Costs, and (IV) Granting Related Relief filed by Jeffrey A Hokanson on behalf of
             Debtor Aearo Technologies LLC (re: Doc # 477) (Attachments: (1) Exhibit A (2) Exhibit B) (Hokanson, Jeffrey) ORIGINAL ENTRY:
             Motion for Relief from Judgment/Order Pursuant to Fed.R.Bankr.P. 9024 filed by Jeffrey A Hokanson on behalf of Debtor Aearo
             Technologies LLC (re: Doc # 477). (Attachments: (1) Exhibit A (2) Exhibit B) (Hokanson, Jeffrey) Modified on 12/7/2022. (cmm)
             (Entered: 12/06/2022)




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       885   CORRECTED ENTRY: Debtors' Motion for (I) An Expedited Hearing on the Replacement Co-Mediator Motion and (II) Granting                     12/06/2022
             Related Relief filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 884) (Attachments: (1) Exhibit A)
             (Hokanson, Jeffrey) ORIGINAL ENTRY: Motion for Expedited Hearing and/or Shortened Notice Time on Motion for Relief from
             Judgment/Order Pursuant to Fed.R.Bankr.P. 9024, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re:
             Doc # 884). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) Modified on 12/7/2022. (cmm) (Entered: 12/06/2022) [Granted by #
             891 CMECF.widget.DocLink('documentKcaseidV741797Kde_seq_numV3687Kdm_idV44116737Kdoc_numV891Kpdf_headerV1');]

       886   Supplemental Motion for Authority / Supplement to the Debtors Motion for Entry of an Order (I) Appointing the Honorable James M.          12/06/2022
             Carr and Randi S. Ellis As Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters, (II) Referring Such
             Matters to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting Related Relief filed by
             Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit A (2) Exhibit B) (Hokanson, Jeffrey)
             (Entered: 12/06/2022)

       887   Motion for Authority / Debtors' Motion for Entry of an Order (I) Setting Bar Dates for Filing Proofs of Claim, (II) Approving (A) Claim   12/06/2022
             Forms and Procedures for Filing Proofs of Claim, (B) Form and Manner of Notice of Bar Dates, and (C) Confidentiality Procedures;
             and (III) Granting Related Relief filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC. (Attachments: (1) Exhibit
             A (2) Exhibit B (3) Exhibit C (4) Exhibit D (5) Exhibit E (6) Exhibit F) (Hokanson, Jeffrey) (Entered: 12/06/2022)

       888   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 870). Attorney for Creditor Committee Tort Claimants - CAE              12/07/2022
             Committee must distribute this order. (hhd) (Entered: 12/07/2022)

       889   Order Granting Corrected Motion to Appear Pro Hac Vice (re: Doc # 871). Attorney for Creditor Committee Tort Claimants - CAE              12/07/2022
             Committee must distribute this order. (hhd) (Entered: 12/07/2022)

       890   Resignation of James M. Carr as Co-Mediator (re: Doc # 477). (nar) (Entered: 12/07/2022)                                                  12/07/2022

       891   Order Granting Motion for Expedited Hearing and Shortened Notice Time (re: Doc #885). Hearing to be held on 12/14/2022 at                 12/07/2022
             09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate
             may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. Objections due by 4:00 PM Eastern on
             12/12/2022. Replies to objections due by 4:00 PM Eastern on 12/13/2022. Attorney for the debtor must distribute this order. (cmm)
             (Entered: 12/07/2022)

       892   Official Court Notice Setting Status Conference on Debtors' Motion for Entry of an Order (I) Setting Bar Dates for Filing Proofs of       12/07/2022
             Claim, (II) Approving (A) Claim Forms and Procedures for Filing Proofs of Claim, (B) Form and Manner of Notice of Bar Dates, and
             (C) Confidentiality Procedures; and (III) Granting Related Relief (re: Doc # 887). Status Conference to be held on 12/14/2022 at
             09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis and via Zoom. Parties that wish to listen but not actively participate
             may do so by phone at 551-285-1373 or 646-828-7666, Meeting ID 160 2312 6397. (hhd) (Entered: 12/07/2022)

       893   Notice of Submission of Reservation of Rights of the CAE Committee in Response to the Debtors' Motion to Approve a Stipulation            12/07/2022
             Lifting the Automatic Stay as to Three Minnesota State Court Plaintiffs filed by Meredith R. Theisen on behalf of Creditor Committee
             Tort Claimants - CAE Committee (re: Doc # 737). (Theisen, Meredith) (Entered: 12/07/2022)

       894   Notice of Hearing with Certificate of Service re: Motion for Authority / Debtors' Motion for Entry of an Order (I) Appointing the         12/07/2022
             Honorable James M. Carr and Randi S. Ellis as Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters,
             (II) Referring Such Matters to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting
             Related Relief, Supplemental Motion for Authority / Supplement to the Debtors Motion for Entry of an Order (I) Appointing the
             Honorable James M. Carr and Randi S. Ellis As Co-Mediators to Mediate the Chapter 11 Plan and Confirmation Related Matters,
             (II) Referring Such Matters to Mediation, (III) Directing the Mediation Parties to Participate in the Mediation, and (IV) Granting
             Related Relief, filed by Jeffrey A Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 466, 886). Objections due by
             4:00 PM Eastern on 12/7/2022. Hearing to be held on 12/14/2022 at 09:00 AM Eastern in Rm 311 U.S. Courthouse, Indianapolis
             and via Zoom. Parties that wish to listen but not actively participate may do so by phone at 551-285-1373 or 646-828-7666,
             Meeting ID 160 2312 6397. (Hokanson, Jeffrey) (Entered: 12/07/2022)

       895   Notice of Submission / Certificate of No Objection with Respect to Debtors' Motion for Entry of an Order (A) Authorizing the Debtors      12/07/2022
             to Assume a Certain Unexpired Lease of Nonresidential Real Property and (B) Granting Related Relief filed by Jeffrey A Hokanson
             on behalf of Debtor Aearo Technologies LLC (re: Doc # 810). (Attachments: (1) Exhibit A) (Hokanson, Jeffrey) (Entered:
             12/07/2022)

       896   Notice of Submission / Certificate of No Objection with Respect to Debtors Motion to Approve a Stipulation Lifting the Automatic          12/07/2022
             Stay to Permit Three Minnesota State Court Plaintiffs to Dismiss Their Cases Against the Debtors with Prejudice filed by Jeffrey A
             Hokanson on behalf of Debtor Aearo Technologies LLC (re: Doc # 737, 739). (Hokanson, Jeffrey) (Entered: 12/07/2022)

       897   Notice of Submission of Certificate of No Objection with Respect to Application of the Official Committee of Unsecured Creditors for      12/08/2022
             Tort Claimants - Related to Use of Combat Arms Version 2 Earplugs to Retain and Employ Kellogg, Hansen, Todd, Figel &
             Frederick, P.L.L.C. as Special Appellate Counsel Effective as of October 25, 2022 filed by Meredith R. Theisen on behalf of Creditor
             Committee Tort Claimants - CAE Committee (re: Doc # 812). (Theisen, Meredith) (Entered: 12/08/2022)

       898   Transcript filed by J & J Court Transcribers, Inc. regarding trial/hearing held 10/12/2022. The transcript may be viewed at the           12/08/2022
             Bankruptcy Court Clerk's Office or purchased from the transcriber: J & J Court Transcribers, Inc., 609-586-2311. Notice issued re:
             deadlines (re: Doc # 879). Remote electronic access to the transcript is restricted until 03/08/2023. (Bowen, James) (Entered:
             12/08/2022)


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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    AEARO TECHNOLOGIES LLC, et al.,1                                 ) Case No. 22-02890-JJG-11
                                                                     )
                              Debtors.                               ) Jointly Administered
                                                                     )
                                                                     )
    3M OCCUPATIONAL SAFETY LLC,     )
    AEARO HOLDING LLC, AEARO        )
    INTERMEDIATE LLC, AEARO LLC,    )
    AND AEARO TECHNOLOGIES LLC,     )
                                    ) Adv. Pro. No. 22-50059
        Plaintiffs,                 )
    v.                              )
                                    )
    THOSE      PARTIES  LISTED  ON )
    APPENDIX A TO THE COMPLAINT and )
    JOHN AND JANE DOES 1-1000,      )
                                    )
        Defendants.                 )
                                    )




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are set forth in the Order (I) Directing Joint Administration of Chapter 11 Cases and (II) Granting
      Related Relief, entered by the Court for each consolidated Debtor [Docket Nos. 37–42]. The location of the
      Debtors’ service address for the purposes of these chapter 11 cases is 7911 Zionsville Road,
      Indianapolis, Indiana 46268.




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                 STIPULATED FACTS REGARDING THE MDL
                      AND MINNESOTA LITIGATION

       Debtors 3M Occupational Safety LLC, Aearo Holding LLC, Aearo

Intermediate LLC, Aearo LLC, and Aearo Technologies LLC, (collectively, the

“Debtors” or the “Plaintiffs”) and objectors (a) Bailey Glasser and Pulaski

Khernkher Plaintiffs, (b) claimants represented by Paul LLP, (c) claimants

represented by Keller Postman LLC, and (d) claimants represented by Aylstock,

Witkin, Kreis & Overholtz, PLLC; Seeger Weiss LLP; Quinn Emanuel Urquhart &

Sullivan, LLP; Clark, Love & Hutson, PLLC; Cory Watson, P.C.; Heninger Garrison

Davis, LLC; The Gori Law Firm, P.C.; Tracey Fox King & Walters and The Johnson

Law Group; and Weitz & Luxenberg, PC (the “Objectors,” and together with the

Debtors, the “Parties”) submit the below stipulated facts regarding the Combat Arms

MDL and related litigation in Minnesota. These facts are stipulated only for

purposes of the August 15, 2022 hearing on the Debtors’ Motion for Declaratory

and Injunctive Relief (I) Confirming that the Automatic Stay Applies to Certain

Actions Against a Non-Debtor and (II) Preliminarily Enjoining Certain Actions

Against a Non-Debtor (Dkt. No. 110).2 Quotes from orders, transcripts, pleadings,

correspondence, and other submissions below are not being offered for the

truth. Further, the parties reserve all rights to propose additional stipulations of fact


2
    This Proposed Stipulation of Facts is being submitted without underlying exhibits. The
    parties will submit underlying exhibits to the Court upon request.

                                               2


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and/or seek to admit additional facts and evidence from the Combat Arms MDL

proceedings and related litigation in Minnesota.

      1.     3M Company (“3M”) and Debtors Aearo Technologies LLC, 3M

Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC and Aearo

LLC (together with 3M, the “Defendants”) are co-defendants in a consolidated

multi-district litigation proceeding (the “MDL”) in the United States District Court

for the Northern District of Florida (the “MDL court”) in Case No. 3:19-MD-2885.

The cases were consolidated pursuant to an April 3, 2019 order of the United States

Judicial Panel on Multidistrict Litigation.

      2.     On May 20, 2019, the MDL Court hosted a Touhy Presentation by

AUSA Leah Butler, AUSA Kathryn Drey, and Maj. Collin Evans. At that

presentation, Major Evans stated the following: “But what I want you to understand

is the approval doesn’t mean you’re going to get it very quickly.” (Tr. at 23:24-24:1.)

      3.     On August 26, 2019, the Defendants signed a tolling agreement for

Combat Arms Earplug claims. The tolling agreement expired on December 20,

2021. Several hundred individual firms signed onto the tolling agreement before the

October 4, 2019 initial date.

      4.     On August 26, 2019, the MDL Court held its Fourth Case Management

Conference. The MDL Court announced that “the parties have entered into a tolling

agreement” and that “Plaintiffs are continuing to submit their Touhy requests to the


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DoD. . . hopefully are on track for identifying and getting our hands around the

census of this litigation as quickly as possible, but that is going to take some time.”

(Tr. at 6:7-12.)

      5.     On September 20, 2019, MDL plaintiffs filed the Master Long Form

Complaint and Jury Trial Demand (“Master Complaint”). The MDL plaintiffs allege

in the Master Complaint that “Defendants are jointly and severally liable to Plaintiffs

for their individual and collective tortious acts.” (¶ 206.)

      6.     On October 25, 2019, the MDL Court held its Sixth Case Management

Conference. The Court stated that it was appointing retired Judge David Herndon as

a “special master helping us all wade through the military DoD document production

issues that we have and also helping us facilitate the ultimate resolution of the

affirmative defenses of 3M.” (Tr. at 3:15-18.)

      7.     On November 25, 2019, the MDL court issued Case Management

Order No. 6. Case Management Order No. 6 states the following:

             The initial census deadlines in Pretrial Order No. 18, ECF
             No. 775—including the deadlines for submission of Initial
             Census Questionnaire and for production of Initial Census
             Documents, as well as the related deficiency process
             deadlines—are hereby suspended, until further order. (P.
             at 1.)

      8.     On February 13, 2020, the MDL court issued Pretrial Order No. 27

(Suspension of Initial Census Deadlines). The Order states that “all initial census

deadlines are SUSPENDED, until further order. This includes initial census

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deadlines for cases on the 3M MDL docket, as well as cases on the 3M

Administrative Docket.” (P. at 1.)

       9.     On July 28, 2021, the MDL court issued Pretrial Order No. 81. The

Order states that “the Court hereby reinstates the Initial Census Question

requirement set forth in Pretrial Order No. 18 for all claimants who have not yet

completed census forms.3“ (P. at 1.).

       10.    On July 28, 2022, the MDL court issued an order regarding DD214 and

census form deadlines (Pretrial Order No. 81). The Order states that “[a]ny plaintiff

currently subject to a DD214 or census form deadline whose time for compliance

has not already expired is relieved of the obligation to submit the applicable

materials at this time.” (P. at 1.).

       11.    On July 16, 2019, the MDL Court entered an order, Privacy Act Order

No. 1. Plaintiffs requested “an order authorizing complete disclosure of certain

confidential information in the custody, control, or possession of the Department of

Defense, Defense Logistics Agency, and the United States Army, Navy, Marine

Corps, Air Force, and/or Coast Guard (the “United States’ Agencies”) for use in the

above-captioned litigation.” This request was submitted on behalf of approximately

350 MDL claimants. The Court stated that disclosure of this information is governed


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    As of July 14, 2021, there were approximately 154,538 claimants in the MDL who have not
    completed census forms.

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by Privacy Act, 5 U.S.C. § 552a, which, inter alia, allows federal government

agencies to release records maintained on individuals “pursuant to the order of a

court of competent jurisdiction.” See 5 U.S.C. § 552a(b)(11.) The MDL Court

ordered the United States’ Agencies to “produce all records maintained on the” MDL

claimants that were the subject of Plaintiffs’ request “that are responsive to

Plaintiffs’ accompanying Touhy request . . . .”

      12.    The MDL Court entered a series of similar Privacy Act Orders. These

requests were submitted on behalf of the following approximate number of MDL

claimants per Privacy Act Order:

                33,000 (Privacy Act Order No. 2)
                12,000 (Privacy Act Order No. 3)
                13,000 (Privacy Act Order No. 4)
                38,000 (Privacy Act Order No. 5)
                6,000 (Privacy Act Order No. 6)
                6,000 (Privacy Act Order No. 7)
                6,000 (Privacy Act Order No. 8)
                100,000 (Privacy Act Order No. 9)
                10,000 (Privacy Act Order No. 10)
                18 (Privacy Act Order No. 11)
                7,500 (Privacy Act Order No. 12)
                3,700 (Privacy Act Order No. 13)
                25 (Privacy Act Order No. 14)
                4,000 (Privacy Act Order No. 15)
                7,000 (Privacy Act Order No. 16)
                6,000 (Privacy Act Order No. 17)
                4,000 (Privacy Act Order No. 18)
                7,800 (Privacy Act Order No. 19)
                6,800 (Privacy Act Order No. 20)
                8,000 (Privacy Act Order No. 21)

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               10,000 (Privacy Act Order No. 22)
               5,000 (Privacy Act Order No. 23)
               2,500 (Privacy Act Order No. 24)
               6,000 (Privacy Act Order No. 25)
               3,500 (Privacy Act Order No. 26)
               3,500 (Privacy Act Order No. 27)
               6,000 (Privacy Act Order No. 28)
               2,500 (Privacy Act Order No. 29)
               4,500 (Privacy Act Order No. 30)
               3,500 (Privacy Act Order No. 31)
               3,000 (Privacy Act Order No. 32)
               3,500 (Privacy Act Order No. 33)
               4,000 (Privacy Act Order No. 34)
               3,000 (Privacy Act Order No. 35)
               5,000 (Privacy Act Order No. 36)
               4,000 (Privacy Act Order No. 37)
               158 (Privacy Act Order No. 38)
               3,500 (Privacy Act Order No. 39)
               3,500 (Privacy Act Order No. 40)
               3,500 (Privacy Act Order No. 41)
               8,500 (Privacy Act Order No. 42)
               3,500 (Privacy Act Order No. 43)
               1,000 (Privacy Act Order No. 44)
      13.   On December 3, 2019, plaintiff Christopher Graves filed a complaint

against Debtors and 3M in Minnesota state court. The complaint contains the

following allegations:

            This is a failure to warn product liability action related to
            an earplug manufactured and sold by Defendants. Plaintiff
            used Defendants’ dual-ended Combat Arms Earplugs -
            Version 2 and, as a result of Defendants’ failure to warn,
            now suffers from hearing loss and tinnitus. Defendants
            knew the earplugs needed to be inserted in a particular
            manner in order to have any effectiveness. But the
            Defendants failed to warn potential purchasers of the
            danger of failing to do so. (¶ 1.)
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      14.   The parties to the MDL proceeding drafted a tolling agreement

addendum, which was executed by Defendants on October 15, 2019 and Plaintiffs’

Leadership on October 22, 2019. This addendum allowed several deadlines in the

tolling agreement to be changed only with Court approval.

      15.   On October 22, 2019, the MDL court issued Pretrial Order No. 18

(Initial Census Requirements for Filed Cases). The MDL court’s order states that

“Plaintiff’s answers to the Initial Census Questions will be made under penalty of

perjury.” (P. at 2.) The MDL Court ordered “[f]or all cases filed in or transferred

into MDL 2885 on or before [October 22, 2019], the ‘First document Deadline’ is

November 6, 2019. For all cases filed in or transferred into MDL 2885 after the date

of this Order, the ‘First Document Deadline’ will be forty-five (45) days from the

date the case was filed in or transferred into MDL 2885. For all cases filed in or

transferred into MDL 2885 on or before the date of this Order, the ‘Final Document

Deadline’ is January 13, 2020. For all cases filed in or transferred into MDL 2885

after the date of this Order, the ‘Final Document Deadline’ will be one hundred and

twenty (120) days from the date the case was filed in or transferred into MDL 2885.”

      16.   As of November 7, 2019, 113,478 individual cases had been listed on

executed Tolling Agreement Exhibit A’s from over 190 law firms.

      17.   On December 6, 2019, the MDL court issued Pretrial Order No. 20

(Inactive Administrative Docket).


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      18.    On December 8, 2019, the MDL court issued Pretrial Order No. 21

(Amendments to Pretrial Order No. 21 – Administrative Docket.) The MDL court

ordered amendments and clarifications to Pretrial Order 20 including: requiring “the

first phase of Short Form Complaint submissions be comprised of currently unfiled

claims from Lead Counsel, Co-Lead Counsel and the Executive Committee;”

clarifying that “all Short Form Complaint submissions must be completed through

the MDL Centrality system in accordance with any submission procedures

established by BrownGreer PLC;” preserving “the parties’ rights under Lexecon Inc.

v. Milberg Weiss, 523 U.S. 26 (1998);” requiring “that an inactive plaintiff must

transition his or her case from the inactive administrative docket to the active 3M

MDL docket, 3:19md2885, within 60 days (as opposed to 30 days) after fulfilling

his or her initial census obligations;” and, requiring “that once an inactive case is

transitioned to the active 3M MDL docket, the plaintiff must file a Notice of

Designated Forum on his or her individual docket within 10 days, identifying the

federal district in which he or she would have filed his or her case in the absence of

direct filing on the inactive administrative docket.” On January 7, 2020, the MDL

court issued Administrative Docket Order No. 1, which replaced and superseded the

MDL court’s two prior administrative docket orders. See In re 3M Administrative

Docket (No. 3:19-mc-00087), ECF No. 3.




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      19.    On December 22, 2020, Plaintiffs in the MDL filed a Reply

Memorandum in Support of Their Motion for Consolidation of Bellwether Group A

for Trial. The Court may take judicial notice that Plaintiffs stated the following the

Reply:

             As to injury, 3M’s Appendix A demonstrates that the
             Group A Bellwethers have more in common than not: All
             five allege their use of the CAEv2 caused their tinnitus,
             and four of the five plaintiffs allege it also caused noise-
             induced hearing loss. ECF 1566 App. A. All received the
             CAEv2 in the course of military service, will use the same
             evidence to prove that 3M concealed information
             regarding the risks of the CAEv2, and allege injuries
             suffered during military training. ECF 1551 at 5. The
             individual issues regarding specific causation are
             secondary to the common issues regarding the design,
             testing, manufacture, marketing, and sale of the CAEv2
             that will be proved through common documents,
             witnesses, and experts—i.e. whether, due to its design
             and/or warnings, the CAEv2 provided users with
             inadequate protection from loud noise. (Pp. 6-7.)

      20.    On December 30, 2020, the MDL Court issued an Order ruling on

Plaintiffs’ Motion for Consolidation of Bellwether Group A for Trial. The MDL

Court stated the following:

             The Court has carefully considered the above standard in light of the
             parties’ arguments and finds that the efficiencies to be gained by
             consolidation of Estes, Keefer, and Hacker’s cases for trial far outweigh
             any potential prejudice to Defendants or potential risk of jury
             confusion, given the substantial overlap in the issues, facts, witnesses,
             and other evidence, as well as the potential similarities in the state laws
             applicable to their claims. (P. 2.)



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      21.   On July 2, 2021, the MDL Court issued an Order ruling on Plaintiffs’

Motion for Consolidation of Bellwether Group B for trial. The MDL Court stated

the following:

            The Court has carefully considered the above standard in
            light of the parties’ arguments and finds that the
            efficiencies to be gained by consolidation of Hensley,
            Sloan, and Wayman’s cases for trial outweigh any
            potential prejudice to Defendants or potential risk of jury
            confusion, given the substantial overlap in the issues,
            facts, witnesses, and other evidence. Based on its
            experience with the consolidated trial for Luke Estes,
            Stephen Hacker, and Lewis Keefer (collectively, “EHK”)
            and after presiding over two individual trials (Dustin
            McCombs and Lloyd Baker), the Court readily concludes
            that the vast majority of the parties’ trial presentations
            overwhelmingly feature liability evidence common to all
            plaintiffs in the litigation. (Pp. 2-3.)

      22.   On January 14, 2020, the MDL Court held its Eighth Case Management

Conference. The MDL Court stated that:

            The Veterans Administration has agreed to proceed on a
            priority basis with the Privacy Act request for records for
            the 25 bellwether cases. Beyond that, we were very
            hopeful of a coordinated sort of organized and priority
            process for our remaining cases in this litigation.

            We actually visited with the VA and the DOJ in D.C. a
            few weeks ago in an effort to, again, try to encourage the
            agency to develop a process that would work for us and
            would work for them. I mean, obviously with the volume
            of plaintiffs that we have in this litigation, it is a
            considerable effort on their part to respond in the
            traditional manner to those requests. And obviously for us,
            if they respond in the traditional manner, that is going to
            be a significant amount of time for us here in this litigation.

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             Our efforts were not entirely successful, and those
             discussions continue. We just actually received word this
             morning that what we were hoping was going to be put
             into place as far as an efficient process doesn’t appear like
             that’s going to happen, although Judge Herndon is going
             to give it another try and maybe he’ll be able to convince
             them of handling in a fashion we have hoped for.

             Otherwise, what we’ve discussed is proceeding with the
             VA in request of smaller numbers, batches of requests, and
             to do it on an incremental basis with the remaining cases.
             And what I propose to the parties and where we are now
             is to start with the 1397, which was the one percent that
             we’ve been working from, the representative sample of the
             one percent. And as of now, that’s how we’re going to
             proceed.

             Judge Herndon has a meeting with the parties and with our
             DOJ representative who is actually the liaison for us with
             the VA this afternoon and they are going to discuss this
             further. (Tr. at 4:18-5:25.)

      23.    On September 29, 2020, the MDL Court issued Case Management

Order No. 16. The MDL Court ordered that “Pursuant to a request from the

Department of Justice earlier in this litigation, Plaintiffs outside of the 1% of cases

for whom records are already currently being collected through the Touhy process,

as well as their lawyers, should not be attempting to obtain records on their own for

use in this litigation through Freedom of Information Act requests, National

Archives requests, or other ways outside of Touhy. There will be an opportunity in

the near future for additional cases to be assigned to the Touhy process.” (P. 2.)

      24.    On October 28, 2020, the MDL Court issued Case Management Order

No. 17. The MDL Court noted that “The Parties have been working with a new
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Department of Justice attorney assigned to the 3M MDL, Gary Feldon, on a process

by which the parties will receive updated records production for those plaintiffs who

are continuing to receive treatments from the VA.” (P. 2.)

      25.    On April 24, 2020, the MDL Court issued a Pretrial Order No. 33

(“Court-Appointed Expert Witness”.) The MDL Court summarized the 3M Combat

Arms Products Liability Litigation as of April 24, 2020:

             The 3M Combat Arms Products Liability Litigation was
             transferred to this Court for “coordinated or consolidated
             pretrial proceedings” on April 3, 2019. See Transfer
             Order, ECF No. 1 at 2. Since then, the plaintiff universe
             has expanded to 8,000 cases on the MDL docket and more
             than 67,050 cases on the administrative docket. Another
             74,000 cases are in the process of being filed on the
             administrative docket, for a total plaintiff population of
             nearly 150,000. Between June 2019 and April 2020,
             extensive corporate and government discovery took place.
             In that time, Defendants produced more than 11 million
             documents pursuant to a Technology Assisted Review
             (“TAR”) Protocol, and also produced documents and
             responded to 83 Requests for Production, 30
             Interrogatories, and three Requests for Inspection.
             Additionally, at least 21 individuals have been deposed to
             date, including three 3M Rule 30(b)(6) witnesses and
             three individuals from the United States Government.
             Suffice it to say, ensuring the “just and efficient conduct”
             of the litigation has been a massive undertaking for the
             parties, counsel, third-party neutrals, and the Court. See
             28 U.S.C. § 1407 (2020.)

             A majority of the cases in this MDL allege personal injury
             claims for damages related to the plaintiffs’ use of the
             Combat Arms Earplug (CAEv2) while serving in the
             United States military. Most of the medical and other
             relevant records related to these current and former

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           servicemembers’ claims are in the possession or control
           of the federal government—specifically, the Department
           of Defense, Department of Veterans Affairs, and the
           United States Army, Navy, Marine Corps, Air Force, and
           Coast Guard. The parties’ ability to obtain the necessary
           records depends on these federal agencies’ capacity to
           locate, collect, and produce them. Thus far, the Court,
           with the agencies’ agreement, has pursued an incremental
           approach to record collection from the government. Even
           so, the process has proven extraordinarily time-
           consuming and complex. Given the magnitude of this
           litigation, it is unrealistic to expect that the agencies can
           produce full records for the entire plaintiff population.

           In order for the MDL to continue moving forward against
           this backdrop, it will be essential to assemble an inventory
           of individual servicemembers’ records that is broadly
           informative with respect to the litigation-relevant
           characteristics of the plaintiff population as a whole. The
           cases selected for targeted records requests to date—the
           25 bellwether cases, followed by 1,509 cases
           approximating one-percent of the total plaintiff
           population— will provide insights into the characteristics
           of the most representative plaintiffs. But there are many
           more variants of litigation-relevant characteristics that
           must be considered to develop a more complete and
           accurate picture of the full universe of cases in the MDL.
           Understanding what those characteristics are, and how
           much information is necessary to provide a fair and
           reliable basis for extrapolation, will require impartial
           expert assistance.

           The MDL Court then required, pursuant to FRE 706, the
           parties to show cause why an independent expert, such as
           a biostatistician, should not be appointed to assist the
           Court in a manner consistent with this Order. The Parties
           were required to respond by May 8, 2020.

     26.   On May 8, 2020, Plaintiffs’ Leadership filed a Response to Pretrial

Order No. 33 Regarding Court Appointed Witness. The response states that
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“Counsel for Plaintiffs file this statement, in response to the Court’s Pretrial Order

No. 33. In PTO 33, the Court stated the intention of appointing an independent expert

to assist the Court in developing a complete and accurate picture of the full universe

of cases in the MDL and understanding the characteristics of the most representative

plaintiffs so that the Court can continue moving this litigation forward. Plaintiffs

have no objection to this appointment.”

      27.    On December 7, 2020, MDL Plaintiffs filed a Motion for Consolidation

of Bellwether Group A Plaintiffs For Trial. The Motion states:

      Consolidation is justified because the Group A Bellwethers involve
      overlapping, and frequently coextensive, issues and facts. As with a
      traditional design defect litigation, the need to prove general liability
      for the product at issue outweighs individual variations as to causation
      and damages. Each Plaintiff alleges that the CAEv2 was unreasonably
      dangerous by design, that 3M failed to adequately warn of the CAEv2’s
      risks, and that 3M misrepresented the safety and efficacy of the product.
      Across all Group A Bellwethers, the same “web” of conduct—the
      creation of the CAEv2, its inherently unsafe nature, its manufacture,
      and its promotion and sale through ongoing misrepresentations and
      omissions to the Defense Logistics Agency and military bases,
      including the bases where each Plaintiff was stationed—will be at issue.
      See ECF 1540 at 6. Such general liability is overwhelmingly, if not
      exclusively, common, and will be demonstrated through common
      expert witnesses, documents, and deposition testimony.

      28.    On April 24, 2020, the MDL Court held its Eleventh Case Management

Conference in Pensacola, FL. During this hearing the MDL Court stated “[w]e have

the 25 bellwether cases, we have the 1509 what we call the 1 percent, and then we

have the 148,000 other cases in a bucket.”         The MDL court also discussed


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“appointing a Court expert under Rule 706 of the Federal Rules of Evidence to assist

me in getting a better handle on the universe of cases in the MDL. This may be a

biostatistician.” (Pp. 51-52.) The MDL court further explained a proposal to “enter

an order that directs both sides to show cause why I shouldn’t do that. This is for

litigation purposes, though, just so everybody knows. I want this person to assist me

in coming up with an inventory of servicemember records that can be informative

with respect to litigation relevant characteristics of the entire plaintiff population so

that I can best manage the third bucket of 148,000 plaintiffs.”

      29.    On January 21, 2020, the MDL court issued Pretrial Order No. 23

(Bellwether Selection Protocol). The MDL court stated as follows:

      To further the effective and efficient management of this
      litigation, the following procedures have been established for
      identifying and selecting the initial bellwether discovery pool
      cases.

      1. On December 16, 2019, there were 139,693 claimants
      registered in MDL Centrality in connection with the 3M
      litigation. The Court, with the assistance of BrownGreer PLC,
      randomly selected 1% of that population—1,397 claimants—for
      consideration as potential bellwether candidates. Next, a series
      of prevalence analyses were conducted on the entire population
      of claimants with completed census forms, to identify the
      individual plaintiff characteristics that were most representative
      of the whole, in terms of branch of service, age, and injury. The
      analyses revealed that the most representative claimant is
      between the ages of 30 and 49, serves or served in the Army, and
      alleges a combination of tinnitus and hearingloss. Of the




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       randomly selected 1%, 175 cases met the three criteria.4 Those
       175 cases, which are identified on Exhibit A, comprise the first
       potential bellwether candidate pool for this litigation.


       2. The 175 cases in the first potential bellwether candidate pool
       have already filed Short Form Complaints on either the
       administrative docket or the 3M MDL docket. From this pool,
       the Court randomly selected six cases to proceed with case-
       specific discovery, along with one alternate.5 Plaintiff
       Leadership and Defendants will each select nine cases from the
       remaining potential bellwether candidates—seven cases to
       proceed with discovery, two cases as alternates—using the
       process outlined below, resulting in an initial discovery pool of
       20 cases and 5 alternates.6

(P. 1-2.)

       30.     On February 27, 2020, the MDL court ordered twenty cases and five

alternate cases to be the initial bellwether pool. This pool was compromised of 9

plaintiff picks, 9 defense picks, and 7 cases were selected by the Court. On July 28,

2020, the MDL court added two additional alternate cases.




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    Initially, there were 177 cases that appeared to meet the criteria; however, two cases have
    since been removed from the list.
5
    The six cases randomly selected by the Court for the initial discovery pool are: Kevin Lopez
    (PID 160400), Lewis Keefer (PID 11295), Luke Vilsmeyer (PID 91380), Jared King (PID
    30281), Jonathan Vaughn (PID 31013), and William Wayman (PID 83748). A seventh case,
    Lonnie Burgus (PID 60806), was randomly selected as an alternate. The Court’s randomly
    selected cases are highlighted in yellow on Exhibit A.
6
    The alternates must be included in Touhy requests for cases in the initial bellwether discovery
    pool. The Court will discuss with the parties whether the alternates will be fully worked up as
    part of the discovery process.

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      31.    On January 25, 2020, the MDL Court issued Pretrial Order No. 24

(Amendment to Pretrial Order No. 23; Bellwether Selection Protocol). The order

states: “Defendants’ request, with no objection from Plaintiffs” to change the

deadline for the parties to jointly advise the Court of their selections for the initial

discovery pool to February 25, 2020.

      32.    On February 27, 2020, the MDL Court issued Pretrial Order No. 29

(Initial Bellwether Cases). The 20 bellwether cases and five alternate cases identified

in the order were selected for initial bellwether discovery and on page 2 of the order,

had been ordered to be transferred to the MDL docket and pay their filing fee because

twenty-four of the twenty-five cases were on the Administrative docket when

selected. See Order at note 1 (discussing Mr. Palanki’s case on the MDL docket and

duplicate action on the Administrative docket).

      33.    On July 24, 2020, the MDL Court entered an order (MDL Dkt. No.

1280) resolving the Parties’ briefing on the MDL defendants’ invocation of the

government contractor defense. The MDL Court ordered the following:

      Plaintiffs are entitled to judgment as a matter of law on the
      government contract defense as to all of their claims.
      Accordingly:

           1. Defendants’ Motion for Summary Judgment on the
      Government Contractor Defense, ECF No. 1071-68, is
      DENIED.

           2. Plaintiffs’ Motion for Summary Judgment on the
      Government Contractor Defense, ECF No. 1072, is GRANTED.

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These rulings are currently on appeal before the Court of Appeals for the Eleventh

Circuit.

       34.   Eight of the 27 bellwethers Plaintiffs’ cases were dismissed.

       35.   As of February 15, 2022, there were 282,532 claimants registered with

MDL Centrality, including 42,337 filed cases.

       36.   To date, the parties have participated in sixteen bellwether trials in the

MDL.

       37.   Ten of the bellwether trials resulted in verdicts for thirteen Plaintiffs,

and the remaining six trials resulted in Defense verdicts. 3M and Debtors were held

jointly and severally liable in the cases with Plaintiff verdicts.

       38.   Five bellwether cases are currently on appeal to the United States Court

of Appeals for the Eleventh Circuit. These appeals include four Plaintiff verdicts

and one Defense verdict.

       39.   Each of the cases that resulted in Plaintiff verdicts are in post-trial

briefing or on appeal.

       40.   On March 30, 2021, trial was held in the EHK trial. The following

statements were made to the jury by Plaintiffs’ attorney Brian Aylstock:

             This board is about 3M, and this case is about 3M. 3M, as
             the Court instructed you at the beginning of the case, is
             made up of many different corporations, and I wanted you
             to see this, because you’re going to be seeing some
             documents that have Aearo on it, Aearo Technologies, E-


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              A-R division of Cabot Corporation. You’re going to need
              to know Cabot is all part of 3M. Peltor AOsafety.

              All of those entities are going to be in this case. But for
              purposes of this case, they’re all one and the same. So if
              you see one of these just know Aearo is 3M; and, in fact,
              3M bought Aearo, and the evidence is going to show in
              part because of how much money they were making on
              these products, on this Combat Arms Earplug. (Tr. at 59:3-
              15.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      41.     On May 17, 2021, trial was held in the McCombs trial. The following

statements were made to the jury during opening statements by Plaintiffs’ attorney

Doug Monsour:

              3M, if you will look, Aearo and 3M and EAR and Peltor,
              they are all the same family of companies. So when you
              see any documents showing them, they’re all the same
              people. (Tr. at 49:5-7.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      42.     On June 7, 2021, trial was held in the Baker trial. The following

statements were made to the jury during opening statements by Plaintiffs’ attorney

Sean Tracy:

              Now, you’re going to see a lot of documents. You’re going
              to hear these companies’ names on the screen: 3M, Aearo
              Technology, E-A-R, Peltor, Cabot. They’re all the same
              company, they’re all 3M. Every time you see those
              companies think 3M. (Tr. at 37:12-16.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.



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      43.    On October 18, 2021, trial was held in the Blum trial. The following

statements were made to the jury during opening statements by Plaintiffs’ attorney

Doug Monsour:

             These are the companies that are involved: 3M, Aearo,
             Cabot, AOSafety, Peltor, and E-A-R. For all intents and
             purposes, they are the same entity. It started off as, I think,
             Cabot and then went to Aearo, and then Peltor bought
             them or they bought Peltor. Ultimately, they have all been
             purchased by 3M and they all fall under the 3M umbrella,
             so when I show you any of these companies, as the judge
             said, they’re all the same for this lawsuit. (Tr. at 57:16-24.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      44.    On October 19, 2021, trial was held in the Blum trial. Ron Kieper was

introduced as “the acoustic technician and the fitter in the 3M/Aearo lab from 1998

to 2015.” (Tr. at 76:12-15.)

      45.    On November 30, 2021, trial was held in the Finley trial. The following

statements were made to the jury during opening statements by Plaintiffs’ attorney

Doug Monsour:

             So where does our story begin? Our story begins a long
             time ago in December of 1997. 3M/Aearo is meeting with
             the United States Government and scientists from the
             government and scientists from Europe, and they are at the
             Aberdeen Proving Ground in Maryland. A man by the
             name of Elliott Berger is there on behalf of 3M. (Tr. at
             69:16-21.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.



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      46.     On January 10, 2022, trial was held in the Sloan-Wayman trial. The

following statements were made to the jury during opening statements by Plaintiffs’

attorney Brian Aylstock:

              3M made a combat earplug -- this is it -- that didn’t work
              in combat. It’s that simple. 3M, E-A-R, Aearo are all the
              same entity. (Tr. at 65:22-24.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      47.     On March 14, 2022, trial was held in the Vilsmeyer trial. The following

statements were made to the jury during opening statements by Plaintiffs’ attorney

Bobby Bradford:

              What that means is there’s some -- Aearo, there’s a
              company called E-A-R, E-A-R, and there’s a company
              called Cabot, and they all ended up in the 3M. So when
              you hear Aearo, E-A-R, Cabot or 3 a.m. -- sorry -- 3M, it’s
              all the same. (Tr. at 231:16-20.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      48.     On March 28, 2022, trial was held in the Kelley trial. The following

statements were made to the jury during opening statements by Plaintiffs’ attorney

Dan Blouin:

              When I talk about 3M folks -- this is just real quick stuff.
              We’re talking about 3M Aearo, Cabot, Peltor. They’re all
              these companies. For your intents and purposes, and the
              judge already told you this, it’s just “3M” in this case. (Tr.
              at 199:2-6.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.



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      49.    On April 18, 2022, trial was held in the Vaughn trial. The following

statements were made to the jury during opening statements by Plaintiffs’ attorney

Doug Monsour:

             Now, I’ve mentioned 3M and Aearo. These are all of the
             companies that are involved. They’re all the same
             company for the intents and purposes of this lawsuit.
             Whether the company goes by EAR, Peltor, AOSafety,
             Aearo, Cabot, or 3M, they are all the same company for
             this lawsuit. One was acquired by the other; one was a
             division of the other. But anytime you see any of those
             names, it’s the same people. (Tr. at 144:17-23.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      50.    On May 9, 2022, trial was held in the Beal trial. The following

statements were made to the jury during opening statements by Plaintiffs’ attorney

Bobby Bradford:

             There are several Defendants, Cabot, 3M, Aearo, between
             mergers and purchases, so you hear one, you hear them all,
             they are all the same company. (Tr. at 163:24-164:1.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      51.    On April 29, 2021, trial was held in the EHK trial. The following

statements were made to the jury by the MDL court during jury instructions:

             Mr. Estes, Mr. Keefer, and Mr. Hacker have sued several
             defendants that designed and sold the CAEv2; namely, 3M
             Company, 3M Occupational Safety LLC, Aearo Holding
             LLC, Aearo Intermediate LLC; Aearo LLC, and Aearo
             Technologies LLC. I will collectively refer to the
             defendants as “3M.” (Tr. at 42:3-7.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.
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      52.    On May 28, 2021, trial was held in the McCombs trial. The following

statements were made to the jury by the MDL court during jury instructions:

             The defendants, 3M Company, 3M Occupational Safety
             LLC, Aearo Holding LLC, Aearo Intermediate LLC,
             Aearo LLC, and Aearo Technologies LLC, which I will
             refer to collectively as 3M, deny the claims made by Mr.
             McCombs, assert a number of affirmative defenses, and
             claim that their conduct did not cause Mr. McCombs’s
             injury. (Tr. at 19:8-13.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      53.    On June 18, 2021, trial was held in the Baker trial. The following

statements were made to the jury by the MDL court during jury instructions:

             The defendants—3M Company, 3M Occupational Safety,
             LLC, Aearo Holding, LLC, Aearo Intermediate, LLC,
             Aearo LLC, and Aearo Technologies, LLC, which I will
             refer to collectively as 3M—deny the claims made by Mr.
             Baker and contend that their conduct did not cause Mr.
             Baker’s hearing injuries. (Tr. at 23:23-24:2.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      54.    On September 30, 2021, trial was held in the Adkins trial. The following

statements were made to the jury by the MDL court during jury instructions:

             The defendants, 3M Company, 3M Occupational Safety
             LLC, Aearo Holding LLC, Aearo Intermediate LLC,
             Aearo LLC, and Aearo Technologies LLC, referred to
             collectively as “3M,” deny the claims made by Mr. Adkins
             and contend that their conduct did not cause Mr. Adkins
             hearing injuries. (Tr. at 282:8-12.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.



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      55.       On October 28, 2021, trial was held in the Blum trial. The following

statements were made to the jury by the MDL court during jury instructions:

                The defendants, 3M Company; 3M Occupational Safety,
                LLC; Aearo Holding, LLC; Aearo Intermediate, LLC;
                Aearo, LLC; and Aearo Technologies, LLC, which I refer
                to collectively as 3M, deny the claims made by Ms. Blum
                and contend that their conduct did not cause Ms. Blum’s
                hearing injuries. (Tr. at 18:21-19:1.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      56.       On November 12, 2021, trial was held in the Palanki trial. The

following statements were made to the jury by the MDL court during jury

instructions:

                The defendants, 3M company, 3M Occupational Safety
                LLC, Aearo Holding LLC, Aearo Intermediate LLC,
                Aearo LLC, and Aearo Technologies, LLC, which I refer
                to collectively as 3M, deny the claims made by Mr.
                Palanki and contend that their conduct did not cause Mr.
                Palanki’s alleged hearing injuries. (Tr. at 2647:3-7.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      57.       On November 12, 2021, trial was held in the Camarillo trial. The

following statements were made to the jury by the MDL court during jury

instructions:

                The defendants -- 3M Company, 3M Occupational Safety
                LLC, Aearo Holding LLC, Aearo Intermediate LLC,
                Aearo LLC, and Aearo Technologies LLC, which I refer
                to collectively as “3M”—deny the claims made by
                Sergeant Camarillo and contend that their conduct did not
                cause Sergeant Camarillo’s injuries. (Tr at 2696:4-8.)

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The transcript does not reflect an objection by 3M or the Debtors to this statement.

      58.       On December 10, 2021, trial was held in the Finley trial. The following

statements were made to the jury by the MDL court during jury instructions:

                The defendants -- 3M Company; 3M Occupational Safety,
                LLC; Aearo Holding, LLC; Aearo Intermediate, LLC;
                Aearo, LLC; and Aearo Technologies, LLC, which I refer
                to collectively as 3M -- deny the claims made by Mr.
                Finley and contend that their conduct did not cause Mr.
                Finley’s injuries. (Tr. at 2434:4-8.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      59.       On December 15, 2021, trial was held in the Montero trial. The

following statements were made to the jury by the MDL court during jury

instructions:

                Defendants -- 3M Company, 3M Occupational Safety
                LLC, Aearo Holding LLC, Aearo Intermediate LLC,
                Aearo LLC, and Aearo Technologies LLC, which I refer
                to collectively as 3M deny the claims made by Mr.
                Montero and contend that their conduct did not cause Mr.
                Montero’s hearing-related injuries. (Tr. at 62:19-23.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      60.       On December 17, 2021, trial was held in the Stelling trial. The

following statements were made to the jury by the MDL court during jury

instructions:

                As you are aware, this trial involves plaintiff Carter
                Stelling’s claims about the Combat Arms Earplug Version
                2 which 3M designed and sold to the Department of
                Defense. (Tr. at 25:15-17.)

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      61.       On January 27, 2022, trial was held in the Sloan-Wayman trial. The

following statements were made to the jury by the MDL court during jury

instructions:

                Mr. Sloan and Mr. Wayman have sued several defendants
                that designed and sold the CAEv2, namely 3M Company,
                3M Occupational Safety LLC, Aearo Holding LLC, Aearo
                Intermediate LLC, Aearo LLC, and Aearo Technologies
                LLC. I’ll collectively refer to them, the defendants, as 3M.
                (Tr. at 33:12-17.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      62.       On March 24, 2022, trial was held in the Vilsmeyer trial. The following

statements were made to the jury by the MDL court during jury instructions:

                The defendants, 3M Company; 3M Occupational Safety,
                LLC; Aearo Holding, LLC; Aearo Intermediate, LLC;
                Aearo, LLC; and Aearo Technologies, LLC, which I refer
                to collectively as defendants, or 3M, deny the claims made
                by Mr. Vilsmeyer and contend that their conduct did not
                cause Mr. Vilsmeyer’s hearing injuries. (Tr. at 120:7-12.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      63.       On April 7, 2022, trial was held in the Kelley trial. The following

statements were made to the jury by the MDL court during jury instructions:

                The defendants, 3M Company, 3M Occupational Safety
                LLC, Aearo Holdings LLC, Aearo Intermediate LLC,
                Aearo LLC, and Aearo Technologies LLC, which I refer
                to collectively as “3M,” deny the claims made by Ms.
                Kelley and contend that their conduct did not cause Ms.
                Kelley’s injuries. (Tr. at 2781:25-2782:4.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

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      64.    On April 28, 2022, trial was held in the Vaughn trial. The following

statements were made to the jury by the MDL court during jury instructions:

             As you are aware, this trial involves a civil action brought
             by plaintiff Jonathon Vaughn, a United States Army
             veteran, who alleges that he suffered permanent hearing
             injuries, including hearing loss and tinnitus, and that these
             injuries were caused by the Combat Arms Earplug Version
             2, also known as CAEv2, which was produced and sold by
             3M to the United States military and commercially. (Tr. at
             20:23-21:4.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      65.    On May 19, 2022, trial was held in the Beal trial. The following

statements were made to the jury by the MDL court during jury instructions:

             The Defendants, 3M Company, 3M Occupational Safety,
             LLC, Aearo Holding, LLC, Aearo Intermediate, LLC,
             Aearo, LLC, and Aearo Technologies, LLC, which I refer
             to collectively as 3M, deny the claims mad[e] by Mr. Beal
             and content that their conduct did not cause Mr. Beal’s
             hearing injuries. (Tr. at 211:11-15.)

The transcript does not reflect an objection by 3M or the Debtors to this statement.

      66.    On May 24, 2022, the MDL court issued a post-trial order relating to

the Wayman case. The MDL court stated the following:

             Wayman also argues that the noneconomic damages cap
             should be multiplied by the number of Defendants, relying
             on General Electric Company v. Niemet. See ECF No. 190
             at 2 (citing Gen. Elec. Corp. v. Niemet, 866 P.2d 1361
             (Colo. 1994)). In Niemet, the Colorado Supreme Court
             explained that the cap on noneconomic damages “does not
             act as a cap on the total amount a plaintiff may recover
             from several defendants.” 866 P.2d at 1368. Instead, “a

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            trial court should apportion pro rata liability among the
            defendants and plaintiff before it applies the” statutory cap
            for noneconomic damages. Id. Thus, when a jury
            apportions fault to more than one party, the trial court
            should apportion liability based on the jury’s verdict and
            then apply the statutory cap to the total amount a particular
            defendant is liable for. See id.

            Wayman’s reliance on Niemet is misplaced because the
            jury in his case only found fault by one party, the
            Defendants, who were treated collectively as “3M” by the
            Court and the parties throughout the trial. See ECF No.
            185. Under Niemet, the noneconomic damages cap applies
            after apportioning liability consistent with the jury’s
            verdict. 866 P.2d at 1368. Here, the Defendants -
            collectively as “3M” - were found to be 100% at fault for
            $10,000,000 in noneconomic damages., ECF No. 185.
            Accordingly, no defendant multiplier applies. (Tr. at 5-6.)

      67.   What is referred to as the “Flange Report,” is a report from Aearo titled

“How Folding the Flanges Back Affects REAT Results of the UltraFit Earplug End

of the Combat Arms Plug,” dated July 10, 2000, and was marked as exhibit P-Gen-

0001 in the MDL trials.

      68.   On March 30, 2021, trial was held in the EHK trial. The following

statements were made to the jury during opening statements by Plaintiffs’ attorney

Bryan Aylstock:

            They then finalize the test. They get the 22 they want, and
            they write a memo in July. A formal memo, “Here is what
            we did.” They stick it in their files, and there it sits.

            You know what’s not in this memo? We told the military.
            That’s not in there. (Tr. at 72:11-15.)



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      69.   On April 29, 2021, trial was held in the EHK trial. The following

statements were made to the jury during closing arguments by Plaintiffs’ counsel

Bryan Aylstock:

            Look at the flange report itself. Why did they stop the test?
            They wrote it down for you. They said the results were
            quite low, variable, meaning unreliable, and quite low. (Tr.
            at 115:5-7.)

      70.   On May 17, 2021, trial was held in the McCombs trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Doug Monsour:

            Now, what happens after the second test is Mr. Berger and
            Mr. Kieper write a memorandum, and they detail
            everything that I just described for you. And this
            memorandum is called “the flange report.” And the flange
            report tells us a few little secrets about these plugs. It tells
            us that the plug is too short for proper insertion. It tells us
            that the plugs imperceptibly loosen. (Tr. at 46:24-47:5.)

      71.   On May 28, 2021, trial was held in the McCombs trial. The following

statements were made to the jury during closing arguments by Plaintiffs’ counsel

Doug Monsour:

            And then here’s the flange report. I suspect, if I quizzed
            y’all, y’all could report it back to me verbatim. I think
            every one of you knows exactly what it says. (Tr. at 47:20-
            22.)

      72.   On June 7, 2021, trial was held in the Baker trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Sean Tracey:
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            And here is where they detail the defects, Ron Kieper,
            Elliott Berger. They say, the introduction, “The Combat
            Arms was shortened at the request of the Army so it would
            fit into a carrying case. Because of this the plug is shorter
            than any other UltraFit plug design.” Shortest UltraFit they
            had ever made.

            “The purpose of this report” -- the purpose of this report -
            - “is to document that the current length of the UltraFit
            earplug end of the Combat Arms plug is too short for
            proper insertion.” (Tr. at 50:2-11.)

      73.   On June 18, 2021, trial was held in the Baker trial. The following

statements were made to the jury during closing arguments by Plaintiffs’ counsel

David Buchanan:

            I mentioned to you Admiral Leslie’s opinions. If 3M had
            disclosed the information in the flange report and the
            quality problems, the contract would have never been
            awarded. She gave stronger statements and you heard her
            on the stand. Had she been the officer, she would have
            taken very strong measures with regard to 3M and Aearo.
            (Tr. at 71:12-17.)

      74.   On September 20, 2021, trial was held in the Adkins trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Adam Wolfson:

            P-GEN-1, please, Mr. Marbut.

            Ladies and gentlemen, this is a document that you’re going
            to see a couple of times in this case. It’s come to be known
            as the flange report. One way you can think about it is it’s
            the report that summarizes all the defects in this plug. You
            notice that it was written by Mr. Berger and a man named
            Mr. Kieper, Ron Kieper. (Tr. at 52:3-9.)


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      75.   On September 30, 2021, trial was held in the Adkins trial. The following

statements were made to the jury during closing arguments by Plaintiffs’ counsel

Adam Wolfson:

            P-GEN-1, Mr. Marbut.

            We saw the flange report. Now, I know you could
            probably all recite this in your sleep at this point. But what
            did we see? We saw plain English in this flange report, and
            we saw 3M witnesses time and again try to run away from
            what it means. We saw them claim that they didn’t know
            what it means. We tried to say -- we heard them try to say,
            oh, no, no, no, it obviously means this, but no, what it
            really means is this. Now, ladies and gentlemen, again,
            consistency. Is this consistent. (Tr. at 310:4-13.)

      76.   On October 18, 2021, trial was held in the Blum trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Doug Monsour:

            And what they do in that smoking gun document is they
            detail everything I just told you. I’m going to show you the
            document. We call it the flange report, and that flange
            report is not shared with the United States military. In fact,
            that flange report goes into a drawer and is hidden for 15
            years. The only reason the flange report is discovered is
            because about 15 years later in another litigation, a young
            lawyer finds it in the box and pulls it out. (Tr. at 54:6-14.)

      77.   On October 28, 2021, trial was held in the Blum trial. The following

statements were made to the jury during closing arguments by Plaintiffs’ counsel

Doug Monsour:

            This is the flange report. It’s called “How folding the
            flanges back affects REAT results of the UltraFit earplug
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            end of the Combat Arms plug.” It’s P-GEN-00001. It’s
            document 1. Of the millions of documents that we looked
            through, it’s No. 1. It’s the smoking gun. It’s the “gotcha.”
            And they hoped it never saw the light of day. (Tr. at 53:14-
            20.)

      78.   On November 1, 2021, trial was held in the Palanki trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Mike Papantonio:

            Ladies and gentlemen, I want to show you something. This
            is -- you are going to hear a lot about this in this trial. I am
            going to give you a term that’s called the Flange Report.
            You are going to hear it again and again. When they found
            out that they could not do any better than an 11 NRR, when
            they found out you can’t do any better than an NRR of 11
            if you’re doing this properly, they went in, and you’re
            going to see -- best way I can describe it, evidence is going
            to show they phonied up the test. Manipulated the test.
            That’s what the evidence is going to show you. Don’t take
            my word for it. It’s right in the documents. They phonied
            it up. (Tr. at 45:14-24.)

      79.   On November 12, 2021, trial was held in the Palanki trial. The

following statements were made to the jury during closing arguments by Plaintiffs’

counsel Mike Papantonio:

            And then comes in -- I almost don’t even want to talk about
            it. It’s called the flange report. Y’all have it memorized by
            now.

            The flange report is Number 1, and what’s important about
            that is their own scientists -- if you look at it, what
            happened in the flange report on Number 1, their own
            scientist said we got problems here. It won’t fit most ears.
            It won’t fit medium and large. It comes it imperceptibly.
            We don’t know it’s coming out. It’s too stiff that our
                                          33


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            experimenter had to jam it in people’s ears. This is a guy
            who’s been doing it his entire life. (Tr. at 2533:25-
            2534:10.)

      80.   On November 1, 2021, trial was held in the Camarillo trial. The

following statements were made to the jury during opening statements by Plaintiffs’

counsel Tom Pirtle:

            Show P-GEN-1. After all this went on, Elliott Berger, the
            guy you’ve been seeing, and Ron Kieper write this secret
            memo. And it stays in the files of 3M for 15 years. Until
            2015. (Tr. at 79:13-16.)

      81.   On November 12, 2021, trial was held in the Camarillo trial. The

following statements were made to the jury during closing arguments by Plaintiffs’

counsel Tom Pirtle:

            First off, this document. You’ve seen it. Plaintiff’s P-
            GEN-1 is the flange report. And I’ll go to the text of it.

            In the flange report, Ron Kieper, who wrote principally,
            and then Elliott Berger, who y’all saw -- you can judge his
            credibility however which way you want to -- write that,
            one: Because of this, the plug is shorter than any other
            UltraFit design. The purpose of this report is to document
            the current length of the UltraFit plug end of the Combat
            Arms is too short for proper insertion. Too short for proper
            insertion. Product defect. Too short for proper insertion.

            You don’t often see a memo like this in the world of
            products liability. It’s kind of like finding a dog’s tooth in
            your chili. You look at it and you go, hmm, I don’t know
            what’s going on back in the kitchen, but I think there’s
            something bad going on. (Tr. at 2733:9-24.)




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      82.   On November 30, 2021, trial was held in the Finley trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Doug Monsour:

            What they did was they wrote internal memos, and they
            wrote a real long one -- not real long; a few pages. There
            were some shorter memos, but there was a long one called
            the flange report. And in the flange report they detail
            everything I just told you. We started to test. We got to
            eight people. The results of the testing was very low. There
            was a problem with the earplug coming out of the ears. It
            was imperceptibly loosened, so we retested. We brought
            in new people and, miraculously, we got a better result.
            They wrote it up in a report. I’m going to show it to you.

            That report was from 2000 and remained hidden until
            2015, and it didn’t come out until 2015, until 3M was
            suing a competitor earplug product for a patent violation,
            and this product -- this memo came out. A bright, young
            lawyer found it and said, What is this? And that’s how the
            problem surfaced. That’s how the truth came out, in
            another litigation. (Tr. at 75:14-76:4.)

      83.   On December 10, 2021, trial was held in the Finley trial. The following

statements were made to the jury during closing arguments by Plaintiffs’ counsel

Doug Monsour:

            Remember the flange report? Flange report’s a really
            interesting document. They literally detail for us what the
            problems are of the plug. It doesn’t have all the problems
            of the plug, but it has some of them. But this is a 3M
            document. When 3M comes up here and they say we -- the
            plaintiff’s lawyers are coming up with something, that’s
            their document. I didn’t write it; they wrote it. (Tr. at
            2465:15-21.)


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      84.     On December 6, 2021, trial was held in the Montero trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Alex Walsh:

              Right now what I want to do is show you one of the most
              important documents, and it’s called the Flange Report.
              And you can see a page of it right here. I actually don’t
              have the full thing, but this is one of the pages and you will
              see it. And this document called the Flange Report, was
              written back in July 10, 2000. And you’re going to see this
              is actually the year before Mr. Montero ever wore the
              Combat Arms earplugs.

              And what 3M did in this document is they wrote down
              defects that they had identified in the Combat Arms
              earplugs. Here’s some of those defects. Here’s what they
              said: The Combat Arms plug is too short for proper
              insertion. It was difficult for the experimenter doing this
              test to insert the plug deeply into some subjects’ ear canals.
              (Tr. at 49:7-19.)

      85.     On December 15, 2021, trial was held in the Montero trial. The

following statements were made to the jury during closing arguments by Plaintiffs’

counsel Alex Walsh:

              For 15 years, this company hid and failed to tell soldiers
              and the military and the Army about serious safety
              problems with the hearing protection device that was
              relied on by hundreds of thousands of soldiers. Those
              defects, those safety problems, they are documented in the
              Flange Report, and I warned you at the beginning that you
              were going to see a lot of the Flange Report, and you did.
              You did. And that Flange Report, it deserves to be seen.
              And that’s why we showed it to you in this courtroom. It
              deserves to be seen because it shows you the truth. It sets
              forth what 3M discovered, what its scientists discovered,

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            what its expert fitters discovered about the flaws in this
            earplug. (Tr. at 11:22-12:8.)

      86.   On December 6, 2021, trial was held in the Stelling trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Dave Buchanan:

            It goes on further. “The purpose of this report is to
            document that the current length of the Ultrafit earplug end
            of the Combat Arms is too short for proper insertion.” Too
            short for proper insertion.

            Mr. Berger and Mr. Kieper wrote this memo. This plug is
            too short for proper insertion. This fact, this particular
            piece of information, unknown for the next 16 years, only
            revealed, coincidentally, in litigation. (Tr. at 65:11-18.)

      87.   On December 17, 2021, trial was held in the Stelling trial. The

following statements were made to the jury during closing arguments by Plaintiffs’

counsel Dave Buchanan:

            And the findings you have seen documented by the
            scientists and the researchers within Aearo, Mr. Kieper
            and Mr. Berger, are people who know earplugs. Problems,
            problems. And not just the emails, a research report put in
            the file. But no redesign, no change. (Tr. at 45:21-25.)

      88.   On January 10, 2022, trial was held in the Sloan-Wayman trial. The

following statements were made to the jury during opening statements by Plaintiffs’

counsel Brian Aylstock:

            They not only rig the test, they write a memo about it. It’s
            called the flange report. You’re going to hear it referred to
            over and over, it’s P-GEN-1 -- Plaintiff’s Exhibit 1, and
            you’ll have it back there -- how folding the flanges back

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            affects the real-ear attenuation at threshold. That’s simply
            the EPA-required test. It’s the report of the defects. And
            they again -- Mr. Berger and Mr. Kieper authored this
            document, and they again formally memorialize what they
            find. (Tr. at 77:3-11.)

      89.   On January 27, 2022, trial was held in the Sloan-Wayman trial. The

following statements were made to the jury during closing arguments by Plaintiffs’

counsel Brian Aylstock:

            There are emails that lead up to this. You’ve seen them.
            They’re in evidence. I’m not going to show them to you,
            but they went the back-and-forth and then Mr. Berger and
            Mr. Kieper put this in a formal technical report
            documenting that this plug, this earplug, this one-of-a-kind
            never-before, never-since earplug was defective. It was
            too short, it didn’t fit the geometry of most ear canals, and
            it imperceptibly loosened because of that issue with the ear
            and the tragus; our anatomy can loosen it out, and it does
            it in a way that the soldier doesn’t even know.

            Those are their words. That’s their expert report. (Tr. at
            91:21-92:8.)

      90.   On March 14, 2022, trial was held in the Vilsmeyer trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Bobby Bradford:

            Okay. This is a very important document in this case. It’s
            called a [flange] report. You’re going to see it so many
            times. This is the smoking gun where 3M writes what
            happened. It’s authored by Ron Kieper and Elliott Berger.
            It’s dated July -- it’s right here on the time line, July of
            2020. (Tr. at 232:9-14.)




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      91.     On March 24, 2022, trial was held in the Vilsmeyer trial. The following

statements were made to the jury during closing arguments by Plaintiffs’ counsel

Bobby Bradford:

              They stacked the deck on the 017 test, they folded back the
              flanges, they tricked the test. And they still got problems.
              I’m not going to go through it all. Don’t have time. You’ve
              seen it. Plugs falling out of the ears. Loosening. I’m not
              even going to show you the flange report this afternoon
              because I think you’ve seen it enough. (Tr. at 154:2-8.)

      92.     On March 14, 2022, trial was held in the Wilkerson trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Adam Wolfson:

              Let’s put up P-GEN-1, please.

              And, ladies and gentlemen, this is the first smoking gun.
              This document -- you’re going to see this a lot in the case.
              This is a document that has been come to be known as the
              flange report.

              As we can see, it’s entitled: How Folding the Flanges Back
              Affects REAT results of the UltraFit Earplug End of the
              Combat Arms Plug. It’s written by R. W. Kieper, a man
              named Ron Kieper, and E.H. Berger, Elliott Berger. (Tr.
              at 80:21-81:4.)

      93.     On March 25, 2022, trial was held in the Wilkerson trial. The following

statements were made to the jury during closing arguments by Plaintiffs’ counsel

Tom Pirtle:

              Mr. Brock, will you put up P-GEN-1?



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              All right. This is what we have become familiar with as
              the flange report. The flange report is a document that you
              don’t often find in litigation. I mean, this document’s kind
              of like finding a dog’s tooth in your chili. You don’t want
              to eat the rest of the chili, and you really wonder what’s
              going on back in the kitchen. Because this document
              admits that there’s a design defect. Now, they can dispute
              it, and they can say it doesn’t mean what they wrote back
              at the time, but the two authors didn’t come down here and
              talk to you, did they? (Tr. at 2835:23-2836:7.)

      94.     On March 28, 2022, trial was held in the Kelley trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Dan Blouin:

              So here is P-GEN-1 it’s called. This is the general exhibit
              against 3M Number 1. The first thing that you’ll probably
              see, and by probably Wednesday of this week, you’ll be
              sick of it. It’s the secret document. It’s the Flange Report,
              they call it. It was written in 2000. I’ll blow it up for you
              so you can see it a little better. “How Folding the Flanges
              Back After Affects REAT Results of the UltraFit Earplug
              End of the Combat Arms Plug.” It’s written by Kieper and
              Berger, the lab guys. (Tr. at 206:25-207:8.)

      95.     On April 7, 2022, trial was held in the Kelley trial. The following

statements were made to the jury during closing arguments by Plaintiffs’ counsel

Dan Blouin:

              The product was too short, it was too wide, and it
              imperceptibly loosened. I’m trying not to show you much
              of the Flange Report today, folks. You’ve seen plenty of
              it. (Tr. at 2846:10-12.)




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      96.   On April 18, 2022, trial was held in the Vaughn trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Doug Monsour:

            This Flange Report is the name of the memo. It’s buried
            by the company. It is never disclosed to the U.S. military.
            The fact that they got an 11 on their testing is never
            disclosed. The fact that their plug loosens imperceptibly is
            never disclosed. (Tr. at 141:19-23.)

            Now, I’ve mentioned 3M and Aearo. These are all of the
            companies that are involved. They’re all the same
            company for the intents and purposes of this lawsuit.
            Whether the company goes by EAR, Peltor, AOSafety,
            Aearo, Cabot, or 3M, they are all the same company for
            this lawsuit. One was acquired by the other; one was a
            division of the other. But anytime you see any of those
            names, it’s the same people. (Tr. at 144:17-23.)

      97.   On April 28, 2022, trial was held in the Vaughn trial. The following

statements were made to the jury during closing statements by Plaintiffs’ attorney

Doug Monsour:

            And the imperceptible loosening, that comes straight from
            3M documents.

            Folks, I didn’t write these documents. I hope everybody
            understands this. We get documents from them and we
            read them, and their own documents slit their throat. It’s
            their documents. They wrote the flange report. It’s their
            scientists. (Tr. at 49:6-12.)

      98.   On May 9, 2022, trial was held in the Beal trial. The following

statements were made to the jury during opening statements by Plaintiffs’ counsel

Bobby Bradford:

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            And they wrote a memo after documenting the whole
            thing. The second test is 213017, and go to the next -- this
            is -- go back, I am sorry, you can see here, this is a memo
            written by Mr. Berger and Mr. Kieper, the title is how --
            retest of the Combat Arms earplugs. So they do the second
            test, but they stack the deck. They cut out some of the bad
            scoring people in the first test and replace them with
            people they know score better. (Tr. at 164:12-19.)

      99.   On May 19, 2022, trial was held in the Beal trial. The following

statements were made to the jury during closing arguments by Plaintiffs’ counsel

Bobby Bradford:

            You have ever seen this, not data, need to test. Go on.
            Flange Report, you have seen it a million times, you know
            what it says, took many times probably. But you know
            what it says, imperceptibly loosens, too short, doesn’t seat
            well in the ear. We stopped the test, it was 11. You heard
            Mr. McKinley explain it, too stiff, too short, too wide,
            imperceptible loosening, the worst kind. They killed the
            test from there, and then we fast forward. (Tr. at 254:23-
            255:5.)

      100. On April 5, 2021, Plaintiff Estes testified in the EHK trial. Mr. Estes

provided the following testimony in response to questions related to the timing of

his use of the Combat Arms:

            Q. Now moving forward, did you receive the Combat
            Arms Earplugs sometime in 2009?

            A. Yes.

            Q. Do you remember the exact circumstances in which
            you acquired them?




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            A. No. I believe that I received them right before or during
            the training in 2009 for the summer, but I don’t remember
            the people responsible for that.

            (Tr. at 25:17-24.)

            …

            Q. Okay. And for how long did you wear the Combat
            Arms Version 2 earplugs during your military service?

            A. I had been using them from 2009 to 2015,
            approximately.

            (Tr. at 75:19-21.)

      101. On April 6, 2021, Plaintiff Keefer testified in the EHK trial. Mr. Keefer

provided the following testimony in response to questions related to the timing of

his use of the Combat Arms:

            Q. So from 2007 until 2015, that’s when you used the
            Combat Arms Version 2 as your primary hearing
            protective device?

            A. As my primary measure; yes, sir.

            (Tr. at 188:2-4.)

      102. On April 14, 2021, Plaintiff Hacker testified in the EHK trial. Mr.

Hacker provided the following testimony in response to questions related to the

timing of his use of the Combat Arms:

            Q. Okay. And then you also used the Combat Arms
            Earplugs; is that right?

            A. Yes.

            Q. When did you use those?

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            A. From late 2002 to -- before deployment to mid 2010
            deployment.

            (Tr. at 85:7-12.)

      103. On May 20, 2021, Plaintiff McCombs testified in the McCombs trial.

Mr. McCombs provided the following testimony in response to questions related to

the timing of his use of the Combat Arms:

            Q. So if I’m doing the math right, your IED blast occurred
            April 23rd 2009, and you left the military some two years
            --                                                      or
            you left active duty some two years and two months or so
            later?

            A. Yes, sir.

            Q. In June or July 2011, is that about right?

            A. Yes, sir.

            (Tr. at 205:8-13)

            …

            Q. So if I heard you correctly, you joined the military in
            March of 2008?

            A. That’s correct.

            Q. And that was at Fort Benning, correct?

            A. Well, yeah, that’s where I was sent first, yes, ma’am.

            Q. And it’s your testimony that at Fort Benning, in a duffle
            bag along with your other protective equipment, you
            received                                                   a
            pair of the Combat Arms Version 2, what we’ve been
            speaking
            about over the last several days, correct?


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            A. Yes, ma’am, that’s correct.

            (Tr. at 227:1-10)

            …

            Q. And after the IED blast, starting on April 26th and
            thereafter until you got out of the military in 2011, for the
            next two years, is it correct that you certainly were not
            wearing the plug with the plug moving around in your ear
            in                                                       any
            way, correct?

            A. Not that I noticed, correct.

            (Tr. at 278:10-15)

      104. On June 11, 2021, Plaintiff Baker testified in the Baker trial. Mr. Baker

provided the following testimony in response to questions related to the timing of

his use of the Combat Arms:

            Q. Okay. Well, let me ask it this way, then:
            As far as Fort Benning is concerned, did you -- were you
            sent to Fort Benning in 2005?

            A. Yes.

            (Tr. at 66:16-18)

            …

            Q. Were you given your very first pair of Combat Arms
            while
            you were at Fort Benning?

            A. Yes.

            (Tr. at 67:23-25)

            …


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            Q. Did you continue to use the Combat Arms after you left
            active duty in 2009?

            A. Infrequently, but yes.

            (Tr. at 110:8-10)

            …

            Q. When was the last time you used the Combat Arms
            Earplug
            for -- when you were firing weapons?

            A. I’d say either very late 2011, like December-ish, to very
            early 2012. I think it was more on the 2012 side.

            (Tr. at 111:2-5.)

      105. On September 23, 2021, Plaintiff Adkins testified in the Adkins trial.

Mr. Adkins provided the following testimony in response to questions related to the

timing of his use of the Combat Arms:

            Q. It’s your testimony that you started using the Combat
            Arms Earplugs in 2005, roughly, and then you stopped
            using them at the end of October of 2007, correct?

            A. Yes, ma’am.

            (Tr. at 171:12-15)

      106. On October 21, 2021, Plaintiff Blum testified in the Blum trial. Ms.

Blum provided the following testimony in response to questions related to the timing

of his use of the Combat Arms:

            Q. Do you remember when you received your first set
            of Combat Arms?

            A. Sometime in ‘03 because it was the new earplugs
            that they had issued us.
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            (Tr. at 221:16-19)

            Q. Did you wear it around any deployment-related
            combat noise or when you were doing combat training?

            A. We wore -- I wore the plugs from 2003 until I got
            out of the military in 2009.

            (Tr. at 224:25–225:7)

      107. On November 5, 2021, Plaintiff Camarillo testified in the Camarillo

trial. Mr. Camarillo provided the following testimony in response to questions

related to the timing of his use of the Combat Arms:

            Q. You started wearing the Combat Arms Earplugs in
            2003?

            A. Yes.

            (Tr. at 1207:17-18)

            Q. How many years did you use just, so we can reground,
            the Combat Arms Earplugs, from the beginning to when
            you stopped?

            A. I started using them in 2003 until 2019.

            (Tr. at 12-14)

      108. On November 8, 2021, Plaintiff Palanki testified in the Palanki trial.

Mr. Palanki provided the following testimony in response to questions related to the

timing of his use of the Combat Arms:

            Q Mr. Palanki, you mentioned during that time frame -- I
            want to make sure that we’re being clear with the jury. You
            said the first time you ordered them was in 2005 or
            thereabouts?

            A Yes, ma’am.
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            Q Was that the first time that you actually then used the
            Combat Arms?

            A Yes.

            (Tr. at 1495:15-22)

            …

            Q You’ve been asked this question before. I am going to
            ask it again. To the best of your memory, when did you
            stop using this earplug?

            A Well, like I said, we depleted the stock, so well into
            ‘16, maybe, early ‘17. And, you know, I know through
            2016, for sure.

            (Tr. at 1504:6-11)

      109. On December 3, 2021, Plaintiff Finley testified in the Finley trial. Mr.

Finley provided the following testimony in response to questions related to the

timing of his use of the Combat Arms:

            Q. When did you first join the military?

            A. I believe it was October 2006.

            (Tr. at 884:1-2)

            …

            Q. And did you receive hearing protection while at Fort
            Benning?

            A. Yes.

            Q. What type of hearing protection did you receive?

            A. The CAEv2s.

            (Tr. at 885:24-886:3)

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      110. On December 10, 2021, Plaintiff Montero testified in the Montero trial.

Mr. Montero provided the following testimony in response to questions related to

the timing of his use of the Combat Arms:

             Q. All right. Now, you -- you -- I think you testified that
             you believe you got your first pair of the Combat Arms
             Version 2 earplug sometime right after 9/11; is that right?

             A. That is correct.

             Q. And you had that as your hearing protection you said
             through 2016, right?

             (Tr. at 122:20–123:1)

      111. On December 10, 2021, Plaintiff Stelling testified in the Stelling trial.

Mr. Stelling provided the following testimony in response to questions related to the

timing of his use of the Combat Arms:

             Q. So from approximately 2007 through 2010, you would
             have used the Combat Arms?

             A. Yes.

             (Tr. at 31:13-16)

      112. On January 13, 2022, Plaintiff Sloan testified in the Sloan-Wayman

trial. Mr. Sloan provided the following testimony in response to questions related to

the timing of his use of the Combat Arms:

             Q. Does this middle of 2004 represent the first pair
             of Combat Arms that you got?

             A. That is when I received -- that is when I received
             my first pair of Combat Arms Earplugs.


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            (Tr. at 125:24–126:2)

            …

            Q. You stopped using the Combat Arms plug when you
            retired from the military in 2015, right?

            A. Yeah, I never -- I never used it after I got out of the
            Army.

            (Tr. at 306:5-8)

      113. On January 19, 2022, Plaintiff Wayman testified in the Sloan-Wayman

trial. Mr. Wayman provided the following testimony in response to questions related

to the timing of his use of the Combat Arms:

            Q. Do you recall when you first got your Combat Arms,
            sir?

            A. I do. It was part of my initial issue when I started flight
            school at Fort Rucker. It was about the end of
            Apri[l]/early May 2004.

            (Tr. at 51:7-11)

            …

            Q. You got the Combat Arms initially in 2004 and then did
            you continue to use those through your career for a period
            of years?

            A. I did. I used them through until 2016.

            (Tr. at 79:22-25)

      114. On March 17, 2022, Plaintiff Vilsmeyer testified in the Vilsmeyer trial.

Mr. Vilsmeyer provided the following testimony in response to questions related to

the timing of his use of the Combat Arms:


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            Q. The jury has heard about the Combat Arms earplug,
            the CAE Version 2. Did you use that earplug, sir?

            A. I did, sir.

            Q. For how long?

            A. 2006 to early 2017 -- roughly 11 years, sir.

            (Tr. at 20:20-25)

      115. On March 18, 2022, Plaintiff Wilkerson testified in the Wilkerson trial.

Mr. Wilkerson provided the following testimony in response to questions related to

the timing of his use of the Combat Arms

            Q. Now, you first got your Combat Arms Earplug Version
            2 at Fort McCoy; is that correct?

            A. Yes, ma’am.

            Q. In March 2010?

            A. Yes, ma’am.

            (Tr. at 1300:3-7)

            Q. All right. Did you have to train the following year?

            A. Yes, sir, the summer of 2012.

            Q. And you did your two weeks?

            A. Yes, sir.

            Q. Were you still wearing Combat Arms Earplugs?

            A. Yes, sir.

            (Tr. at 1273:18-23)

            Q. Okay. And tell the jury what type of weapons you
            trained on with these CAEv2s in in 2012?

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            A. We had three different days of range training. One day
            was from probably six o’clock in the morning to just after
            dark we were at the range qualifying with our individual
            weapon, which would be M16. The following day or
            sometime during that week, we had a crew-served
            weapons range, which is the squad automatic
            weapon, 50 caliber machine gun, the Mark 19 grenade
            launcher, and the M240 Bravo, which is a larger caliber of
            automatic weapon.

            (Tr. at 1274:14-23)

      116. On March 31, 2022, Plaintiff Kelley testified in the Sloan trial. Ms.

Kelley provided the following testimony in response to questions related to the

timing of his use of the Combat Arms:

            Q. Okay. So just so we’re on the same page, I understand
            you were in the military from 2004 through 2012?

            A. That’s correct.

            Q. Okay. And you wore the Combat Arms Earplugs in
            between 2004 until here. Right? Your time in Kuwait?

            A. Correct.

            Q. Okay.

            A. Well, after -- so right after Kuwait, until I cleared, I
            had them in my possession, yes, ma’am.

            Q. And you didn’t wear the Combat Arms Earplugs after
            February 10th of 2010 -- 2011? I’m sorry.

            A. I don’t know if that’s true, but I definitely did not wear
            them after February, was that 21st, 2012. The reason why
            I say that is because my office was in the motor pool, and
            you have to wear the yellow ones in the motor pool. I
            actually have a picture -- but that’s beside the point. So I
            definitely was in the motor pool. Once I came back from

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            deployment, I’m pregnant in this photo, that’s how I know
            that it was after that date.

            (Tr. at 1230:14–1231:3)

      117. On April 22, 2022, Plaintiff Vaughn testified in the Vaughn trial. Mr.

Vaughn provided the following testimony in response to questions related to the

timing of his use of the Combat Arms:

            Q. Tell us when you first joined the Army.

            A. I first joined the Army in April of 2006, ma’am.

            (Tr. at 11:12-13)

            …

            Q. And did you receive hearing protection at basic training
            at Fort Leonard Wood?

            A. Yes, ma’am, I did. I actually received them the same
            day I got my hair cut and shots and uniform issued all that
            other stuff. They just run you through the line to get your
            stuff.

            Q. Do you remember what type of hearing protection they
            gave you on that day?

            A. The CA -- the CAE Version 2. Sorry.

            (Tr. at 13:18-25)

            …

            Q. And you told the jury that you wore a Combat Arms
            every time, right?

            A. I wore my hearing protection every time. Yes, sir.

            Q. And you wore that after you came back in 2008 all the
            way through 2010. That’s what you told the jury.

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            A. Correct, sir. Those were part of our uniform, sir.

            (Tr. at 76:1-6)

      118. On May 12, 2022, Plaintiff Beal testified in the Beal trial. Mr. Beal

provided the following testimony in response to questions related to the timing of

his use of the Combat Arms:

            Q. How long did you use the Combat Arms, version 2,
            during your service with the Army?

            A. The whole time that I was in the service, from ‘05 to
            2011.

            (Tr. at 16:13-15)

      119. On March 7, 2022, Plaintiff Maciel was deposed in connection with his

claims in the MDL court. Mr. Maciel provided the following testimony in response

to questions related to the timing of his use of the Combat Arms:

            Q. Okay. So you first used the Combat Arms
            earplugs in Iraq in 2008; is that right?

            A. Yes, ma’am.

            Q. And then you continued to use the Combat Arms
            earplugs from 2008 through your deployment in
            Afghanistan in 2010; is that right?

            A. Yes, ma’am.

            (Tr. at 28:25–29:2.)

            …

            Q. Okay. So in or around 2010 or 2011 is when
            you stopped wearing the Combat Arms earplugs; is that
            right?

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             A. Yes, ma’am.

             Q. Okay. And you did not wear the Combat Arms
             Earplugs Version 2 prior to your deployment to Iraq in
             2008; is that right?

             A. Yes.

             (Tr. at 29:16-22.)

             …

             Q. So you deployed to Iraq in May 2008; is that
             right?

             A. Yes.

             (Tr. at 30:18-20.)

      120. On May 23, 2022, the MDL court entered an order, Wave Order #3

(MDL Dkt. No. 3126), stating that: (1) “[Wave 3] Plaintiffs must produce to

Defendants, through MDL Centrality, copies of Plaintiffs’ relevant records

accessible via the public online sources, MyHealtheVet portal, the TRICARE Online

Patient Portal, and MilConnect.” (¶ 2); (2) “Plaintiffs must request copies of their

current DoD medical records by submitting a Form DD2870 Authorization for

Disclosure to their servicing military treatment facility’s records department” (¶ 3);

and “Plaintiffs must also provide Defendants signed versions of (i) Standard Form

180 for the release of DoD medical and personnel files (see Exhibit C) and (ii) VA

Form 3288 for the release of VA disability claims files (see Exhibit D). Defendants’

records vendor may use these authorizations to seek relevant records from the VA

and DoD….” (¶ 5).

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      121. On May 3, 2020, Major Nicole M. Kim of the Department of the Army,

Legal Services Agency sent a letter to MDL Lead Counsel, Bryan F. Aylstock, and

MDL defense counsel Mark J. Nomellini. The letter stated:

            The Army is processing the request for the other
            Bellwether plaintiffs; however, the Army does not have
            the ability to retrieve medical records for those Soldiers
            who are continuing to serve within the military. Those
            Soldiers who are currently affiliated with the Army will
            need to fill out Department of Defense (DD) Form 2870
            and bring the form to their servicing military treatment
            facility’s records department. Their military treatment
            facility’s records department will fulfill the request and
            provide the Soldier’s complete medical record.


      122. On October 19, 2021, Josh Kolsky, Trial Attorney for the U.S.

Department of Justice’s Federal Programs Branch, sent a letter to MDL Lead

Counsel Bryan F. Aylstock, Shelley Hutson, and Christopher Seeger. In the letter

Mr. Kolsky stated:

            Many of the records sought by Plaintiffs are already
            available to them through the websites described herein.
            Utilizing these resources will allow Plaintiffs convenient
            access to their records while lessening the burden on the
            non-party federal agencies.

            Accordingly, DoD will defer further action on the August
            8, 2019 Touhy request (and the related requests associated
            with the Court’s Privacy Act Orders) until Plaintiffs’
            counsel have (1) identified the Plaintiffs, if any, who are
            unable to access records through the sources described
            herein and (2) specified the records they could not access.
            Also, in any future requests to the Government for medical
            or personnel records, Plaintiffs should state in the request

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             whether they have attempted to access the requested
             records through sources already available to them and
             whether they were able to obtain the records from those
             sources.

      123. On December 17, 2020 the U.S. Department of Veterans Affairs

(“VA”), MDL Plaintiffs, and the MDL Defendants filed a stipulation on the MDL

docket, Amended Joint Stipulation Regarding Supplemental Production of VA

Records for Bellwether Trial Group A Through D Plaintiffs. In the stipulation, MDL

Plaintiffs agreed that following a supplemental production from the VA, “Bellwether

Group A through D Plaintiffs are responsible for obtaining and producing their own

VA records whether from the MyHealthVet portal or, if unavailable on such portal,

directly from the provider.”

      124. On March 23, 2022, the MDL Court entered Case Management Order

No. 40, stating:

             In lieu of a DD214, plaintiffs may submit a DoD Military
             Service Information Report produced by the VA Blue
             Button (colloquially the “Blue Button Report”), which is
             available through MyHealtheVet. The DoD Military
             Service Information Report, like a DD214 form, is an
             official DoD record which identifies basic service
             information including a veteran’s branch of service and
             period of service. This document is easily accessible to a
             veteran and/or a representative with the veteran’s
             credentials through a direct electronic download. No
             request for the information is required.

      125. There were 16 bellwether trials (involving 19 individual plaintiffs) tried

to verdict between April 2021 and May 2022: EHK (involving Plaintiffs Estes,

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Hacker, and Keefer), McCombs, Baker, Adkins, Blum, Palanki, Camarillo, Finley,

Montero, Stelling, Sloan-Wayman (involving Plaintiffs Sloan and Wayman),

Vilsmeyer, Wilkerson, Kelley, Vaughn, and Beal. The verdict forms for Estes,

Hacker, Keefe, McCombs, Baker, Adkins, Blum, Palanki, Camarillo, Finley,

Montero, Stelling, Wayman, Wilkerson, Kelley, Vaughn, and Beal described all

Defendants collectively as “3M.”

      126. To date, the parties have filed Joint Pretrial Submissions for sixteen

bellwether trials. The EHK plaintiffs submitted a combined pretrial stipulation and

Sloan and Wayman each submitted separate pretrial stipulations for their joint trial.

The Parties filed seventeen Joint Pretrial Submissions in sixteen bellwether trials.

      127. On March 26, 2021, the MDL Court issued an Order in the EHK Trial.

The      MDL        Court’s      order         regarding    Defendants’      website,

http://www.3mearplugfacts.com. The MDL Court stated that:

             This matter is before the Court on Plaintiffs’ Motion for
             Hearing, ECF No. 1709, regarding Defendants’ website,
             https://www.3mearplugsfacts.com. In the briefing,
             questions were raised on both sides about the other’s
             internet activity and the potential resulting improper
             influence on the jury pool. Consequently, the Court
             ordered Defendants’ lead trial lawyers and a corporate
             representative, and Plaintiffs’ lead counsel Bryan
             Aylstock and Chris Seeger, and all Plaintiffs’ counsel of
             record in the Estes’, Hacker’s, and Keefer’s cases, to
             submit affidavits or sworn declarations regarding specific
             aspects of their websites, including visitor information
             tracking and advertisement targeting, in an effort to
             pinpoint any attempts to tamper with the jury pool.

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             After fully considering the affidavits and declarations
             submitted, the Court is satisfied that neither side has made
             any effort to influence or attempt to influence the jury
             pool. Accordingly, Plaintiffs’ Motion for Hearing is
             DENIED. However, to mitigate any lingering concerns,
             the Court will address the issue of internet advertisements
             and research regarding the 3M litigation during voir dire.
             Additionally, both sides are free to alert the Court should
             other information come to light regarding any attempt to
             improperly influence the jury pool.

             (Pp. 1-2.)

      128. On September 20, 2021, the MDL Court provided preliminary

instructions to the jury during Brandon Adkins Bellwether trial. The MDL Court

instructed the jury:

             Please do not read, listen to, or watch any news reports of
             this trial or anything else that might bear upon this trial in
             any way. If you inadvertently hear or see a news report
             about the trial, you must turn the page if it’s the
             newspaper, turn off the television if it’s TV, change the
             radio station, the television station, whatever, whatever
             you have to do to avoid coming into contact with some
             information about the trial. And I don’t know whether
             there will be or there won’t be. Again, this is a standard
             instruction. But you must avoid it should there be anything
             like that, and then advise the Court if it has happened.

             Also, another very important instruction: You should not
             and must not conduct any research on your own or make
             any independent inquiry on your own about the matters
             that are discussed here during the trial, no matter how
             tempting it may be. We used to only have to be concerned
             about dictionaries and encyclopedias. Of course, in this
             day and age with the Internet, the concern is much, much
             greater. It is critical that you decide this case based only
             on what the lawyers give you here in this courtroom as
             evidence. If you’re sick of hearing me say that, you’re
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             going to be even more sick at the end of two weeks of
             hearing me say that, but it is critical. And so for you to go
             out on your own and to research matters outside of this
             courtroom, first, it would be a violation of your oath, but
             it would be entirely improper. It’s nothing the attorneys
             have given to you, it’s nothing that they can anticipate, and
             it would be wrong. So please do not do that.

             (Tr. at 40:2-41-4.)

        129. On March 14, 2022, the MDL court provided preliminary instructions

to the jury during Luke Vilsmeyer’s Bellwether trial. Judge Dalton instructed the

jury:

             You’re not to use internet maps or Google Earth or any
             other program or device to search for any view of any
             location that might be discussed in the testimony. I
             encourage you not to read, watch, or listen to any accounts
             or discussions that are related to the case that might be
             reported by the newspapers, television, radio, the internet,
             or any other news media. And let me give you a couple
             practical pointers.

             I would encourage you to avoid the news, to avoid the
             newspaper, certainly to avoid any sort of internet browsing
             or internet search about the news. If you have news alerts
             turned on your phone, when you go home, you might take
             the extra precaution of turning those off.

             (Tr. at 206:10-22.)

        130. On May 9, 2022, the MDL Court provided preliminary instructions to

the jury during James Beal’s Bellwether trial. At the outset of the Bellwether trial

of James Beal, Judge Rosenberg instructed the jury:

             Also, you must avoid during the trial any news reports
             during the trial. I do not know whether there will be any.

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               So if you inadvertently hear something or see something
               on television, it does not matter, you must avoid it. If you
               turn on the radio at home, driving home, and hear
               something you must turn it off, change the station. If
               something is reported about the case or the trial, you must
               change the channel, or do not read newspapers.

               (Tr. at 145:13-20.)

               It is a really big deal. I say that to emphasize that to be on
               high alert. It is not, you know, normal everyday life and I
               ask for you to be on guard about it necessarily. You can
               slip up easily.

               (Tr. at 146:17-20.)

       131. As of July 29, 2022, the MDL docket included claims brought by over

221,000 Plaintiffs, certain of which reside on an “active” docket and others of which

reside on an “administrative docket.”              On March 1, 2022, 1,611 Active or

Administrative docket cases were dismissed. On April 26, 2022, 1,613 Active or

Administrative docket claimants were dismissed. On May 2, 2022, 1,457 Active or

Administrative docket claimants were dismissed. On May 4, 2022, 786 Active or

Administrative docket claimants were dismissed. On May 6, 2022, 19,478 Active or

Administrative docket claimants were dismissed.7 On May 18, 2022, 1,448 Active

or Administrative docket claimants were dismissed. On May 23, 2022, 3,919 Active




7
    This count does not include the 1,895 cases that were dismissed on May 6, 2022 but then
    undismissed on May 23, 2022.

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or Administrative docket claimants were dismissed. On July 28, 2022, 14,490

Active or Administrative docket claimants were dismissed.

      132. As of July 29, 2022, the “active docket” was comprised of claims

brought by 122,176 Plaintiffs, including bellwether plaintiffs in post-trial briefing,

Wave cases, and the non-Wave cases.

      133. As of July 29, 2022, the Administrative docket included claims brought

by over 97,000 Plaintiffs.

      134. As of the Petition Date, the Minnesota state court action included over

2,000 lawsuits asserted against 3M, Aearo Technologies, LLC, and other debtors.

In addition, there are cases filed in Minnesota state court that have been removed to

the United States District Court for the District of Minnesota and are pending a

decision on remand or transfer to the MDL.

      135. On November 22, 2021, the MDL court issued Case Management

Order No. 31 (Wave Order #1). The MDL court stated that it would be requiring

“several hundred cases” “to [be] work[ed] up” “simultaneously in waves” of

“approximately 500 cases per wave.” (P. 1.) The MDL court identified 500 cases to

take part in “Wave 1.”

      136. On February 22, 2022, the MDL court issued Case Management Order

No. 34 (Wave Order #2). The MDL court ordered a second wave of 500 cases to be

worked up for trial. The MDL court identified 500 cases to take part in “Wave 2.”


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      137. On May 6, 2022, the MDL court issued Case Management Order No.

45 (Amended Wave Order #1 and #2).

      138. On May 23, 2022, the MDL court issued Case Management Order No.

47 (Wave Order #3). The MDL court ordered a third wave of 500 cases to be worked

up for trial. The MDL court identified 500 cases to take part in “Wave 3.”

      139. On July 29, 2022, the MDL court issued Case Management Order No.

49 (Amended Discovery & Wave Schedule) that continued MDL Wave discovery

for three weeks and set a revised Wave discovery schedule. The current Wave

discovery schedule is as follows:

    Prior Date    Deadline                                       Agreed Upon
                                                                 Amended
                                                                 Date
    Ongoing       Wave 2 - Expert deposition confidentiality     21 days later
                  designations due within 30 days of deposition; than
                  errata due within 45 days of deposition        otherwise
                                                                 due
    8/8/2022      Wave 3 - Responses to discovery due w/in 30 8/29/2022
                  days of receipt (8/8 latest if served on 7/7)
                  [CMO 47]
    8/15/2022     Wave 2 - Defense Expert Disclosure Deadline 9/5/2022
                  [CMO 34; Amended per CMO 45]
    8/21/2022     Wave 2 - M&C Deadline re venue                 9/11/2022
                  recommendations [CMO 34]
    8/25/2022     Wave 2 - Plaintiff Rebuttal Expert Disclosure 9/15/2022
                  Deadline [CMO 34; Amended per CMO 45]
    9/6/2022      Wave 3 - Plaintiff Deposition Deadline [CMO 9/27/2022
                  47]
    9/10/2022     Wave 2- Joint Venue Recommendations Due 10/1/2022
                  to Court [CMO 34]
    9/26/2022     Wave 2 - Expert Deposition Deadline [CMO 10/17/2022
                  34]
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 9/27/2022    Wave 3 - DME Reports due to Plaintiff (14     10/18/2022
              days prior to P Expert Disclosure Deadline or
              w/in 7 days of Defendants receiving results,
              whichever is earlier) [CMO 47]
 Prior Date                                                 Agreed Upon
                                                            Amended
                                                            Date
              Deadline
 9/29/2022    Wave 2 - Deadline to notify opposing counsel 10/20/2022
              of exhibits previously produced as
              Confidential to be filed under seal as
              attachments to COL, Daubert or dispositive
 9/30/2022                                                  10/21/2022


              Wave 3 - Fact Deposition Deadline [CMO 47]
 9/30/2022                                                   10/21/2022


              Wave 3 - Fact Discovery Deadline [CMO 47]
 10/3/2022    Wave 2 - Deadline to notify opposing counsel 10/24/2022
              of agreement with exhibits to be filed under
              seal as attachments to COL, Daubert or
              dispositive motions (3 days b/f filing deadline)
 10/6/2022                                                     10/27/2022

              Wave 2 - Daubert motions and dispositive
              motions Deadline [CMO 34]
 10/6/2022                                                   10/27/2022

              Wave 2 - Choice of Law Motions Deadline
              [CMO 34]
 10/7/2022    Wave 2 - BrownGreer will provide unsealed 10/28/2022
              versions of briefs/exhibits to COL, Daubert or
              dispositive motions to the court (24 hours after
              filing deadline) — Wave 2 [Order re Sealing]
 10/10/2022   Wave 2 - Deadline to file motion to seal with 10/31/2022
              respect to exhibits re COL, Daubert or
              Dispositive Motions (4 days after filing
              deadline);

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    10/11/2022                                                      11/1/2022

                    Wave 3 - Plaintiff Expert Disclosure Deadline
                    [CMO 47]

         140. On July 22, 2022, the MDL court issued an order setting the trial date

for “Wave 1” plaintiff David Elliott George to begin on October 24, 2022, in the

U.S. District Court for the Northern District of Florida.

         141. On July 15, 2022, the United States Judicial Panel on Multidistrict

Litigation published a document online titled MDL Statistics Report – Distribution

of Pending MDL Dockets by Actions Pending. A true and correct copy of the

document, which is available at https://www.jpml.uscourts.gov/sites/jpml/files/

Pending_MDL_Dockets_By_Actions_Pending-Jul-15-2022.pdf.              The     document

contains the following statistics:

                “Actions Now Pending” in the MDL: 290,409

                “Total Actions (Historical)” in the MDL: 308,953

                “Actions Now Pending” in all active MDLs combined: 426,495

                “Total Actions (Historical)” in all active MDLs combined: 770,823
         142. Attached hereto as Exhibit 1 is a true and correct printout of the MDL

docket since the filing of the Debtors’ bankruptcy petition in this Court.

         143. On July 26, 2022, Debtors filed a suggestion of bankruptcy in the MDL

court.




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      144. On July 26, 2022, the MDL court issued an order scheduling a show

cause hearing relating to the bankruptcy case filed in this Court. The MDL court set

a hearing on the order to show cause for 8:30 a.m. CT on July 27, 2022.

      145. On July 26, 2022, the MDL court issued an order amending its previous

order scheduling a show cause hearing relating to the bankruptcy case filed in this

Court. The MDL court moved the MDL’s show-cause order to 7:30 a.m. CT on July

27, 2022.

      146. On July 26, 2022, Plaintiffs’ counsel Ashley C. Keller (of Keller

Postman LLC) filed a Notice of Potential Tag-Along Action with the United States

Judicial Panel on Multidistrict Litigation.

      147. On July 27, 2022, the MDL court held a show cause hearing relating to

the bankruptcy case filed in this Court. The Court held this hearing.

      148. On July 27, 2022, Plaintiff Richard Valle (represented by Keller

Postman LLC) filed in the MDL court an Ex Parte Motion and Incorporated

Memorandum to Issue a Temporary Restraining Order to Enjoin 3M from Taking

Any Action Outside the MDL to Enjoin Parties from Pursuing CAEv2 Litigation

Against 3M. The motion asked the MDL court to issue a temporary restraining order

that would “enjoin 3M from taking any action outside of this MDL to enjoin other

parties from pursuing their CAEv2 claims against 3M.” (P. 1.)




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      149. On July 27, 2022, the MDL court issued a Referral and Order setting

an expedited briefing schedule for 3M to respond to plaintiff Valle’s ex parte motion.

      150. On July 27, 2022, 3M filed in the MDL court its Opposition to Plaintiff

Valle’s Motion for Temporary Restraining Order.

      151. On July 28, 2022, the MDL court issued an order denying plaintiff

Valle’s ex parte order.

      152. On July 28, 2022, the MDL court issued an order denying Defendants’

motion to require production of medical records.

      153. On July 29, 2022, the MDL court issued Case Management Order No.

49—Amended Discovery & Wave Schedule, which pushed most Wave discovery

deadlines back three weeks.

      154. On July 29, 2022, the Keller Postman firm filed a notice of potential

tag-along action before the JPML under 28 U.S.C. § 1407, suggesting that these

entire chapter 11 cases should be potentially transferred to the MDL court.

      155. On August 2, 2022, the MDL court issued an order in relation to

Debtors’ suggestion of bankruptcy filed in the MDL. The order stated: “There

presently is no stay as to 3M Company.”

      156. On August 2, 2022, the Keller Postman firm a tag-along notice with the

JPML, seeking to potentially transfer the bankruptcy cases and listing parties more

specifically.


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      157. On August 3, 2022, the Keller Postman firm emailed 3M’s counsel to

inform 3M that it would be renewing its request for a TRO on behalf of Plaintiff

Richard Valle before the MDL court.

      158. On August 3, 2022, Plaintiff Richard Valle (represented by Keller

Postman LLC) filed in the MDL a Memorandum in Support of Richard Valle’s

Emergency Motion on Behalf of All Plaintiffs for Preliminary Injunction Against

Defendant 3M Company. The motion asked the MDL court to issue a preliminary

injunction that would “enjoin 3M and any party acting on 3M’s behalf, from filing

any motion, action, proceeding, brief, or other judicial filing that seeks to enjoin

parties from pursuing CAEv2-related claims against 3M in this MDL or in district

courts where MDL cases have been remanded” and asked “for an expedited briefing

schedule such that any opposition be due within 7 days and a hearing to follow within

2 days.” (P. 1.)

      159. On August 3, 2022, the MDL court ordered expedited briefing

regarding plaintiff Valle’s motion for a temporary restraining order. The MDL court

stated the following:

      160. Plaintiff Richard Valle has filed an Emergency Motion for Preliminary

Injunction Against 3M Company. See ECF No. 3358. Given the urgency of the

above motion, Defendant 3M Company is directed to file its response, if any, by

August 9, 2022 at 5 p.m. Central. Plaintiff’s reply, if any, is due by August 10, 2022


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at 5 p.m. Central. Oral argument on the matter will be held on August 11, 2022 at 10

a.m. Central at the United States District Court, One North Palafox Street,

Courtroom 5, Pensacola, Florida. Each side must advise the Court of who will argue

on its behalf by August 10, 2022 at 5 p.m. Central. Counsel who will present

argument must appear in person. (P. 1.)

      161. On September 30, 2021, Dr. Crawford testified in the Adkins trial. Dr.

Crawford provided the following testimony in response to questions related to Mr.

Adkins use of the Combat Arms:

            Q. Okay. And now if we go over to the type of hearing
            protection used, what does that tell us?

            A. At this point it reports “Other.” And then if you -- that
            outcome -- when they mark the “Other” category, they put
            in the remarks what type of hearing protective device. So
            it was HPD quad-flange.

            Q. What’s the quad-flange?

            A. Three -- instead of three flanges, it’s got four.

            Q. Single-ended?

            A. Yes.

            Q. Not the Combat Arms Version?

            A. Not the Combat Arms.

            (Tr. at 33:16-34:2)




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      162. On May 20, 2021, Mr. McCombs testified in the McCombs trial. Mr.

McCombs provided the following testimony in response to questions related to his

use of the Combat Arms:

            Q. And if we can go a little farther down, please. On this
            audiogram, there is a reference at least personal hearing
            protection, and it says that the type issued is “Other.” Do
            you see that?

            A. Yes, ma’am.

            Q. And then it says your hearing protection device
            previously fit, and under “Others,” sorry, before that,
            “Hearing protection device: Quad-flange.” Do you see
            that?

            A. Yes, ma’am.

            Q. But you have no recollection of ever getting quad-
            flange even though that’s what the audiogram says; is that
            right?

            A. That’s correct, ma’am. I’ve never seen a quad-flange. I
            also have never been an E1 in the Army, as this states also.

            Q. Okay. So let’s go further up to the top. What you just
            pointed out is that this has an E1 as your pay grade, but
            just above that it has a social security number, date of
            birth, and we’ve for your privacy purposes cleared out
            some of that. But is that -- are those the correct four digits
            of your social security number there?

            A. Yes, sir, my last four, that’s correct.

            Q. And is that the correct year for your date of birth?

            A. Yes, ma’am, it is.

            (Tr. at 236:7-237:3)


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      163. On August 4, 2022, plaintiff Guy Cupit (represented by Quinn Emanuel

Urquhart & Sullivan, LLP) filed in the MDL court a Motion for Ruling on 3M

Company’s Waiver and/or Judicial Estoppel of Any Defense Regarding Its Full

Liability, and Request for Expedited Briefing and to Join August 11, 2022 Hearing.

Plaintiffs’ attorney Jennifer Hoekstra (of Aylstock Witkin Kreis Overholtz’ PLLC)

submitted a declaration in support of the motion. Cupit stated the following:

            Mr. Cupit therefore asks this Court for a ruling that 3M
            has waived and/or is judicially estopped from defending,
            arguing, or otherwise attempting to avoid any portion of
            its liability based on the argument that 3M is the “wrong
            party” because it does not bear full liability for all CAEv2-
            related injuries. (P. 2.)

            Mr. Cupit therefore respectfully requests that the Court
            rule 3M has waived and/or is judicially estopped from
            arguing it bears anything but full liability for CAEv2-
            related injuries. (P. 13.)

      164. On August 5, 2022, the MDL court ordered expedited briefing

regarding plaintiff Cupit’s motion. The MDL court stated the following:

            Plaintiff Guy Cupit has filed a Motion for Ruling on 3M
            Company’s Waiver and/or Judicial Estoppel of Any
            Defense Regarding Its Full Liability, and Request for
            Expedited Briefing and to Join August 11, 2022 Hearing.
            See ECF No. 3361. The Court DEFERS RULING on the
            substantive motion but GRANTS the request for expedited
            briefing and to join the August 11, 2022 hearing.
            Defendant 3M Company must file a response by August
            9, 2022 at 5 p.m. Central. The response must address the
            successor liability issue raised in Cupit’s motion, as well
            as the extent to which the recent indemnification
            agreement bears on 3M’s successor liability. More

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             specifically, 3M’s response must outline the terms of its
             purchase of Aearo in 2008, including assumption of
             liabilities, if any, and also the reported 2010 transfer to 3M
             of “the component of [Aearo’s] business responsible for
             the significant majority of its earplug sales.” See In re
             Aearo Tech. LLC, No. 1:22bk2890, ECF No. 11 at 11. No
             reply will be permitted. Both sides should be prepared to
             discuss these issues at the August 11th hearing. Each side
             must advise the Court of who will argue on its behalf by
             August 10, 2022 at 5 p.m. Central. Counsel who will
             present argument must appear in person. (Pp. 1-2.)

      165. On August 9, 2022, 3M filed Defendant 3M Company’s Opposition to

Plaintiff Guy Cupit’s Motion for Ruling on 3M Company’s Waiver and/or Judicial

Estoppel of Any Defense Regarding Its Full Liability (MDL Dkt. No. 3372).

      166. On August 9, 2022, 3M filed Defendant 3M Company’s Opposition to

Plaintiff Richard Valle’s Memorandum in Support of Richard Valle’s Emergency

Motion on Behalf of All Plaintiffs for Preliminary Injunction Against Defendant 3M

Company (MDL Dkt. No. 3370).

      167. On August 10, 2022, the Keller Postman firm filed a reply in support

of Plaintiff Richard Valle’s Emergency Motion on Behalf of All Plaintiffs for

Preliminary Injunction Against Defendant 3M Company.

      168. On June 10, 2022, the MDL court issued an order directing the parties

to attend a mediation to begin by July 15. The Order states as follows:

             The coming months will involve a massive shift in focus.
             Waves of individual cases—500 at a time—are proceeding
             with plaintiff-specific discovery and complete work up for
             trial. This Court will adjudicate all case-specific Daubert

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            and summary judgment motions in each Wave, and
            thereafter, the cases that remain will be remanded to their
            transferor courts for trial. An enormous amount of time
            and resources will be required to accomplish this
            endeavor, not just from this Court but from the entire
            federal judiciary. As of June 10, 2022, there were 233,883
            plaintiffs in the MDL, down from 282,902 at its height in
            September 2021. That averages to approximately 2,500
            cases being remanded for trial to each of the 94 districts
            nationwide, though in all likelihood, some districts will
            receive many fewer cases and other districts many more,
            depending on the appropriate venue for individual
            plaintiffs, although likely no district will be spared the
            burden. In any event, the amount of judicial resources
            required to handle this number of cases is staggering.

      169. On August 11, 2022, the MDL Court held a hearing for oral argument

on individual plaintiffs’ motions for an Emergency Preliminary Injunction (MDL

Dkt. No. 3358) and Motion for a Ruling on 3M Company’s Waiver and/or Judicial

Estoppel of any Defense Regarding its Full Liability (MDL Dkt. No. 3361.) The

following statements were made by and to the MDL Court:

            Lauria: If you dissect what he’s saying on the record, I
            describe what Mr. Keller is doing as basically a disguised
            Klay motion. And by Klay, I’m sure the Court knows I’m
            referring to the Eleventh Circuit decision on All Writs Act.
            His disguised Klay relief falls into three categories: One is
            he’s seeking this Court’s determination of the 362 issue;
            the second is, he’s seeking a stay of any party’s ability to
            re-litigate the issue; and third is he’s basically seeking this
            Court’s determination of what I’m going to call wrongful
            bankruptcy.

            And that’s what I really refer to when I talk about the Klay
            issue or his disguised Klay motion. Because, if you read
            Klay, what Mr. Keller is seeking falls squarely within what

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         he actually said when he took the podium. Now, in his
         papers he tried to narrowly tailor his relief to enjoin us
         from seeking an injunction or to enjoin 3M from
         supporting an injunction. But everything we just heard
         from Mr. Keller today demonstrates that what Mr. Keller
         is in fact seeking is a determination that the bankruptcy
         was wrong and that the bankruptcy should be dismissed.

         THE COURT: Well, if I believe that the bankruptcy was
         fraudulent and was concocted as a way to escape this
         Court’s jurisdiction, then that may be a perfect use of the
         All Writs Act.

         (Tr. at 18:11-19:9.)

         THE COURT: My next point was: Whether Aearo was
         any financial distress?

         MS. LAURIA: Well, I would argue they were. They had
         230,000 claims being asserted against Aearo. Based on its
         balance sheet, it could not begin to satisfy 230,000 claims.

         THE COURT: Well, the way I read the agreement is that
         they only had the liability after the agreement was signed.
         And surely someone will get to the bottom of this.
         Because if there was no liability and if 3M had all of the
         liability --and I can assure you that is how 3M proceeded
         in this court for three-and-a-half years -- it appears to me
         that they gave Aearo and Aearo agreed voluntarily to take
         100 percent of the liability for the claims in this MDL and
         thus voluntarily agreed to go into financial distress based
         on that indemnity agreement. So what I understand
         through the documents is that Aearo assumes all the
         liability through the indemnification agreement, has to
         indemnify 3M if 3M pays claims outside of the bankruptcy
         context, but not in the bankruptcy context because there’s
         a no repayment clause as part of the agreement. But in
         return, 3M pays Aearo $1.24 billion to reorganize. But the
         only reason Aearo needs to reorganize is because of this
         newly-created indemnity agreement. Outside of that,
         there’s no reason, in my view, for 3M to have paid Aearo

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         the $1.24 billion. The only value that I see to the
         agreement is that 3M gets to use Aearo’s bankruptcy to
         resolve claims against 3M in bankruptcy court rather than
         this Court. That’s how I view it. Is my -- again, I don’t --
         and tell me if I’m wrong, but what reason was there for
         Aearo to reorganize before that indemnity agreement?

         (Id. at 25:9-26:14)

         MR. BEALL: First it’s obvious it’s a one-off motion, it’s
         just Mr. Cupit, he’s by himself in this. Even though Ms.
         Hoekstra presented an affidavit or declaration in support
         of it, leadership did not join this, it is not an all-cases filing.

         (Id. at 50:18-22)

         THE COURT: I don’t think we need to get into this.
         Again, are you telling me you’re going to be filing a
         motion to assert the defense or are you -- because
         otherwise I don’t have that in front of me. I do not have a
         request by 3M to assert the defense.

         MR. BEALL: We don’t think it’s a defense so we don’t
         think we need to amend the answer. Now, if the Court
         tells us in an order that you have concluded that the
         Seventh Circuit and the Second Circuit are wrong and you
         agree with the cases they cite and it is a defense, then at
         that point we probably would need to move to amend our
         answer for that purpose. But we don’t think we need to
         because the case law is pretty clear, even though there is a
         split, that the better rule -- the majority rule seems to be
         the successor liability is in fact their burden, which makes
         sense because they’ve got the burden to prove –

         THE COURT: But why -- you say this is important now.
         Why is it important now but it wasn’t before?

         MR. BEALL: Well, I mean, the most obvious answer is
         right now we have a bankruptcy proceeding going on.

         THE COURT: Exactly.


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            MR. BEALL: And I’m not suggesting that -- but the other
            point of this is that, you know, when we were trying this
            cases before, again, we used the bellwether process and I
            understand –

            THE COURT: Well, a bankruptcy proceeding in which it
            needs to appear that Aearo is legitimately bankrupt or
            financially distressed and in need of reorganization, and
            you’ve done that through an indemnification agreement,
            and then I suppose you might also try to boost that with
            the now newly-raised defense.

            MR. BEALL: I guess my point, Your Honor, is,
            respectfully we think we can do any of those things at this
            point because we can change our litigation –

            THE COURT: You can’t use this Court to perpetrate a
            fraud on the bankruptcy court.

            (Id. at 59:17-61: 2)

            MR. AYLSTOCK: With regard to Mr. Wolfson’s
            authority, I have my co-leads here, we absolutely endorse
            the motion of Mr. Keller and Mr. Wolfson. We join in that.

            (Id. at 73:22-25)

      170. On August 11, 2022, the Quinn Emanuel firm filed a submission related

to the hearing that took place in the MDL on August 11, 2022.

      171. On August 12, 2022, 3M Company filed a submission related to the

hearing that took place in the MDL on August 11, 2022.

      172. On September 15, 2021, Plaintiff Nicholas Maciel filed the Master

Short Form Complaint and Jury Trial Demand against Defendants 3M Company,

3M Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo

LLC, and Aearo Technologies LLC. The Complaint names the following entities as
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Defendants: 3M Company, 3M Occupational Safety LLC, Aearo Holding LLC,

Aearo Intermediate LLC, Aearo LLC, and Aearo Technologies LLC.” (P. 2.).

      173. On August 12, 2022, Plaintiff Nicholas Maciel filed an Adversary

Complaint in the United States Bankruptcy Court for the Southern District of

Indiana. The Complaint states that it “seek[s] judgment against Defendants 3M

Occupational Safety LLC, Aearo Holding LLC, Aearo Intermediate LLC, Aearo

LLC, and Aearo Technologies LLC (collectively “Defendants”).” (P. 1.) The Maciel

Complaint further alleges the following:

            Defendants are jointly and severally liable to Plaintiff for
            their individual and collective tortious acts. (¶ 204.)

            At all times relevant to this action, Defendants had a duty
            to design, manufacture, formulate, test, package, label,
            produce, create, make, construct, assemble, market,
            advertise, promote, distribute, and sell the Dual-Ended
            Combat Arms Earplug with reasonable and due care for
            the safety and well-being of users, including Plaintiff and
            other civilians and military personnel who used the device.
            (¶ 264.)

      174. On August 12, 2022, Plaintiff Nicholas Maciel filed a Motion by

Nicholas Maciel to Withdraw the Reference and Demand for Jury Trial (Relief

Sought From United States District Judge) in the United States Bankruptcy Court

for the Southern District of Indiana. The Motion states in pertinent part that,

“Plaintiff’s personal injury claims in this Adversary Proceeding mirror those

pending before the MDL Court.” (P. 2.)


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      175. On August 12, 2022, Plaintiff Nicholas Maciel (through the Keller

Postman firm) filed a tag-along notice with the JPML.



Indianapolis, Indiana
Dated: August 16, 2022

/s/ Jeffrey A. Hokanson
Jeffrey A. Hokanson (Ind. Atty. No. 14579-49)           Chad J. Husnick, P.C. (pro hac vice)
John C. Cannizzaro (Ohio Atty. No. 85161)               David M. Bernick (pro hac vice)
Connor Skelly (Ind. Atty. No. 35365-06) (pro hac        Brenton A. Rogers, P.C. (pro hac vice)
vice)                                                   Renee D. Smith (pro hac vice)
ICE MILLER LLP                                          Spencer Winters (pro hac vice)
One American Square, Suite 2900                         KIRKLAND & ELLIS LLP
Indianapolis, IN 46282-0200                             KIRKLAND & ELLIS INTERNATIONAL LLP
Telephone:       (317) 236-2100                         300 North LaSalle Street
Facsimile:       (317) 236-2219                         Chicago, Illinois 60654
Email:           jeff.hokanson@icemiller.com            Telephone:       (312) 862-2000
                 john.cannizzaro@icemiller.com          Facsimile:       (312) 862-2200
                 connor.skelly@icemiller.com            Email:           chad.husnick@kirkland.com
                                                                         david.bernick@kirkland.com
Edward O. Sassower, P.C. (pro hac vice)                                  brogers@kirkland.com
Emily Geier (pro hac vice)                                               renee.smith@kirkland.com
KIRKLAND & ELLIS LLP                                                     spencer.winters@kirkland.com
KIRKLAND & ELLIS INTERNATIONAL LLP
601 Lexington Avenue                                    David I. Horowitz, P.C. (pro hac vice)
New York, New York 10022                                KIRKLAND & ELLIS LLP
Telephone:     (212) 446-4800                           KIRKLAND & ELLIS INTERNATIONAL LLP
Facsimile:     (212) 446-4900                           555 South Flower Street, 37th Floor,
Email:         edward.sassower@kirkland.com              Los Angeles, California 900714
               emily.geier@kirkland.com                 Telephone:     (213) 680-8374
                                                        Facsimile:     (213) 808-8074
Mark McKane, P.C. (pro hac vice)                        Email:         david.horowitz@kirkland.com
KIRKLAND & ELLIS LLP
KIRKLAND & ELLIS INTERNATIONAL LLP
555 California Street
San Francisco, California 94104
Telephone:      (415) 439-1473
Facsimile:
Email:          mark.mckane@kirkland.com

                      Proposed Co-Counsel to the Debtors and Debtors in Possession




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                                 KTBS LAW LLP

                                    /s/ Robert J. Pfister
                                 Michael L. Tuchin (pro hac vice)
                                 Thomas E. Patterson (pro hac vice)
                                 Robert J. Pfister (IN Bar No. 23250-02)
                                 Sasha M. Gurvitz (pro hac vice)
                                 Nir Maoz (pro hac vice)
                                 1801 Century Park East, 26th Floor
                                 Los Angeles, California 90067
                                 Telephone: (310) 407-4000
                                 Facsimile: (310) 407-9090
                                 Email: mtuchin@ktbslaw.com
                                         tpatterson@ktbslaw.com
                                         rpfister@ktbslaw.com
                                         sgurvitz@ktbslaw.com
                                         nmaoz@ktbslaw.com

                                 Attorneys for Aylstock, Witkin, Kreis &
                                 Overholtz, PLLC




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                                 RUBIN & LEVIN, P.C.

                                 Deborah J. Caruso (IN Bar No. 4273-49)
                                 Meredith R. Theisen (IN Bar No. 28804-49)
                                 135 N. Pennsylvania Street, Suite 1400
                                 Indianapolis, Indiana 46204
                                 Telephone: (317) 860-2867
                                 Facsimile: (317) 453-8616
                                 Email: dcaruso@rubin-levin.net
                                        mtheisen@rubin-levin.net

                                 -and-

                                 OTTERBOURG P.C.

                                    /s/ Adam C. Silverstein
                                 Melanie L. Cyganowski (pro hac vice)
                                 Adam C. Silverstein (pro hac vice)
                                 Jennifer S. Feeney (pro hac vice)
                                 230 Park Avenue
                                 New York, New York 10169
                                 Telephone: (213) 661-9100
                                 Email: mcyganowski@otterbourg.com
                                         asilverstein@otterbourg.com
                                          jfeeney@otterbourg.com

                                 Counsel for Seeger Weiss LLP




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                                 QUINN EMANUEL URQUHART &
                                 SULLIVAN, LLP

                                    /s/ Eric D. Winston
                                 Adam Wolfson (pro hac vice)
                                 Eric D. Winston (pro hac vice)
                                 865 S. Figueroa St., 10th Floor
                                 Los Angeles, California 90017
                                 Telephone: (213) 443-3000
                                 Facsimile: (213) 443-3100
                                 Email: adamwolfson@quinnemanuel.com
                                         ericwinston@quinnemanuel.com

                                 -and-

                                 Patricia B. Tomasco (pro hac vice)
                                 711 Louisiana, Suite 500
                                 Houston, Texas 77002
                                 Telephone: (713) 221-7000
                                 Facsimile: (713) 221-7100
                                 Email: pattytomasco@quinnemanuel.com
                                         patrickking@quinnemanuel.com
                                         joannacaytas@quinnemanuel.com

                                 -and-

                                 Matthew S. Hosen (pro hac vice)
                                 1109 1st Avenue, Suite 210
                                 Seattle, Washington 98101
                                 Telephone: (206) 905-7000
                                 Email: matthosen@quinnemanuel.com

                                 Counsel to the Bellwether Plaintiffs




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                                   FISHMAN HAYGOOD, L.L.P.

                                      /s/ Tristan Manthey
                                   Brent B. Barriere (pro hac vice)
                                   Tristan Manthey (pro hac vice)
                                   Cherie D. Nobles (pro hac vice)
                                   Jason W. Burge (pending pro hac vice)
                                   201 St. Charles Avenue, 46th Floor
                                   New Orleans, Louisiana 70170-4600
                                   Telephone: (504) 586-5252
                                   Fax: (504) 586-5250
                                   Email: bbarriere@fishmanhaygood.com
                                            tmanthey@fishmanhaygood.com
                                            cnobles@fishmanhaygood.com
                                            jburge@fishmanhaygood.com

                                   Counsel for Clark, Love & Hutson, PLLC




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                                   BAILEY & GLASSER, LLP

                                      /s/ Brian Glasser
                                   Brian Glasser
                                   Kevin W. Barrett
                                   1055 Thomas Jefferson Street NW
                                   Suite 540
                                   Washington, DC 20007
                                   Telephone: (304) 345-6555
                                   Fax: (202) 463-2103
                                   Email: BGlasser@baileyglasser.com
                                   KBarrett@baileyglasser.com

                                   Counsel for the Bailey & Glasser Plaintiffs




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                                   PULASKI KHERKHER, PLLC

                                      /s/ Adam Pulaski
                                   Adam Pulaski (pro hac vice forthcoming)
                                   2925 Richmond Avenue Suite 1725
                                   Houston, TX 77098
                                   Telephone: (703) 664-4555
                                   Facsimile: (703) 664-7543
                                   Email: adam@pulaskilawfirm.com

                                   Counsel for the Pulaski Herkher Plaintiffs




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                                   CAPLIN & DRYSDALE, CHARTERED

                                      /s/ Kevin C. Maclay
                                   Kevin C. Maclay (pro hac vice)
                                   Todd E. Phillips (pro hac vice)
                                   Kevin M. Davis (pro hac vice)
                                   One Thomas Circle, NW, Suite 1100
                                   Washington, District of Columbia 20005
                                   Telephone: (202) 862-5000
                                   Facsimile: (202) 429-3301
                                   Email: kmaclay@capdale.com
                                           tphillips@capdale.com
                                           kdavis@capdale.com

                                   Counsel for Certain Claimants Represented
                                   by Cory Watson, P.C.; Certain Claimants
                                   Represented by Heninger Garrison Davis,
                                   LLC; and Certain Claimants Represented by
                                   The Gori Law Firm, P.C.




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                                   SMITHAMUNDSEN, LLC

                                      /s/ Martha R. Lehman
                                   Martha R. Lehman (IN Bar No. 14287-49)
                                   Mark R. Wenzel (IN Bar No. 1797-49)
                                   201 North Illinois Street, Suite 1400
                                   Indianapolis, Indiana 46204
                                   Telephone: (317) 464-4100
                                   Facsimile: (317) 464-4101
                                   Email: mlehman@smithamundsen.com
                                           mwenzel@smithamundsen.com

                                   Counsel for Tracey Fox King & Walters and
                                   The Johnson Law Group




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                                   JACOBSON HILE KIGHT LLC

                                      /s/ Michael W. Hile
                                   Michael W. Hile
                                   Andrew T. Kight
                                   The Elliott House
                                   108 E. 9th Street
                                   Indianapolis, Indiana 46202
                                   Telephone: (317) 608-1131
                                   Email: mhile@jhklegal.com
                                           akight@jhklegal.com

                                   Counsel for Weitz & Luxenberg, PC




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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                         Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document Relates to All Cases            Judge M. Casey Rodgers
                                              Magistrate Judge Gary R. Jones


                                      ORDER

      This matter is before the Court on an Emergency Motion for Preliminary

Injunction Against 3M Company filed by Plaintiff Richard Valle, see ECF No. 3358,

which 3M opposes, see ECF No. 3370. The motion follows on the heels of a petition

for Chapter 11 bankruptcy filed in the Southern District of Indiana by five of the six

defendants in this MDL—Aearo Technologies LLC, Aearo Holding LLC, Aearo

Intermediate LLC, Aearo LLC, and 3M Occupational Safety LLC (collectively,

“Aearo”). In the bankruptcy court, Aearo has, among other things, requested that

the automatic stay of actions or proceedings against it be extended to 3M Company,

Aearo’s non-debtor parent, and has made clear that its motive for doing so is to

upend this statutorily authorized MDL. See In re Aearo Techs. LLC, Case No.

1:22bk2890, Informational Brief, ECF No. 12 at 56-61. Valle now asks this Court

to enjoin 3M Company from (1) supporting an extension of the automatic stay that

would preclude individual plaintiffs from litigating CAEv2 matters against 3M in




                                       A.176
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the MDL or following remand for trial; and (2) relitigating matters in bankruptcy

court that this Court has already adjudicated. Oral argument was heard on August

11, 2022. After careful consideration, Valle’s motion is granted in part and denied

in part.

       Valle’s motion is grounded in the All Writs Act, which empowers federal

courts to “issue all writs necessary or appropriate” to safeguard the integrity of

“ongoing proceedings” and “potential future proceedings” before them, and to

“protect or effectuate” their prior orders and judgments.       See Klay v. United

Healthgroup, Inc., 376 F.3d 1092, 1099-1100 (11th Cir. 2004); Wesch v. Folsom, 6

F.3d 1465, 1470 (11th Cir. 1993); see also 28 U.S.C. § 1651. A court’s authority to

enjoin certain activities in other forums is broad and “extends, under appropriate

circumstances, to [any] persons who . . . are in a position to frustrate the

implementation of a court order or the proper administration of justice, and

encompasses even those who have not taken any affirmative action to hinder

justice.”   United States v. New York Tel. Co., 434 U.S. 159, 174 (1977).

Nevertheless, an All Writs Act injunction is an extraordinary remedy which,

although derived from statute, is “essentially equitable” and, as such, generally is

not available where there are adequate remedies at law. See Klay, 376 F.3d at 1100.

       All Writs Act injunctions must be “predicated on the existence of some

underlying proceeding over which the issuing court [already] has jurisdiction[.]” See




                                      A.177
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Rohe v. Wells Fargo Bank, N.A., 988 F.3d 1256, 1264 (11th Cir. 2021).1

Accordingly, to obtain an injunction under the Act, the requesting party must “point

to some ongoing proceedings, or some past order or judgment, the integrity of which

is being threatened by someone else’s action or behavior.” See id. For threats to

ongoing proceedings, “a court may enjoin almost any conduct which, left unchecked,

would have the practical effect of diminishing the court’s power to bring the

litigation to a natural conclusion.” See Klay, 376 F.3d at 1102. For threats to prior

orders, a court “has the power to enjoin a party before it from attempting to relitigate

the same issues or related issues precluded by the principles of res judicata and

collateral estoppel in another federal court.” See New York Life Ins. Co. v. Deshotel,

142 F.3d 873, 879 (5th Cir. 1998) (citing Kinnear-Weed Corp. v. Humble Oil &

Refining Co., 441 F.2d 631, 637 (5th Cir. 1971)).

       The Court begins with Valle’s request that 3M be enjoined from supporting a

bankruptcy injunction that would preclude individual plaintiffs from continuing to

litigate CAEv2 matters against 3M in the MDL and other forums. There can be no

doubt that if Aearo’s automatic bankruptcy stay is extended to 3M, this Court will

be prevented from guiding this litigation to “its natural conclusion.” See Klay, 376



       1
          See also Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1099 (11th Cir. 2004) (“The
Act does not create any substantive federal jurisdiction” and is instead a “codification of the federal
courts’ traditional, inherent power to protect the jurisdiction they already have, derived from some
other source.”).




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F.3d at 1102. Except for matters related to the recent bankruptcy filing, the MDL is

now at a complete standstill. Nearly 1,200 cases at various stages of Wave discovery

are sitting idle. Countless scheduled and pending depositions and defense medical

exams have been, or will be, indefinitely cancelled. Roughly 1,500 ripe Daubert

and summary judgment motions are languishing. Multiple appeals pending in the

Eleventh Circuit Court of Appeals are halted. Concurrent litigation in Minnesota

state court likewise is halted. And this is only the beginning. See, the “ultimate

objective” of this entire scheme is a permanent channeling injunction (and a third-

party release of 3M) in the bankruptcy court requiring that all CAEv2 hearing-related

claims be resolved through a bankruptcy claims trust rather than adjudicated in an

Article III court. See In re Aearo, 1:22bk2890, Informational Brief, ECF No. 12 at

61. If successful, hundreds of thousands of individual plaintiffs will be deprived of

their constitutional right to a jury trial while 3M—a fully solvent and highly

profitable Fortune 500 Company that will never actually file a bankruptcy petition

itself—will reap all of the benefits of the bankruptcy system without the attendant

burdens. 2 The unabashed justification for dismantling this MDL is 3M/Aearo’s


       2
          The Aearo debtors apparently were solvent wholly owned subsidiaries of 3M until the
bankruptcy-eve execution of a funding and indemnity agreement, which left the companies in
severe financial distress due to their newly created exclusive liability for the CAEv2 claims in this
litigation. As the Court reads it, albeit without the benefit of an evidentiary hearing, the funding
and indemnity agreement creates no value other than to mount 3M’s escape from this MDL. In
the agreement, Aearo agrees to take on potentially billions in liability for the CAEv2 claims in
exchange for 3M funding a claims trust that automatically depletes if and only if 3M faces
judgments in the MDL (or state court), artificially tying Aearo’s ability to reorganize with




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dissatisfaction with the MDL system, this Court’s legal rulings, and the multiple jury

verdicts against it in this litigation. See id.

       Under these circumstances, the Court readily concludes that it has jurisdiction

to determine whether Aearo’s automatic stay applies to the claims against 3M in this

MDL, see, e.g., Hunt v. Bankers Trust Co., 799 F.2d 1060, 1069 (5th Cir. 1986), and

the authority under the All Writs Act to enjoin actions by 3M in other forums which

threaten the Court’s jurisdiction, see 28 U.S.C. § 1651. Nevertheless—and despite

the Court’s serious concerns over the prospect of a solvent defendant being able to

evade the jurisdiction of an Article III court, leaving over 230,000 plaintiffs in its

wake, based solely on its policy disagreement with a system created by Congress

and its dissatisfaction with the lawfully entered rulings of an Article III court—the

Court declines to exercise that jurisdiction to prohibit 3M from supporting a

bankruptcy court injunction precluding plaintiffs from litigating CAEv2 matters

against 3M.

       “[T]he All Writs Act is a residual source of authority to issue writs which are

not otherwise covered by statute.” Klay, 376 F.3d at 1100. Here, the Court’s

jurisdiction to interpret the automatic stay statute, 11 U.S.C. § 362, is concurrent


continued litigation against 3M in the MDL (or state court). While the argument can be made (and
has been) that this is a fairly transparent attempt at manipulation and abuse of the bankruptcy code,
it may be a perfectly legitimate use. This Court trusts that the bankruptcy court judge is well-
equipped to decide the matter based on his knowledge of bankruptcy law and the fact that he will
have a complete evidentiary record.




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with that of the bankruptcy court. 3 However, the bankruptcy court also has even

broader equitable powers to further extend the stay under 11 U.S.C. § 105(a), and

the bankruptcy court judge is presiding over an evidentiary hearing on that matter at

this very moment. Thus, while this Court respects and appreciates the solemn

responsibility of Article III courts to enforce, protect and preserve their jurisdiction,

there are times when those ends are best served by yielding to a court with concurrent

jurisdiction, specialized expertise, and a full evidentiary record. This is one of those

times. The bankruptcy court is well-qualified and aptly suited to determine whether

3M is lawfully using the Bankruptcy Code for a proper restructuring purpose or,

instead, using its subsidiaries’ bankruptcy petition as bad faith subterfuge to defeat

this Court’s jurisdiction and relitigate this Court’s rulings. See, e.g., In re Moog,

159 B.R. 357, 361 (Bankr. S.D. Fla. 1993) (explaining that “if the timing of the filing

[of the bankruptcy petition] is such that the court concludes that the primary, if not

sole purpose, of the filing was litigation tactic, the petition may be dismissed” and

that “frustrating the legitimate processes of a non-bankruptcy forum” is inconsistent

with the congressional intent of the bankruptcy code) (emphasis added). 4


       3
        See In re Baldwin-United Corp. Litig., 765 F.2d 343 (2d Cir. 1985) (MDL courts have
concurrent jurisdiction to interpret whether a bankruptcy stay applies and to issue injunction in aid
of the MDL court’s jurisdiction but may appropriately decline to exercise that jurisdiction when it
unduly interferes with the bankruptcy court’s ability to carry out its duties).
       4
         See also In re Karum Grp., Inc., 66 B.R. 436 (Bankr. W.D. Wash.1986) (case dismissed
where debtor filed bankruptcy as a litigation tactic to avoid posting supersedeas bond); In re
Golden Ocala P’ship, 50 B.R. 552 (Bankr. M.D. Fla. 1985) (Chapter 11 not designed to resolve
internal fights between feuding shareholders); In re Ofty Corp., 44 B.R. 479 (Bankr. D. Del.




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       Valle’s second request implicates a more specific threat to this Court’s

jurisdiction. Aearo’s written submissions and oral representations to the bankruptcy

court are replete with substantive challenges to this Court’s many legal and

evidentiary rulings in the MDL, and culminate in an outright rejection of traditional

appellate review of those decisions by the Eleventh Circuit Court of Appeals.

According to Aearo, both companies—specifically, “Aearo and 3M”—prefer to

resolve CAEv2 claims on the basis of the “fair and complete evidentiary record”

they plan to create in bankruptcy court. See In re Aearo, 1:22bk2890, Informational

Brief, ECF No. 12 at 61. From this, the threat to this Court’s previously exercised

jurisdiction is undeniable. It cannot and will not be countenanced, and compels

immediate action from this Court by means of an All Writs Act injunction

prohibiting 3M from attacking this Court’s prior orders.

       For the avoidance of doubt, the scope of today’s injunction prevents 3M from

“attempting to relitigate the same issues or related issues precluded by the principles

of res judicata and collateral estoppel in” bankruptcy court. See New York Life, 142

F.3d at 879. This includes the relitigation of identical issues that the defendants



1984) (bankruptcy case filed to circumvent liquidation orders in state court dismissed as a bad
faith filing); In re Wally Findlay Galleries (N.Y.) Inc., 36 B.R. 849 (Bankr. S.D.N.Y.
1984) (bankruptcy case dismissed where intent was to relitigate not reorganize); but see In re LTL
Mgmt., LLC, 637 B.R. 396 (Bankr. D.N.J. 2022)(“Texas Two-Step” corporate restructuring and
transfer of liability to a reorganized debtor considered a valid bankruptcy purpose, not merely
aimed at gaining a tactical litigation advantage), appeal docketed, No. 22-2003 (3d Cir. Mar. 10,
2022).




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litigated and lost against a particular plaintiff in this Court. See, e.g., Jack Faucett

Assocs., Inc. v. AT&T, 744 F.2d 118, 124 (D.C. Cir. 1984) (citing S. Pac. Commc’ns

Co. v. AT&T, 740 F.2d 1011, 1014 n.2 (1984)). 3M also is enjoined from supporting,

directly or indirectly, financially or otherwise, any collateral attack on this Court’s

orders by any other parties in any other forum, including Aearo. After nearly three

and a half years of litigation, 3M has had a “full and fair opportunity to litigate” a

myriad of issues that were “critical and necessary” to the Court’s orders and

judgments.    See Christo v. Padgett, 223 F.3d 1324, 1339 (11th Cir. 2000)

(articulating standard for collateral estoppel. Today’s injunction enforces the

preclusive effect of all of those orders and judgments. If 3M defies this injunction

by attempting to relitigate (or supporting relitigation of) these matters in the

bankruptcy court, this Court retains jurisdiction to convene contempt proceedings to

enforce compliance. See United States v. Coulton, 594 Fed. App’x 563, 565-66

(11th Cir. 2014).

      Based on the foregoing, Valle’s Motion for Preliminary Injunction, ECF No.

3358, is GRANTED IN PART and DENIED IN PART, consistent with this Order.

      DONE AND ORDERED this 16th day of August 2022.

                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE




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                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF INDIANA

IN RE:                   .            Case No. 22-02890-JJG
                         .            (Jointly Administered)
AEARO TECHNOLOGIES LLC, .
ET AL.,                  .           116 U.S. Courthouse
                         .           46 E. Ohio Street, Room 116
          Debtors.       .           Indianapolis, IN 46204
 . . . . . . . . . . . . .
AEARO TECHNOLOGIES LLC, .
ET AL.,                  .
                         .
          Plaintiffs,    .
     V.                  .            Adversary No. 22-50059-JJG
                         .
THOSE PARTIES LISTED ON .
APPENDIX A,              .
                         .
          Defendants.    .
                         .           Monday, August 15, 2022
 . . . . . . . . . . . . .           9:00 a.m.

          TRANSCRIPT OF HEARING ON DEBTORS' MOTION FOR
                DECLARATORY AND INJUNCTIVE RELIEF
             BEFORE THE HONORABLE JEFFREY J. GRAHAM
              UNITED STATES BANKRUPTCY COURT JUDGE

APPEARANCES:

For the Debtors:                 Kirkland & Ellis LLP
                                 BY: CHAD HUSNICK, ESQ.
                                 300 North LaSalle Street
                                 Chicago, IL 60654

                                 Kirkland & Ellis
                                 BY: MARK McKANE, ESQ.
                                 555 California Street, 27th Floor
                                 San Francisco, CA 94104

Audio Operator:                  Heather Heiser-Davis

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                           Castellano - Direct/McKane                      59
1 human resources, procurement, IT, evaluating the shared

2 services agreement itself to really understand the operations

3 of Aearo and what potential impact a Chapter 11 filing could

4 have on it.

5 Q      As part of that effort, did you evaluate Aearo's assets

6 and liabilities?

7 A      Yeah.      A typical step in any contingency planning process

8 is to take effectively a trial balance and understand what is

9 included in the balance sheet, what's included in the income

10 statement, and understand the history of those financial

11 statements.

12 Q     And, sir, to be clear, did you lead that effort for

13 AlixPartners?

14 A     I led that with my team, correct.

15 Q     And in your experience as a restructuring advisor, is it

16 typical to have a multi-month contingency planning process?

17 A     Yes.    It's not unusual at all to commence contingency

18 planning and then, what we call in our sector, put it on the

19 shelf.   No decisions have been made to file or you're working

20 through other transaction structures and you prepare and you

21 pause.   That's happened numerous times in my career.

22 Q     So to be clear, does the fact that you start prepping a

23 case mean you eventually file that case?

24 A     No.    No, it doesn't.       I mean, commencing contingency

25 planning is not akin to making a decision to file.




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                         Castellano - Direct/McKane                              60
1 Q      So let's transition to discuss some basics of the Aearo

2 business if that's okay.

3        What products does Aearo make?

4 A      So Aearo designs solutions to control unwanted energy,

5 unwanted energies like noise, shock, excessive change in

6 thermal conditions or vibration.          Products that they

7 manufacture to control that energy would include damping and

8 isolation materials, acoustic absorbers, barriers, and thermal

9 control products.

10 Q     And, sir, to whom do they sell these products?

11 A     So their primary divisions would be the commercial vehicle

12 space, aerospace companies, various electronic manufacturers,

13 power generators, and then specialty equipment like

14 construction or agricultural equipment.            Again, things that

15 need to be protected from unwanted energy.

16 Q     And where does Aearo make these products?

17 A     So Aearo's headquarters are here in Indianapolis.               They

18 have a plant here in Indianapolis.          They also have a facility,

19 a manufacturing facility, Newark, Delaware.              They have another

20 manufacturing facility that is in Maquiladora in Mexico.                And

21 then they have a contract manufacturing sales organization in

22 Shenzhen, China.

23 Q     And does Aearo have direct employees?

24 A     Yes, it does.

25 Q     Approximately how many?




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                           Castellano - Direct/McKane                           61
1 A      The Aearo debtors have approximately 330 direct employees.

2 Aearo's non-debtor affiliates have approximately 400 direct

3 employees.

4 Q      And when you refer to non-debtor affiliates, are those

5 affiliates of the debtor below the top debtor filer that are

6 not filers in these cases?

7 A      That's correct.      That would be specifically referencing

8 Mexico as well as China.

9 Q      And can you give the Court a sense that the size of the

10 Aearo business in terms of revenue?

11 A     So in terms of third-party revenue, Aearo generates a

12 little over $100 million a year.           Aearo also produces product

13 on behalf of 3M and sells that to 3M and that's around $25

14 million a year.

15 Q     All right.      So the $100 million that you referenced,

16 that's third-party sales?

17 A     That's correct.

18 Q     And, sir, to the extent that you could strip or set aside

19 tort liability, how would you characterize the health of the

20 Aearo business?

21 A     Yeah.      So Aearo's products are in quite demand, especially

22 in the commercial vehicle space, as well as in the aerospace

23 sector.   And they have healthy growth margins ranging anywhere

24 from 15 to 20 percent a year.          The last two years have been

25 challenging as a result of the pandemic and inflation.                  But it




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                           Castellano - Direct/McKane                       82
 1               MR. McKANE:   Thank you, Your Honor.

 2               (Debtors' Exhibit 37 admitted into evidence)

 3 BY MR. McKANE:

 4 Q      Aearo Technology, LLC, is a member of what entity?

 5 A      Well, it's a member of the direct legal entity that sits

 6 above it which would be Aearo, LLC.

 7 Q      Right.

 8               MR. McKANE:   And if we could put up the

 9 organizational demonstrative that we used earlier.               Just using

10 the org chart that -- thank you, sir.

11 BY MR. McKANE:

12 Q      Where is Aearo Technologies, LLC?

13 A      So that would be the bottom legal entity in the group of

14 five legal entities you see on this chart.

15 Q      The lowest of the entities with a green start.             Correct?

16 A      That's correct.

17 Q      As part of your pre-petition work, did you familiarize

18 yourself with any indemnification obligations of Aearo to 3M?

19 A      Yes.

20        We did -- we did review this particular document in that

21 regard.

22 Q      And what is your understanding of any potential Aearo

23 indemnification obligations to 3M as reflected in this

24 document?

25 A      So as reflected here, Aearo provides an indemnification as




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                                A.193
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                          Castellano - Direct/McKane                      83
 1 defined in this particular document for its member and any

 2 affiliates of its member.

 3 Q      All right.    If we could go to Section 20 of the agreement

 4 which I believe spans Pages 7 and 8.

 5 A      Yes, I see that.

 6 Q      What is your understanding of the covered -- the scope of

 7 covered persons that's described in Section 20A of the Aearo

 8 Technologies, LLC agreement?

 9 A      So the scope of covered person is a broad definition

10 whereby the company is -- in this particular document, the

11 company would be Aearo Technologies, LLC -- providing to the

12 fullest extent possible an indemnification to a member and any

13 affiliate of the member as identified here and resulting in the

14 defined term "covered person."

15 Q      And is the indemnity that you referenced in Section 20B of

16 the agreement?

17 A      Yes.

18        It's expanded further in that -- in that statement.

19 Q      All right.    And, sir, in your experience is an

20 indemnification obligation like this unusual in an LLC

21 agreement?

22 A      No, I don't think this is unusual based on my experience.

23 Q      And have you reviewed the LLC agreements for --

24               MR. McKANE:   -- if we could go back to the

25 organizational chart for a minute, I'll re-ask my question.




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                                A.194
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                           Castellano - Direct/McKane                           84
 1 BY MR. McKANE:

 2 Q      And, sir, have you reviewed the LLC agreements for the

 3 debtor entities above Aearo Technology?

 4 A      I did.

 5 Q      And that's specifically Aearo, LLC above to 3M

 6 Occupational Safety, LLC?

 7 A      That's correct.

 8                MR. McKANE:    And, Your Honor, I apologize.         I will

 9 get my steps in today.

10 BY MR. McKANE:

11 Q      I'm handing you what has been previously marked as Exhibit

12 32.

13        Mr. Castellano, Exhibit 32 -- what has been previously

14 marked as Exhibit 32 is the LLC company agreement of Aearo,

15 LLC.    Do you see that on the top of the page, sir?

16 A      I do.

17 Q      Do you recognize this document?

18 A      Yes, I do.

19 Q      Is this the LLC agreement for Aearo, LLC?

20 A      It is.

21                MR. McKANE:    Your Honor, we move Exhibit 32 into

22 evidence.

23                THE COURT:    Any objection to the admission of what's

24 been designated Exhibit 32?

25                MR. PFISTER:    No objection, Your Honor.




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                          Castellano - Direct/McKane                      100
 1        Do you see that, sir?

 2 A      I do.

 3 Q      At that point, were you still an advisor to Aearo?

 4 A      At the beginning of the meeting, I was an advisor, yes.

 5 Q      All right.    And as an advisor to Aearo, did you recommend

 6 that the Aearo debtors file for bankruptcy?

 7 A      Yes, I did.

 8 Q      Why?

 9 A      Aearo's facing significant amount of contingent

10 liabilities for which it is named as a defendant, five of its

11 legal entities named as a defendant in those -- in those cases.

12 It was facing over $300 million of judgments for the cases that

13 had already been decided.

14        And in order to reorganize its business and bring all the

15 claims into one forum with the objective of reaching a

16 comprehensive global solution in an equitable and efficient

17 manner, the board did make the decision to file.              I supported

18 that decision.      And it also at this point in time had an

19 ability to fund these cases pursuant to the funding agreement.

20 Q      And, sir, in your answer, you referenced a global

21 resolution for Aearo.       What is the value of a global resolution

22 for Aearo?

23 A      So Aearo is facing not only claims coming out of the MDL,

24 they also have claims coming out of the State of Minnesota, and

25 there's likely future claims.




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                          Castellano - Direct/McKane                       101
1        So commencing these proceedings and with the intent of a

2 global resolution to bring finality to this litigation so that

3 the Aearo business can reorganize and continue to grow would be

4 a benefit to the claimants as well as the debtors themselves.

5 Q      Mr. Castellano, you referenced future claims.              Do you just

6 means claims not filed?

7 A      Claims not filed, correct.

8 Q      As a restructuring professional, do you believe Aearo has

9 a viable path forward in this bankruptcy?

10 A     Yes, I do.

11 Q     Why is that?

12 A     Bankruptcy is a forum to bring all of the constituents

13 together, utilize the tools of Chapter 11 to reach a global

14 solution in a much more efficient and equitable way to be able

15 to do that.      And I believe that as -- you know, where we're at

16 now, there's no reason to believe that we can't achieve that

17 resolution.

18 Q     Now, sir, I want to talk about why we're specifically here

19 today, okay?

20 A     Yes.

21 Q     All right.     You're the chief restructuring officer of

22 these debtors.     Why are the debtors asking Judge Graham for the

23 preliminary injunction?

24 A     So the need for this preliminary injunction is to allow

25 for effectively a number of factors so that we can prosecute --




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     Case: 22-2606   Document: 32        Filed: 12/12/2022   Pages: 457

                          Castellano - Direct/McKane                       102
 1 the debtors can prosecute these Chapter 11 cases.

 2        There's -- if the preliminary injunction isn't granted, I

 3 believe there will be issues with process, there will be issues

 4 with people, issues with resources, and issues with property

 5 that would impact the overall objective of trying to reach a

 6 global solution here.

 7 Q      Let's go through each of those.

 8        You mentioned people.

 9 A      Correct.

10 Q      If the Combat Arms litigation continues against 3M, how

11 will that impact Aearo with regards to its access to people?

12 A      So as I mentioned in my testimony previously, Aearo relies

13 on a significant amount of infrastructure support, back-office

14 support coming from 3M.

15        And if Aearo is in Chapter 11 wanting to pursue a global

16 resolution with the claimants but the cases still continue to

17 pursue against 3M, there's a number of resources that 3M has

18 that Aearo would need access to.          And it's likely that they

19 would be significant distracted if they were continuing to

20 assist 3M in its own litigation.

21 Q      All right.    Sir, let's get specific.

22        You mentioned back-office functions.           Previously, you

23 mentioned that legal is one of those back-office functions.

24 What lawyers would be impacted by a continuation of the Combat

25 Arms litigation against 3M?




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                          Castellano - Direct/McKane                          103
 1 A      So Eric Rucker who is an associate general counsel, has a

 2 significant amount of familiarity with the MDL cases.                  Courtney

 3 Enloe who's head of litigation is very familiar with these

 4 cases, as well as Kate Warner, another associate general

 5 counsel.

 6        There's likely other lawyers within 3M, but those three

 7 would be instrumental to assisting the debtors prosecute these

 8 Chapter 11 cases.

 9 Q      Now, sir, you mentioned insurance was a back-office

10 function.      Do you recall that?

11 A      Correct.

12 Q      Are there certain insurance professionals at 3M that would

13 be directly impacted by the continuation of the Combat Arms

14 litigation against 3M?

15 A      Yeah.

16        So insurance is an important asset of the estate, and the

17 debtors share an insurance policies with 3M.              Two individuals

18 that have a significant amount of familiarity with those

19 insurance policies would be Chris Sullivan and Joanne Sum-Ping,

20 both of which the debtors would need access to over the course

21 of a Chapter 11 case.

22        And, again, if these cases continue against 3M, there

23 would be a significant amount of distraction.

24 Q      If you needed information about the insurance policies

25 that the Aearo debtors board share with 3M, who do you call?




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                           Castellano - Direct/McKane                       104
 1 A      Chris Sullivan is very familiar with these -- with those

 2 policies.

 3 Q      And if you need legal assistance with the insurance

 4 policies with regard they're jointly shared between 3M and

 5 Aearo, who do you call?

 6 A      Chris Sullivan and Eric Rucker.

 7 Q      All right.     You mentioned finance and accounting as back-

 8 office functions before.          Do you recall that?

 9 A      Correct.

10 Q      Who in the finance or accounting function would be

11 involved in the Combat Arms litigation if it continued against

12 3M?

13 A      Yeah.

14        So that's --

15                MR. PFISTER:     Objection.    Foundation, Your Honor.

16                THE COURT:    Response?

17                MR. McKANE:     Your Honor, I'm happy to lay more

18 foundation to the extent I haven't.            I think the witness has

19 testified at length about the need of the back-office

20 functions, his preparation as an advisor.              And I can make clear

21 with regards to those efforts if necessary how that tied to the

22 pre-petition and post-petition period with regards to

23 additional litigation regarding 3M.

24                MR. PFISTER:     That's not the foundation.        Objection,

25 Your Honor.       Pardon me.      That's not the foundation objection,




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                                   A.201
     Case: 22-2606    Document: 32        Filed: 12/12/2022   Pages: 457

                           Castellano - Direct/McKane                       105
 1 Your Honor.       It's the portion of the question where he asks the

 2 witness about these people being involved in the MDL

 3 proceedings and that's where there's no foundation.

 4               THE COURT:    Okay.    Response to that?

 5               MR. McKANE:    I can rephrase.

 6               THE COURT:    That would be good because I think I do

 7 need a little bit more as to that particular objection.

 8               MR. McKANE:    Understood.

 9               THE COURT:    So I'll sustain it.        Go ahead and --

10               MR. McKANE:    All right.

11 BY MR. McKANE:

12 Q      We were talking about back-office functions, finance, and

13 accounting.       Do you recall that, sir?

14 A      Correct.

15 Q      As part of your efforts working with the Aearo debtors

16 pre-petition, are there particular people with the accounting

17 function that you interacted with?

18 A      Yes, there were.

19 Q      All right.     And as part of your interaction with those

20 individuals, both -- let's talk about accounting, right.                Did

21 you interact with them specifically regarding the contingent

22 liabilities of the debtors?

23 A      Yes.

24        We -- we asked them a number of questions as it relates to

25 that impact, yes.




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                                 A.202
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                           Castellano - Direct/McKane                        106
 1 Q      Based on your interactions with those personnel and those

 2 contingent liabilities, and to be clear, are those contingent

 3 liabilities the Combat Arms litigation for which Aearo and the

 4 3M are co-defendants?

 5 A      They are, yes.

 6 Q      Who are those people based on your direct interactions

 7 with them that you believe would be directly impacted if the

 8 Combat Arms litigation continued against 3M and would be less

 9 available to you?

10              MR. PFISTER:    Objection, Your Honor.         Foundation.    He

11 still has not laid it as to those individuals' role in the

12 Combat Arms MDL litigation.

13              THE COURT:    We do need to know what -- I mean he's

14 speaking about functions as far as his discussions with regard

15 to contingent liability, but I have no idea how it affects the

16 MDL or has anything to do with the MDL at this point.

17              MR. McKANE:    Sure.    I'll tie it up to the extent I

18 can.

19 BY MR. McKANE:

20 Q      Can you identify some of the -- one of the accounting

21 personnel you were interacting with?

22 A      Certainly.

23        Teri Reinseth is the chief accounting officer.             And,

24 again, just to go back to my previous testimony, Aearo has no

25 accountants on staff, so the entire accounting function is




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                                A.203
     Case: 22-2606    Document: 32        Filed: 12/12/2022   Pages: 457

                           Castellano - Direct/McKane                          107
 1 provided by 3M.

 2 Q      All right.     And what is your understanding of how the

 3 chief accounting officer, Teri Reinseth, is involved in

 4 supporting the Combat Arms teams in the ongoing litigation?

 5               MR. PFISTER:    Objection, Your Honor.         Foundation.

 6 This is foundation for a question that lacks foundation.                I

 7 don't understand how this witness could possibly know how an

 8 accountant at 3M is involved in prosecuting the -- or

 9 defending, rather, the MDL case.

10               THE COURT:    Well, I mean I'll let him lay the

11 foundation.       I do need to know the answer because I don't know

12 what foundation -- I mean I don't know what familiarity he has

13 yet, so.

14               MR. McKANE:    All right.

15               THE COURT:    I think you can count it as a continuing

16 objection and let's find out if there is foundation or not.

17 BY MR. McKANE:

18 Q      Did you speak with Ms. Reinseth about what efforts 3M is

19 undertaking in accounting with regards to the Combat Arms

20 litigation?

21 A      Yes.

22        I mean there's support --

23               MR. PFISTER:    Well, pardon me, Your Honor, I didn't

24 object to the "did you speak" part, but if he's now purporting

25 to give hearsay, I'm going to have to object on hearsay




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                                 A.204
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                            Castellano - Direct/McKane                      108
 1 grounds.

 2              THE COURT:        If he's stating what he said, that is

 3 hearsay.

 4              MR. McKANE:       Sure.

 5 BY MR. McKANE:

 6 Q      What is your understanding based on your overall

 7 interactions with all the accountants and your review of the

 8 materials about whether the 3M accounting team is involved in

 9 supporting the Combat Arms litigation effort for 3M?

10              MR. PFISTER:       Once again, he's asking -- objection.

11              THE COURT:        Let him answer and I'll rule on the

12 objection.        Thank you.

13              MR. PFISTER:       Thank you.

14              THE WITNESS:       Yeah.    Given how extensive the Combat

15 Arms litigation is and the expense associated with that and the

16 fact that there are no Aearo accountants, in order to support

17 that process for how long that may potentially take, there will

18 need to be finance and accounting support which is provided by

19 3M to Aearo.       In the event these cases continue against 3M,

20 Aearo will not -- Aearo will be impacted by having access to

21 those individuals.

22              MR. PFISTER:       Your Honor, both objection and I'll

23 move to strike the entire answer.             He answered the wrong

24 question.     He answered the question that counsel was trying to

25 get him to answer without foundation which is his statement




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                                    A.205
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                          Castellano - Direct/McKane                         109
 1 that he's --

 2              THE COURT:    Well, again, I mean this isn't a jury

 3 trial, so I mean I'm going to allow it.             I don't really know

 4 how relevant his opinion of what happens is.              I think I can

 5 make a decision on that myself, whereas, you know, if there's a

 6 jury here, you have to worry about -- I mean this is what I do.

 7 Right or wrong, it's what I do.          So I'll give it whatever

 8 relevance and weight it merits.

 9              MR. PFISTER:    Understood, Your Honor.         Thank you.

10              THE COURT:    Thank you.

11              MR. McKANE:    And for what it's worth, Your Honor, the

12 Seventh Circuit has repeatedly allowed preliminary injunction

13 evidence to be (indiscernible).

14              THE COURT:    I kind of already made my answer, so I

15 mean that's great you think I'm right.            But I've already ruled,

16 so.

17 BY MR. McKANE:

18 Q      At a high level with regards to legal, insurance, and

19 accounting, what are you concerned as the chief restructuring

20 officer about the availability of these people to aid in the

21 debtors' reorganization efforts?

22 A      Again, given the complexity of these Chapter 11 cases and

23 in order to achieve a global solution, having the distraction

24 of continuing litigation in other jurisdictions and the fact

25 that Aearo relies upon 3M for substantial amount of the support




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                          Castellano - Direct/McKane                        110
 1 services, more importantly, that 3M has the background in these

 2 cases, I think that would be a significant impact and

 3 potentially jeopardize these Chapter 11 proceedings.

 4 Q      All right.    You mentioned people in one of your earlier

 5 answers.     You also mentioned property.         Let's discuss property.

 6        What type of property of the debtors would be affected by

 7 continuing the Combat Arms litigation against 3M?

 8 A      So as I think I had mentioned previously, the debtors

 9 share an insurance policies with 3M, and those insurance

10 policies are assets of the estate.

11        In the event the litigation continues against 3M, to the

12 extent that defense costs are incurred or judgments are

13 accrued, that will ultimately go against those policies which

14 potentially will deplete an asset of this estate.

15              MR. PFISTER:    Pardon me, Your Honor, I'll move to

16 strike the answer.      I think it's without foundation.           The

17 question wasn't necessarily without foundation; the answer was.

18 And we have a separate witness testifying on insurance.

19              THE COURT:   Well, I think it's -- I mean I guess I'll

20 give you my same answer.         I understand you're objecting, but

21 I'll weigh the relevancy.         Obviously, someone who's designated

22 as the insurance expert may have more relevant testimony as to

23 that than the CRO, but we'll give it the weight it deserves as

24 we consider it.

25              MR. PFISTER:    Thank you, Your Honor.




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                                A.207
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                         Castellano - Direct/McKane                      111
1 BY MR. McKANE:

2 Q       And, sir, you mentioned claims against the policies.           When

3 you verify claims accruing against the policies, what do you

4 mean?

5 A       So I don't think necessarily the claim actually has to be

6 physically paid out to potentially deplete an asset of the

7 estate.

8         I think to the extent that a claim is awarded, that to me

9 is accruing, and I do view that as differently than actually

10 being paid out.     And I do think that an accrual of a claim can

11 impact the value of that policy.

12 Q      All right.   So we talked about people, we talked about

13 property.     You also mentioned resources.         Do you recall that,

14 sir?

15 A      Yes.

16 Q      What type of resources would be affected by a continuation

17 of the Combat Arms litigation against 3M?

18 A      So pursuant to the funding agreement, the Aearo debtors

19 have provided indemnification to 3M.           And contained in the

20 funding agreement, there's a payment priority of how the Aearo

21 debtors can access the funding agreement, effectively utilizing

22 first its own cash and the cash flow from its operations.

23 Q      Mr. Castellano, I've handed you what's been marked as

24 Exhibit 2, which is a cover page.          And if you turn to the

25 second page, 2 of 28 on the top, it says "Funding and




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                               A.208
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                           A.209
     Case: 22-2606     Document: 32        Filed: 12/12/2022   Pages: 457

                            Castellano - Direct/McKane                      113
 1 objection, you know, with regards to every exhibit in a case I

 2 think could get a little overbroad.             What I would --

 3              THE COURT:     Well, again, he's not objecting to the

 4 exhibit.     He's objecting to what he thinks the testimony might

 5 be.

 6              MR. McKANE:      Exactly.     It's untimely.

 7              THE COURT:     Which I can't really know right now

 8 because he hasn't testified as to this.               Now if we get into the

 9 same situation you might get the same answers as we went, but

10 let's take it as we go because I don't think we can just have a

11 standing objection as to foundation as to every witness because

12 I don't know how I make a record at that point.

13              So let's just take it as it comes.

14              MR. PFISTER:      Okay.    Thank you, Your Honor.

15              THE COURT:     All right.      But any objection -- you said

16 no specific objection to the admission of Exhibit 2.

17              Any other objection as to the exhibit?

18                            (No audible response)

19              THE COURT:     Seeing none, Exhibit 2 is admitted.

20              MR. McKANE:      Thank you, Your Honor.

21              (Debtors' Exhibit 2 admitted into evidence)

22 BY MR. McKANE:

23 Q      You mentioned in an earlier answer prior to your payment,

24 let me direct your attention to Page 7 of the funding

25 agreement.        And that's Page 8 of 28 in the top, 7 on the




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                                  A.210
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                          Castellano - Direct/McKane                      114
 1 bottom.

 2        Are you there, sir?

 3 A      Yes.

 4 Q      And let me direct your attention to the bottom of the page

 5 that starts "provided however."

 6 A      Yes, I see that.

 7 Q      And, sir, does this proviso of the "provided however"

 8 paragraph, is this the portion of the agreement to your

 9 understanding that addresses the priority of payment that you

10 referenced in your earlier testimony?

11 A      Yes, it does.

12 Q      All right.    Can you walk the Court through your

13 understanding of the priority of payment scheme that is

14 embedded in the funding agreement?

15 A      This proviso is attached to the permitted funding uses

16 definition contained in the funding agreement.              So it begins by

17 saying, you know, "Clauses A through E shall be permitted to

18 the extent" and when you walk through "to the extent" or the

19 clauses after "to the extent," effectively it represents --

20 Q      Let me pause you right there.

21        You said "A through E shall be permitted funding uses

22 solely to the extent."       So just to make similar level setting,

23 if you go one page earlier, do you see the definition of

24 "permitted funding uses?"

25 A      I do, yes.




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                                A.211
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                            Castellano - Direct/McKane                      115
 1 Q      And do you see then Sections A through E immediately above

 2 the "provided however?"

 3 A      Yes, I do.

 4 Q      Okay.      With that understanding, please continue in

 5 explaining the priority of payment that's embedded with regards

 6 to permitted funding uses under the funding agreement?

 7                MR. PFISTER:    Objection, Your Honor.         This question

 8 he didn't limit it to your understanding.               He said explain the

 9 priority of --

10                MR. McKANE:    I'll rephrase.

11                THE COURT:    All right.     Go ahead, please.

12 BY MR. McKANE:

13 Q      Sir, what is your understanding of the priority of payment

14 scheme embedded in the "permitted funding use" section of the

15 funding agreement?

16 A      Yeah.

17        So Aearo will have access to the funding agreement

18 provided that it utilizes effectively its own cash as well as

19 the cash flows generated by its operations and its assets.

20 That's what's embedded effectively in (i) and (ii).

21 Q      Okay.      In (i), here's a reference to the initial payment.

22        Was there an initial payment by 3M already?

23 A      Yes, there was.

24 Q      And how much?

25 A      It was $5 million.




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                                  A.212
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                            Castellano - Direct/McKane                      116
 1 Q      And then with regards to cash received or to be received

 2 by Aearo entities on account of operations, do you have a sense

 3 as to what the current cash on hand situation is?

 4 A      I do.

 5        The current cash situation is approximately $40 million,

 6 but that takes into consideration (ii)(x) which references

 7 effectively going back to my previous testimony, there was

 8 prior to July 15th the Aearo companies swept their cash up to

 9 3M Financial Management Company.            So there was cash there which

10 effectively was transferred back down to Aearo pursuant to our

11 first day hearing.

12        So effectively, romanette (x) represents cash flows from

13 Aearo's operations must be utilized in that order of priority.

14 Q      Okay.      And so after the initial payment after cash from

15 business and related activities, what's the next step in the

16 priority of payments as you understand them?

17 A      It comes from Aearo's assets as well as potentially any

18 recoveries from insurance.

19 Q      And under what circumstances can Aearo then turn to 3M for

20 a permitted funding use?

21                MR. PFISTER:    Objection, Your Honor.         No --

22                MR. McKANE:    What is your understanding?          I

23 apologize.

24                MR. PFISTER:    Thank you.

25                THE WITNESS:    So my understanding once Aearo exhausts




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                                  A.213
     Case: 22-2606     Document: 32        Filed: 12/12/2022   Pages: 457

                            Castellano - Direct/McKane                      117
 1 these options for effectively liquidity or cash flows, it can

 2 then turn to the funding agreement and request a transfer from

 3 3M pursuant to the funding agreement.

 4 BY MR. McKANE:

 5 Q       And, Mr. Castellano, as part of your efforts as a

 6 restructuring advisor and then as the chief restructuring

 7 officer, do you have an understanding of the Combat Arms

 8 defense spend that has occurred historically and is projected?

 9 A       I do, yes.

10 Q       And as part of those diligence efforts, how did you get an

11 understanding of that historical and projected spend?

12 A       Yeah.

13         So as part of our pre-filing diligence, I felt it was

14 important to understand the magnitude of the costs incurred to

15 date.    So I had requested counsel to pull together an analysis

16 of what had been incurred to date plus a projection.

17 Q       Mr. Castellano, do you recognize what has been previously

18 marked as Exhibit 67?

19 A       I do.

20 Q       What is it?

21 A       This is a summary by quarter of the defense costs incurred

22 by 3M going back to 2019 actuals through the second quarter of

23 2022 and a projection for the balance of 2022.

24                 MR. McKANE:   Your Honor, the debtors move Exhibit 67

25 into evidence.




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                          Castellano - Direct/McKane                      118
 1              THE COURT:     Any objection?

 2              MR. PFISTER:     No objection.

 3              THE COURT:     I'm sorry.

 4              MR. PFISTER:     Pardon me, Your Honor.        I didn't mean

 5 to speak over you.      No objection.

 6              THE COURT:     Okay.   Any other objection to the

 7 proposed Exhibit 67?

 8                           (No audible response)

 9              THE COURT:     Seeing none, it is admitted.

10             (Debtors' Exhibit 67 admitted into evidence)

11 BY MR. McKANE:

12 Q       And, sir, what has been the defense spend to date through

13 the close of the second quarter of 2022 for the Combat Arms

14 litigation?

15 A       As represented on the schedule, it would be $347 million.

16 Q       And, sir, are these amounts that the Aearo debtors have

17 paid?

18 A       No, they are not.

19 Q       All right.   Who paid these amounts?

20 A       3M did.

21 Q       And what is the projected spend in the second half of 2022

22 on the Combat Arms litigation?

23 A       If it continues in its current form, it's approximately

24 $100 million.

25 Q       And what does that translate into dollars per week?




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                          Castellano - Direct/McKane                        119
 1 A      It's about $3.8 million a week.

 2 Q      All right.    Now, sir, I think we addressed people,

 3 property, resources.      I believe in that testimony you gave

 4 earlier you mentioned process.

 5        Do you recall that?

 6 A      Correct.

 7 Q      When you used the term "process," what were you referring

 8 to?

 9 A      What I was referencing is utilizing the Chapter 11 process

10 to bring all of the claimants together and reach a negotiated

11 solution.     And having access to those people, resources, and

12 property or not having access, I should say, I do believe will

13 jeopardize the ability of these debtors to effectuate what our

14 intent is to an efficient and equitable Chapter 11 process.

15 Q      And, sir, why is it important that -- why is it your

16 belief that an injunction that stops the Combat Arms litigation

17 against 3M aids in the debtors' restructuring process?

18 A      So as CRO, I'm concerned about the overall estate, the

19 overall enterprise which includes all of the constituents --

20 claimants, vendors, employees, this particular business.

21        And I think having everyone focused on this process in

22 what forum not -- without any distractions of any other

23 litigation in any other jurisdictions, I do believe we can

24 achieve the objectives we want to achieve.                And I think without

25 that, there would be distractions which I do think would impede




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                          Castellano - Direct/McKane                           120
1 progress in these particular cases.

2 Q       And, sir, can these debtors, the Aearo debtors reorganize

3 without addressing the Combat Arms liabilities?

4 A       No, I can't see how -- I don't think they can do that.

5               MR. McKANE:    Your Honor, if I could just have one

6 moment to confer with counsel?

7               THE COURT:    You may, yes.

8                                      (Pause)

 9              MR. McKANE:    Your Honor, the debtors have no further

10 witnesses [sic] for Mr. Castellano at this time.

11              THE COURT:    No further questions?

12              MR. McKANE:    What did I say?

13              THE COURT:    Witnesses?

14              MR. McKANE:    Oh, yeah.     I apologize.       It's getting

15 close to lunch.      I think I'm --

16              THE COURT:    See, that's why we have to break a line

17 so people don't -- there we go.

18              All right.    Well, let's do that.           A couple of things.

19 First, we're reaching out now to the presiding judge's CRD to

20 find if they're going to lock behind us or what they're going

21 to do.    So -- are they going to lock it?

22              THE CLERK:    Yes, they will.

23

24              THE COURT:    Okay.     So they will lock it, so

25 everything will be secure other than don't wander on in, expect




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                           Sullivan - Direct/Rogers                         223
1 Q      Let’s look at the first page of the Two Harbors policy,

2 Exhibit Number 1, Mr. Sullivan, who is the named insured on the

3 policy?

4 A      3M Company.

5 Q      Now, is 3M Company the only named insured on this policy?

6 A      3M Company would encompass a broad definition for a named

7 insured, including entities, subsidiaries, affiliates, et

8 cetera.

9 Q      Let’s turn to Page 38 of the policy.           And we’re looking

10 here at Endorsement 22, do you see that, sir?

11 A     Yes, I have that here, yeah.

12 Q     What is an endorsement to an insurance policy?

13 A     An endorsement amends an insurance policy in some way.

14 Q     How does Endorsement Number 22 amend the Two Harbors

15 policy?

16 A     This policy adds Aearo Technologies, Inc. as an additional

17 named insured.

18 Q     So, are both 3M and Aearo Technologies, Inc. named

19 insureds on the Two Harbors policy?

20 A     Yes.

21 Q     Let’s go back to the first page of the Tow Harbors policy.

22 There’s a section there, Item 2.         What does Item 2 tell us

23 about the policy?

24 A     Item 2 lists the per occurrence limit that I referred to

25 earlier of $1.05 billion.




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                             Sullivan - Direct/Rogers                             224
1 Q      Okay.      And it says there defense costs inclusive.             What

2 does that mean?

3 A      That means defense costs erode the limit available.

4 Q      If you look a little bit farther down in Item 2, it says

5 per occurrence retention.           And below that it says per

6 occurrence self-insured retention.             And both of those are 25

7 million.     Do you see those?

8 A      That’s correct.

9 Q      What’s the per occurrence retention in self-insured

10 retention?

11 A     The per occurrence retention we can refer to it, well,

12 it’s referred to as -- in the second line as a per occurrence

13 self-insured retention.           That is the amount that needs to be

14 satisfied in order to access the limits of the 3M tower.

15 Q     And how is the per occurrence self-insured retention

16 satisfied under the Two Harbors policy?

17 A     Through paid judgments and settlements only.

18 Q     What about defense costs?          Does that satisfy the self-

19 insured retention?

20 A     They do not.

21 Q     So, if I’m understanding correctly, does 3M or Aearo need

22 to pay at least $25 million in settlements or judgments before

23 the self-insured retention is satisfied?

24 A     Yes, they do.

25 Q     And once the self-insured retention is satisfied, what




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                             Sullivan - Direct/Rogers                      225
 1 kinds of costs and expenses are covered by Two Harbors policy?

 2 A      Well, defense costs would be -- defense costs, legal

 3 expenses would be one.        Settlement and other judgments, paid

 4 judgments, verdicts, would be another main category.

 5 Q      Let’s turn to Page 56 of the Two Harbors policy, please.

 6 And call out the coverage section.

 7 A      Okay.

 8 Q      Looking at the coverage section of the Two Harbors policy,

 9 can you tell us what type of coverage this policy generally

10 provides?

11 A      Under damages it provides coverages for personal injury

12 which include bodily injury, property damage or advertising

13 liability.

14 Q      Is it your understanding that the Combat Arms litigation

15 involved personal injury claims?

16 A      Yes.

17                MR. ROGERS:   Okay.    I want to look at another

18 provision of the Two Harbors policy.             I believe it’s the page

19 right before this, Mr. Young.

20 Q      And there’s a notice there.         Do you see that?

21 A      Yes, I do.

22 Q      And I want to direct your attention, Mr. Sullivan, to the

23 second paragraph of the notice that begins coverage applies?

24 A      Yes.

25 Q      Can you explain to the Court what this provision of the




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                            Sullivan - Direct/Rogers                        226
1 notice and the Two Harbors policy means?

2 A      This is a provision that states that only if notice of

3 occurrence, which I had described previously, is given to the

4 reinsured during the policy period does it apply.                And then the

5 first date in which that notice is given will govern the

6 applicable limits available, retentions, terms, conditions and

7 exclusions of the policy.

8 Q      What about for litigation like the Combat Arms litigation

9 where claims started being filed in one year and they continue

10 even today.      How is that handled under the Two Harbors policy?

11 A     All attributable claims in the future would relate back to

12 this policy -- in this policy of 2018 to 2019.

13 Q     And I think you said this but what is the policy period

14 for the Two Harbors policy?

15 A     March 1, 2018 to March 1, 2019.

16 Q     So, are claims that for which 3M and Aearo have given

17 notice within that policy period, those are the claims that

18 would be addressed by the Two Harbors policy?

19 A     Yes.

20 Q     If you turn to Page 4 of the Two Harbors policy, do you

21 see, Mr. Sullivan, there’s a chart there titled schedule of

22 reinsurance participants?

23 A     Yes.

24 Q     What does that schedule represent?

25 A     This is a listing of all carriers that compose the 3M




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                             Sullivan - Direct/Rogers                      230
1 Q      It looks a little bit like a layer cake going from top to

2 bottom is that right?

3 A      Yes.

4 Q      And at the very bottom there’s sort of an orange-ish

5 looking layer, what is that?

6 A      That’s the $25 million self-insured retention I described

7 earlier.

8 Q      Okay.      And if we look at the next layer above that, do you

9 see there’s, it looks like three carriers there -- AIG Europe,

10 Ironshore and Star, is that right?

11 A     That’s correct.

12 Q     Can you describe this layer in general terms for us?

13 A     Yes, this layer provides $75 million total above that $25

14 million self-insured retention.           And you could see AIG Europe

15 provided 65 million of that, Iron Shore 7.5 million and Star

16 7.5 million for that total.

17 Q     Now, we talked a little bit earlier about the self-insured

18 retention, the $25 million, right?

19 A     Yes.

20 Q     And I think you said that self-insured retention has not

21 been satisfied yet, correct?

22 A     That’s correct.

23 Q     And why hasn’t it been satisfied yet?

24 A     There haven’t been any paid judgments or settlements.

25 Q     Are there outstanding verdicts against 3M and Aearo in the




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                                 A.224
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                              Sullivan - Direct/Rogers                    231
 1 Combat Arms litigation?

 2 A      Yes.

 3 Q      And do you have a general understanding of the magnitude

 4 of those verdicts?

 5 A      I believe the range is zero to approximately $77 million.

 6 Q      And what about the total?        Do you have an understanding of

 7 what the total magnitude of the verdicts might be?

 8 A      Maybe around 300 million.

 9 Q      What would happen if 3M were to pay more than $25 million

10 on those verdicts tomorrow?

11 A      We would satisfy the self-insured retention and seek

12 recovery from the tower.

13 Q      Now, we saw Aearo is a named insured on the Two Harbors

14 policy, right?

15 A      Correct.

16 Q      Is Aearo also a named insured on all of the excess

17 policies in the insurance tower?

18 A      Yes.

19 Q      Let’s take a look at an example of one of those excess

20 policies.     Let me hand you what’s been previously marked as

21 Exhibit 176.

22               MR. ROGERS:    This time I will remember one for the

23 Court.

24               THE COURT:    Thank you.

25 Q      Do you recognize Exhibit 176?




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                                  A.225
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                               Sullivan - Direct/Rogers                     232
 1 A      Yes.

 2 Q      What is it?

 3 A      This is a policy issued by Hamilton Rege (phonetic).

 4 Q      Is it one of the policies in the 2018/2019 3M tower?

 5 A      Yes, it is.

 6                MR. ROGERS:    Your Honor, we move Exhibit 176 into

 7 evidence.

 8                THE COURT:    Any objection to the admission of 176?

 9                UNIDENTIFIED ATTORNEY:       No objection, Your Honor.

10                THE COURT:    All right.     Hearing that and seeing no

11 other objections, 176 is admitted.

12               (Debtor’s Exhibit 176 admitted into evidence)

13                MR. ROGERS:    And may I display it please, Your Honor?

14                THE COURT:    You may.

15 Q      Let’s look at Item 1 on the first page there, Mr.

16 Sullivan.       Who’s the named insured on the Hamilton Rege tower

17 policy?

18 A      3M Company.

19 Q      Is Aearo Technologies also a named insured on the Hamilton

20 Rege policy?

21 A      Yes.

22 Q      Let’s turn to Page 53 of the policy.             And Page 53 we see

23 another endorsement.         How does this endorsement modify the

24 Hamilton Rege policy?

25 A      This endorsement adds Aearo Technologies, Inc. as an




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                              Sullivan - Direct/Rogers                     238
 1 A      Yes.

 2 Q      Or the 3M tower?

 3 A      Yes.

 4               MR. ROGERS:    Your Honor, move to admit Exhibit 69

 5 into evidence.

 6               THE COURT:    Any objection to admission of Exhibit 69?

 7               UNIDENTIFIED ATTORNEY:       No objection, Your Honor.

 8               THE COURT:    Hearing that and seeing no other

 9 objection, Exhibit 69 is admitted.

10               (Debtor’s Exhibit 69 admitted into evidence)

11 Q      Let’s look at the two end cc lines of the Exhibit 69 of

12 the e-mail.       Who was this e-mail sent to?

13 A      This was sent to the participants listed in the various

14 exhibits in the 3M tower and includes claim e-mail, in-boxes,

15 as well as individual claim handlers, carriers and underwriters

16 as well in some cases.

17 Q      And so then, if we look at the substance of the e-mail, is

18 this the transmittal e-mail for the letter that we just looked

19 at?

20 A      Yes, it is.

21 Q      Now, once notice was given under the 3M tower, had there

22 been subsequent discussions with the insurers in that tower

23 about the Combat Arms litigation?

24 A      Yes, absolutely.

25 Q      I think you mentioned that earlier.            Can you describe at a




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                                  A.228
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                           Sullivan - Direct/Rogers                        239
1 high level what those discussions had been?

2 A      Yeah, the discussions had primarily been relating to the

3 underlying litigation status, keeping insurers and carriers

4 apprised of updates and key developments.

5 Q      In the course of those discussions, have any of the

6 insurers in the 3M tower every denied coverage for the Combat

7 Arms claims?

8 A      No, they haven’t.

9 Q      Have they ever denied coverage to 3M in particular?

10 A     No.

11 Q     Have they ever denied coverage to Aearo?

12 A     No.

13 Q     Now, we’re sitting here more than three years after the

14 notice was given in February of 2019, right?             Is it surprising

15 to you that no carriers have actually made an payments out of

16 the 3M tower to either 3M or Aearo?

17 A     No.

18 Q     Why not?

19 A     Well, first the $25 million self-insured retention has not

20 been satisfied.

21 Q     Is there any other reason why it’s not surprising to you?

22 A     The litigation is complex -- involves multiple claimants

23 and some 230,000 and others in state court.              So, it’s quite a

24 volume of activity and data for insurers to understand their

25 exposure and the ultimate claim outcome.




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                             Sullivan - Direct/Rogers                      240
1 Q      Has 3M or any of its subsidiaries, to your knowledge,

2 given notice of any other claims besides the Combat Arms

3 litigation against the 3M tower?

4 A      No.

5 Q      Okay.      I want to turn now to the Aearo legacy policies,

6 the second bucket of policies that you talked about at the

7 start of your testimony today.            Can you describe the Aearo

8 legacy policies at a high level?

9 A      Yeah, absolutely.       The Aearo legacy policies span from

10 1997 to 2008.      They are occurrence based policies, so the

11 policies are triggered when an alleged occurrence took place in

12 the policy years.       So, multiple policy years could apply.

13 Q     Is that different from the 3M tower?

14 A     Yes.    Yes, it is.

15 Q     Now, have you also helped us prepare a chart to summarize

16 the policies in the Aearo legacy program?

17 A     Yes.

18 Q     I’m going to hand you what’s been previously marked as

19 Exhibit 247.      Do you recognize Exhibit 247, Mr. Sullivan?

20 A     Yes, I do.

21 Q     What is it?

22 A     This is the listing of carriers on the Aearo legacy

23 program.

24 Q     And is this the chart that you helped us prepare?

25 A     Yes, I did.




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                           A.231
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                               Sullivan - Direct/Rogers                      245
 1 coverage for the Combat Arms litigation?

 2 A      3M and Aearo.

 3 Q      And how was this letter sent to the insurers?

 4 A      This was sent via e-mail.

 5 Q      I’m going to hand you what’s been previously marked as

 6 Exhibit 76.

 7 A      Thank you.

 8 Q      Do you recognize Exhibit 76?

 9 A      I do.

10 Q      What is it?

11 A      This is the what I would describe as the cover e-mail to

12 the letter we just reviewed.

13 Q      And let’s look at the two line in the e-mail again.              Who

14 was the e-mail sent to?

15 A      The insurers in the Aearo Legacy program.

16                MR. ROGERS:    Your Honor, move to admit Exhibit 76

17 into evidence.

18                THE COURT:    Any objection to the admission of Exhibit

19 76?

20                UNIDENTIFIED ATTORNEY:      No objection, Your Honor.

21                THE COURT:    All right.    Hearing that and seeing no

22 other objections, Exhibit 76 is admitted.

23             (Debtor’s Exhibit 76 admitted into evidence)

24 Q      If we look at the first paragraph of the e-mail that was

25 sent on June 28, 2019, on whose behalf did -- on whose behalf




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                                   A.232
    Case: 22-2606   Document: 32        Filed: 12/12/2022   Pages: 457

                            Sullivan - Direct/Rogers                     246
1 was notice provided under these policies?

2 A       On behalf of Aearo and 3M.

3 Q       And since the notice was sent out in June of 2019 under

4 the Aearo Legacy program policies, have there been discussions

5 with the Aearo Legacy insurers about the Combat Arms

6 litigation?

7 A       Yes.

8 Q       And can you generally describe what those discussions have

9 been?

10 A      Similar to the 3M Tower discussions around status updates,

11 key developments, defense costs, et cetera.

12 Q      In the course of those discussions with the Aearo Legacy

13 insurers, has any carrier denied coverage for the Combat Arms

14 litigation?

15 A      No, not currently.       One carrier initially had denied

16 coverage but has since retracted that position.

17 Q      Has any carrier acknowledged coverage under the Aearo

18 Legacy policies?

19 A      Yes.

20 Q      Who’s that?

21 A      Liberty Mutual.

22 Q      I’m going to hand you what’s been previously marked as

23 Exhibit 119.

24 A      Thank you.

25 Q      Do you recognize Exhibit 119?




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                                A.233
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                               Sullivan - Direct/Rogers                    247
 1 A      I do.

 2 Q      What is it?

 3 A      This is claim correspondence from Liberty Surplus

 4 Insurance Company.

 5 Q      When was the correspondence received?

 6 A      February 17, 2022.

 7 Q      So this year?

 8 A      This year.

 9                MR. ROGERS:    Okay.   Your Honor, move to admit Exhibit

10 119 into evidence.

11                THE COURT:    Any objection to the admission of Exhibit

12 119?

13                UNIDENTIFIED ATTORNEY:      No objection, Your Honor.

14                THE COURT:    All right, hearing that and seeing no

15 other, the Court will admit Exhibit 119.

16               (Debtor’s Exhibit 119 admitted into evidence)

17 Q      Looking at the -- who this is addressed to, Mr. Sullivan,

18 who did Liberty Mutual send this letter to?

19 A      This was sent to Susan Broin, claims manager for 3M.

20 Q      And is she one of the people that works in your

21 department?

22 A      Yes.

23 Q      Does she report to you?

24 A      She does.

25 Q      Let’s turn to the second page of the document and there’s




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                                   A.234
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                           Sullivan - Direct/Rogers                        248
1 a large paragraph about half way down in the letter.               The first

2 sentence there says, Liberty therefore encloses with this

3 letter four checks to 3M Company in the amount of one million

4 dollars each, paren, four million dollars total, end paren, as

5 per the occurrence limit owed under the nine thirty two

6 thousand three, nine thirty two thousand four, and then it goes

7 on to name a couple of policies.          Did I read that correctly?

8 A      You did.

9 Q      And what was Liberty doing in this letter?

10 A     Paying for -- paying their policy limits related to the

11 Combat Arms litigation.

12 Q     Did they actually cut a check?

13 A     They cut four checks, one million each for a total of four

14 million.

15 Q     Who did the cut those checks to?

16 A     Those were sent to 3M Company.

17 Q     Has any insurer in the Aearo Legacy program every taken

18 the position that 3M doesn’t have access to the Aearo Legacy

19 Insurance policies?

20 A     No.

21 Q     I want to wrap up, Mr. Sullivan, and ask you a couple

22 questions about the Combat Arms litigation and the impact of

23 continued litigation against 3M.         If litigation against 3M in

24 the MDL, what is 3M’s position with respect to coverage for

25 that litigation under the 3M Tower policies?




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                              Sullivan - Direct/Rogers                     249
 1 A      3M’s position is that we would be entitled to the limits

 2 in the 3M Tower.

 3 Q      And if -- if litigation against 3M continues in the MDL,

 4 will 3M pursue coverage and payment under the 3M Tower

 5 policies?

 6 A      Yes.

 7 Q      If litigation against 3M in the MDL continues, what is

 8 3M’s position with respect to coverage available in the Aearo

 9 Legacy policies?

10 A      3M’s position would be we were entitled to coverage under

11 that policy.

12 Q      And if the litigation continues in the MDL against 3M,

13 will 3M pursue coverage under those policies?

14 A      Yes.

15               MR. ROGERS:    Can I have a moment, Your Honor?

16               THE COURT:    You may.

17               MR. ROGERS:    Your Honor, no further questions for the

18 witness at this time.

19               THE COURT:    All right.     Who gets the honor of being

20 the initial lawyer to do cross with regard to insurance?

21               MR. MANTHEY:    That would be me, Your Honor.

22               THE COURT:    All right.

23               MR. MANTHEY:    Tristan Manthey with the Fishman

24 Haygood firm.     Could you just give me one second --

25               THE COURT:    Yes.




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                                                                                 250
 1              MR. MANTHEY:      -- to get my bearings.         I’m trying to

 2 get used to readers and it’s not been a good transition.

 3              THE COURT:     It gets worse.        Just to let you know.

 4              MR. MANTHEY:      I’m figuring that out real quick.

 5              THE COURT:     Sometimes they put three lenses in the

 6 same thing and just have to keep bobbing your head.

 7              MR. MANTHEY:      I am there and --

 8              THE COURT:     But go ahead.

 9              MR. MANTHEY:      -- I am figuring that out real quick,

10 so to the extent I get disoriented, I’m going to blame that.

11 First, Your Honor, I didn’t get a chance to introduce myself

12 officially when we started.           I know we were doing appearances

13 based upon those who would have speaking parts on the openings,

14 et cetera.        First, I’m here -- again, Tristan Manthey with

15 Fishman Haygood Firm.         I’m here with my partner Brent Barriere.

16 We represent the firm of Clark, Love, Hutson, LLC.                 Clark, Love

17 Hutson is a law firm that represents approximately 15,000

18 claimants.        Ms. Shelley Hutson is co-lead counsel.           She’s here

19 today.    Mr. Clark Clayton is a member of the settlement

20 committee.        Unfortunately he couldn’t make it today.           And we

21 also have Michael Moreland who is a member of the steering

22 committee and the pending MDL in the courtroom.

23              I wanted to also introduce two of our claimants who

24 are here in the courtroom.           First, Mr. Ron Sloan.        Mr. Sloan is

25 an army veteran of 21 years.           He served two tours in Iraq and




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                               Sullivan - Cross/Manthey                       266
 1 A      That’s right.

 2 Q      Okay.      And 3M didn’t pay the premiums related to the

 3 insurance policies under the Aearo Legacy program, correct?

 4 A      That’s correct.

 5 Q      And let’s go to -- and I may have to go back to where I

 6 was standing to find this other exhibit.               One second.

 7                THE COURT:    Not to put any pressure on you, but you

 8 got about ten minutes before I’m going to start giving my close

 9 on what’s going to --

10                MR. MANTHEY:    Okay.

11                THE COURT:    -- happen in the future, so.

12                MR. MANTHEY:    I will try to wrap up in ten minutes.

13                THE COURT:    And you can roll over.          I’m just letting

14 you know I --

15                MR. MANTHEY:    Okay.

16                THE COURT:    That’s coming.

17                MR. MANTHEY:    I understand, Your Honor, and I

18 appreciate it.       I’m just keeping track of some of these

19 exhibits has not been the easiest.

20 Q      This exhibit -- just exit the exhibit.               I’d like you to --

21 it was Debtor’s, I believe, Exhibit 77.               That’s it.

22 A      Yes, I have that here.

23 Q      Okay.      Sorry, Your Honor.      This was the notice that 3M

24 provided to the insurers in the Aearo Legacy program related to

25 the Combat Arms’ claims, correct?




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                                   A.239
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                               Sullivan - Cross/Manthey                     267
 1 A      That’s right.

 2 Q      And that notice was provided June 28, 2019, correct?

 3 A      That’s right.

 4 Q      And that’s more than three years ago, correct?

 5 A      Correct.

 6 Q      And I believe you testified that of the available $550

 7 million in which you believe is available, you think that all

 8 but $4 million is still available, correct?

 9 A      That’s correct.

10 Q      And let’s go to that -- that document, which was -- what

11 was the lettering for the number I gave you Debtor’s Exhibit

12 Liberty Mutual?        Yeah, the Liberty Mutual --

13                THE COURT:    119.

14                UNIDENTIFIED SPEAKER:       119.

15                MR. MANTHEY:    Thank you, Your Honor.

16                THE COURT:    That’s why I get the medium box.

17 Q      You have that in front of you?

18 A      I do.

19 Q      Okay.      And this is the letter from Liberty Mutual where

20 they provided $4 million in individual checks each of $1

21 million, correct?

22 A      That’s correct.

23 Q      And each of these payments was payable to 3M, correct?

24 A      Yes, 3M Company.       Yes.

25 Q      Were any of these checks -- did any of these checks




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                                   A.240
    Case: 22-2606     Document: 32        Filed: 12/12/2022    Pages: 457

                             Sullivan - Cross/Manthey                         268
1 include Aearo as an additional payee?

2 A      Not to my knowledge.

3 Q      Why were the checks on the Aearo Legacy Insurance Program

4 paid to 3M instead of Aearo?

5 A      I may be speculating here, but Liberty and other insurers

6 in the Aearo Legacy program, sorry, excuse me, have not made

7 the distinction between the two, so that may be why.

8 Q      Okay.      Well, let’s look at the letter for a second.

9 A      Okay.

10 Q     I’m going to turn to the second page.                I think you focused

11 on the fourth paragraph where it says, Liberty therefore

12 encloses with this letter four checks to 3M Company in the

13 amount of $1 million each.          I want to focus on the paragraphs

14 before that.      Do you see, first, the heading of this letter?

15 The heading above the second paragraph of the letter?

16 A     Yes, I do.

17 Q     Okay.      And what does that say?

18 A     It says partial payment of Sloan verdict under the 2003

19 through 2007 Liberty primary policies.

20 Q     Okay.      And then in the first paragraph underneath that,

21 why don’t you read the first sentence for us?

22 A     It says, on January 27th the jury returned a verdict in

23 the Sloan case for $15 million in compensatory damages.

24 Q     Continue on for me please?

25 A     Mr. Sloan served in the army from June 1994 to March 2015.




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                                 A.241
    Case: 22-2606     Document: 32        Filed: 12/12/2022   Pages: 457

                             Sullivan - Cross/Manthey                      269
1 He alleges he used the Combat Arms Earplugs between mid 2004

2 and 2015.      Mr. Sloan claims to have noticed tinnitus and

3 hearing loss beginning in February 2005 before, quote, before

4 his first deployment.

5 Q      Okay.      And then the next paragraph, why don’t you read

6 that also?

7 A      Based on the recent verdict in the Sloan case referenced

8 above of $15 million, Liberty believes that if coverage for

9 Aearo is determined to exist under the two thousand -- nine

10 thirty two thousand three through nine thirty two thousand

11 seven Liberty primary policies that Liberty’s indemnity

12 obligation, if any, is exhausted by payment of the $1 million

13 per occurrence limit under each of the 2003, and it lists four

14 policies, total $4 million.          It is Liberty’s position that

15 Aearo’s manufacturer of your product is a single occurrence,

16 and at most one per occurrence limit per policy year is owed in

17 indemnity.

18 Q     So, Liberty paid this $4 million, again, separately four

19 different checks of $1 million each, as partial payment of the

20 Sloan verdict, that appears what they’re stating, correct?

21 A     That’s what they’re stating.

22 Q     Okay.      What did 3M do with the $4 million?

23 A     The -- those checks are currently locked in a vault.

24 Q     They have not been deposited?

25 A     They have not.




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                                 A.242
     Case: 22-2606     Document: 32        Filed: 12/12/2022   Pages: 457

                               Sullivan - Cross/Manthey                         270
 1 Q      Okay.      And why are they locked in a vault?

 2 A      Because discussions had been ongoing with Liberty about

 3 their attempt to exhaust their policy limits and kind of

 4 related discussions around defense funding.                 They’re paying for

 5 defense of the litigation.

 6 Q      So, it would appear that 3M hasn’t even recovered the $4

 7 million, wouldn’t that be correct?

 8 A      3M has not deposited those checks.

 9 Q      So, 3M has not recovered one dollar under the Aearo Legacy

10 program, correct?

11 A      That’s correct.

12 Q      Okay.      So, why didn’t you disclose that on your direct

13 testimony by your attorney?

14 A      I believe I said 3M had received checks, four checks,

15 totaling $4 million.

16 Q      Okay.      And I think there was also a question about the

17 exhausting of the policy and how much had been exhausted and I

18 think there was reference that the $4 million went against the

19 $550 million, isn’t that correct?

20                UNIDENTIFIED ATTORNEY:       Objection, Your Honor.       I

21 think it misstates the record.

22                THE COURT:    Well, I think I know what I heard, but if

23 you -- so I think we’re --

24                MR. MANTHEY:    Your Honor, I think you did hear what

25 -- you know what you heard.           I’ll withdraw the question.




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                                                                             271
 1 Q      Are you aware of any imminent payments by any of the

 2 insurers under the Aearo Legacy program to 3M for the Combat

 3 Arms’ claims?

 4 A      I am not aware of any.

 5 Q      Okay.      What has been your participation in the MDL

 6 litigation?

 7 A      Can you clarify what you mean by participation?

 8 Q      Other than providing --

 9                THE COURT:   Do you have two minutes or less?

10                MR. MANTHEY:    I don’t.

11                THE COURT:   Okay.     Let’s stop there.

12                MR. MANTHEY:    Okay.

13                THE COURT:   Put a marker on there.          We can recall the

14 witness.     Are you available for testifying tomorrow?

15                THE WITNESS:    Yes.

16                THE COURT:   Okay.     All right, so we’ll recall -- hold

17 it because I have to tell you -- I know that those

18 participating in the discovery conference are aware of this,

19 but I cleared tomorrow as an additional trial day.                 I’m also

20 working to clear Wednesday as an additional trial date given

21 our very fast paced of 1.4 witnesses per day.                We only have six

22 witnesses but we’re going pretty slow, so we’re going to work

23 on that.     We will be in this courtroom tomorrow.             We can start

24 as early as eight.        I am still required to have you all leave

25 by five.     What are peoples’ thoughts about starting by -- per




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                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF INDIANA

IN RE:                   .            Case No. 22-02890-JJG
                         .            (Jointly Administered)
AEARO TECHNOLOGIES LLC, .
ET AL.,                  .           116 U.S. Courthouse
                         .           46 E. Ohio Street, Room 116
          Debtors.       .           Indianapolis, IN 46204
 . . . . . . . . . . . . .
AEARO TECHNOLOGIES LLC, .
ET AL.,                  .
          Plaintiffs,    .
     V.                  .            Adversary No. 22-50059
                         .
THOSE PARTIES LISTED ON .
APPENDIX A,              .
          Defendants.    .
                         .           Tuesday, August 16, 2022
 . . . . . . . . . . . . .           8:00 a.m.

          TRANSCRIPT OF HEARING ON DEBTORS' MOTION FOR
            DECLARATORY AND INJUNCTIVE RELIEF (DAY 2)
              BEFORE THE HONORABLE JEFFREY J. GRAHAM
               UNITED STATES BANKRUPTCY COURT JUDGE

APPEARANCES:

For the Debtors:                 Kirkland & Ellis LLP
                                 BY: CHAD HUSNICK, ESQ.
                                      NICHOLAS WASDIN, ESQ.
                                      BRENTON ROGERS, P.C.
                                 300 North LaSalle Street
                                 Chicago, IL 60654

                                 Kirkland & Ellis LLP
                                 BY: MARK McKANE, ESQ.
                                 555 California Street, 27th Floor
                                 San Francisco, CA 94104

Audio Operator:                  Heather Heiser-Davis

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                             Myers - Direct/Wasdin                         109
 1 middle of 2015.      When I came back, I had a set of businesses

 2 including hearing protecting that I managed, and I did that

 3 until August the 1st of this month.           And now I'm in the

 4 regulatory strategy area.

 5 Q      Going back to your time at Aearo, while you were at Aearo,

 6 did you have involvement and responsibility for the Combat Arms

 7 Version 3 earphone?

 8 A      I did.

 9 Q      What was your role with respect to the CAEv2?

10 A      So I was in marketing.

11        So what I did is listen to the proposal.            Part of my -- in

12 -- this would have been in 1997 is when it started, trying to

13 determine did this seem like a product we could make, was there

14 a market for it, you know, those kinds of business questions.

15        So we decided ultimately that it seemed like it was a --

16 it was a product we should pursue, and we resourced it and

17 prioritized it and developed it and then ultimately

18 manufactured and marketed it.

19        And I was kind of as the marketing manager with sort of

20 the I'll call it the project manager as we moved through key

21 milestones keeping other functions on -- you know, on the due

22 dates and things like that so that it moved along.

23 Q      What group at Aearo had responsibility for product design?

24 A      That would be the technical group.

25 Q      Did you interact with the technical group in your role as




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                                A.250
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                              Myers - Direct/Wasdin                           110
 1 -- in your marketing function and in your role as the sort of

 2 informal project manager?

 3 A      I did.

 4        So they were one group that we, you know, kept dates on

 5 and tried to make sure that we were progressing appropriately.

 6 Q      And did you attend meetings with the technical group to

 7 understand the progress of the design?

 8 A      I did.

 9 Q      When was the Combat Arms Version 2 designed?

10 A      So the idea of the two-ended plug which is the Version 2

11 came in early 1998.       That design was -- we worked on that

12 design through early '99 to mid -- to mid-1999.

13 Q      And when were the first sales of the Combat Arms Version 2

14 earplug?

15 A      At the end of 1999.

16 Q      Was the design of the Combat Arms Version 2 earplug

17 changed after the 3M acquisition of Aearo in 2008?

18 A      Not to my knowledge.

19              MR. WASDIN:    Your Honor, may I approach?

20              THE COURT:    You can always approach.         You can also

21 move freely about.

22              MR. WASDIN:    Thank you.

23 BY MR. WASDIN:

24 Q      Mr. Myers, I've handed you a document that was pre-marked

25 as Exhibit 148.      Do you recognize this?




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                                Myers - Direct/Wasdin                       111
 1 A      Yes, I do.

 2 Q      What is it?

 3 A      So this is what we would call a blister card.

 4        A piece of packaging that we would actually put the

 5 product -- you see kind of the big empty space in the rectangle

 6 on the left at the bottom.           We would put the product there and

 7 put a clear blister card over that to seal the product against

 8 this card.        So this would have been a part of the product sold.

 9                MR. WASDIN:    Your Honor, we would move Exhibit 148

10 into evidence.

11                THE COURT:    Any objection to the admission of what

12 has been designated Exhibit 148?

13                MR. BUCHANAN:       No objection, Your Honor.

14                THE COURT:    All right.     Hearing that and seeing no

15 other objection, the Court will admit it.

16            (Debtors' Exhibit 148 admitted into evidence)

17                MR. WASDIN:    Can we please publish Exhibit 148?

18                And if we can turn to the backside and call at the

19 right side of the document with the lighter color with text.

20 BY MR. WASDIN:

21 Q      Mr. Myers, I'm afraid that our print job here is not

22 perfectly clear.        But if you look down to the bottom left-hand

23 corner of the backside of the package that we're looking at,

24 can you tell what the date of this particular package was?

25 A      Yeah.




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                                  A.252
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                           A.253
     Case: 22-2606   Document: 32        Filed: 12/12/2022   Pages: 457

                              Myers - Direct/Wasdin                         113
 1 A      I don't believe so.

 2 Q      Mr. Myers, I've handed you a document that we pre-marked

 3 as Exhibit 66.     Can you tell us what is this?

 4 A      It's a data table of the sales revenue of the Combat Arms

 5 Earplug Version 2 through the life of the product.

 6 Q      Did you assist in compiling this data and creating

 7 portions at least of Exhibit 66?

 8 A      I did.

 9        I worked with a gentleman named Dave Viele on this.

10              MR. WASDIN:    Your Honor, we would move Exhibit 66

11 into evidence.

12              THE COURT:    Any objection to the admission of what

13 has been designated Exhibit 66?

14              MR. BUCHANAN:       No objection, Your Honor.

15              THE COURT:    All right.     Hearing none and seeing no

16 other objection, it is admitted.

17             (Debtors' Exhibit 66 admitted into evidence)

18 BY MR. WASDIN:

19 Q      Mr. Myers, can you tell us where did these sales revenue

20 data in Exhibit 66 come from?

21 A      So it came from two separate systems.

22        So there was an SAP-1 system that is the earlier part of

23 the data up and through about 2010, and then in 2010 our system

24 changed to what was called a WDSR system.             And that's where

25 orders were taken, revenues reported, product shipping was --




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                                A.254
     Case: 22-2606   Document: 32        Filed: 12/12/2022   Pages: 457

                             Myers - Direct/Wasdin                         114
 1 was involved.

 2 Q       And what years are covered here in terms of sales of the

 3 Combat Arms Version 2?

 4 A       So from 1999 which was the first sales through the year

 5 2016.

 6 Q       And if you look to the column on the right under combined

 7 totals, what was the total amount of -- the total dollar amount

 8 of Combat Arms Version 2 sales over the life of the product?

 9 A       So for the U.S., and I'm looking at kind of the table in

10 the middle, the total was $30,317,402.82.             And then globally as

11 a total, it was $31,524,486.43.

12 Q       Did you do work to try to figure out what portions of

13 those totals occurred prior to 3M's acquisition versus after?

14 A       Yeah, we did.

15         And that's summarized on the second page.

16 Q       So let's take a look at the second page of Exhibit 66.

17         And can you walk us through -- let's start with the

18 domestic sales, the total amount of $30,317,402.              What portion

19 of that occurred prior to 3M's acquisition of Aearo?

20 A       So it was -- it's 80.6 percent calculated there.

21 Q       And so what portion would have occurred after 3M's

22 acquisition of Aearo?

23 A       Roughly 20 percent.

24 Q       And does that division, approximately 80-20 pre-

25 acquisition, hold also for the global sales, as well?




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                                 A.255
     Case: 22-2606     Document: 32        Filed: 12/12/2022   Pages: 457

                                Myers - Direct/Wasdin                           115
 1 A      It does.      It's about the same; 80-20.

 2 Q      Mr. Myers, I've handed you another document.               This one was

 3 premarked as Claimants' Exhibit A down at the bottom right-hand

 4 corner.    Can you tell me whether or not you recognize this

 5 document?

 6 A      I do recognize this document.

 7 Q      What is this?

 8 A      So this was an original query to determine the sales

 9 revenue associated with the Combat Arms earplug over the life

10 of the -- of the Combat Arms Earplug Version 2.

11 Q      Approximately when was this query performed?

12 A      I'm going to say it was maybe three years ago.               It was

13 some time ago.       I don't -- I don't recall the date.

14 Q      Okay.      What were the --

15                MR. WASDIN:    Your Honor, we'll go ahead and just put

16 Exhibit A -- we'd move it into evidence.

17                THE COURT:    Any objection to what has been designated

18 Exhibit A?

19                MR. BUCHANAN:       No objection, Your Honor.

20                THE COURT:    All right.     Hearing that and seeing no

21 other objection, the Court will admit it.

22             (Claimants' Exhibit A admitted into evidence)

23 BY MR. WASDIN:

24 Q      And, Mr. Myers, were you personally involved in sort of

25 the collection process that resulted in this data table, as




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                                  A.256
     Case: 22-2606   Document: 32        Filed: 12/12/2022   Pages: 457

                             Myers - Direct/Wasdin                        116
 1 well?

 2 A       I was.

 3 Q       What years are covered here for sales of the Combat Arms

 4 Version 2 earplug?

 5 A       The same year span, 1999 through 2016.

 6 Q       Exhibit A, Claimant's Exhibit A on the combined totals

 7 comes out to 46 million.         Do you see that?

 8 A       I do.

 9 Q       So that's a little bit higher than the 30 million or 31-

10 million-dollar total that was reflected in Exhibit 66 that we

11 just went through.      Right?

12 A       It is.

13 Q       Can you just sort of tell us why this one -- did you do

14 any sort of work to figure out why this one was higher than the

15 30 million we looked at on Exhibit 66?

16 A       Yeah.

17         So in discussions with Dave Viele, what it came to learn

18 was that in the original inquiry there was an error where he

19 found all of the -- he pulled records on all of the orders that

20 had Combat Arms in it, but it pulled data on the entirety of

21 the order.

22 So, for example, if a distributor had ordered $1,000 worth of

23 safety products but only $100 of it was Combat Arms earplugs,

24 it would have pulled the full $1,000 so it tended to inflate

25 the revenue number.




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                           A.258
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                             Stein - Direct/McKane                          224
 1 that fair?

 2 A      Yes.   We wanted to cash deposited into a trust account.

 3 Q      And, sir, where did the parties land on that -- on the 3M

 4 commitment issue?

 5 A      Ultimately, through vigorous negotiation which includes

 6 many other points and counter points, the parties agreed that

 7 3M would provide an uncapped funding commitment to ensure

 8 prosecution of the bankruptcy case and resolution of all of the

 9 outstanding claims and causes of action.

10               There would be an initial commitment which has no

11 impact on the uncapped funding from part of the agreement of

12 $1.24 billion which consisted of $1 billion to fund the trust

13 and $240 million for bankruptcy case and related expenses.

14 Q      Mr. Stein, let’s turn to another issue that was addressed

15 in the negotiations on the next page, Page 10 of 14.               Was the

16 assumption of liabilities and indemnification a topic of the

17 negotiations between Aearo and 3M?

18 A      Yes.

19 Q      And based on the negotiations, what did you understand

20 3M’s position to be regarding the assumption of liabilities and

21 indemnification?

22 A      As I recall, initially, 3M wanted to Aearo entities to not

23 only indemnify but also assume liabilities.               And there was an

24 ongoing dispute relative to whether or not that would include

25 payor affiliates.      And if it did, if the payor affiliates would




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                                A.259
    Case: 22-2606   Document: 32        Filed: 12/12/2022   Pages: 457

                            Stein - Direct/McKane                          225
1 also be bound for the funding obligation.

2 Q      And where did the parties land on the issue of the

3 assumption of liabilities and indemnification?

4 A      Ultimately, the parties agreed that there would only be an

5 indemnification provided, no assumption of liabilities and that

6 the payor affiliates did not need to be included as obligated

7 parties because there was additional language, I believe it’s

8 referred to as the permitted funding use to ensue that any

9 indemnification obligations to those payor affiliates would

10 ultimately be the obligation of 3M.

11 Q     Now, sir, under the funding agreement, you’ve undertaken

12 an obligation to -- Aearo has undertaken an obligation to

13 indemnify 3M for all earplug related liabilities.              Why take on

14 that commitment?

15 A     In our deliberations, as we discussed previously, Mr.

16 Meltzer and I were of the belief that there was an already

17 existing indemnification obligation from Aearo to 3M that may

18 have included the tort claims.         And that this additional

19 indemnification was requested by 3M as what I would describe as

20 an indemnification enhancement or wrap around the existing

21 indemnification because I believe 3M wanted to try and make

22 that indemnification as bullet proof as possible in exchange

23 for providing the uncapped funding to prosecute the case.

24 Q     And, sir, as a fiduciary to Aearo, considering what you

25 got and what you gave, do you believe the funding agreement is




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                               A.260
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                              Stein - Direct/McKane                               226
 1 in the best -- in Aearo’s best interest?

 2 A      Yes.

 3 Q      Why?

 4 A      I believe the funding agreement provides very fair and

 5 balanced treatment to both parties but, in particular, with

 6 respect to the Aearo debtors, it provides a means to pursue the

 7 bankruptcy alternative which would not otherwise exist.                  The

 8 funding agreement, in and of itself, is quite unique.                   It does

 9 not have any interest payment requirements.                It does not have

10 any fee requirements.        In fact, it’s never even required to be

11 repaid, which I find compelling on behalf of the Aearo debtors.

12               And I believe that in exchange for that providing the

13 indemnification enhancement and the other, what I would refer

14 to as gives and takes, resulted in a funding agreement that was

15 attractive to the Aearo debtors, provided the means to pursue

16 one of our two options.           And the option that Mr. Meltzer and I

17 and the full board concluded was in the best interest of

18 maximizing the value of the debtor’s estates on a risk adjusted

19 basis.

20 Q      Now, sir, you mentioned earlier that you had a general

21 familiarity with the objections that had been filed to the

22 debtor’s request for a preliminary injunction and declaratory

23 relief.    In addition to the KTBS firm, another firm on behalf

24 of -- Bailey and Glasser filed an objection as well.                It’s at

25 Docket 100.       In that objection there’s an assertion made that,




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                              Stein - Direct/McKane                          227
1 quote, no independent and honest debtor with or without a

2 funding promise would voluntarily assume billions of dollars of

3 liability before filing a bankruptcy -- or full filing

4 bankruptcy, excuse me.         Do you see that allegation, sir?

5 A        Yes.

6 Q        Do you agree with that assertion?

7 A        No.

8 Q        Why not?

9 A        I believe the Aearo debtors are already liable as named

10 defendants in each of the cases.

11 Q       Well, we’re cover that topic further later on.             Let’s go

12 back to the presentation you received from McDonald Hopkins’

13 firm.    And let me direct your attention to Page 11 which is on

14 your screen.       Do you see that, sir?

15 A       Yes.

16 Q       Were the conditions around the funding obligation an issue

17 that was negotiated between Aearo and 3M?

18 A       Yes.

19 Q       Again, based on the negotiations, what was your

20 understanding of 3M’s position regarding the conditions around

21 funding?

22 A       Initially and really throughout negotiations until the

23 conclusion of the negotiations, 3M asserted that it would not

24 provide funding unless an extension of the automatic stay in

25 the Combat Arms litigation was granted.




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                              Stein - Direct/McKane                        238
1               MR. McKANE:    Actually, Your Honor, could I just check

2 something with counsel on a confidentiality issue?

3               THE COURT:    You may.

4               MR. McKANE:    Your Honor, I apologize.         There’s some

5 material not public information that I just want to be

6 sensitive to.

7 Q      Mr. Stein, did you receive information both at the status

8 quo and on a go forward basis post spin in this presentation

9 from 3M?

10 A     Yes.

11 Q     And was this information sufficient for you to satisfy you

12 with regard to 3M wherewithal?

13 A     Yes.

14 Q     And did you have an opportunity to address those issues

15 with your counsel and financial advisor?

16 A     Yes.   Mr. Meltzer and I individually and in conjunction

17 with the full board addressed this matter with our

18 professionals, in addition to the presentation we received from

19 Mr. Will and PJT, and concluded that although 3M would be a

20 smaller company post spinoff, it would continue to be a large

21 and well capitalized company that had the wherewithal to

22 satisfy the terms and conditions of the funding agreement.

23 Q     All right.    And, sir, the funding agreement is already in

24 evidence as Exhibit 2.       Are you familiar with those terms, the

25 final terms of the funding agreement?




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                            Stein - Direct/McKane                          239
1 A      Yes.

2 Q      And are you familiar with the priority of payment scheme

3 that is incorporated in the funding agreement?

4 A      Yes.

5 Q      Mr. Stein, do you have an understanding of what are the

6 sources of funds that are available to Aearo under the funding

7 agreement?

8 A      Yes.

9 Q      What are those sources of funds?

10 A     There are three sources of funds available, and there’s a

11 clear hierarchy in regard to their utilization under the

12 funding agreement.     The first is existing cash and cash

13 generated from the operations of the Aearo debtors.              The second

14 is cash proceeds from the outstanding insurance policies that

15 provide coverage to the Aearo debtors.           And then finally, when

16 those resources have been exhausted, the Aearo debtors can

17 request the funding under the funding agreement from 3M.

18 Q     Sir, are any of those sources riskless?

19 A     No.

20 Q     Why not?

21 A     Beginning with cash and cash flow from operations at the

22 Aearo debtors, first the business is relatively small, but like

23 any other business it is susceptible to deterioration in

24 performance to the impact of a recession or other exogenous

25 events.




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                               Stein - Direct/McKane                          240
 1                As it relates to the second, which is the insurance

 2 policies, first, those policies have limits.                Essentially

 3 there’s a cap on the amount of coverage that is available, and

 4 as that coverage is utilized the amount remaining is

 5 diminished.       Separately, as those insurance policies are in

 6 fact utilized, if and when payments are made, that certainly

 7 impacts the ability of the Aearo debtors to procure similar

 8 insurance in the future.           And to the extent it can be procured

 9 it will certainly be more costly.

10                And then finally, the funding agreement is supported

11 by 3M, although 3M is an ongoing enterprise similar to the

12 Aearo debtors.       It, although quite viable at this time, is also

13 certainly susceptible to deterioration in performance, the

14 impact of a recession or other exogenous events.

15 Q      Okay.      Sir, in your view is it harmful to the debtors’

16 estate for the combat arms litigation to continue against 3M?

17 A      In my opinion, yes.

18 Q      Why?

19 A      I believe that if the combat arms litigation continues

20 outside of the bankruptcy forum it will first result in a

21 degradation of the assets of the Aearo debtors as they will be

22 utilized and impacted potentially by external litigation.                 In

23 addition to that, I believe that it will fully distract from

24 the primary objective of these cases, which is to reorganize

25 the Aearo debtors.        And I believe this forum is the only forum




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                               Stein - Direct/McKane                               241
 1 that would provide an opportunity to effectuate a global

 2 resolution that would include all outstanding claims and causes

 3 of action, not just the MDL, but also claims outstanding in the

 4 state of Minnesota and any potential future claims.                And if the

 5 litigation continues externally resources will be distracted

 6 from the pursuit of that initiative.             And I continue to believe

 7 that the bankruptcy forum and the focus on reorganizing the

 8 companies represents the best path forward to maximize the

 9 value of the Aearo debtors on a risk-adjusted basis and is

10 wholly consistent with my fiduciary duties.                Therefore I

11 support the relief that we are requesting today.

12 Q      All right.     Just turning to transition topics for a

13 minute, sir, and let’s -- I covered the decision on filing for

14 bankruptcy, can you recall the time line forms from back up?

15 And can we focus on the right third of the time line?                   Okay.

16 Mr. Stein, were you aware that 3M was engaged in a mediation

17 with certain members of the plaintiff’s leadership regarding a

18 potential settlement of the MDL at some point in July?

19 A      Yes.   I was made aware of that fact.           I do not recall

20 exactly when, however.

21 Q      Right.     Right.   Without getting into the details of the

22 mediation, what did you learn about the outcome of the

23 mediation?

24               UNIDENTIFIED ATTORNEY:       Objection.       Hearsay.

25               MR. McKANE:    Sorry.




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                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF INDIANA

IN RE:                   .            Case No. 22-02890-JJG
                         .            (Jointly Administered)
AEARO TECHNOLOGIES LLC, .
ET AL.,                  .           116 U.S. Courthouse
                         .           46 E. Ohio Street, Room 116
          Debtors.       .           Indianapolis, IN 46204
 . . . . . . . . . . . . .
AEARO TECHNOLOGIES LLC, .
ET AL.,                  .
          Plaintiffs,    .
     V.                  .            Adversary No. 22-50059
                         .
THOSE PARTIES LISTED ON .
APPENDIX A,              .
          Defendants.    .
                         .           Wednesday, August 17, 2022
 . . . . . . . . . . . . .           8:00 a.m.

          TRANSCRIPT OF HEARING ON DEBTORS' MOTION FOR
            DECLARATORY AND INJUNCTIVE RELIEF (DAY 3)
              BEFORE THE HONORABLE JEFFREY J. GRAHAM
               UNITED STATES BANKRUPTCY COURT JUDGE

APPEARANCES:

For the Debtors:                 Kirkland & Ellis LLP
                                 BY: CHAD HUSNICK, ESQ.
                                      NICHOLAS WASDIN, ESQ.
                                      BRENTON ROGERS, P.C.
                                 300 North LaSalle Street
                                 Chicago, IL 60654

                                 Kirkland & Ellis LLP
                                 BY: MARK McKANE, ESQ.
                                 555 California Street, 27th Floor
                                 San Francisco, CA 94104

Audio Operator:                  Heather Heiser-Davis

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                                                                               232
 1              THE COURT:    Well I have to ask you again though,

 2 aren’t they a named defendant in every action?

 3              MS. CYGANOWSKI:      They are, they are.       And –-

 4              THE COURT:    Why?

 5              MS. CYGANOWSKI:      Because there are, because it was

 6 their product.     Because they didn’t –-

 7              THE COURT:    So they are a real defendant?

 8              MS. CYGANOWSKI:      They are –- I don’t want to –-

 9              THE COURT:    --    just a nominal defendant, it doesn’t

10 matter.

11              MS. CYGANOWSKI:      Yes, they are.

12              THE COURT:    But it matters when it’s on a caption --

13              MS. CYGANOWSKI:      It does matter.

14              THE COURT:    -- complaint.

15              MS. CYGANOWSKI:      It certainly does matter.        But when

16 you have another party and –-

17              THE COURT:    And I understand that.

18              MS. CYGANOWSKI:      Right.

19              THE COURT:    But I guess I just –-

20              MS. CYGANOWSKI:      We’re not the ones who said that,

21 right, it was 3M.      3M voluntarily put on the cloak themselves

22 and said it’s us.      We are the sole responsible party.              We will

23 run the litigation.       We will present the evidence.          We will, we

24 will be Aearo because they merged Aearo into themselves.

25              THE COURT:    Well then you dismiss them.




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                                                                           233
 1              MS. CYGANOWSKI:      Actually motions are coming to do

 2 that.

 3              THE COURT:   But only filed after the bankruptcy.

 4              MS. CYGANOWSKI:      I’m not confident of that Your

 5 Honor.

 6              THE COURT:   Okay.

 7              MS. CYGANOWSKI:      I’m really not confident of that.

 8              THE COURT:   And that’s fine.

 9              MS. CYGANOWSKI:      I know that there are motions

10 pending.     They may have been pending prior to the filing.           That

11 I, that I do not know.

12              I’m sure there are other questions and if you’d like

13 to ask them I’m happy to –-

14              THE COURT:   I guess my first question would be, and

15 we kind of, are the, is it your view that you’re saying that I

16 don’t necessarily have related to the jurisdiction to look at

17 the issue?

18              MS. CYGANOWSKI:      Yeah, I believe you do.

19              THE COURT:   You believe I do?

20              MS. CYGANOWSKI:      Yes, absolutely.

21              THE COURT:   All right.

22              MS. CYGANOWSKI:      You -- you --

23              THE COURT:   That’s a question I have, because --

24              MS. CYGANOWSKI:      Right.

25              THE COURT:   -- you say that, and they say they that




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                                                                                234
 1 will be --

 2              MS. CYGANOWSKI:      Yes.    No, you absolutely have that.

 3              THE COURT:   And so your position -- the position of

 4 those you represent is that their request failed on the prong

 5 of 105 and the test under there?

 6              MS. CYGANOWSKI:      Correct.

 7              THE COURT:   Okay.     Thank you.      That was my first

 8 clarification question.

 9              MS. CYGANOWSKI:      Yes.

10              THE COURT:   My second clarification, and I’m trying

11 to -- and I know you’re the legal expert, and you probably were

12 a bankruptcy judge longer than me, so you probably are the

13 biggest expert in the room, other than myself --

14              MS. CYGANOWSKI:      You’re the most recent.

15              THE COURT:   That doesn’t mean much.          I just have less

16 gray hair at the moment.

17              MS. CYGANOWSKI:      There’s a reason for that.           I go to

18 beauty parlors.

19              THE COURT:   When we look at this, and -- I can’t

20 comment on that --

21                                   (Laughter)

22              THE COURT:   Now, I lost my train of thought.             I’m

23 sorry.    Well done.    All right.       No, I didn’t lose my train of

24 thought.     Oh, I’m sorry, it’s back.

25              When you cited the Seventh Circuit case law about




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                                                                           235
1 different types of jurisdiction, and -- and I don’t think that

 2 you mentioned Bush which unfortunately was an appeal from this

 3 Court, not me, but was opining on that, and do you feel that,

 4 in that decision, Judge Easterbrook modified how I should look

 5 at those things or does it not matter, because that was

 6 discussing related-to jurisdiction, which you say I have.

 7              MS. CYGANOWSKI:      First the latter --

 8              THE COURT:   All right.

 9              MS. CYGANOWSKI:      -- first the latter, and I think at

10 bottom because less of a jurisdictional issue as to whether or

11 not you have the power, as much as our argument is that you

12 should decline to exercise it.

13              THE COURT:   Okay.

14              MS. CYGANOWSKI:      It truly is.      We do not believe that

15 the circumstances -- and I’m trying to think of another way to

16 say it -- that up until the moment when the lightbulb went off

17 in somebody’s head at 3M, 3M was chugging along in this MDL

18 litigation by itself, surely, by itself, without even a thought

19 that the other defendant should be there, right?              I mean, they

20 could have, at any time, up until that point, as others have

21 done, LTL and -- and run off the other -- the other cases that

22 have been pointed to.

23              I mean, there are many differences between these

24 cases.    They’re not the same, but they could have, at any time,

25 said, for nothing else than bookkeeping, jury, please allocate




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                                                                                  EXHIBIT 0002
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                                      Exhibit B

                                  Funding Agreement




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                                                                                                    EXHIBIT 0002
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                                                                                      Execution Version


                    FrJNDING AND INDEMNIFICA Tl ON AGREEMENT

         This FUNDING AND INDEMNIFICATION AGREEMENT, dated as of July 25, 2022
 (as it may be amended, amended and restated, modified or supplemented from time to time, this
 ''Agreement"), is by and among:

 •      Aearo Technologies LLC, a Delaware limited liability company; 3M Occupational Safety
        LLC, a Delaware limited liability company; Aearo Holding LLC, a Delaware limited
        liability company; Aearo Intermediate LLC, a Delaware limited liability company; Aearo
        LLC, a Delaware limited liability company; Cabot Safety Intermediate LLC, a Delaware
        limited liability company; and Aearo Mexico Holding Corporation, a Delaware corporation
        (each individually, an ''Aearo Entitv" and, collectively, the "Aearo Entities"); and

 •      3M Company, a Delaware corporation (the "Payor" and, together with the Aearo Entities,
        the "Parties").

                                            RECITALS

         A.      Certain of the Aearo Entities are defendants in Proceedings related to Earplug
 Liabilities and Respirator Liabilities. The Aearo Entities are direct and indirect wholly-owned
 subsidiaries of Payor, and Payor has been named as a defendant in Proceedings related to Earplug
 Liabilities and Respirator Liabilities. Payor and each of the Aearo Entities believe they have
 meritorious defenses to the claims that are the subject of Proceedings related to Earplug Liabilities
 or Respirator Liabilities.

        B.      In connection with addressing the Earplug Liabilities and Respirator Liabilities, the
 Aearo Entities are considering seeking relief under chapter 11 of the Bankrnptcy Code.

         C.      In consideration of the Aearo Entities' agreement to indemnify Payor and all Payor
 Affiliates for all Losses arising out of or related to the Subject Liabilities pursuant to this
 Agreement, Payor has made the Commitment (as defined below) and agreed, pursuant to the terms
 of this Agreement, to fund the Aearo Entities as set forth in Section 2 hereof to satisfy all of the
 Aearo Entities' Liabilities specified herein on the terms set forth herein, such that each of the
 respective Aearo Entities will have assets with a value greater than its Liabilities and will have
 financial capacity sufficient to satisfy its obligations as they become due in the ordinary course of
 its business, including with respect to any Subject Liabilities.

         D.     Payor and the Aearo Entities have respectively considered various alternatives to
 address potential Liabilities in connection with Proceedings related to Earplug Liabilities or
 Respirator Liabilities, and Payor and the Aearo Entities have respectively determined that entry
 into this Agreement is appropriate under the circumstances and in the best interests of their
 respective stakeholders and other parties in interest.

        E.      Payor does not believe that any Liability in connection with Proceedings related to
 Earplug Liabilities is ''probable" within the meaning ofFASB Accounting Standards Codification
 450 and nothing in this Agreement is or shall be construed as a concession by Payor to the contrary.




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                                                                                                   EXHIBIT 0002
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                                          AGREEMENT

        NOW, THEREFORE, in consideration of the foregoing, the Parties hereto agree as follows:

        1.      Definitions. As used in this Agreement (including the recitals hereto), the following
 terms have the meanings herein specified unless the context othen:vise requires:

        "Aearo Entities" has the meaning specified in the preamble hereof

         "Aearo Entity Earpluu Defendants" means Aearo Technologies LLC; 3M Occupational
 Safety LLC; Aearo Holding LLC; Aearo Intermediate LLC; Aearo LLC; and any Aearo Entity
 that has been named as a defendant in a Proceeding related to Earplug Liabilities.

         "Aearo Entity Respirator Defendants" means Aearo Technologies LLC; Aearo LLC; and
 any Aearo Entity that has been named as a defendant in a Proceeding related to Respirator
 Liabilities.

          "Affiliate" of any specified Person means any other Person directly or indirectly
 controlling or controlled by or under direct or indirect common control with such specified Person.
 For purposes of this definition, "control," as used with respect to any Person, means the possession,
 directly or indirectly, of the power to direct or cause the direction of the management or policies
 of such Person, whether through the ownership of voting securities, by agreement or otherwise.
 For purposes of this definition, the terms "controlling," "controlled by" and "under common
 control with" have correlative meanings. Also, for purposes of this definition, it is understood and
 agreed that appointment of tmstee under chapter 7 or chapter I 1 of the Bankmptcy Code, a
 receiver, or an examiner with expanded powers beyond those set forth in sections I 106(a)(3) and
 (4) of the Bankruptcy Code shall not be, and shall not be deemed as, a loss of "control."

        "Agreement" has the meaning specified in the preamble hereof.

      "Bankruptcy Case" means any voluntary case(s) under chapter 11 of the Bankruptcy Code
 commenced by any Aearo Entity.

        ''Bankruptcv Code" means title 11 of the United States Code, 11 U.S.C. §§ 101----1532, as
 amended from time to time and any successor statute and all mles and regulations promulgated
 thereunder.

       ''Bankruptcv Court" means the United States Bankruptcy Court where the Bankmptcy Case
 is commenced or such other court having jurisdiction over the Bankruptcy Case.

         "Base Rate" means, for any day, a fluctuating interest rate per annum as shall be in effect
 from time to time, which rate per annum shall at all times be equal to the Federal Funds Effective
 Rate in effect from time to time, determined one Business Day in arrears, plus 0.5% per annum.

         "Board" means: (a) with respect to a corporation, the board of directors of the corporation;
 (b) with respect to a partnership, the board of directors, the managing member or members or the
 board of managers, as applicable, of the general paitner of the partnership, or, to the extent the
 general partner has designated its rights to the partnership, the board of directors or similar board


                                                       2

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 of the partnership; (c) with respect to a limited liability company, the managing member or
 members or the board of directors or managers or similar governing body, as applicable, of the
 limited liability company; (d) with respect to any other Person, the governing body or committee
 of such Person serving a similar function; and (e) and any committee(s) or other Person(s)
 delegated authority to act on behalf of the Board.

         "Buduet" means a weekly cash fixecast as prepared by the Aearo Entities and showing
 projected cash receipts and expenses by category, with a brief description of each such category,
 for the Bankmptcy Case on a weekly basis for the 13-week period commencing on the 1st day of
 the month immediately following the Petition Date, as the same may be revised and updated every
 two weeks. A copy of the initial Budget is attached hereto as Schedule 3.

          "Business Day" means each day other than a Saturday, a Sunday or a day on which banking
 institutions in Indianapolis, Indiana or, in respect of any payment to be made under this Agreement,
 place of payment, are authorized by law, regulation or executive order to remain closed.

          "Capital Stock" means: (a) in the case of a corporation, corporate stock; (b) in the case of
 an association or business entity, any and all shares, interests, participations, rights or other
 equivalents (however designated) of corporate stock; (c) in the case of a partnership or limited
 liability company, partnership or membership interests (whether general or limited); and (d) any
 other equity interest or participation right that confers on a Person the right to receive a share of
 the profits and losses of, or distributions of assets of, the issuing Person; but excluding (in each
 case of (a) through (d) above) any debt securities convertible into such equity interests.

         ''Cause of Action" means any claim, judgment, cause of action, counterclaim, crossclaim,
 third party claim, defense, indemnity claim, reimbursement claim, contribution claim, subrogation
 claim, right of set off, right of recovery, recoupment, right under any settlement Contract and
 similar right, whether choate or inchoate, known or unknown, contingent or noncontingent.

        "Claim" shall have the meaning ascribed under section 101 (5) of the Bankruptcy Code.

         "Commitment" means the commitment by Payor of $1.24 billion to make Payments under
 the terms of this Agreement, including $1.0 billion to fund one or more Tmsts and $240.0 million
 to administer a Bankruptcy Case, it being expressly understood that: (a) the Commitment shall be
 payable only pursuant to the terms of this Agreement; and (b) the Commitment does not serve as
 a cap on Payor's funding obligations or otherwise limit Payor's Payments under the terms of this
 Agreement.

        "Company Parties" means the Payor and any of its Affiliates, including the Aearo Entities.

        "Contract" means any legally binding contract, agreement, arrangement, lease, indenture,
 m01igage, deed of tmst, evidence of indebtedness, License, Employee Benefit Plan, guarantee,
 understanding, course of dealing or performance, instmment, bid, order, proposal, demand, offer
 or acceptance, whether written or oral.

         ''Contractual Obligation" means, as to any Person, any legally binding obligation or similar
 provision of any security issued by such Person or any agreement, instmment or other undertaking



                                                       3

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                                                                                                  EXHIBIT 0002
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 (excluding this Agreement but including any other Contract) to which such Person is a party or by
 which it or any of its property is bound.

        "Default" means any event that is, or with the passage of time or the giving of notice or
 both would be, an Event of Default.

          ''District Court" means the United States District Court in the district of the Bankruptcy
 Court.

         "Earplug Liabilities" means any Liability of any Company Party, whether existing now or
 arising in the future, based in whole or in part on any conduct or circumstance arising out of:
 relating to or in connection with dual-ended earplugs, including Dual-Ended Combat Arms -
 Version 2 earplugs, ARC Plug earplugs, and AO Safety Indoor Outdoor Range Earplugs, sold or
 manufactured by any Company Paiiy, under any trade name, including any Liability pursuant to
 any Proceedings relating to any of the foregoing.

         "Employee Benefit Plan" means, with respect to any Person, (i) any "employee benefit
 plan" (as defined in Section 3(3) of ERISA), (ii) all specified fringe benefit plans as defined in
 Section 6039(D) of the Internal Revenue Code, and (iii) any other plan, program, policy,
 agreement or arrangement, whether or not in writing, relating to compensation, employee benefits,
 severance, change in control, retention, deferred compensation, equity, employment, consulting,
 vacation, sick leave, paid time off, salary continuation, disability, hospitalization, medical
 insurance, life insurance, scholarship programs, incentive compensation or bonus compensation,
 in each case that is sponsored, maintained or contributed to or required to be sponsored, maintained
 or contributed to by, or otherwise covering, such Person.

          "Event of Default" has the meaning specified in Section 7.

         "Federal Funds Effective Rate" means, for any period, a fluctuating interest rate equal for
 each day during such period to the weighted average of the rates on overnight Federal Funds
 transactions with members of the Federal Reserve System arranged by Federal Funds brokers, as
 published for such day (or, if such day is not a Business Day, for the next preceding Business Day)
 by the Federal Reserve Bank of New York.

        ''Funding Account" means the account or accounts of any Aearo Entity listed on
 Schedule l, or such other account or accounts designated in a Funding Request, in each case, into
 which the proceeds of all Payments made under this Agreement shall be deposited.

          "Funding Date" has the meaning specified in Section 2(b ).

          ''Funding Request" has the meaning specified in Section 2(b ).

         ''GAAP" means generally accepted accounting principles in the United States set forth in
 the opinions and pronouncements of the Accounting Principles Board and the American Institute
 of Certified Public Accountants and statements and pronouncements of the Financial Accounting
 Standards Board or such other principles as may be approved by a significant segment of the
 accounting profession in the United States, in effect from time to time, consistently applied by
 Payor and the Payor Affiliates, as applicable.


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         ''Governmental Authority" means any national, central, federal, state, provincial,
 municipal, local or other domestic, foreign or supranational governmental, legislative,
 administrative or regulatory authority, agency, court, arbitration tribunal, board, department or
 commission, or other governmental or regulatory entity, including any competent governmental
 authority responsible for the determination, assessment or collection of taxes.

         "Indemnifying Partv" means any Person that is obligated to pay any amount under Section
 3 to any other Person entitled to indemnification thereunder.

        "Indemnitee" means any Person entitled to receive any payment from an Indemnifying
 Party under Section 3.

        "Initial Payment" means the initial sum of $5.0 million, payable by wire or other transfer,
 including ACH or any other mutually acceptable method of electronic funds transfer, of
 immediately available funds, to be funded in accordance with the tenns of this Agreement and
 used solely for a Permitted Funding Use.

         "Intellectual Property Agreement" means that certain Intellectual Property Agreement
 effective as of April I, 2015, by and among Payor, 3M Innovative Properties Company, and Aearo
 Technologies LLC, as may be amended or restated from time to time, together with any ancillary
 or related agreements between the parties thereto and their respective affiliates.

        "Investment Grade Credit Rating" means a credit rating of BBB- or higher by Standard &
 Poor's and Baa3 or higher by Moody's.

         "Law" means any national, central, federal, state, provincial, municipal, local or other
 domestic, foreign or supranational statute, law, ordinance, decree, order, injunction, rule,
 regulation, directive, constitution, code, edict, writ, judgment, opinion, decree, injunction,
 stipulation, award or other document or pronouncement having the effect of law (including
 common law) of any Governmental Authority, including rules and regulations of any regulatory
 or self-regulatory authority with which compliance is required by any of the foregoing.

         "Liabilitv" shall mean any claim, demand, offer, acceptance, action, suit, liability or
 obligation of any kind, whether accmed or fixed, absolute or contingent, matured or unmatured,
 determined or determinable, choate or inchoate, asserted or unasserted, known or unknown,
 including (i) those arising or that may arise under any past, present or future Law or Contract or
 pursuant to any Cause of Action or Proceeding and (ii) all claims for monetary or non-monetary
 Losses of any type or nature whatsoever (including claims for physical, mental and emotional pain
 and suffering, loss of enjoyment of life, loss of society or consortium and wrongful death, as well
 as claims for damage to property and punitive damages). For the avoidance of doubt, a Liability
 shall include any Claim.

        ''License" means any license, sublicense, agreement, covenant not to sue or permission.

         "Losses" means losses, damages, penalties, fines, judgments, awards, settlements, taxes,
 fees, costs, and expenses, including reasonable attorneys' fees, whether involving a third party
 claim or a claim solely between the Parties hereto.



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        ''Minimum Balance" means $5.0 million in cash on hand held, in the aggregate, by all of
 the Aearo Entities, on and after the date of this Agreement.

         "Minimum Funding Amount" means an amount equal to $1.0 million.

         "Non-Severable Provisions" has the meaning specified in Section 14.

         "Qrganizational Documents" means: (a) with respect to any corporation, its certificate or
 articles of incorporation and bylaws; (b) with respect to any limited liability company, its
 certificate or articles of formation or organization and its limited liability company or operating
 agreement; and (c) with respect to any partnership, joint venture, trust or other fonn of business
 entity, the certificate of formation or organization and any operating agreement or similar
 agreement governing such Person.

        "Payment" means each of (a) the fonding of the Initial Payment and (b) any payment made
 to an Aearo Entity, or to a third party on behalf of and duly authorized to receive such Payment by
 any Aearo Entity, on account of a Funding Request.

         "Payor" has the meaning specified in the preamble hereof.

         "Payor Afiiliate" means any Affiliate of the Payor, excluding the Aearo Entities.

         ''Payor Change of Control Transaction" means any of the following events: (i) any
 "person( s)" (as such term is used in Sections 13( d) and 14(d) of the Securities Exchange Act of
 1934, as amended) is or becomes the "beneficial owner(s)" (as defined in Rule l3d-3 under said
 Act), directly or indirectly, of securities of Payor representing fifty percent (50%) or more of the
 total voting power represented by Payor's then outstanding voting securities, whether by tender
 offer, or otherwise; (ii) the consummation of a merger or consolidation of Payor with any other
 entity, other than a merger or consolidation which would result in the voting securities of Payor
 outstanding immediately prior thereto continuing to represent (either by remaining outstanding or
 by being converted into voting securities of the surviving entity) at least fifty percent (50 1}0) of the
 total voting power represented by the voting securities of Payor or such surviving entity
 outstanding immediately after such merger or consolidation; or (iii) the sale or disposition by
 Payor of all or substantially all of Payor' s assets.

         "Payor Contractual Obligation" means, as to the Payor, any legally binding obligation or
 similar provision of any security issued by such Person or any under any material Contract filed
 by the Payor as a "material contract" pursuant to Item 601(b)(l0) of Regulation S-K under
 the Securities Act of 1933, other than those Contracts that have expired in accordance with their
 tenns.

         "Pennitted Funding Use" means, in accordance with Section 2(b ), each of the following
 uses:

                (a)     at any time when an Aearo Entity is an Affiliate of Payor, to pay the costs,
 expenditures (including capital expenditures), or other amounts incun-ed or to be incum:d by such
 Aearo Entity (i) in the ordinary course of business, (ii) outside the ordinary course of business to
 the extent approved in accordance with internal governance procedures and, if a Bankruptcy Case


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 is pending, approved by the Bankruptcy Court or (iii) to administer a Bankruptcy Case, including
 any related professional fees and expenses;

                (b)     to satisfy the following:

                        (i)     at any time when there is no Bankruptcy Case pending, any Subject
                Liability as finally detennined by a judgment of a court of competent jurisdiction
                (which determination is not subject to further appeal) or a final binding settlement
                agreement executed by any Company Party with respect to any Subject Liability,
                or in respect of any appeal bonds or similar litigation-related surety Contracts
                related thereto, in each case, solely to the extent the Initial Payment is insufficient
                or othen:vise unavailable to satisfy such amounts;

                        (ii)    following the commencement of any Bankruptcy Case, any Subject
                Liability in connection with the funding of one or more Trusts;

                       (iii)  any Liability for any other Causes of Action allowed or deemed
                allowed under a Plan, other than the Subject Liabilities; and

                       (iv)     in the case of (b)(i)-(b)(iii), any ancillary costs and expenses of the
                Aearo Entities relating to the Subject Liabilities or other Causes of Action actually
                incurred (in the case of (b)(i)) or allowed or deemed allowed under a Plan (in the
                case of (b )(ii) and (b )(iii)), and any litigation thereof, including the costs and
                expenses of any appeals thereto (including appeal bonds or similar litigation-related
                surety Contracts);

                 (c)    to pay any Liabilities of an Aearo Entity owed to the Payor or any Payor
 Affiliate, including any indemnification or other obligations of any Aearo Entity under Section 3;

                (d)     to pay any and all costs and expenses of the Aearo Entities incurred in
 connection with the pursuit of available remedies to collect any unfunded Payments due and owing
 to the Aearo Entities by Payor under this Agreement or otherwise to enforce the performance by
 the Payor of any provision of this Agreement, including attorneys' fees whether involving a third
 party claim or a claim solely between the Parties hereto; and

                 (e)     to pay any indemnification or other obligations owing to any managers,
 directors, or officers of an Aearo Entity;

 provided, however, that the uses described in clauses (a) through (e) above shall be Permitted
 Funding Uses solely to the extent that (i) the Initial Payment and (ii) any cash received or to be
 received by the Aearo Entities on account of (x) their business and related activities, including
 (subject to Bankruptcy Court approval) any accruals of cash in the Company Parties' centralized
 cash management system that were payable to the Aearo Entities by 3M Financial Management
 Company as of the date immediately preceding the date of this Agreement, or (y) their assets,
 including insurance recoveries, is or are projected to be, in each case or collectively, insufficient
 to pay or satisfy such Liabilities or amounts in full and otherwise maintain the Minimum Balance.




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         ''Person" means any individual, corporation, partnership, limited liability company, joint
 venture, estate, trust, benefit plan, unincorporated organization, business, syndicate, sole
 proprietorship, association, organization, labor union or other entity or Governmental Authority.

         ''Plan" means a plan ofreorganization under chapter 11 of the Bankruptcy Code approved
 by the Board of any Aearo Entity and confirmed by order of the Bankruptcy Court and, to the
 extent required, affirmed by order of the District Court.

          "Proceeding" means any action, appeal, arbitration, assessment, cancellation, charge,
 citation, claim, complaint, concurrent use, controversy, contested matter, demand, grievance,
 hearing, inquiry, interference, investigation, litigation (including class actions and multidistrict
 litigation), mediation, opposition, re-examination, summons, subpoena or suit, or other case or
 proceeding, whether civil, criminal, administrative, judicial or investigative, whether formal or
 informal, whether public or private, commenced, brought, conducted or heard by or before, under
 the supervision or direction ot: or otherwise involving, any Governmental Authority or arbitrator
 or other agreed-upon tribunal or dispute resolution mechanism.

         "Respirator Liabilities" means any Liability of any Aearo Entity, whether existing now or
 arising in the future, based in whole or in part on any conduct or circumstance arising out of:
 relating to or in connection with any mask or respirator products, including any Liability pursuant
 to any Proceedings relating to any of the foregoing.

        "SEC" means the Securities and Exchange Commission.

         "Shared Services" means those services contemplated under the Support Services
 Agreement, the Intellectual Property Agreement, and any other services customarily provided in
 the ordinaiy course of business between the parties thereto as of the date hereof.

         ''Strategic Transaction" means: (a) any acquisition, consolidation, share exchange,
 distribution, dividend, or merger with or into any Person, or a series of acquisition, consolidations,
 share exchanges, distributions, dividends, or mergers; or (b) any sale, assignment, transfer, lease,
 conveyance or other disposition of all or substantially all of the assets of a Person (for the
 avoidance of doubt, calculated by including any equity interests held by a Person) to any other
 Person.

        "Subject Liabilities" means any and all Earplug Liabilities and Respirator Liabilities.

         "Support Services Agreement" means that certain Support Services Agreement dated as of
 April 1, 2008, by and among Payor, 3M Innovative Properties Company, and Aearo Company I
 (d/b/a Aearo Technologies), as may be amended or restated from time to time, together with any
 ancillary or related agreements between the parties thereto and their respective affiliates.

         "Trust" means a trust created pursuant to a Plan (or as otherwise mutually agreed by the
 Parties in the writing) and for the benefit of existing and future claimants of any Subject Liability.




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        2.      Funding Obligations and Procedures.

                (a)     Funding Obligations. In accordance with the Commitment, the Payor
 hereby agrees, on the terms and conditions set forth in this Agreement:

                        (i)     to fund, or cause to be funded, the Initial Payment into the Funding
                Account on or before July 25, 2022, or on such other date as mutually agreed by
                the Parties in writing; and

                        (ii)   upon the receipt of a Funding Request from any Aearo Entity from
                time to time in accordance with the requirements of Section 2(b ), to make a
                Payment, or cause: a Payment to be made:, to such Ae:aro Entity or to a third party
                on behalf of and duly authorized to receive such Payment by any Aearo Entity,
                including any Trust as provided under a Plan for the Ae:aro Entities that has been
                confirmed by a final order of the: Bankruptcy Court (and, if applicable:, affirmed by
                a final order of the United States District Court for the District in which the
                Bankmptcy Court is located), the proceeds of which shall be used by or on behalf
                of such Ae:aro Entity for a Pe:nnitte:d Funding Use:;

 provided, however, that (x) nothing in this Agreement shall obligate the Payor to make Payments
 under this Agreement that in the: aggregate exceed the: aggregate amount of all Permitted Funding
 Uses and (y) nothing in Section 2(a)(ii) shall obligate the: Payor to make any individual Payment
 under this Agreement that exceeds the amount requested by the: Aearo Entities in the applicable
 Funding Request.

                 (b)     Funding Requests. To request a Payment, an Aearo Entity shall deliver to
 the Payor a written request (which written request may be a .pdf delivered via email) for such
 Payment substantially in the form attached hereto as Schedule 2, with the then-current Budget
 attached, and signed by an authorized officer of the applicable: Aearo Entity (each, a "Funding
 Request"). Each Funding Request shall include: (i) the: amount of the requested Payment, which
 shall be no less than the Minimum Funding Amount, (ii) the date(s) of the requested Payment ( or
 any po1tions thereof), which shall be a date that is at least three Business Days following the
 delivery of such Funding Request (each such date, a "Funding Date"), (iii) the recipient(s) of the:
 Payment (or any portions thereof), if not an Aearo Entity, (iv) the Funding Account(s), if another
 than that specified on Schedule 1 and (v) a certification by such officer that the Funding Request
 complies with the Budget, except to the extent the: Payment relates to the funding of a Plan or
 Tmst. The: delivery of a Funding Request by an Aearo Entity shall constitute a representation and
 warranty by such Aearo Entity that the conditions set forth in Section 2( e) have been satisfied.
 Except as required to ensure that the amount of the requested Payment is no less than the Minimum
 Funding Amount, the Aearo Entities shall not deliver a Funding Request for an amount in excess
 of the aggregate amount necessary for the Aearo Entities to satisfy the current Permitted Funding
 Use(s) and all projected Permitted Funding Uses over the four weeks following the: date of such
 Funding Request, in each case: as reasonably determined by the: Aearo Entity submitting the:
 Funding Request.

                 (c)     Payments. Subject only to the satisfaction of the conditions set forth in
 Section 2( e), on or before any Funding Date, the Payor shall pay or cause to be paid to or on behalf



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 of the applicable Aearo Entity an amount equal to the amount of the requested Payment specified
 in the applicable Funding Request. Unless otherwise specified by such Aearo Entity, Payments
 shall be made by wire or other transfer, including ACH or any other mutually acceptable method
 of electronic funds transfer, of immediately available fonds, in lJnited States dollars, to the
 Funding Account specified in each Funding Request. In the event that the Payor does not make
 any Payment on or prior to 11 :59 p.m. prevailing central time on the Funding Date, the amount of
 the requested Payment shall bear interest at a rate per annum equal to the Base Rate plus 2% until
 such Payment is made (and the amount of such subsequent Payment shall be automatically
 increased by the accrued interest pursuant to this Section 2(c)).

                 (d)    No Requirement of Repayment. For the avoidance of doubt, the Aearo
 Entities shall not be required to return or repay any Payment, in whole or in part, except to the
 extent any Payment is used to satisfy the Aearo Entities' obligations under Section 3.

                 (e)      Conditions to Payments. The Payor's obligation to make any Payment
 pursuant to subparagraph (i) or (ii) of Section 2(a) or pursuant to a Funding Request is subject to
 the satisfaction of the following conditions as of the date of such Funding Request:

                       (i)     the representations and warranties of the Aearo Entities set forth in
                Section 4(b) shall be true and conect in all material respects, without regard to the
                impact of any Bankruptcy Case; and

                      (ii)     there shall be no continuing breach by the Aearo Entities of the
                covenants set forth in Section 6 in any material respect.

        3.      Indemnification.

                  (a)    Earplug Liabilities. The Aearo Entity Earplug Defendants shall and hereby
 agree to jointly and severally indemnify, defend and hold hannless the Payor and each of the Payor
 Affiliates (each of which is an express third-party beneficiary of the provisions of this Section 3)
 from and against, and pay and reimburse Payor (or the applicable Payor Affiliate) for any Losses
 incurred, sustained by or imposed on Payor or any Payor Affiliate arising out of, relating in any
 way to or in connection with any Earplug Liabilities, including any Losses for reimbursement or
 other obligations of Payor or any Payor Affiliate under or in respect of any appeal bonds or similar
 litigation-related surety Contracts that are or have been posted or entered into by Payor or any
 Payor Affiliate in connection with Proceedings in respect of any Earplug Liabilities, as applicable.

                (b)     Respirator Liabilities. The Aearo Entity Respirator Defendants shall and
 hereby agree to jointly and severally indemnify, defend and hold harmless the Payor and each of
 the Payor Affiliates (each of which is an express third-party beneficiary of the provisions of this
 Section 3) from and against, and pay and reimburse Payor (or the applicable Payor Affiliate) for
 any Losses incurred, sustained by or imposed on Payor or any Payor Affiliate arising out of,
 relating in any way to or in connection with any Respirator Liabilities, including any Losses
 for reimbursement or other obligations of Payor or any Payor Affiliate under or in respect of any
 appeal bonds or similar litigation-related surety Contracts that are or have been posted or entered




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 into by Payor or any Payor Affiliate in connection with Proceedings in respect of any Respirator
 Liabilities, as applicable.

                 (c)    Automatic Obligation. The obligations of the Acaro Entities under Sections
 3(a)---3(b) arc automatic and shall not in any way depend upon the filing, commencement, or
 resolution of any Proceeding.

                (d)    Control of Defense. Indemnitees have the right, at their sole discretion, to
 control their defense using their own counsel (and to seek to settle or compromise), at the
 Indemnifying Party's expense, any Proceeding(s) covered by Sections 3(a)-(b).

                 (e)    Survival of Indemnities. The rights and obligations of each of the Parties
 and their respective Indemnitecs under this Section 3 shall survive (a) the sale or other transfer by
 any Party of any assets or businesses or the assignment by it of any Liabilities, (b) any merger,
 consolidation, business combination, sale of all or substantially all assets, restructuring,
 recapitalization, reorganization or similar transaction involving a Party or any of its respective
 subsidiaries, and (c) any cases or proceedings under chapter I 1 of the Bankruptcy Code
 commenced by or for any Aearo Entity in the Bankruptcy Court, including a Bankruptcy Case.

        4.      Representations and Warranties.

                (a)    Representations and Warranties of the Payor. The Payor represents and
 warrants to the Aearo Entities that:

                       (i)     Existence, Qualification and Power. The Payor (A) is duly
                organized, validly existing and in good standing under the laws of the State of
                Delaware, and (B) has all requisite power and authority to execute and deliver this
                Agreement and perfi.)rm its obligations under this Agreement.

                         (ii)    Authorization; No Contravention. The execution, delivery and
                performance by the Payor of this Agreement has been duly authorized by all
                necessary corporate or other organizational action, and does not and will not
                (A) contravene the terms of its Organizational Documents, (B) conflict with or
                result in any breach or contravention of, or the creation of any lien under, or require
                any payment to be made under (I) any Payor Contractual Obligation to which it is
                a party or affecting it or its properties or (II) any order, injunction, writ or decree of
                any Governmental Authority or any arbitral award to which it or its property is
                subject, or (C) violate any applicable Law; except in each case referred to in clause
                (B) or (C), to the extent any such circumstance could not reasonably be expected to
                have a material adverse effect on the Payor's business.

                       (iii)   Governmental Authorization: Other Consents.          No approval,
                consent, exemption, authorization or other action by, or notice to, or filing with,
                any Governmental Authority is necessary or required in connection with the
                execution, delivery or performance of this Agreement by, or enforcement of this
                Agreement against, the Payor.




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                       (iv)    Binding Effect. This Agreement has been duly executed and
               delivered by the Payor. This Agreement constitutes a legal, valid and binding
               obligation of the Payor, enforceable against the Payor in accordance with its terms,
               except to the extent such enforceability may be limited by bankruptcy, insolvency,
               reorganization, moratorium or similar laws relating to or limiting creditors' rights
               generally and by equitable principles.

                (b)    Representations and Warranties of the Aearo Entities. Each Aearo Entity
 represents and warrants to the Payor that:

                      (i)     Existence, Qualification and Power. Each Aearo Entity (A) is duly
               organized, validly existing and in good standing under the laws of the State of
               Delaware, and (B) has all requisite power and authority to execute and deliver this
               Agreement and perform its obligations under this Agreement.

                        (ii)   Authorization: No Contravention. The execution, delivery and
               performance by each Aearo Entity of this Agreement has been duly authorized by
               all necessary corporate or other organizational action, and does not and will not
               (A) contravene the terms of its Organizational Documents, (B) conflict with or
               result in any breach or contravention of, or the creation of any lien under, or require
               any payment to be made under (I) any Contractual Obligation to which it is a party
               or affecting it or its properties or (II) any order, injunction, writ or decree of any
               Governmental Authority or any arbitral award to which it or its property is subject,
               or (C) violate any applicable Law; except in each case referred to in clause (B) or
               (C), to the extent any such circumstance could not reasonably be expected to have
               a material adverse effect on such Aearo Entity's business.

                      (iii)   Governmental Authorization; Other Consents.          No approval,
               consent, exemption, authorization or other action by, or notice to, or filing with,
               any Governmental Authority is necessary or required in connection with the
               execution, delivery or performance of this Agreement by, or enforcement of this
               Agreement against, the Aearo Entities.

                       (iv)    Binding Effect. This Agreement has been duly executed and
               delivered by each Aearo Entity. This Agreement constitutes a legal, valid and
               binding obligation of each Aearo Entity, enforceable against each Aearo Entity in
               accordance with its terms, except to the extent such enforceability may be limited
               by bankruptcy, insolvency, reorganization, moratorium or similar laws relating to
               or limiting creditors' rights generally and by equitable principles.

        5.     Covenants of the Payor.

               (a)    Provision of Financial Information.

                       (i)     In the event that the Payor is no longer a public company and no
               longer files financial infonnation with the SEC within the applicable time periods
               required by the SEC, no later than 90 days after the end of each fiscal year (in the
               case of annual financial statements) and 60 days after the end of each fiscal quarter


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             other than the last fiscal quarter (in the case of quarterly financial statements), the
             Payor will furnish to the Aearo Entities audited annual and unaudited quarterly
             consolidated financial statements of Payor prepared in accordance with GAAP,
             subject, with respect to quarterly financial statements, to normal year-end audit
             adjustments and the absence of footnote disclosure.

                      (ii)  By accepting the financial information in Section S(a)(i), the Aearo
             Entities will be deemed to have represented to and agreed with the Payor
             that: (A) they will not use such information in violation of applicable securities
             laws or regulations; and (B) they will not communicate the information to any
             Person, including in any aggregated or converted form, and will keep the
             information confidential, other than where disclosure of such information is
             required by law, regulation or legal process (in which case the Aearo Entities shall,
             to the extent permitted by law, notify the Payor promptly thereof); provided,
             however, that the Aearo Entities may deliver a copy thereof to counsel for any
             official committee of claimants and any future claimants' representative appointed
             in any Bankrnptcy Case on a confidential basis under a protective order entered in
             such Bankrnptcy Case in form and substance acceptable to Payor.

                     (iii)  Notwithstanding the foregoing, the Payor may fulfill the
             requirement to furnish such financial infom1ation by filing the information with the
             SEC within the applicable time periods specified in the SEC's rules and regulations,
             including any applicable grace period or extension. The Payor shall be deemed to
             have satisfied the repmiing requirements of Section 5(a)(i) if it has filed such
             reports containing such information with the SEC within the applicable time
             periods specified in the SEC's mies and regulations, including any applicable grace
             period or extension, and such reports are publicly available.

             (b)     Successor to Pavor upon Consolidation or Merger.

                      (i)    Subject to the provisions of Sections 5(b )(ii) and 5(b )(iii), nothing
             contained in this Agreement shall prevent a Strategic Transaction by Payor or a
             Payor Affiliate, including a Payor Change of Control Transaction; provided,
             however, that Payor shall make commercially reasonable efforts to maintain its
             long-term and corporate credit rating at an Investment Grade Credit Rating in
             connection with any Strategic Transaction. Payor hereby covenants and agrees that,
             if the surviving Person, acquiring Person or lessee under a Payor Change of Control
             Transaction is a Person other than Payor, upon and subsequent to any such Payor
             Change of Control Transaction, all of Payor's funding obligations under this
             Agreement and the observance of all other covenants and conditions of this
             Agreement to be performed by Payor, shall be expressly assumed by an amendment
             to this Agreement or such other documentation in form reasonably satisfactory to
             each Aearo Entity executed and delivered to the Aearo Entities, by the Person
             formed by such consolidation, or into which Payor shall have been merged, or by
             the Person which shall have acquired or leased such property. This covenant will
             not apply to (A) a merger of Payor with an Affiliate thereof solely for the purpose
             of reincorporating Payor in another jurisdiction within the United States, (B) any


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                conversion of Payor from an entity formed under the laws of one state to the same
                type of entity formed under the laws of another state, (C) any conversion of Payor
                from a limited liability company to a corporation, from a corporation to a limited
                liability company, from a limited liability company to a limited partnership or a
                similar conversion, whether the converting entity and the converted entity are
                formed under the laws of the same state or the converting entity is formed under
                the laws of one state and the converted entity is formed of the laws of a different
                state or (D) any Strategic Transaction that does not constitute a Payor Change of
                Control Transaction. Notwithstanding the foregoing, this Section 5(b)(i) will not
                apply to any consolidation or merger, or any sale, assignment, transfer, conveyance,
                lease or other disposition of assets, between or among Payor and its subsidiaries.

                        (ii)    Upon any Payor Change of Control Transaction that is subject to,
                and that complies with, the provisions of the preceding clause (i), the successor
                Person formed by such consolidation with Payor or into which Payor is merged, or
                to which such sale, assignment, transfer, lease, conveyance or other disposition is
                made, shall succeed to, and be substituted for (so that from and after the date of
                such consolidation, merger, sale, lease, conveyance or other disposition, the
                provisions of this Agreement referring to Payor, including as a Payor, shall refer
                instead to the successor Person and not to Payor), and may exercise every right and
                power of, Payor, including as a Payor, under this Agreement with the same effect
                as if such successor Person had been named herein. Jn the event of a succession in
                compliance with this Section 5(b )(ii), the predecessor Person shall be relieved from
                every obligation and covenant under this Agreement upon the consummation of
                such succession.

                         (iii)  Any Payor Change of Control Transaction referred to in Section
                5(b)(i) shall not be pennitted under this Agreement unless immediately after giving
                effect to such transaction, no Default or Event of Default on the part of Payor shall
                have occurred and be continuing as a result of such Payor Change of Control
                Transaction.

                 (c)   No Contractual Pavment Limitation. Payor covenants and agrees that it will
 not enter into any Contract that prohibits Payor from making any Payment under this Agreement.

                 (d)     Waiver of Objections. Payor covenants and agrees not to assert, and hereby
 waives, any argument(s) that this Agreement cannot be assumed under the Bankruptcy Code,
 including under section 365(c)(2) of the Bankruptcy Code. Payor further covenants and agrees
 not to assert, and hereby waives, any argument(s) that the Aearo Entities cannot seek to enforce
 this Agreement through an emergency motion before the Bankruptcy Court, subject to Payor's
 ability to oppose the relief requested in such motion on any grounds, including that Payor complied
 with its obligations under this Agreement.

                (e)    Provision of Services. Payor covenants and agrees that (i) Payor shall
 continue providing, or cause other Payor Affiliates to continue providing (as applicable), the
 Shared Services, notwithstanding any defaults under the Support Services Agreement or
 Intellectual Property Agreement if such defaults existed prior to, or are on account of, the


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 commencement of any Bankmptcy Case, and (ii) during the pendency of any Bankmptcy Case,
 no amounts shall become due and owing or payable by an Aearo Entity to the Payor or any Payor
 Affiliate on account of the Shared Services. For the avoidance of doubt, nothing in this Agreement
 shall or shall be construed to expand the scope of the services provided by Payor or any Payor
 Affiliate under the Intellectual Property Agreement or the Support Services Agreement or the
 services customarily provided in the ordinaiy course of business between the parties thereto as of
 the date hereof

        6.      Covenants of the Aearo Entities.

              (a)      Funding Requests. The Aearo Entities shall not make a Funding Request
 for any Payment for any purpose other than a Permitted Funding Use.

              (b)   Permitted Funding Use. The Aearo Entities shall not use the proceeds of
 any Payment made under this Agreement for any purpose other than a Permitted Funding Use.

                 (c)     Performance of Obligations. The Aearo Entities shall perform their
 obligations under Section 3 and any other indemnification obligations owed to the Payor and Payor
 Affiliates, subject, in the event that a proceeding under the Bankruptcy Code is pending with
 respect to the Aearo Entities, to the resulting automatic stay under section 362 of the Bankruptcy
 Code.

                 (d)     Budget. The Aero Entities shall provide Payor a Budget every two weeks,
 with the first Budget after the date hereof being provided on the date that is 14 days following the
 date hereof (or if such date is not a Business Day, the next date that is a Business Day).

        7.      Events of Default.

                (a)     Each of the following events constitutes an ''Event of Default":

                        (i)     any Aearo Entity defaults in the performance of, or breaches, any
                covenant or representation or warranty of any Aearo Entity in this Agreement and
                such default or breach continues fi)r a period of 30 days after the receipt from Payor
                of a written statement specifying such default;

                       (ii)   the Payor defaults in the funding obligations pursuant to Section 2
                and such default continues for a period of Hl Business Days;

                        (iii)   the Payor defaults in the performance of, or breaches, any covenant
                or representation or warranty of the Payor in this Agreement ( other than a covenant
                or representation or warranty which is specifically dealt with elsewhere in this
                Section 7) and such default or breach continues for a period of 30 days after the
                receipt from the Aearo Entities of a written statement specifying such default, or,
                in the case of any failure to comply with Section 5( a) of this Agreement, 60 days
                after the receipt of such statement;

                       (iv)   the Payor, pursuant to or within the meaning of the Bankruptcy Code
                or any similar federal or state law for the relief of debtors, (i) commences a


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                 voluntary case, (ii) consents to the entry of an order for relief against it in an
                 involuntary case, (iii) consents to the appointment of a custodian of it or for all or
                 substantially all of its property, (iv) makes a general assignment for the benefit of
                 its creditors, or (v) generally is not paying its debts as they become due; or

                          (v)     a court of competent jurisdiction enters an order or decree under the
                 Bankruptcy Code or any similar federal or state law for the relief of debtors that
                 (i) is for relief against a Payor, (ii) appoints a custodian of a Payor for all or
                 substantially all of the prope1iy of a Payor, or (iii) orders the liquidation of a Payor,
                 and, in each case of (i) through (iii) above, such order or decree remains unstayed
                 and in effect for 60 consecutive days.

               (b)     Upon becoming aware of any Default or Event of Default, the Payor shall
 promptly deliver to the Aearo Entities a written statement specifying such Default or Event of
 Default.

         8.      Remedies. The Parties agree that irreparable damage will occur in the event that
 any Event of Default occurs under Section 7. Accordingly, upon the occurrence of any such Event
 of Default, each of the Parties shall be entitled to specific perfiJfmance of the tem1s hereof,
 including an injunction or injunctions to cure any Event of Default under Section 7 and to enforce
 specifically the terms and provisions of this Agreement in accordance with Section 11, including
 through emergency motion before the Bankruptcy Court. Each of the Parties hereby further waives
 (a) any defense in any action for specific performance that a remedy at law would be adequate and
 (b) any requirement under any law to post security as a prerequisite to obtaining equitable relief.

         9.      Certain Existing Rights and Obligations. For the avoidance of doubt, nothing in
 this Agreement is intended or shall be construed to alter, modify, abrogate, waive or otherwise
 affect Payor's and the Aearo Entities' respective rights or obligations under any insurance policy,
 and all rights and obligations under any insurance policy are hereby preserved.

         ] 0.    Notices. All notices required under this Agreement, including each Funding
 Request and any approval of or objection to a Funding Request, shall be delivered to the applicable
 party to this Agreement at the address set forth below. Unless otherwise specified herein, delive1y
 of any such notice by email or other electronic transmission (including .pdf) shall be effective as
 delivery of a manually executed counterpart thereof.

        Pavor:

                 3M Company
                 3M Center
                 St. Paul, MN 55144-1000
                 Attention: Michael M. Dai
                 Email: mmdai@mmm.com

                 with a copy to:

                 White & Case LLP
                 1221 Avenue of the Americas


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                New York, NY I 0020
                Attention: Jessica C. Lauria
                Email: jessica.lauria@whitecase.com

        Aearo Entities:

                Aearo Technologies LLC
                7911 Zionsville Road
                Indianapolis, IN 46268
                Attention: Jeffrey S. Stein
                Email: jstein@.steinadvisorsllc.com

                with a copy to:

                McDonald Hopkins LLC
                300 North LaSalle Ave
                Chicago, IL 60654
                Attention: David A. Agay
                Email: dagay@mcdonaldhopkins.com

         ] l.   Governing Law; Submission to Jurisdiction. This Agreement shall be governed
 and construed in accordance with the laws of the State ofindiana. PAYOR AND EACH AEARO
 ENTITY AGREE TO WAIVE TRIAL BY JURY IN ANY ACTION, PROCEEDING OR
 COUNTERCLAIM BROUGHT BY OR ON BEHALF OF THE PARTIES HERETO 'WITH
 RESPECT TO ANY MATTER RELATING TO OR ARISING OUT OF THE
 ENGAGEMENT OR THE PERFORMANCE OR NON-PERFOR!VIANCE OF THE
 PARTIES HEREUNDER. Any legal proceeding seeking to enforce any provision ot: or based
 on any matter arising under, this Agreement may be brought: (a) at any time there is not a
 Bankruptcy Case pending, in state or federal comt in Indianapolis, Indiana; or (b) at any time there
 is a Bankmptcy Case pending, in the Bankruptcy Court. The Payor and each Aearo Entity hereby
 irrevocably and unconditionally submits to the jurisdiction of such courts (and of the appropriate
 appellate courts therefrom) in any such legal proceeding.

         12.     No Implied Waiver; Amendments. No failure or delay on the part of any Party to
 exercise any right, power or privilege under this Agreement, and no course of dealing between the
 Payor, on the one hand, and the Aearo Entities, on the other hand, shall operate as a waiver thereof,
 nor shall any single or partial exercise of any right, power or privilege under this Agreement
 preclude any other or further exercise thereof or the exercise of any other right, power or privilege.
 No notice to or demand on any Party in any case shall entitle any Party to any other or further
 notice or demand in similar or other circumstances, or constitute a waiver of the right of the holder
 of this Agreement to any other or further action in any circumstances without notice or demand.
 The remedies provided in this Agreement are cumulative and not exclusive of any remedies
 provided by law. No amendment or waiver of any provision of this Agreement, nor consent to any
 departure by any Party therefrom, shall in any event be effective unless the same shall be in writing,
 specifically refer to this Agreement, and be signed by the Payor and the Aearo Entities, and then
 such amendment or waiver shall be effective only in the specific instance and for the specific



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 purpose for which given. A waiver on any such occasion shall not be construed as a bar to, or
 waiver of, any such right or remedy on any future occasion.

         13.     Counterparts; Entire Agreement; Electronic Execution. This Agreement may be
 executed in separate counterparts, each of which shall constitute an original, but all of which when
 taken together shall constitute a single contract. This Agreement constitutes the entire contract
 among the parties hereto relating to the subject matter hereof and supersedes, in its entirety, any
 and all previous agreements and understandings, oral or written, relating to the subject matter
 hereof. This Agreement shall become effective when it shall have been executed by each party
 hereto and each party hereto shall have received counterparts hereof which, when taken together,
 bear the signatures of each of party hereto, and thereafter shall be binding upon and inure to the
 benefit of the parties hereto and their respective successors and assigns. Delivery of an executed
 counterpart of a signature page of this Agreement by telecopy, .pdf or any other electronic means
 that reproduces an image of the actual executed signature page shall be effective as delivery of a
 manually executed counterpart of this Agreement.

         14.    Severability. Except for Section 2 and Section 3 (together, the "Non-Severable
 Provisions"), if any one or more of the provisions contained in this Agreement are invalid, illegal
 or unenforceable in any respect, the validity, legality or enforceability of all the remaining
 provisions will not in any way be affected or impaired. Except for the Non-Severable Provisions,
 if any other provisions contained in this Agreement are deemed invalid, illegal or unenforceable
 because of their scope or breadth, such provisions shall be reformed and replaced with _provisions
 whose scope and breadth are valid under applicable law. If the Non-Severable Provisions are held
 to be or deemed to be invalid, illegal or unenforceable in any respect, the Parties agree to revise
 such provisions to address such deficiencies in a manner acceptable to each of the Parties.

         15.    Transfer; Assignment. This Agreement shall be binding upon the Payor and the
 Aearo Entities and its and their respective successors and assigns, and the terms and provisions of
 this Agreement shall inure to the benefit of the Payor and the Aearo Entities and its and their
 respective successors and assigns. The Payor's rights and obligations under this Agreement may
 not be assigned without the prior written consent of the Aearo Entities; provided, hmvever, that no
 such consent of the Aearo Entities shall be required in connection with any transfer effectuated in
 compliance with Section 5(b). The Aearo Entities' rights and obligations under this Agreement
 may not be assigned without the prior written consent of Payor, except in the event of an
 assignment of such rights and obligations to a Trust as provided under a Plan for the Aearo Entities
 that has been confirmed by a final order of the Bankruptcy Court ( and, if applicable, affirmed by
 a final order of the United States District Court for the district in which the Bankruptcy Court is
 located). i\ny purported assignment of rights or obligations under this Agreement other than as
 permitted by this Section 15 shall be null and void.

         16.     Survival. If any Party or any of its respective successors or assigns (i) shall merge
 or consolidate with or merge into any Person and shall not be the surviving or continuing
 corporation or entity of such consolidation or merger or (ii) shall transfer all or substantially all of
 its respective properties and assets as an entity in one or a series of related transactions to any
 Person, then in each such case, proper provisions shall be made so that the successors or assigns
 of such Party shall assume all of the obligations set forth in this Agreement; provided that the
 applicable Party shall not be relieved from such obligations unless such succession is in


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 compliance with Section 5(b ), in which case the predecessor Person shall be relieved from every
 obligation and covenant under this Agreement upon the consummation of such succession;
 provided,fimher, that to the extent of any inconsistency between this Section 16 and Section 5(b),
 Section 5(b) shall control. For the avoidance of doubt, in the event of a Strategic Transaction that
 does not constitute a Payor Change of Control Transaction, no provision need be made with respect
 to the assumption of any obligations set forth in this Agreement.

          17.    Constrnction. The descriptive headings herein are inserted for convenience of
 reference only and are not intended to be pait of or to affect the meaning or interpretation of this
 Agreement. The word "including" means without limitation by reason of enumeration. The words
 "hereof," ''herein" and "hereunder" and words of similar import, when used in this Agreement,
 refer to this Agreement as a whole and not to any particular provision of this Agreement. lJnless
 specifically stated otherwise, all references to Sections and Schedules are to the Sections and
 Schedules of or to this Agreement.

         ] 8.   Rights of Parties. Except as expressly set forth herein, this Agreement shall not
 confer any rights or remedies upon any Person other than the parties hereto and their respective
 successors and permitted assigns; provided, however, that each Payor Affiliate is an express third
 party beneficiaiy of Section 3, regardless of whether such Payor Affiliate is a party to this
 Agreement.

                                      [Signature Page Follows]




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        IN \VlTNESS WHEREOF, the undersigned has executed this Agreement as of the date
first vvritten above.

                                        3M Company~ a Delaware corporation, as the Payor


                                        By:
                                               Michael M . Dai~
                                               Secretary




                   fAffor Signature Page to Funding and lndemn{fication Agreement]


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         IN WITNESS WHEREOF, the undersigned has executed this Agreement as of the date
 first written above.


                                     3M Occupational Safety LLC, a Delaware limited
                                     liabilitv. ompany, as an Aearo Entity


                                     By:




                                     Aearo    Holding LLC, a Delaware limited             liability
                                               as an Aearo Entity


                                     By:

                                             Director


                                     Aearo Intermediate LLC, a Delaware limited liability



                                     ~~mpan~_A_c_,~_._r_~_E_,~-t-it-~------------

                                             Jeflrey S. Stein,
                                             Director


                                     Aearo LLC, a Delaware limited liability company, as an



                                     ~:aro rln~1._____·          ry_,____iti_ _ __

                                             Jeffrey S. Stein,
                                             Director




             [Aearo Entities Signature Page to Funding and indemnification Agreement]



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                                    Aearo Technologies LLC, a Delaware limited liability
                                    compa()as an Acaro Entity


                                    By:    v.,,., 7· ~
                                            Jeffrey S. Stein,
                                            Director


                                    Cabot Safety Intermediate LLC, a Delaware limited
                                    liabilit , , mpany, as an Aearo Entity


                                    By:

                                            Director


                                    Aearo Mexico Holding Corporation,                  a Delaware
                                    corporaQ·
                                           on, as an Acaro Entity



                                    ~      ~~-~--~-----
                                            ] ft?~§ S. Stein,
                                            Director




            [Aearo Entities Signature Page to Funding and indemnification Agreement]



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                                   SCHEDULE2

                              .Funding Request !form




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                              AEARO ENTITY FUNDING REQUEST

                                                                                Request Date: [•]

                                                                               Funding Date: [•]

 3M Company
 3M Center
 St. Paul, l'vIN 55144-1000
 Attention: [•]
 Email:[•]

 c/o:   White & Case LLP
        1221 Avenue of the Americas
        New York, NY I 0020
        Attention: Jessica C. Lauria
        Email: jessica.lauria@whitecase.com

 c/o:   McDonald Hopkins LLC
        300 North LaSalle Ave
        Chicago, IL 60654
        Attention: David A. Agay
        Email: dagay@mcdonaldhopkins.com



         Reference is made to that certain of the Funding and Indemnification Agreement, dated
 [• ], 2022 (as amended, restated, modified or supplemented from time to time, the "Funding and
 Indemnification Agreement"), by and among 3M Company, a Delaware corporation,
 (the "Pavor'') and the Aearo Entities. Capitalized terms used but not otherwise defined herein
 shall have the meanings ascribed to such terms in the Funding and Indemnification Agreement.
 Pursuant to Section 2(b) of the Funding and Indemnification Agreement, the undersigned Aearo
 Entity requests a Payment in the amount of$[•] on or prior to the Funding Date specified above,
 to the recipient and Funding Account set fo1th below. In co1111ection with the Payment requested
 herein, the undersigned Aearo Entity, on behalf of itself and each Aearo Entity, hereby
 represents, warrants, and certifies to the Payor that (a) this Funding Request complies with the
 Budget; and (b) the conditions set forth in Section 2(e) have been satisfied. Attached hereto is
 the current Budget.

        Recipient:
        Funding                                                                        Account:




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                                    [Aearo Entity], a Delaware [limited liability
                                    company/corporation]


                                    By:
                                           [NAl\rlE],
                                           [TITLE]


 Received and acknowledged by:


 3M Company, a Delaware corporation, as the Payor:


 By:
       [NAJ\1E],
       [TITLE]




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                                   SCHEDULE3

                                       Budget




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                                                                                                                                                                       Subject to Material Cllange


                                            Week#:
                                      Week Ending:
        $ in OOOs

        RECEIPTS
          Operating Collections                      2,138    1,936    2,525    2,980      1,581      2,048      2,891      2,282     1,978      1,948     2,237      1,880     1,949        28,374
          Related Party Collections                                    2,303                                     2,244                                     2,209                              6,756
          Other Collections                             55                                    55                                         55                                                     156
        Total Receipts                               2,194    1,936    4,829    2,980      1,637      2,048      5,135      2,282     2,034      1,948     4,446     1,880      1,949        35,296
        DISBURSEMENTS
          Raw Materials &. Plant                                               (1,228)    (1,238)    (1,205)     (1,190)   (1,057}   (1,000)      (977}   (1,003)    (1,013)   (1,094)      (11,006)
          Related Party Supplier                                                                                 (1,402)                                  (1,380)                            (2,782)
          Outsource Services & Facilities                                        (178}      (335)      (239)       (205)     (229)     (195}      (211)     (177)      (171)     (242)       (2,183)
          Freight                                                                (127}      (128)      (124)       (113)      (99)      (96}       (96)      (96)      (103)     (112)       (1,094)
          Other Operating                                                         (95)       (69)       (G9)        (69)      (69)      (59)       (85)      (85)       (85}      (85)         (777)
        Total Disbursements                                                    (1,628)    (1,770)    (1,638)     (2,978)   (1,453)   (1,360)    (1,369)   (2,740)    (1,372)   (1,531)      (17,841)
        NET OPERATING CASH FLOW                      2,194    1,936    4,829    1,352       (13.3)     410       2,156        829      673        578      1,706       509       417         17,455
        NON-OPERATING DISBURSEMENTS
          Professional Fees                                                                                                  (200)                                  (10,320)     (500)      (11,020)
          Capex                                                                   (26)       (25)       (26)        (2G)      (26)      (26)       (26)      (26)       (25)      (26)         (250)
          Other Non-Operating Disbursements
        Total Non-Operating Disbursements                                         (26)       (26)       (26)        (26)     (226)      (26)       (26)      (26)   (10,346)     (S26)      {11,280)
        TOTAL NH CASH FLOW                           2,194    1,936    4,829    1,326       (159)      384       2,130        603      647        552      1,680     (9,837)     (109)        6,176




A.302
        Beginning Cash f3alance                      7,367    9,561   ll,4%    16,325     17,651     17,492     17,876     20,00(i   20;609     21,256    21..808   23,488     13,651         7,367
        Net Cash Flow (See Above)                    2,194    1,936    4,829    1,326       (159)       384      2,130        603       647        552     1,680    (9,837)      (109)        6,176
        Funding
        Other
        ENDING BOOK LIQUIDITY                        9,561   11,496   16,325   17,651     17,492     17,876     20,006     20,609    21,2S6     21,808    23,488    13,651     13,S42        13,542
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                                  LIMITED LIABILITY COMPAN'l AGREEMENT
                                                    OF
                                         AEARO TECHNOLOGIES LLC

                 This L.imited Liability Company Agreement (together with the schedules attached hereto,
         this "Agreement") of Aearn Technologies LLC (the "Company"), is entered into by Acarn LLC,
         as the sole equity member (the "h,1Cmber''). Capitalized terms used and not otherwise defined
         herein have the meanings set forth on Schedule A hereto.

                The ivlember, by execution of this Agreement and by causing the filing of the Certificate
         of Conversion of the Company, hereby forms the Cornpany as a limited liability company
         pursuant to and in accordance with the Delaware Limited Liability Company Act (6 DeL C. §
         18-10] et seq.), as am.ended from time to time (the "Act"), and this Agreement, and the Member
         hereby agrees as follows:

          Section 1.

                  The name of the limited liability company is Aearo Technologies LLC.

          Section 2.     Principal Business Office,

                 The principal business office of the Company shall be located at 5457 \Vest 79TH Street,
          Indianapolis, IN 46268 or such other location as may hereafter be determined by the ivfember.

          Section 3.     Registered. Office.

               The address of the registered office of the Company in the State of Delmvare is c/o The
          Cmvorntion Trust Company 1209 Orange Street in the City of Wilmington, County of New
          Castle, Dela-\vare 1980 l.

          Section 4.     Registered Agent

                  The name and address of the registered agent of the Company for service of process on
          the Company in the State of Delaware is The Corporation Trust Company 1209 Orange Street, in
          the City of Wilmington, County of New Castle, Delaware 1980 l,

          Section 5,      ivlen1bers.

                 (a)     111e mailing address of the Member is set forth on Schedule B attached hereto.
          The Member ,vas admitted to the Company as a member of the Company upon its execution of a
          counterpart signature page to this i\greement.

                  (b)     The Member may act by vvrjttcn consent.




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         Section 6,       Certificates,

                Maureen Faricy is hereby designated as an "authorized person'' within the meaning of the
         Act, and has executed, delivered and filed the Certificate of Conversion of the Company ,vith the
         Secretary of State of the State of Delav-larc, Upon the filing of the Certificate of Conversion \Vith
         the Secretary of State of the State of Dehnvare, her powers as an "authorized person" ceased. and
         the Member thereupon became the designated ''authorized person" and shall continue as the
         designated "authorized person" within the meaning of the Act The tvlember or an 0filcer shall
         execute, deliver and file any other certificates {and any amendments and/or restatements thereof)
         necessary fr1r the Company to qualify to do business in any other jurisdiction in \-Vhich the
         Company may \Vish to conduct business.

                 The existence of the Company as a separate legal entity shall continue until cancellation
         of the Certificate of Conversion as provided in the Act

         Section 7.     Purpose. The purpose to be conducted or promoted by the Company is to engage
         in the foilowing activities:

                          (i)     manufacturing, sales, marketing and distribution of thermal & acoustic
                                  solutions products and related business; and

                          (ii)    to engage in any !a\vfuI act or activity and to exercise :my powers
                                  permitted to limited liability companies organized under the laws of the
                                  State of Delmvare that are related or incidental to and necessary,
                                  convenient or advisable for the accomplishment of the above--mentioned
                                  purposes.

                  (b)    The Company is hereby authorized to execute, deliver and perforn1, and the
          l'v1ember or any Director or Officer on behalf of the Cornpany are hereby authorized to execute
          and ddivcr, the Basic Documents and all documents, agreements, certificates, or financing
          statements contemplated thereby or related thereto, all without any further act, vote or approval
          of any Member, Director, Officer or other Person not\vithstanding any other provision of this
          Agreement The foregoing authorization shall not be deerned a restriction on the powers of the
          Member or any Director or Officer to enter into other agreements on behalf of the Company.

          Section 8,      Pov,/ers.

                 The Company, and the Board of Directors and the Officers of the Company on behalf of
          the Company, (i) shall have and exercise all powers necessary, convenient or incidental to
          accomplish its purposes as set forth in Section 7 and (ii) shall have and exercise all of the pov,;ers
          and rights conforred upon limited liability companies formed pursuant to the Act.

          Section 9.      i\fanagement.

                  (a)     Board of Directors, 'J"he business and affairs of the Company shall be managed
          by or under the direction of a Board of one or more Directors designated by the Member. The
          .Member may determine at any time in its sole and absolute discretion the number of Directors to

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         constitute the Board. The authorized number of Directors may be increased or decreased by the
         iv1ember at any time in its sole and absolute discretion, upon notice to all Directors, The initial
         number of Directors shall be three, Each Director elected, designated or appointed by the
         Member shall hold office until a successor is elected and qualified or until such Director's earlier
         death, resignation, expulsion or removal.        Each Director shall execute and deliver the
         I\fanagemen1 Agreement Directors need not be a Member. The initial Directors designated by
         the Member are listed on Schedule D hereto.

                  (b)    Pmvers. The Board of Directors shall have the power to do any and all acts
          necessary, convenient or incidental to or for the furtherance of the purposes described herein,
          including all pmvers, statutory or otherwise., Subject to Sections 7 and 9, the Board of Directors
          bas the authority to bind the Company.

                 {c)     Meeting of the Board of Directors. 'fhe Board of Directors of the Cornpany may
          hold meetings, both regular and special, \Vithin or outside the State of Delaware, Regular
          meetings of the Board may be held without notice at such time and at such place as shall from
          time to time be detem1ined by the Board. Special meetings of the Board may be called by tJ1e
          President on not less than one day's notice to each Director by telephone, fac.simile, mail,
          telegram or any other means of communication, and special meetings shall be called by the
          President or Secretary in like manner and with like notice upon the written request of any one or
          more of the Directors.

                  (d)    Ouorum: Acts of the Board. At all meetings of the Board, a majority of the
          Directors shall constitute a quorum for the transaction of business and., except as othenvise
          provided in any other provision of this A.grcernent, the act of a majority of the Directors present
          at any meeting at which there is a quorum shall be the act of the Board. If a quorum shal I not be
          present at any meeting of the Board, the Directors present at such meeting m.ay adjourn the
          rneeting from time to time, without notice other than announcement at the meeting, until a
          quorum shall be present Any action required or permitted to he taken at any meeting of the
          Board or of any committee thereof rnay be taken \.vithout a meeting if all members of the Board
          or committee, as the case may be, consent thereto in vvriting, and the w-riting or \',Titings are filed
          vvith the minutes of proceedings of the Board or committee, as the case may be,

                  (e)    Electronic Communications, Members of the Board, or any committee designated
          by the Board, may participate in meetings of the Board, or any committee, by m.eans of
          telephone conference or similar communications equipment that allows all Persons participating
          in the meeting to hear each other, and such participation in a meeting shaH constitute presence in
          Person at the meeting, ff all the participants are participating by telephone conference or similar
          communications equipment, the meeting shall be deemed to be held at the principal place of
          business of the Company.

                  (f)     Committees of Directors,

                          (i)    The Board may, by resolution passed by a rn~;jority of the whole Board,
                                 designate one or more committees, each committee to consist of one or
                                 more of the Directors of the Company, The Board rnay designate one or


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                                 more Directors as alternate members of any committee, who may replace
                                 any absent or disqualified member at any meeting of the comrnittee,

                         (ii)    In the absence or disqualification of a member of a committee, the
                                 member or members thereof present at any meeting and not disqualified
                                 from voting, whether or not such members constitute a quomrn, may
                                 unanimously appoint another member of the Board to act at the meeting in
                                 the place of any such absent or disqualified member.

                         (iii)   Any such committee, to the extent provided in the resolution of the Board,
                                 shall have and rnay exercise aH the powers and authority of the Board in
                                 the management of the business and affi1irs of the Company. Such
                                 committee or committees shall have such name or names as may be
                                 determined from time to time by resolution adopted by the Board. Each
                                 committee shall keep regular minutes of its meetings and report the same
                                 to the Board when required,

                 (g)    Compensation of Directors; Expenses. The Board shall have the authority to fix
         the compensation of Directors. The Directors may be paid their expenses, if any, of attendance
         at meetings of the Board, w-hich may be a fixed sum for attendance at each meeting of the Board
         or a stated salary as Director. No such payment shall predude any Director from serving the
         Company in any other capacity and receiving compensation therefix. l\fombers of special or
         standing committees may be allm:ved like compensation for attending committee rneetings.

                  (h)   Removal of Directors. Unless othenvisc restricted by law, any Director or the
          entire Board of Directors may be removed or expelled, ,vith or without cause, at any time by the
          Member, and, any vacancy caused by any such removal or expulsion may be filled by action of
          the Member.

                  (i)    Directors as Agents. To the extent of their pO'wers set forth in this Agreement, the
          Directors are agents of the Company for the puq)ose of the Cornpany's business, and the actions
          of the Directors taken in accordance with such pov-,1ers set forth in this A.greement shall bind the
          Company, Notwithstanding the last sentence of Section 18-402 of the Act, except as provided in
          this Agreement or in a resolution of the Directors, a Director may not bind the Company,

          Section 10.    fotentionaUv Omitted.

          Section 11.    Officers.

                  (a)     Officers. The initial Officers of the Cornpany shall be designated by the Member.
          The additional or successor Officers of the Company shall be chosen by the Board and shall
          consist of at least a President, a Secretary and a Treasurer. The Board of Directors may also
          choose one or more Vice Presidents, Assistant Secretaries and Assistant Treasurers. Any
          number of offices may be held by the same person. The Board may appoint such other Officers
          and agents as it shall deem necessary or advisable ,vho shall hold their offices for such terms and
          shall exercise such powers and perform such duties as shall be determined from time to time by
          the Board. The salaries of all Officers and agents of the Company shall be fixed by or in the

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         manner prescribed by the Board. The Officers of the Company shall hold ornce until their
         successors are chosen and qualified. Any Officer may be removed at any time, with or ivithout
         cause, by the affirmative vote of a rnqjority of the Board. Any vacancy occurring in any office of
         the Company shall be fi!Jed by the Board. The initial Officers of the Company designated by the
         Member arc listed on Schedule E hereto.

                 (b)    President The President shall be the chief executive officer of the Company,
         shall preside at all meetings of the Board, shall be responsible for the genera} and active
         management of the business of the Company and shall see that all orders and resolutions of the
         Board are carried into effect The President or any other Officer authorized by the President or
         the Board shall execute all bonds, mortgages and other contracts, except (i) where required or
         permitted by lmv or this Agreement to be othcrvvise signed and executed, including Section 7(b);
         (ii) where signing and execution thereof shaH be expressly delegated by the Board to some other
         Officer or agent of the Company, and (iii) as otherwise permitted in Section 11 (c).

                  (c)      Vice President. In the absence of tbe President or in the event of the President's
          inability to act, the Vice President, if any (or in the event there be more than one Vice President,
          the Vice Presidents in the order designated by the Directors, or in the absence of any designation,
          then in the order of their ckction), shall perfi:.mn the duties of the President, and when so acting,
          shall have all the powers of and be subject to all the restrictions upon the President. The Vice
          Presidents, if any, shall perform such other duties and have such other powers as the Board may
          frmn time to time prescribe.

                  (d)     Secrejary and Assistant Secretarv. The Secretary shall be responsible for filing
          legal documents and maintaining records for the Company. The Secretary shall attend                an
          meetings of the Board and record all the proceedings of the meetings of the Company and of the
          Board in a book to be kept for that purpose and shall perform like duties for the standing
          committees when required. The Secretary shall give, or shall cause to be given, notice of all
          meetings of the Member, if any, and special meetings of the Board, and shall perform such other
          duties as may be prescribed by the Board or the President, under \Vhose supervision the Secretary·
          shal1 serve. The Assistant Secretary, or if there be more than one, the Assistant Secretaries in the
          order determined by the Board (or if there be no such determination, then in order of their
          election), shall, in the absence of the Secretary or in the event of the Secretary's inability to act,
          perform the duties and exercise the powers of the Secretary and shall perfrrrm such other duties
          and have such other powers as the Board may from time to time prescribe.

                  (e)    Treasurer and Assistant Treasurer. The Treasurer shall have the custody of the
          Company funds and securities and shaU keep full imd accurate accounts of receipts and
          disbursements in books belonging to the Company and shall deposit all tnoneys and other
          valuable effects in the name and to the credit of the Company in such depositories as may be
          designated by the Board. The Treasurer shall disburse the fi.mds of the Company as may be
          ordered by the Board, taking proper vouchers for such disbursements, and shall render to the
          President and to the Board, at its regular meetings or when the Board so requires, an account of
          all of the Treasurer's transactions and of the financial condition of the Company, The Assistant
          Treasurer, or if there shall be more than one, the Assistant Treasurers in the order determined by
          the Board (or if there he no such determination, then in the order of their election), shall, in the


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         absence of the Treasurer or in the event of the Treasurer's inability to act, perform the duties and
         exercise the pO\vers of the Treasurer and shall perfonn such other duties and have such other
         povvers as the Board may from time to time prescribe.

                 (f)     Officers as Ag!:.nt~- The Oi11cers, to the extent of their powers set forth in this
         Agreement or otherwise vested in them by action of the Board not inconsistent with this
         Agreement, are agents of the Company for the purpose of the Company's business and the
         actions of the Officers taken in accordance \Vith such po1,vers shall bind the Company.

                 (g)    Duties of Board and Officers. Except to the extent othen\•ise modified herein,
         each Director and Officer shall have fiduciary duties identical to those of directors and oni.cers
         of business corporations organized under the General Corporation Law of the State of Delaware.

         Section 12.     Limited Liabilitv.

                  Except as otherwise expressly provided by the Act, the debts, obligations and liabilities
         of the Company, \Vhethcr arising in contract, tort or otherwise, shall be the debts, obligations and
         liabilities solely of the Company, and neither the rvtember nor any Director shall be obligated
         personally for any such debt, obligation or liability of the Company solely by reason of being a
         Mernber or Director of the Company.

          Section 13.    Capital Contributions.

                The Member has contributed to the Company property of an agreed value as listed on
          Schedule B attached hereto,

          Section 14.    Additional Contributions.

                  The Member is not required to make any additional capital contribution to the Company.
          H.ovvever, the Member may make additional capital contributions to the Company at any time
          upon the written consent of such Member. To the extent that the Member makes an additional
          capital contribution to the Company, the Member shall revise Schedule B of this Agreernent.
          The provisions of this A.greeme:nt including this Section 14. are intended to benefit the l\,fomber
          and, to the fullest extent pennitted by lmv, shall not be construed as conferring any benefit upon
          imy creditor of the Company (other than a Covered Person) (and no such creditor of the
          Company shall be a third~party beneficiary of this Agreement) and the Member shall not have
          any duty or obligation to any creditor of the Company to make any contribution to the Company
          or to issue any call for capital pursuant to this Agreement

          Section 15.    Allocation of Profits and Losses.

                  The Company's profits and losses shall be allocated to the Member.

          Section 16.    Distributions,

                 Distributions shall be made to the Member at the times and in the aggregate amounts
          determined by the Board. Notwithstanding any provision to the contrary contained in this


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         ,<\greement, the Company shaH not be required to make a distribution to the 1Vlernber on account
         of its interest in the Company if such distribution would violate the Act or any other applieable
         law.

         Section 17.      Books and Records.

                 The Board shall keep or cause to be kept complete and accurate books of account and
         records with respect to the Company's business. The books of the Company shall at all times be
         maintained by the Board.. The Member and its duly authorized representatives shall have the
         right to examine the Company books, records and documents during normal business hours. The
         Company, and the Board on behalf of the Company, shall not have the right to keep confidential
         from the Member any information that the Board "vouid otherwise be permitted to keep
         confidential from the Member pursuant to Section 18~305(c) of the Act The Company's books
         of account shall be kept using the method of accounting detennined by the I'viember. The
         Company's independent auditor, if any, shall be an independent public accounting fim1 selected
         by the ivlember.

          Section 18.     Reports,

                The Board shaU, after the end of each fiscal year, use reasonable efforts to cause the
         Company's independent accountants, if any, to prepare and transmit to the Member as promptly
         as possible any such tax information as rnay be reasonably necessary to enable the Mernber to
         prepare its federal, state and local income tax returns relating to such fiscal year.

          Section 19.     Other Business.

                  Notv,rithstanding any duty othcnvise existing at law or in equity, the JViember and any
          Officer, Director, employee or agent of the Company and any Affiliate of the lVkmber may
          engage in or possess an interest in other business ventures (unconnected with the Company) of
          every kind and description, independently or with others, and the Company shall not have any
          rights in or to such independent ventures or the income or profits therefrom by virtue of this
          Agreement.

          Section 20.     Exculpation and Indemnification.

                  (a)    To the fullest extent permitted by applicable la\v, neither the Member nor any
          Officer, Director, employee or agent of the Company nor any employee, representative, agent or
          AHi.Iiate of the l\ilernber (collectively, the "Covered Persons'') shall be liable to the Company or
          any other Person who is bound by this Agreement for any loss, damage or claim incurred by
          reason of any act or omission performed or omitted by such Co·vered Person in good faith on
          behalf of the Company and in a manner reasonably believed to be within the scope of the
          authority conferred on such Covered Person by this Agreement, except that a Covered Person
          shaH be liable for any such loss, damage or claim incurred by reason of such Covered Person's
          bad faith or \.Villful misconduct

                  (b)    To the fullest extent permitted by applicable law, a Covered Person shaH be
          entitled to indemnification from the Company for any loss, damage or claim incurred by such

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CONFIDENTIAL                                         A.386                                    AEARO_CH11_00002048
                                                                                                            EXHIBIT 0037
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         Covered Person by reason of any act or omission perfom1ed or omitted by such Covered Person
         in good faith on behalf of the Company and in a manner reasonably believed to be vvithin the
         scope of the authority conferred on such Covered Person by this Agreement, except that no
         Covered Person shall be entitled to be indemnified in respect of any loss, damage or claim
         incurred by such Covered Person by reason of such Covered Person's bad faith or ,viHfi.Il
         misconduct with respect to such acts or om.issions: provided, hcnvever, that any indemnity under
         this Section 20 by the Company shall be provided out of and to the extent of Company assets
         only, and the l\kmber shall not have personal liability on account therco[

                (c)    To the fullest extent permitted by applicable law, expenses (including reasonable
         legal fees) incurred by a Covered Person defending any claim, demand, action, suit or
         proceeding shall, from time to time, be advanced by the Company prior to the final disposition of
         such claim, demand, action, suit or proceeding upon receipt by the Company of an undertaking
         by or on behalf of the Covered Person to repay such amount if it shall be determined that the
         Covered Person is not entitled to be indemnified as authorized in this Section 20.

                 (d)     A Covered Person shall be fully protected in relying in good faith upon the
          records of the Company and upon such infom1ation, opinions, reports or statements presented to
          the Company by any Person as to matters the Covered Person reasonab1y believes are within
          such other Person's professional or expert competence and who has been selected with
          reasonable care by or on behalf of the Company, including information, opinions, reports or
          statements as to the value and amount of the assets, liabilities, or any other facts pertinent to the
          existence and amount of assets from which distributions to the Member rnight properly be paid.

                  (e)    The provisions of this Agreement, to the extent that they restrict or eliminate the
          duties and liabilities of a Covered Person to the Company or its mernbers otherwise existing at
          hnv or in equity, are agreed by the parties hereto to replace such other duties and liabilities of
          such Covered Person.

                (l)       The foregoing provisions of this Section 20 shall survive any termination of this
          Agreement.

          Section 2L      Assignments.

                  The Ivkmher may assign in whole or in part its limited liability cmnpany interest in the
          Company. Subject to Section 23, the transferee of a limited liability company interest in the
          Company shall be admitted to the Company as a mernber of the Company upon its execution of
          an instrument signifying its agreement to be bound by the terms and conditions of this
          Agreement, \Vhich instrument may be a counterpart signature page to this A.greement ff the
          Member transfers all of its limited liability company interest in the Company pursuant to this
          Section 21, such admission shall be deemed effective immediately prior to the transfer and,
          immediately follovving such admission, the tran.sforor Iviember shall cease to be a member of the
          Company. Notwithstanding an:yihing in this Agreement to the contrary, any successor to the
          1\1ember by merger or consolidation in compliance \Vith the Basic Documents shall, without
          further act, be the Member hereunder, and such merger or coilsolidation shaH not constitute an
          assignment for purposes of this Agreement and the Company shall continue without dissolution.


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CONFIDENTIAL                                          A.387                                    AEARO_CH11_00002049
                                                                                                          EXHIBIT 0037
                                                                                                           Page 9 of 20
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         Section 22.

                 The Member may resign only upon its written consent If the iv1etriber is permitted to
         resign pursuant to this Section 22, an additional member of the Company shall be admitted to the
         Company upon its execution of an instrument signifj,1ing its agreement to be bound by the terms
         and conditions of this Agreement, which instrument may be a counterpart signature page to this
         Agreement Such admission shall be deemed effective immediately prior to the resignation and,
         imrnediatdy foHO\ving such admission, the resigning TV1cmber shall cease to be a member of the
         Company.

         Section 23.       Aqrnission of Additional Members.

                   One or more additional rvtembers of the Company may be admitted to the Company with
         the vvri tten consent of the Member.

          Section 24.      Dissolution.

                  (a)    The Company shall be dissolved. and its affairs shaH be ,vound up upon the first
          to occur of the following: (i) at any time there are no members of the Company, unless the
          Company is continued without dissolution in a manner permitted by the Act, (ii) the entry of a
          decree of judicial dissolution of the Compimy under Section 18-802 of the Act, or (iii) the
          wTitten consent of the J\fomber to dissolve the Company.

                  (b)     Notwithstanding any other pro-vision of this Agreement, the Bankruptcy of the
          !lv1ember shall not cause the Member to cease to be a member of the Company and upon the
          occurrence of such an event, the Company shall continue \Vithout dissolution,

                  (c)      In the event of dissolution, the Co,npany shall conduct only such activities as are
          necessary to wind up its affairs (including the sale of the assets of the Company in an orderly
          manner), and the assets of the Company shall be applied in the manner, and in the order of
          priority, set forth in Section 18-804 of the Act.

                  (d)     The Company shall terminate when (i) all of the assets of the Company, after
          payrnent of or due provision for all debts, liabilities and obligations of the Company shall have
          been distributed to the Member in the manner provided for in this Agreement and (ii) the
          Certificate of Conversion shall have been canceled in the m.anner required by the Act

          Section 25.      Nature of Interest.

                  The Member shall not have any intert~st in any specific assets of the Company. The
          interest of the Member in the Company is personal property.

          Section 26.      Benefits of Agreement; No Third~Partv R.iuhts.

                  None of the provisions of this Agreement shaH be for the benefit of or enforceable by any
          creditor of the Company or by any creditor of the Member. Nothing in this Agreement shall be
          deemed to create any right in any Person (other than Covered Persons) not a party hereto, and


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CONFIDENTIAL                                         A.388                                    AEARO_CH11_00002050
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          this l\greement shall not be construed in any respect to be a contract in whole or in part for the
          benefit of any third Person (other than Covered Persons).

          Section 27.     Severability of Provisions.

                  Each provision of this Agreement shaJl be considered severable and if for any reason any
          provision or provisions herein are detennined to be invalid, unenforceable or Hlegal under any
          existing or future law, such invalidity, unenfbrceability or illegality shall not impair the operation
          of or affect those portions of this Agrc:cmcnt \Vhich are valid, enforceable and legal.

          Section 28.     Entire Agreement.

                 This Agreement constitutes the entire agreement of the parties with respect to the subject
          matter hereof

          Section 29.     Binding Agreement

                  Notwithstanding any other provision of this Agreement, the lVIember agrees that this
          Agrcemc:nt constitutes a legal, valid and binding agreement of the 1\-lemher, and is enforceable
          against the Member in accordance with its terms.

          Section 30,     Governing Law.

                  This Agreement shall be governed by and construed under the !aws of the State of
          Delaware (without regard to connict of lav,/s principles), all rights and remedies being governed
          by said laws.

          Section 31.     Amendments.

                  This Agreement may be modified, altered, supplemented or amended pursuant to a
          written agreement executed and delivered by the Member.

          Section 32.     Counterparts.

                  This Agreement may be executed in any number of counterparts, each of v,ihich shall be
          deemed an original of this Agreement and all of which together shall constitute one and the same
          instrurnent.

          Section 33.     Notices.

                  Any notices required to be delivered hereunder shall be in \Vntmg and personally
          delivered, mailed or sent by telecopy, electronic mail or other similar form of rapid transmission,
          and shalt be deemed to have been duly given upon receipt (a) in the case of the Company, to the
          Company at its address in Section 2, (h) in the case of the Men1.ber, to the tv1ember at its address
          as listed on Schedule B attached hereto and (c) in the case of either of the foregoing, at such
          other address as may be designated by written notice to the other party.




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         Section 34.     Effectiveness,

                 Pursuant to Section 18-214( d)    the Act, this lgr1eer:ner1t shall be effective as of the time
         of the filing of the Certificate of Conversion with the Office of the Delav,arc Secretary of State
         on September 29, 2008.




                                          [SIGNA1TJRE PAGE FOLLO\VS]




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CONFIDENTIAL                                          A.390                                     AEARO_CH11_00002052
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                IN Vv'ITNESS WHEREOF, the undersigned, intt:nding to be legally bound hereby, has
         duly executed this Limited Liability Company Agreement as of the-~~---- day March, 2013.

                                                         rvtEMBER:

                                                         AEAROLLC




                                                             Name: Denise Ruthcrfo
                                                             Title: President




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CONFIDENTIAL                                   A.391                                 AEARO_CH11_00002053
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                                                      SCHEDULE A

                                                        Definitions

         A,       Definitions

                When used in this Agreement, the fr1UO\ving tenns not othenvise defined herein have the
         following meanings:
                      1
                  '   Act'' has the meaning set forth in the preamble to this Agreement

                "Affiliate'' means, \Vith respect to any Person, any other Person directly or indirectly
         Controlling or Controlled by or under direct or indirect common Control \:Vith such Person.

                "Agreement'' means this Limited Liability Company Agreement of the Company,
         together \vith the schedules attached hereto, as amended, restated or supplemented or otherwise
         modified from time to time,

                 "Bankruptcy" means, \Vith respect to any Person, (A) if such Person (i) makes an
         assigmn1:nt for the benefit of creditors, (ii) files a voluntary petition in bankruptcy, (iii) is
         adjudged a bankrupt or insolvent, or has entered against it an order for relief in any bankruptcy
         or insolvency proceedings, (iv) files a petition or answer seeking for itself any reorganization,
         arrangement composition, readjustment, liquidation or similar relief under any statute, law or
         regulation, (v) files an answer or other pleading admitting or failing to contest the material
         allegations of a petition filed against it in any proceeding of this nature, or (vi) seeks, consents to
         or acquiesces in the appointrnent of a trustee, recci ver or liquidator of the Person or of all or any
         substantial part of its properties, or (B) if 120 days after the commencement of any proceeding
         against the Person seeking reorganization, arrangement, cmnposition, readjustment, liquidation
         or similar relief under any statute, law or regulation, if the proceeding has not been dismissed, or
         if within 90 days after the appointment \vithout such Person's consent or acquiescence of a
         trustee, receiver or liquidator of such Person or of all or any substantial part of its properties, the
         appointm:ent is not vacated or stayed, or \vithin 90 days after the expiration of any such stay, the
         appointment is not vacated. The foregoing definition of "Bankruptcy" is intended to replace and
         shall supersede and replace the definition of "Bankruptcy 0 set forth in Sections 18-101( l) and
         18-304 of the Act.

                  "Basic Documents" means [insert documents being executed by Company at dosing]
          and all documents and certificates contemplated thereby or delivered in connection therewith.

                      "Board" or "Board of Directors" rn.eans the Board of Directors of the Company.

                  ''Certificate of Conversion" means the Certificate of Conversion of the Company filed
          ,vith the Secretary of State of the State of Delaware on September 29, 2008, as amended or
          amended and restated from time to time.

                      "Companv" means Aearo Technologies LLC, a Delaware limited liability company.



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                 "Control" means the possession, directly or indirectly, of the po\ver to direct or cause the
         direction of the management or policies of a Person, ,vhcther through the O\Vnership of voting
         securities or general partnership or managing member interests, by contract or otherwise.
         "Controlling" and ''Controlled'' shaH have correlative meanings. Without limiting the generality
         of the foregoing, a Person shall be deemed to Control any other Person in ,.vhich it owns, directly
         or indirectly, a majority of the ownership interests.

                 "Covered Persons" has the meaning set forth in Section 20(<!).,

                "Directors" means the Persons elected to the Board     Directors from time to time by the
         Member in their capacity as managers of the Company. A Director is hereby designated as a
         ''manager" of the Company within the meaning      Section 18-10 l ( l of the Act

                 "Manai:rcment Agreement" means the agreement of the Directors in the form attached
         hereto as Schedule C. The Management Agreement shall be deemed incorporated into, and a
         part ot this Agreement.

                "Member" means Acaro LLC, as the initial rnernber of the Company, and includes any
         Person admitted as an additional member of        Company or a substitute member of the
         Company pursuant to the provisions of this Agreement, each in   capacity as a member of the
         Company.

                 "Officer" means an officer of     Company described in Section 11.
                 1
                 'Person" rneans any individual, corporation, partnership, joint venture, limited liability
         company, limited liability partnership, association, joint stock company, trust. unincorporated
         organization, or other organization, whether or not a legal entity, and any governmental
         authority.

          B.     Rules of Construction

                  Definitions in this Agreement apply equally to both the singular and plural fbrms of the
          defined temis. The words "include 1' and ''including" shall be deemed to be followed by the
          phrase "without limitation.' 1      terms "herein," "hereof" and "hereunder" and other words of
          similar import refer to this Agreement as a \.Vhole and not to any particular Section, paragraph or
          subdivision. The Section titles appear as a matter of convenience only and shall not affect the
          interpretation of      Agreement All Section, paragraph, clause, Exhibit or Schedule references
          not attributed to a particular document shall be references to such parts of this Agreement




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                                                 SCHEDlJLE B

                                                      Member


                                                           Agreed Value           Limited Liabilitv
                 Ni!!.PC         .tvfailing Address       Capital Contribution    Companv Interest

                               5457 West 79 th
               Aearo LLC                                       $466,061, I 14          100~10
                                 Indianapolis, IN




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CONFIDENTIAL                                        A.394                               AEARO_CH11_00002056
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                                                   SCHEDULEC

                                              Management A.greemcnt.



          Aearo LLC
          5457 \Vest 79 th Street
          Indianapolis, rN

                  Re: Management Agreement - Aearo Technologies LLC

          Ladies and Gentlemen:

                 For good and vaiuahle consideration, each of the undersigned Persons, who have been
          designated as directors of Aearo Technologies LLC, a Delav,n1re limited liability company (the
          "Company"), in accordance with the Limited Liability Company Agreement of the Company,
          dated as of March 11, 2013, as it may be amended or restated from time to time (the ''LLC
          Agreement"), hereby agree a-; follows:

                  Each of the undersigned accepts such Person's rights and authority as a Director under the
          LLC Agrcernent and agrees to perform and discharge such Person's duties and obligations as a
          Director under the LLC Agreement, and further agrees that such rights, authorities, duties and
          obligations under the LLC Agreernent shall continue until such Person's successor as a Director
          is designated or until such Person's resignation or removal as a Director in accordance ,vith the
          LLC Agreement Each of the undersigned agrees and acknm:vledges that it has been designated
          as a "manager" of the Company within the meaning of the Dela..,vare Limited Liability Company
          Act

                  Each of the undersigned agrees, solely in its capacity as a creditor of the Company on
          account of any indemnification or other payment o,ving to the undersigned by the Company, not
          to acquiesce, petition or othenvise invoke or cause the Company to invoke the process of any
          court or governmental authority for the purpose of commencing or sustaining an involuntary case
          against the Company under any foderal or state bankruptcy, insolvency or similar law or
          appointing a receiver, liquidator, assignee, trustee, custodian, sequestrator or other similar
          official of the Company or any substantial part of the property of the Company, or ordering the
          vvinding up or liquidation of the affairs of the Company.

               THIS MANAGEMENT AGREEMENT SHALL BE GOVERNED BY AND
          CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF DELAWARE,
          AND ALL .RIGHTS AND REJvfEDIES SHALL BE GOVERNED BY SUCH LAWS
          WITHOUT REGARD TO PRINCIPLES OF CONFLICTS OF LAWS,

                  Initially capitalized tenns used and not othcnvise defined herein have the 1neanings set
          forth in the L LC Agreement

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CONFIDENTIAL                                        A.395                                    AEARO_CH11_00002057
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                  This Management Agreement may be executed in any number of counterparts, each
         v,,hich shall be deemed an original of this Management Agreement and all  which together
         shal 1 constitute one and the same instrument

                 IN \VlTNESS WHEREOF, the undersigned have executed this Management Agreement
         as of the day and year first above \vritten.




                                                         Neil G. Plesner




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CONFIDENTIAL                                   A.396                                AEARO_CH11_00002058
                                                                                                     EXHIBIT 0037
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                This l'vlanagcmcnt Agreement may he executed m any number or tmmt1.;rparts, each or
          which shall be decrncd an original ur this i'vlanagcment Agreement and all of Y\hich together
          shall constitute one and the same instrument.

                  IN WITNESS \VHEREOF. th\:' undersigned have cxectili!d this Management Agreement
          as of the day and year first above wriuen.




CONFIDENTIAL
                                                    A.397                                 AEARO_CH11_00002059
                                                                                          EXHIBIT 0037
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                                              SCHEDULED

         DIRECTORS

         1.   Denise R Rutherford
         2.   David R. Scblacfor
         3.   Herve rvL Gindre
         4.   Neil Ci Plesner




                                                   Dpl

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CONFIDENTIAL                                   A.398                             AEARO_CH11_00002060
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                                                SCHEDULEE

          OFFICERS                                   TITLE

          Denise R. Rutherford                       President

          Roxanne Lapadat                            Treasurer

                 L Bros                              Secretary

          Kimberly          Torseth                  Assistant Treasurer

          Maureen          F aricy                   Assistant Secretary




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CONFIDENTIAL                                     A.399                             AEARO_CH11_00002061
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                           A.400
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                           A.401
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                           A.402
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                           A.403
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                           A.404
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                           A.406
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                           A.407
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                           A.408
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                           A.409
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                           A.410
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                           A.411
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                           A.412
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                           A.413
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                           A.414
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                           A.415
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                           A.416
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                           A.417
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                           A.418
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                           A.419
                                                                                                           Q1 Domestic Sales for 2008
   Sku's               1999           2000            2001              2002             2003                 2004                    2005                  2006              2007              2008             2009            2010
   370-1000                                                                                                                                                                                $      374,283.00
   370-1011                                                                                                                                                                                $      131,368.00
   370-2000                                                                                                                                                                                $       14,064.00
   97079-00000                                                                                                                                                                             $       55,908.00
                                                                                                                                                                                           $      575,623.00
                                                                                                            Q1 Global Sales for 2008
   Sku's               1999           2000            2001              2002             2003                2004                    2005                   2006              2007              2008             2009            2010
   370-1000                                                                                                                                                                                $      374,283.00
   370-1011                                                                                                                                                                                $      196,895.00
   370-2000                                                                                                                                                                                $       15,606.10
   97079-00000                                                                                                                                                                             $       56,308.00
   370-1200                                                                                                                                                                                $         2,010.00
   370-2001                                                                                                                                                                                $         2,062.00
                                                                                                                                                                                           $      645,102.10 $     69,479.10 $   277,916.40
   Revised Chart
                                                                                                      Revised Domestic Sales AEARO (Viele File) 3/25/2021                                                                                                                                          Domestic Sales 3M (Letch File)
   Sku's               1999           2000            2001              2002             2003                2004                   2005                    2006              2007              2008             2009            2010             2009            2010             2011               2012                   2013              2014                2015            2016                        Combined Totals
   370-1000        $    10,000.00 $     88,000.00 $     42,172.50 $      147,131.65 $     377,323.75 $        3,551,125.80 $         5,232,881.93 $          2,919,992.02 $    3,670,332.95 $     793,083.19 $    164,251.33                  $    405,597.93 $     381,228.22 $    240,814.37 $        53,332.85 $               324.99 $            692.66                                               $         18,078,286.14
   370-1002                                                                                                                 $        2,609,900.00 $                300.00 $    3,901,500.00                                                                                                                                                                                                                $          6,511,700.00
   370-1012                                                                                                                                                               $      460,000.00                                                                                                                                                                                                                $            460,000.00
   370-1011                                                                                                                                          $         151,067.82 $      140,898.92 $     373,834.69 $     98,799.31                  $    168,588.39 $     298,737.10 $    284,812.38                                          $        90,240.00 $         57,360.00                             $          1,664,338.61
   ND-370-1000                                                                                                                                                                                                                                                                 $    100,000.00 $         53,125.00 $         565,624.64 $       224,999.85                                                 $            943,749.49
   370-1200                                                                                                                                                                                                                                $         4,086.58 $       7,077.75 $      9,543.37                                                                                                             $             20,707.70
   370-2000                                                                                                                 $                250.00 $          42,223.61 $       43,981.62 $       87,018.77 $     37,159.68 $      733.68 $        93,165.79 $     156,168.48 $    112,269.41 $        150,474.60 $         188,308.20 $       191,169.66 $        124,050.47 $          75.53            $          1,227,049.50
   370-2001                                                                                                                                                                                                                                $        14,608.22 $      23,708.34 $     30,405.75 $            318.80                                                                                         $             69,041.11
   97079-10C                                                                                                                                                                                                                                                                                                                                                   $      8,250.12                             $              8,250.12
   97079-00000                    $     1,360.20 $     22,308.49 $       20,060.78 $       37,119.13 $           50,007.35 $             75,480.05 $          118,082.83 $      159,540.89 $      221,471.19 $   162,600.99 $        (36.52) $      51,078.19 $     142,352.90 $    189,261.95 $         83,591.73                                                                                         $          1,334,280.15
                                                                                                                                                                                                                                                                                                                                                                                                                                     Case: 22-2606




   Totals          $    10,000.00 $    89,360.20 $     64,480.99 $      167,192.43 $      414,442.88 $        3,601,133.15 $          7,918,511.98 $        3,231,666.28 $    8,376,254.38 $    1,475,407.84 $   462,811.31 $       697.16 $       737,125.10 $   1,009,272.79 $    967,107.23 $        340,842.98 $         754,257.83 $       507,102.17 $        189,660.59 $          75.53            $         30,317,402.82



                                                                                                               OUS Sales Aearo (Viele) 7/19/2022                                                                                                                                                        OUS Sales 3M (Dahl File) 7/19/2022
   Sku's               1999           2000            2001              2002             2003                 2004                   2005                   2006              2007              2008             2009            2010             2009            2010             2011               2012                 2013                2014                2015            2016           2017         Combined Totals

   Totals          $          -   $     2,000.00 $           118.00 $          59.00 $           -    $          30,164.00 $             31,849.00 $           85,474.00 $      514,470.00 $      279,140.00 $      9,297.00 $          -     $     29,685.86 $      27,371.28 $     27,385.00 $         23,656.98 $          47,981.82 $        75,790.35 $         18,401.49 $    4,239.83 $       52.06 $          1,207,083.61



                                                                                                              Global Sales Aearo (Viele) 7/19/2022                                                                                                                                                     Global Sales 3M (Dahl File) 7/19/2022
   Sku's               1999           2000            2001              2002             2003                 2004                    2005                  2006              2007              2008             2009            2010             2009            2010             2011               2012                  2013               2014                2015            2016           2017         Combined Totals

   Totals          $    10,000.00 $    91,360.20 $     64,598.99 $      167,251.43 $      414,442.88 $        3,631,297.15 $          7,950,360.98 $        3,317,140.28 $    8,890,724.38 $    1,754,547.84 $   472,108.31 $       697.16 $       766,810.96 $   1,036,644.07 $    994,492.23 $        364,499.96 $         802,239.65 $       582,892.52 $        208,062.08 $    4,315.36 $       52.06 $         31,524,486.43
                                                                                                                                                                                                                                                                                                                                                                                                                                     Document: 32




A.420
                                                                                                                                                                                                                                                                                                                                                                                                                                     Filed: 12/12/2022
                                                                                                                                                                                                                                                                                                                                                                                                                                     Pages: 457
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Table Summary



                         Sales 1999-Q1 2008                    Total Sales 1999-2017
                                    % of Total Lifetime                 % of Total Lifetime
                    Sales ($)          CAEV2 Sales          Sales ($)       CAEV2 Sales
Domestic        $       24,448,665.29              80.6% $ 30,317,402.82             100.0%
Global          $       25,182,278.39          79.88165% $ 31,524,486.43             100.0%




                                         A.421
        Case: 22-2606   Document: 32   Filed: 12/12/2022   Pages: 457




A.422
                                                   Case: 22-2606   Document: 32
                                                           Aearo Structure Chart        Filed: 12/12/2022      Pages: 457



                                                                             3M Company
                                                                              (Delaware)


                          Various other 3M subsidiaries                3M Occupational Safety LLC
                                                                              (Delaware)
                                                                           Aearo Holding LLC
                                                                              (Delaware)
                                                                         Aearo Intermediate LLC
                                                                               (Delaware)
                                                                               Aearo LLC
                                                                              (Delaware)
                                                                         Aearo Technologies LLC
                                                                              (Delaware)




A.423
                                             99%
                                    Aearo Technologies de Baja,         Aearo Trading (Shenzhen)            Cabot Safety Intermediate LLC
                                       S.A. de C.V. (Mexico)                Co. LTD. (China)                         (Delaware)
                                          Aearo LLC = 1%

                                                                                                                                                    70%

                                                                                  Aearo Canada Limited /                               Aearo Mexico Holding Corp.
                                                                                   Aearo Canada Limitee                                       (Delaware)
                                                                                         (Canada)                                           Aearo Technologies LLC = 30%


                                                                                                                                                99.998%
                                                                                                                                      Aearo Technologies de Mexico,
        Debtor Entities                                                                                                                    S.A. de C.V. (Mexico)
                                                                                                                                      Cabot Safety Intermediate LLC = .002%
        Defendants in the Combat Arms MDL                             CASTELLANO DEM-1
Case: 22-2606     Document: 32        Filed: 12/12/2022   Pages: 457



                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF INDIANA

IN RE:                   .            Case No. 22-02890-JJG
                         .            (Jointly Administered)
AEARO TECHNOLOGIES LLC, .
ET AL.,                  .            116 U.S. Courthouse
                         .            46 E. Ohio Street, Room 116
          Debtors.       .            Indianapolis, IN 46204
                         .
                         .           Thursday, September 8, 2022
 . . . . . . . . . . . . .           10:30 a.m.

            TRANSCRIPT OF HEARING ON DEBTORS’ MOTION
  FOR ENTRY OF AN ORDER (I) APPOINTING THE HONORABLE JAMES M.
CARR AND RANDI S. ELLIS AS CO-MEDIATORS, (II) AUTHORIZING THE
  DEBTORS TO PARTICIPATE IN THE MEDIATION, and (III) GRANTING
                       RELATED RELIEF

                 BEFORE THE HONORABLE JEFFREY J. GRAHAM
                  UNITED STATES BANKRUPTCY COURT JUDGE

APPEARANCES:

For the Debtors:                 Kirkland & Ellis LLP
                                 BY: CHAD HUSNICK, ESQ.
                                 300 North LaSalle Street
                                 Chicago, IL 60654

For CAE Committee:               Klee, Tuchin, Bogdanoff & Stern, LLP
                                 BY: ROBERT J. PFISTER, ESQ.
                                 1801 Century Park East, 26th Floor
                                 Los Angeles, CA 90067

                                 Otterbourg P.C.
                                 BY: MELANIE CYGANOWSKI, ESQ.
                                 230 Park Avenue
                                 New York, NY 10169-0075


Audio Operator:                  Heather Heiser-Davis

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                             A.424
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                                                                             3

                                  I N D E X

STATEMENT:                                                            PAGE

Re:   Mediator Appointment

By Judge Carr                                                          6

OUTLINE OF TERMS OF ORDER:

Re:   Mediator Appointment

By Mr. Husnick                                                        17

RULING:

Re: Motion for Mediation

By the Court                                                          24

ARGUMENT:

Re:   Shorten Time Motion

By Mr. Pfister                                                        27

By Mr. Husnick                                                        31

By Mr. Wolfson                                                        33

By Mr. McCullough                                                     35

By Mr. Pfister                                                        35

By Mr. Husnick                                                        40

By Mr. Pfister                                                        41

DECISION:

By the Court                                                          45




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                            A.425
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        [Pages 43-46 of 9/8/2022
         Hearing Transcript]




                           A.426
     Case: 22-2606   Document: 32        Filed: 12/12/2022   Pages: 457

                                                                             43
 1 if they weren’t able to reach out to Mr. McCullough and start

 2 to work out a respirator claim mediation.

 3              That would be good for the debtors.           And it would be

 4 good for the committees in the fact that you represent, you

 5 know, interests.      That would clear up one of the two pieces in

 6 the bankruptcy.      I understand there are some -- I don’t want to

 7 say there are no trade creditors, but they are smaller by order

 8 of magnitude of everything else.          But that would be good.

 9              It probably also would be good if they were working

10 with Mr. McCullough to structure some sort, if they wanted to

11 -- which is a possibility -- some sort of a trust.               I think it

12 was mentioned a trust or trusts that could be done.               Maybe they

13 could set up a framework that would do something to look at in

14 the Combat Arms.      Well, here’s one they’ve already set up.

15 Maybe you would want to structure something like that.

16              3M is not here.      I don’t anticipate 3M talking today.

17 But maybe that would be appealing to them; maybe not, because

18 you’re right.     When it comes to funds, 3M is the largest fund-

19 holder of anybody.      And nothing can happen if 3M isn’t fully on

20 board.    whatever 3M -- whatever can help 3M get fully on board

21 is a good thing, which is why I thought, wouldn’t it be helpful

22 to have the Chapter 11 mediation set up, so that maybe they

23 could structure it.

24              As I hear what you’re saying, though, I think you’re

25 right.    I don’t -- I don’t know if there is an air of




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                                A.427
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                                                                                    44
 1 uncertainty, but I don’t want to impede, whatsoever, the MDL,

 2 so maybe the 14th isn’t the best day to hear it.                Mr. Husnick

 3 considered that, okay, maybe a little bit later would be fine,

 4 but certainly before the October omnibus.

 5              I agree with that, because it probably should be

 6 sooner than later because I don’t know when these issues will

 7 come up.     And my goal here is not to impede or to interfere,

 8 whatsoever, with the MDL mediation.             But I want to make

 9 available every tool available to the mediators, Ms. Ellis, and

10 Judge Carr, to do whatever they need to do to get this done,

11 understanding that nothing gets done if we get everything done

12 and have a really nice house built, if 3M doesn’t want to do

13 anything with it, because that’s correct, that is the key to

14 all of this.

15              Now, whether they are able to order the debtor, I’m

16 not going to get into that.           I don’t want to get into any

17 rhetoric, because I don’t care.            I’m just a simple bankruptcy

18 judge dealing with facts and bankruptcy law.                You all have much

19 more history involved, and it was illuminating during the

20 hearing on the preliminary injunction.              Everybody knows

21 everybody.        They’ve all dealt with everybody on different

22 cases.    It’s a horribly incestuous bankruptcy Bar, so you all

23 know the players.        You all know each other.

24              Is this going to be different, now, to mediate?                I

25 hope so, because right now, we’re in a horrible limbo.                   Right




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                                  A.428
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                                                                                  45
 1 now, the debtors are stayed, as far as the MDL going forward.

 2 3M is not.        What can happen?     How far can we go forward in

 3 cases?    How far can we not?         The debtors, on the 14th, are

 4 asking to lift the stay, I believe, on the 11th Circuit

 5 appeals.     I think that’s scheduled.          Dates and times run

 6 together when you make me stay up late.

 7              But so, there’s a lot of moving parts.             But we’re in

 8 a limbo here.       And what a better time to try to get everyone

 9 together than this limbo?           So I think I will -- I’ll do this.

10 I am going to modify the order -- I can’t really modify that,

11 but I will modify the motion to expedite such as this.                   I’m

12 going to take it off of the omnibus date on the 14th.                    I don’t

13 know if people will be clouded in judgment.                 I have a feeling

14 nobody, really, is all that concerned about the omnibus hearing

15 dates and afraid of the MDL, but I’m going to take that spector

16 away.

17              I don’t want you landing in Pensacola worried about

18 what that crazy guy in Indianapolis is going to do or not do.

19 I don’t want to do that.           But I think we do need to hear it

20 pretty quickly, because, again, substance -- obviously, I’m not

21 arguing substance.        I’m just setting the hearing.           You all will

22 have wonderfully eloquent substantive arguments, I have no

23 doubt.

24              But my goal here -- and I’m just going to be

25 forthright with all of you -- is to give these mediators every




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                                  A.429
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                                                                               46
 1 tool available to do what they need to do, because I don’t want

 2 to have it come down to, something comes up, and they’re like,

 3 we can’t do anything because we need to look at what an 11

 4 structure would be or, perhaps, a party says, well, we would

 5 prefer a bankruptcy structure or what would a bankruptcy

 6 structure, maybe, look like that would enable this.               I don’t

 7 know.

 8              You all are vastly more experienced in this than me,

 9 but I don’t want to have any hindrance to Judge Carr and Ms.

10 Ellis to resolve the Combat Arms, which is how I view and how I

11 will structure an order on this other mediation, which is to

12 enable them to do what they need to do.             It’s not dual-tracked.

13 I don’t expect Mr. Pfister to be in Indianapolis doing Aearo

14 things, and Mr. Barrett to be in Pensacola doing MDL things.

15              I don’t see it that way.        It can’t be that way.      I

16 won’t let it be that way.         But to give them tools to look at --

17 and this is just -- I don’t know what they’re going to do.                 But

18 I want them to be able to look at the respirator claims.               I

19 want them to be able to look at a Chapter 11.              I don’t

20 anticipate them stopping the MDL to do these other fun things.

21 I wouldn’t think that.       But I don’t know what the co-mediators

22 want to do, but I don’t want to stand in the way of that, nor

23 do I want to stand in the way of Judge Rogers’ MDL.

24              I want to put all of the tools on the table that they

25 can do to create something that works.            And that’s how I view




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                                A.430
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                           A.431
Case: 22-2606   Document: 32   Filed: 12/12/2022   Pages: 457




                           A.432
Case: 22-2606    Document: 32        Filed: 12/12/2022   Pages: 457



                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF INDIANA

IN RE:                   .           Case No. 22-02890-JJG
                         .           (Jointly Administered)
AEARO TECHNOLOGIES LLC, .
et al.,                  .          116 U.S. Courthouse
                         .          46 E. Ohio Street, Room 116
          Debtors.       .          Indianapolis, IN 46204
                         .
                         .          Wednesday, September 14, 2022
 . . . . . . . . . . . . .          9:10 a.m.

    TRANSCRIPT OF HEARING ON DEBTORS’ (1)MOTION TO LIFT THE
        AUTOMATIC STAY; (II) CERTAIN FIRST DAY MOTIONS;
         AND (III) CERTAIN MOTIONS REGARDING RETENTION
                    AND COMPENSATION MATTERS
               BEFORE HONORABLE JEFFREY J. GRAHAM
           UNITED STATES BANKRUPTCY COURT CHIEF JUDGE

APPEARANCES:

For the Debtors:                Kirkland & Ellis LLP
                                BY: SPENCER A. WINTERS, ESQ.
                                     CLAIRE STEPHENS, ESQ.
                                     CHAD J. HUSNICK, ESQ.
                                300 North LaSalle Street
                                Chicago, IL 60654

                                Kirkland & Ellis LLP
                                BY: DEREK I. HUNTER, ESQ.
                                601 Lexington Avenue
                                New York, NY 10022

                                Kirkland & Ellis LLP
                                BY: TABITHA DE PAULO, ESQ.
                                609 Main Street
                                Houston, TX 77002

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                            A.433
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       [Pages 36-38 of 9/14/2022
         Hearing Transcript]




                           A.434
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                                                                                 36
 1 that the debtors are authorized to pay up to 15,150 but nothing

 2 prohibits 3M from paying the amount of the SIP obligation that

 3 exceeds that amount.       Understanding that 3M may not, I mean, in

 4 a strange world, 3M might not be able to recover that money

 5 from the debtors if everything goes bad.

 6              UNIDENTIFIED SPEAKER:        Yes.

 7              THE COURT:    But isn’t that the way around this, such

 8 that I don’t violate the Bankruptcy Code and create that

 9 precedent but yet these employees still get paid?                If 3M is

10 willing to do that.

11              UNIDENTIFIED SPEAKER:        Yes, Your Honor.       That would

12 work for the debtors and your understanding that -- how it

13 works practically, correctly.

14              THE COURT:    Okay.

15              So, see it was a good question whoever that was --

16                                    (Laughter)

17              THE COURT:    All right.      So, here is what I’m going to

18 do on this.       I’ll overrule the objection and grant the motion

19 as modified.      The modification being that the debtors are

20 authorized to pay these employees up to the 15,150, but nothing

21 in the order prohibits 3M from paying these people the amounts

22 that they are owed under the SIP agreement.                Understanding

23 there’s reimbursements, but that, I think, can all go in the

24 loge.    But I’m hesitant to say -- to go against the specific

25 amount in the Code because at that point I’m elevating an




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                                 A.435
     Case: 22-2606   Document: 32        Filed: 12/12/2022   Pages: 457

                                                                            37
 1 unsecured claim over everybody in a case where, at least

 2 tangentially, there’s a chance that all unsecured creditors may

 3 not get paid depending upon what happens.

 4              But I do think they need to get paid and all

 5 employees should get paid -- I understand that.              But given the

 6 funding agreement, it sounds like 3M would be paying that money

 7 anyway so that, for instance, most of them, I think, were the

 8 account managers but to the extent that they had the 20,000 but

 9 they would get the 5,000 then from 3M and the rest could come

10 from the debtors.      And I think that way everybody’s protected.

11 I’m not erasing anything from the Code intentionally and we all

12 live to fight another day on the issue later on.

13              UNIDENTIFIED SPEAKER:       Thank you, Your Honor.

14              THE COURT:    And so, this is going to require a new

15 order.    Can you get me that order within seven days?

16              UNIDENTIFIED SPEAKER:       Yes.

17              THE COURT:    Okay.    Thank you.

18              That takes us -- you’re doing 2, 3 and 4, correct?

19              UNIDENTIFIED SPEAKER:       Yes, Your Honor.

20              THE COURT:    And, Mr. Hunter, lead us to Number 3

21 then.

22              MR. HUNTER:    That takes us to Kmart.

23              THE COURT:    Now, last time you said it wasn’t Kmart.

24 You were really trying to draw the distinction for me.

25              MR. HUNTER:    Yeah, I have news on that front, but




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                                A.436
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                                                                                   38
 1 I’ll get there in a minute, Your Honor.               The next one on the

 2 agenda, Agenda Item 3 which is at Docket Number 25 and was

 3 entered as Docket Number 149.           You should have a revised

 4 proposed order in the binder we handed up.                  I think I’ll start

 5 there because we did tailor the relief significantly to where

 6 it was at the first day.           So, first substantive change,

 7 Paragraph Number 2, the debtors in the final order are only

 8 seeking authority to pay 1.1 million and 503(b)(9) claims and

 9 then $61,385 in a single critical vendor claim which we’ll talk

10 more about.

11              Paragraph 3 was the resolution of the objection from

12 the tort claimants about, you know, 3M seeking reimbursement.

13 This language appears in most of the operational orders.                  And

14 then the third change in Paragraph 9 is reporting over the

15 concept from the (indiscernible) order on the 503(b)(9)

16 reporting which we agreed to resolve the U.S. Trustee’s

17 objection the first day.           You know, we’re happy to keep that

18 reporting.        I understand where they’re coming from in that

19 issue and so the debtors will continue to report 503(b)(9)

20 payments on a final basis.

21              Your Honor, so with these changes, you know,

22 hopefully this works for the U.S. Trustee, again, on the

23 503(b)(9) front.        It resolved the objection of the tort claim

24 obviously.        As to the critical vendor portion, we shared

25 information with the U.S. Trustee regarding the one critical




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                                  A.437
    Case 3:19-md-02885-MCR-GRJ Document 3467 Filed 09/19/22 Page 1 of 1
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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION
 IN RE: 3M COMBAT ARMS                          Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to All Wave              Judge M. Casey Rodgers
 Cases                                          Magistrate Judge Gary R. Jones



                      CASE MANAGEMENT ORDER NO. 52

       Defendant 3M Company must file an Answer to the Short Form Complaints

in all individual Wave cases within 14 days of the date of this Order.1 Going

forward, when a Wave order is entered identifying cases selected for Wave

discovery, Defendant 3M Company will have 14 days from that date to file an

Answer in the individual case.

       DONE and ORDERED on this 19th day of September, 2022.




                                    M. CASEY RODGERS
                                    UNITED STATES DISTRICT JUDGE




       1
          Exempt from this Order are the Wave cases in which Defendant 3M Company already
has a deadline to file an Answer. See, e.g., Casiano, Case No. 7:20cv54227, ECF No. 23; Slocum,
Case No. 7:20cv06999, ECF No. 14.




                                           A.438
    Case 7:20-cv-71963-MCR-HTC Document 65 Filed 10/03/22 Page 1 of 2
     Case: 22-2606    Document: 32   Filed: 12/12/2022   Pages: 457




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                       Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to:                   Judge M. Casey Rodgers
 George, 7:20cv71963                         Magistrate Judge Gary R. Jones


                                     ORDER

      On October 2, 2022, following entry of the Order resetting this trial for

October 24, 2022, ECF No. 63, the undersigned unexpectedly suffered a

tremendous personal loss that will hinder her ability to complete the extensive

preparations needed to proceed with a trial on the 24th. Accordingly, the order

resetting the trial in this case for October 24, 2022, ECF No. 63, is hereby vacated.

The trial will go forward on February 13, 2023, as previously ordered, see ECF

No. 59. The amended pretrial deadlines set forth in the Order dated September

23, 2022, see id., are reinstated, with the exception of the deadline for fact

discovery on successor liability issues. Successor liability discovery remains

suspended, pending resolution of the legal questions related to waiver and

estoppel. Additionally, because the trial is no longer imminent, the Court will




                                      A.439
    Case 7:20-cv-71963-MCR-HTC Document 65 Filed 10/03/22 Page 2 of 2
     Case: 22-2606    Document: 32   Filed: 12/12/2022   Pages: 457
                                                                         Page 2 of 2



extend the deadline for the limited deposition of Plaintiff David Elliott George to

November 1, 2022.

      SO ORDERED, on this 3rd day of October, 2022.


                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE




                                     A.440
         Case:
          Case:22-2606
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                                          Document:32
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                                                              Filed:12/12/2022
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                                                                                    Pages:457
                                                                                           2



   UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


       Everett McKinley Dirksen
                                                                                Office of the Clerk
       United States Courthouse
                                                                               Phone: (312) 435-5850
    Room 2722 - 219 S. Dearborn Street
                                                                               www.ca7.uscourts.gov
         Chicago, Illinois 60604




                                                     ORDER
October 12, 2022

                                                      Before
                                          DIANE S. SYKES, Chief Judge
                                          DIANE P. WOOD, Circuit Judge
                                          THOMAS L. KIRSCH II, Circuit Judge

                                    IN RE: AEARO TECHNOLOGIES LLC, et al.,
                                                    Debtors - Appellants
                                    ------------------------------
                                    AEARO TECHNOLOGIES LLC, AEARO HOLDING LLC, AEARO
                                    INTERMEDIATE LLC, AEARO LLC, and 3M OCCUPATIONAL
                                    SAFETY LLC,
No. 22-2606                                         Appellants

                                    v.

                                    THOSE PARTIES LISTED ON APPENDIX A TO THE
                                    COMPLAINT and JOHN & JANE DOES, 1-1000,
                                            Appellees
Originating Case Information:
Bankruptcy Case No: 22-50059
Southern District of Indiana, Indianapolis Division-BK
Bankruptcy Judge Jeffrey J. Graham


        The following are before the court:

        1.         PETITION FOR AUTHORIZATION OF DIRECT APPEAL UNDER 28 U.S.C.
                   §158(d)(2), filed on September 23, 2022, by counsel for the petitioners.

        2.         ANSWER OF CAE COMMITTEE IN OPPOSITION TO PETITION FOR
                   DIRECT APPEAL UNDER 28 U.S.C. §158(d)(2), filed on October 3, 2022, by
                   counsel for CAE Committee.




                                                     A.441
       Case:
        Case:22-2606
              22-2606               Document:
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                                               14   Filed:
                                                     Filed:12/12/2022
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                                                                            Pages:457
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No. 22-2606                                                                              Page 2



        3.       OBJECTION TO PETITION FOR AUTHORIZATION OF DIRECT APPEAL
                 UNDER 28 U.S.C. §158(d)(2), filed on October 3, 2022, by counsel for the
                 Bellwether Plaintiffs, Adkins and Vaughn and Certain Defendants.

        4.       REPLY IN SUPPORT OF PETITION FOR AUTHORIZATION OF DIRECT
                 APPEAL UNDER 28 U.S.C. §158(d)(2), filed on October 6, 2022, by counsel for
                 the petitioners.

       IT IS ORDERED that the petition is GRANTED. The appellants shall pay the required
appellate fees to the clerk of the bankruptcy court within 14 days from the entry of this order
pursuant to Federal Rule of Appellate Procedure 5(d)(1).



form name: c7_Order_3J   (form ID: 177)




                                               A.442
           Case: 22-2606       Document: 32              Filed: 12/12/2022          Pages: 457


STATE OF MINNESOTA                                                             DISTRICT COURT
COUNTY OF HENNEPIN                                                   FOURTH JUDICIAL DISTRICT
                                                                         Case Type: Personal Injury
                                                                              Hon. Laurie J. Miller
 In re: 3M COMBAT ARMS EARPLUG
 LITIGATION
                                                                            Case No. 27-CV-19-19916
 This Document Relates to:
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 Watts,, 27-&9-20-10633                                                                         ORDER
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                                                 HONORABLE LAURIE J. MILLER
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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

 IN RE: 3M COMBAT                      ARMS         Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                                    Judge M. Casey Rodgers
 This Document Relates to All Cases                 Magistrate Judge Hope T. Cannon


                                           ORDER

       The past few months have been fairly tumultuous, both in the MDL and

elsewhere, with CAEv2-related controversies now pending in this Court, in the

Eleventh Circuit Court of Appeals, Seventh Circuit Court of Appeals, United States

Bankruptcy Court for the Southern District of Indiana, and Minnesota state court.

Nonetheless, in that time, thousands of plaintiffs—9,290 in total—have filed new

cases against only 3M Company in the MDL. 1 More than 3,100 plaintiffs have

newly transitioned to the MDL docket and paid the requisite filing fee. And four

waves of individual MDL cases (totaling 2,000 plaintiffs) have continued with

plaintiff-specific discovery in preparation for remand to their respective transferor

courts for trial.2 Of course, the current litigation posture follows on the heels of 16

bellwether trials and 19 verdicts that occurred between March 2021 and May 2022,


       1
           There were 229,484 cases pending in the MDL as of October 25, 2022.
       2
         Five hundred cases were initially assigned to each wave. Currently, there are 374 active
cases in Wave 1, 362 active cases in Wave 2, 362 active cases in Wave 3, and 500 active cases in
Wave 4.




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which was preceded by extensive corporate and government discovery on common

issues. Needless to say, incalculable time and resources have been and continue to

be devoted to these endeavors by the parties, the special masters, and the federal

judiciary.

      Shortly after 3M’s MDL co-defendants filed for bankruptcy in July 2022, 3M

adopted a jarringly novel litigation stance—namely, that it “is not liable for the

conduct of” its co-defendants (in particular, the Aearo entities) because, among other

reasons, it is not a successor-in-interest to the co-defendants’ alleged tort liability

and it did not directly assume that liability when it acquired the Aearo entities. See,

e.g., George v. 3M Co., 7:20cv71963, ECF No. 46 at 9-10. In other words, for the

first time in the three-and-a-half year history of the MDL, 3M paradoxically claims

that Aearo alone (now strategically steered into bankruptcy) is the bogeyman and

3M itself has neither independent nor successor liability for any alleged CAEv2-

related injuries. The Wave 1 plaintiffs have collectively moved for summary

judgment on 3M’s “full and independent liability for [all] CAEv2-related injuries”

based on judicial estoppel, collateral estoppel, waiver, and implied assumption of

liability. See ECF No. 3506-1. That matter is now fully briefed and ripe for

adjudication by the Court. Although the briefing was filed in the context of the Wave

1 cases, it presents liability issues common to all cases in the MDL, the resolution

of which will affect how all of those cases may proceed. The Court will rule on the



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matter promptly. However, given the broad import and impact of that decision, the

Court also intends to sua sponte certify its decision for interlocutory appeal. While

this will inject further delay into the litigation, and continued uncertainty about the

claims and/or defenses, appellate review of the Court’s decision—if desired by either

side—needs to occur before thousands of cases are remanded to transferor courts

around the country for trial.

      To conserve the parties’ and judicial resources in the interim, and enable both

sides to fully engage in ongoing settlement negotiations, the following changes will

be implemented in the MDL:

      1.     Stay of Wave Process. The current waves will be stayed as of the

below dates, and no new waves will be initiated, until further order of the Court.

Any Wave plaintiff who believes successor liability is not at issue in his or her case,

such that the stay should be lifted and the case permitted to proceed at this time, may

file an appropriate motion.

    No.                                         Date

Wave 1         Immediate Stay

Wave 2         October 31, 2022 (close of expert discovery)

Wave 3         November 4, 2022 (close of fact discovery)

Wave 4         November 7, 2022 (deadline for written discovery requests and
               production of online records)




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      2.     Stay of Transition Process. The transition process is hereby stayed

until further order of the Court.

      3.     Monthly Settlement Conferences. Beginning in November 2022, the

parties must convene for monthly settlement conferences at the United States

District Court, One North Palafox Street, Pensacola, Florida. Special Master Randi

S. Ellis will schedule and conduct the conferences. The following attorneys must

personally attend each conference on behalf of the common plaintiffs: Bryan

Aylstock, Chris Seeger, and Justin Witkin. On behalf of 3M, Kevin Rhodes,

Executive Vice President and Chief Legal Affairs Officer, must attend the

conferences as the corporate representative with full settlement authority, subject to

Board approval.     Courtney Enloe, Senior Vice President and Deputy General

Counsel for 3M, may also attend. Additionally, 3M must be represented at the

conferences by settlement counsel with demonstrated experience resolving mass

torts (and in particular, product liability matters) in the multidistrict litigation

context. During the conferences, the parties must meet and confer with each other

and Special Master Ellis to discuss settlement, and negotiate in good faith. The

confidentiality parameters adopted for prior mediations will apply to the monthly

settlement conferences. See ECF No. 3424.

      The Defense Occupational and Environmental Health Readiness System

(“DOEHRS”) records that were recently produced by the Department of Defense for



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nearly the entire MDL plaintiff population will be an essential component of the

settlement discussions. BrownGreer PLC, a neutral third-party, has now analyzed

that data and shared its findings with the Court. In the Court’s view, it is critically

important for both sides to hear BrownGreer’s unbiased insights regarding the nature

and scope of that audiometric data as it relates to the hearing loss claims in this

litigation,3 and to use those insights to rationally inform their decision-making.4

       A few additional comments are warranted. Much vitriol has been directed at

the undersigned in various forums of late for a range of supposed failings in this

MDL.       The vilification, while frequently personal and provocative, generally

amounts to nothing more than the overzealous and deceptive public posturing that

has unfortunately seeped into the adversarial process in recent years, a response to




       3
          BrownGreer was prepared to present its findings to the parties at the mediation session
previously set for October 6, 2022. That mediation was cancelled, however, after the Court was
notified that 3M had no intent to reach a global resolution in the MDL. That may or may not still
be true—litigants routinely make concessions and/or change their settlement positions for a variety
of reasons (and, sometimes, for no apparent reason at all). Either way, BrownGreer’s objective
findings are significant enough that both sides should have them.
       4
          This is not to say that the DOEHRS data alone establishes the cause of any service
member’s hearing-related injuries. But the data does demonstrate the fact of certain injuries based
on hearing thresholds measured by conventional pure tone audiometry, the gold standard for
determining the type, degree, and configuration of hearing loss. There is no averaging of select
frequencies, as with pure-tone averages, which are only “for epidemiological use” (not individual
diagnoses) in any event. See World Health Organization, World Report on Hearing at 38 (2021).
And there are no estimations, formulas or assumptions as used in the workers’ compensation and
disability ratings context. Rather, the DOEHRS data reflects the actual hearing loss of individual
service members in this litigation.


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which is beneath the dignity of the Court. One matter, however—repeated attacks

on the integrity of the bellwether process—cannot stand uncorrected.

       The bellwether process for this MDL is beyond legitimate reproach. From the

beginning, both sides agreed that bellwether proceedings would be important and

necessary to the parties’ evaluation of the relative merits of the various claims and

defenses, to understand how juries respond to the evidence, to gain insights to assist

in valuing the larger pool of cases, and to advance the litigation as a whole. Through

collaboration and consensus, the parties and the Court together designed a selection

process that resulted in a truly representative pool of bellwether cases. This involved

prevalence analyses performed on a random sample of the inventory by BrownGreer

PLC (again, a neutral third-party) to ascertain the most representative characteristics

of the plaintiffs in terms of branch of service, age, and injury.5 From the pool of

representative bellwether candidates, each side selected an equal number of cases

(and alternates), alongside a number of random selections by both the parties and the

Court, to proceed with plaintiff-specific discovery and trial. Nineteen bellwether



       5
         At the time, there were 139,693 claimants registered in MDL Centrality in connection
with the 3M litigation. One percent of that population—1,397 claimants—was randomly selected
for consideration as potential bellwether candidates. Next, a series of prevalence analyses were
conducted on the entire population of claimants with completed census forms, to identify the
individual plaintiff characteristics that were most representative of the whole, in terms of branch
of service, age, and injury. The analyses revealed that the most representative claimant was
between the ages of 30 and 49, serves or served in the Army, and alleged a combination of tinnitus
and hearing loss. Of the randomly selected 1%, 175 cases met the three criteria. Those 175 cases
comprised the bellwether candidate pool from which all bellwether plaintiffs were selected.


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cases were tried. The statistics have been recited numerous times before but they

bear repeating here. 16 different trials. 19 representative plaintiffs. 19 separate

verdicts. 10 different presiding judges from districts throughout the Eleventh

Circuit. Jury venires drawn from three dissimilar divisions in the Northern District

of Florida. One side or the other may be unhappy with certain results, or with the

uncomfortable lessons learned from jury after jury, but several truths are inviolate

no matter how loudly one yells or how forcefully one pounds the table—the

bellwether selection process was developed fairly and by consensus, the bellwether

plaintiffs were representative of the overall composition of this litigation,6 the

bellwether trial process enabled the cases to be heard by a diverse combination of

judges and jury pools, and, as a result, the bellwether verdicts provide a fair

representation of how juries view the evidence and value the claims. No other MDL

litigants in this country have obtained more objectively representative and reliable

data points about individual claims, and the broader whole, in this timeframe, than

the parties in this litigation.       Whether they use that information honestly and

responsibly going forward is, of course, up to them. But the fundamental fairness of

       6
          After the bellwether selections were made, and the MDL inventory had grown to 150,885
plaintiffs with 89,815 census forms on file, BrownGreer performed another prevalence analysis on
the new data. That analysis confirmed the characteristics of the most representative plaintiff
remained the same as before, and matched the criteria used in the bellwether selection process. On
October 27, 2022, at the Court’s request, BrownGreer again performed a prevalence analysis on
the 220,240 census forms currently completed in MDL Centrality. The trends as to the most
representative characteristics—plaintiffs between the ages of 30 and 49, who serve or served
in the Army, and allege a combination of tinnitus and hearing—remain the same today.


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the bellwether process by which the information was obtained is unassailable, as is

the recently produced DOEHRS data.

      DONE AND ORDERED, on this 27th day of October, 2022.


                               M. Casey Rodgers
                               M. CASEY RODGERS
                               UNITED STATES DISTRICT JUDGE




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                CIRCUIT RULE 30(d) STATEMENT

     I certify that all materials required by Circuit Rule 30(a)-(b) are

included in the Appendix.


                                     /s/ Paul D. Clement
                                     Paul D. Clement
